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                        UN TED STATES COURT OF APPEALS
                   09
                           OR THE ELEVENTH CIRCUIT


OLUWAMUYIWA AWODIYA,                           Appeal No. 19-12832-DD
           Plaintiff-Appellant,
                                               On Appeal from the United States
                                               District Court for the Southern
                                               District of Florida
ROSS UNIVERSITY SCHOOL OF
                                               Case No. 0:18-cv-60482-RKA
MEDICINE,SCHOOL OF
VETERINARY MEDICINE
LIMITED,
          Defendant-Appellee.


                   APPENDIX VOLUME I; DOCKET NOS.47-195

     Pro se plaintiff-appellant Oluwamuyiwa Awodiya ("Plaintiff) hereby files

Volume I of his Appendix.




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                  Amended Complaint

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                                                                                            AOV,APPEAL,CLOSED,MEDIATION

                                                           U.S. District Court
                                       Southern District of Florida(Ft Lauderdale)
                                CIVIL DOCKET FOR CASE #: 0:18-cv-60482-RKA



 Awodiya V. Ross University School of Medicine                                        Date Filed: 03/06/2018
 Assigned to: Judge Roy K.Altman                                                      Date Terminated: 06/18/2019
 Referred to: Magistrate Judge Alicia O. Valle                                        Jury Demand:Plaintiff
 Case in other court: USCA, 19-12832-D                                                Nature of Suit: 446 Civil Rights: Americans
 Cause: 42:12182 Americans with Disabilities Act                                      with Disabilities - Other
                                                                                      Jurisdiction: Diversity
 Plaintiff

 Oluwamuyiwa Awodiya                                                     represented by Oluwamuyiwa Awodiya
                                                                                       15005 Dahlia Dr.
                                                                                       Bowie, MD 20721
                                                                                       240-602-1836
                                                                                       Email: DRmuyiwa.a@gmail.com
                                                                                      PROSE



 V.

 Defendant

 Ross University School of Medicine                                      represented by Christina Meddin
 School of Veterinary Medicine Limited                                                  Seyfarth Shaw LLP
                                                                                       1075 Peachtree Street NE
                                                                                       Suite 2500
                                                                                       Atlanta, GA 30309
                                                                                       404-888-1886
                                                                                       Email: cmeddin@seyfarth.com
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                       Brian M.Stolzenbach
                                                                                       Seyfarth, Shaw,LLP
                                                                                       233 South Wacker Drive, Suite 8000
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                                                                                       312-460-5000
                                                                                       Email: bstolzenbach@seyfarth.com
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                                                                                       Donnie Marcel King
                                                                                       Akerman LLP
                                                                                       98 SE 7th St, Suite 1100
                                                                                       Miami,FL 33131
                                                                                       3053745600
                                                                                       Fax: 3053745600
                                                                                       Email: donnie.king@akerman.com
                                                                                       ATTORNEY TO BE NOTICED

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                                                                                   Octavia Monique Green
                                                                                   Akerraan LLP
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                                                                                  (305)982-5670
                                                                                   Email: octavia.green@akerman.com
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                                                                                   Three Brickell City Centre
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                                                                                  Suite 1100
                                                                                   Miami,FL 33131-1714
                                                                                  305-374-5600
                                                                                  Fax: 305-374-5095
                                                                                  Email:iyan.roman@akerman.com
                                                                                  ATTORNEY TO BE NOTICED



  Date Filed              #     Docket Text

  03/06/2018               1    COMPLAINT against Ross University School of Medicine. Filing fees $ 400.00.IFP
                                Filed, filed by Oluwamuyiwa Awodiya.(Attachments:#i Civil Cover Sheet,# 2
                                Summon(s))5cpe)(Entered: 03/06/2018)
  03/06/2018               2    Clerks Notice of Judge Assignment to Chief Judge K.Michael Moore.

                                Pursuant to 28 USC 636(c),the parties are hereby notified that the U.S. Magistrate Judge
                                Lurana S. Snow is available to handle any or all proceedings in this case. If agreed,
                                parties should complete and file the Consent form found on our website. It is not
                                necessary to file a document indicating lack ofconsent.

                                Pro se(NON-PRISONER)litigants may receive Notices ofElectronic Filings(NEFS)via
                               email after filing a Consent by Pro Se Litigant(NON-PRISONER)to Receive Notices of
                               Electronic Filing. The consent form is available under the forms section of our website,
                               (kpe)(Entered: 03/06/2018)
  03/06/2018               3    MOTION for Leave to Proceed in forma pauperis by Oluwamuyiwa Awodiya.(kpe)
                               (Entered: 03/06/2018)
  03/06/2018               4    Consent by Pro Se Litigant(Non-Prisoner) Oluwamuyiwa Awodiya to receive Notices of
                                Electronic Filing at email address: DRmuyiwa.a@gmail.com (kpe)(Entered: 03/06/2018)
  03/07/2018               5    PAPERLESS PRETRIAL ORDER. This order has been entered upon the filing ofthe
                                complaint. Plaintiffs counsel is hereby ORDERED to forward to all defendants, upon
                                receipt ofa responsive pleading, a copy ofthis Order. It is further ORDERED that S.D.
                                Fla. L.R. 16.1 shall apply to this case and the parties shall hold a scheduling conference
                                no later than twenty(20)days after the filing ofthe first responsive pleading by the last
                                responding defendant, or within sixty(60)days after the filing ofthe complaint,
                                whichever occurs first. However,if all defendants have not been served by the expiration
                                ofthis deadline. Plaintiff shall move for an enlargement oftime to hold the scheduling
                                conference, not to exceed 90 days from the filing ofthe Complaint. Within ten(10)days
https://ecf.flsd.uscourts.gov/cgi-bln/DktRpt.pi?6725164056735Q5-L_1_0-1                                                  2/26
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                       ofthe scheduling conference, counsel shall file ajoint scheduling report. Failure of
                               counsel to file a joint scheduling report within the deadlines set forth above may result in
                               dismissal, default, and the imposition of other sanctions including attorney's fees and
                               costs. The parties should note that the time period for filing a joint scheduling report is
                               not tolled by the filing of any other pleading, such as an amended complaint or Rule 12
                               motion. The scheduling conference may be held via telephone. At the conference, the
                               parties shall comply with the following agenda that the Court adopts from S.D. Fla. L.R.
                               16.1:(1)Documents(S.D. Fla. L.R. 16.1.B.1 and 2)- The parties shall determine the
                               procedure for exchanging a copy of, or a description by category and location of, all
                               documents and other evidence that is reasonably available and that a party expects to
                               offer or may offer ifthe need arises. Fed. R. Civ. R 26(a)(1)(B).(a)Documents include
                               computations ofthe nature and extent of any category of damages claimed by the
                               disclosing party unless the computations are privileged or otherwise protected from
                               disclosure. Fed. R. Civ. P. 26(a)(1)(C).(b)Documents include insurance agreements
                               which may be at issue with the satisfaction ofthe judgment. Fed. R. Civ. R 26(a)(1)(D).
                               (2)List of Witnesses - The parties shall exchange the name,address and telephone
                               number ofeach individual known to have knowledge ofthe facts supporting the material
                               allegations ofthe pleading filed by the party. Fed. R. Civ. P. 26(a)(1)(A). The parties have
                               a continuing obligation to disclose this information.(3)Discussions and Deadlines(S.D.
                               Fla. L.R. 16.1.B.2)- The parties shall discuss the nature and basis oftheir claims and
                               defenses and the possibilities for a prompt settlement or resolution ofthe case. Failure to
                               comply with this Order or to exchange the information listed above may result in
                               sanctions and/or the exclusion of documents or witnesses at the time oftrial. S.D. Fla.
                               L.R. 16.1.1.


                               Pursuant to Administrative Order 2016-70 ofthe Southern District ofFlorida and
                               consistent with the Court of Appeals for the Eleventh Circuits Local Rules eind Internal
                               Operating Procedures, within three days ofthe conclusion of a trial or other proceeding,
                               parties must file via CM/ECF electronic versions of documentary exhibits admitted into
                               evidence, including photographs of non-documentary physical exhibits. The Parties are
                               directed to comply with each ofthe requirements set fordi in Administrative Order 2016-
                               70 unless directed otherwise by the Court.

                               Telephonic appearances are not permitted for any purpose. Upon reaching a settlement in
                               this matter the parties are instructed to notify the Court by telephone and to file a Notice
                               of Settlement within twenty-four(24) hours. Signed by Chief Judge K. Michael Moore
                               on 3/7/2018. OmOl)(Entered: 03/07/2018)
  03/07/2018                   PAPERLESS ORDER REFERRING PRETRIAL DISCOVERY MATTERS TO
                               MAGISTRATE JUDGE LURANA S. SNOW.PURSUANT to 28 U.S.C. § 636 and the
                               Magistrate Rules ofthe Local Rules ofthe Southern District ofFlorida, the above-
                               captioned Cause is referred to United States Magistrate Judge Lurana S. Snow to take all
                               necessary and proper action as required by law with respect to any and all pretrial
                               discovery matters. Any motion affecting deadlines set by the Court's Scheduling Order is
                               excluded from this referral, unless specifically referred by separate Order. It is
                               FURTHER ORDERED that the parties shall comply with Magistrate Judge Lurana S.
                               Snow's discovery procedures, which the parties shall be advised of by the entry ofan
                               Order. Signed by Chief Judge K. Michael Moore on 3/7/2018. QmOl)(Entered:
                               03/07/2018)
  03/07/2018                   CASE REFERRED to Magistrate Judge Lurana S. Snow per 6 Order,(asl)(Entered:
                               03/07/2018)
  03/07/2018                   PAPERLESS ORDER REFERRING Plaintiffs Motion for Leave to Proceed in forma
                               pauperis 3.PURSUANT to 28 U.S.C. § 636 and the Magistrate Rules ofthe Local Rules
https://ecf.flsd.uscourts.gov/cgi-bin/DktRpLpl?672516405673505-L_1_0-1                                                    3/26
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                      ofthe Southern District of Florida, the above-captioned cause is referred to Magistrate
                      Judge Lurana S. Snow to take all necessary and proper action as required by law
                      regarding Plaintiffs motion 3 . Signed by Chief Judge K. Michael Moore on 3/7/2018.
                                OmOl)(Entered: 03/07/2018)
  03/07/2018               9    GENERAL ORDER ON DISCOVERY OBJECTIONS AND PROCEDURES. Signed by
                                Magistrate Judge Lurana S. Snow on 3/7/2018.(kpe)(Entered: 03/07/2018)
  03/08/2018             10     ORDER granting 3 Motion for Leave to Proceed in forma pauperis. USM Service
                                ordered . Summonses provided for issuance by Clerk for USM Service Re:1
                                Complaint filed by Oluwamuyiwa Awodiya. Signed by Magistrate Judge Lurana S. Snow
                                on 3/8/2018.(kpe)(Entered: 03/08/2018)
  03/08/2018             11     Summons Issued as to Ross University School of Medicine,(kpe)(Entered: 03/08/2018)
  03/08/2018              12    NOTICE of Compliance by Oluwamuyiwa Awodiya re 10 Order on Motion for Leave to
                                Proceed in forma pauperis. Summonses and Copy of Complaint provided to US Marshal
                                for service,(kpe)(Entered: 03/08/2018)
  03/21/2018             15     SUMMONS (Affidavit) Returned Executed on 1 Complaint(Served Kelly Tesselar
                                Director of Student Services) with a 21 day response/answer filing deadline Ross
                                University School of Medicine served on 3/21/2018, answer due 4/11/2018.(ebz)
                                (Entered: 03/29/2018)
  03/26/2018             13 MOTION for Permission for Electronic Case Filing by Oluwamuyiwa Awodiya.
                               (Attachments:#1 Proposed Order)(kpe)(Entered: 03/26/2018)
  03/26/2018              14    PAPERLESS ORDER. THIS CAUSE came before the Court upon pro se Plaintiff
                                Oluwamuyiwa Awodiya's Motion for Permission for Electronic Case Filing.13.Pursuant
                                to Section 2C ofthe Southem District ofFlorida CM/ECF Administrative Procedures,
                                "Pro se litigants will not be permitted to register as Users at this time. Pro se litigants
                                must tile their documents in the conventional manner." Therefore, it is ORDERED AND
                                ADJUDGED that the Motion for Permission for Electronic Case Filing H is DENIED.
                                Signed by Chief Judge K. Michael Moore on 3/26/2018. O^nOl)(Entered: 03/26/2018)
  04/06/2018             16 SUMMONS (Affidavit) Returned Executed on 1 Complaint with a 21 day
                                response/answer filing deadline by Oluwamuyiwa Awodiya. Ross University School of
                                Medicine served on 3/23/2018, answer due 4/13/2018.(mee)(Entered: 04/06/2018)
  04/06/2018             17     Unopposed MOTION for Extension of Time to File Response/Reply/Answer as to 1
                                Complaint by Ross University School of Medicine. Attorney Christina Meddin added to
                                party Ross University School of Medicine(pty:dft).(Attachments: #1 Text ofProposed
                                Order)(Meddin, Christina)(Entered: 04/06/2018)
  04/06/2018             18     Corporate Disclosure Statement by Ross University School of Medicine identifying
                                Corporate Parent Adtalem Global Education Inc., Other Affiliate BlackRock,Inc. for
                                Ross University School of Medicine (Meddin, Christina)(Entered: 04/06/2018)
  04/09/2018              19    PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's
                                Unopposed Motion for an Extension of Time to Respond to the Complaint.17 . UPON
                                CONSIDERATION ofthe Motion 17,the pertinent portions ofthe record, and being
                                otherwise fully advised in the premises, it is hereby ORDERED AND ADJUDGED that
                                the Motion H is GRANTED.Defendant shall respond to the Complaint on or before
                                April 27,2018. Signed by Chief Judge K. Michael Moore on 4/9/2018.(jmOl)(Entered:
                                04/09/2018)
  04/09/2018                    Reset Answer Due Deadline per 19 Order: Ross University School of Medicine response
                                due 4/27/2018.(asl)(Entered: 04/09/2018)

https://ecf.fIsd.uscourts.gov/cgi-bin/DktRpt.pl7872516405673505-L_1_0-1                                                  4/26
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  04/09/2018             20    ORDER/NOTICE OF RECUSAL signed by Magistrate Judge Lurana S. Snow on
                               4/9/2018. Magistrate Judge Lurana S. Snow recused. Case randomly reassigned by Clerk
                               to Magistrate Judge Barry S. Seltzer for all further proceedings,(ane)(Entered:
                               04/09/2018)
  04/09/2018             21 AMENDED COMPLAINT against Ross University School of Medicine, filed by
                                Oluwamuyiwa Awodiya.(kpe)(Entered: 04/10/2018)
  04/11/2018             22     ORDER Setting Discovery Procedure. Please see Order for details. Signed by Magistrate
                                Judge Barry S. Seltzer on 4/10/2018.(pbOO)(Entered: 04/11/2018)
  04/12/2018             23    Defendant's MOTION for Extension of Time to File Response/Reply/Answer as to 21
                               Amended Complaint by Ross University School of Medicine.(Attachments:#1 Text of
                               Proposed Order)(Meddin, Christina)(Entered: 04/12/2018)
  04/13/2018             24    PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's Motion
                               for an Extension of Time to Respond to the Complaint. 23 . UPON CONSIDERATION
                               ofthe Motion,the pertinent portions ofthe record, and being otherwise hilly advised in
                               the premises, it is hereby O^ERED AND ADJUDGED that the Motion 23 is
                                GRANTED.Defendant shall respond to the Complaint on or before May 18,2018.
                                Signed by Chief Judge K. Michael Moore on 4/13/2018. OmOl)(Entered: 04/13/2018)
  04/18/2018             25    RESPONSE to 23 Defendant's Partially Unopposed MOTION for Extension of Time to
                               Answer or Otherwise Respond to Plainitififs Amended Complaint filed by Oluwamuyiwa
                               Awodiya. Replies due by 4/25/2018.(kpe)(Entered: 04/18/2018)
  04/19/2018             26    Plaintiffs Request for Judicial Notice by Oluwamuyiwa Awodiya.(Attachments:#i
                               Proposed Order)(kpe)(Entered: 04/19/2018)
  04/19/2018             27     Declaration in Support of26 Plaintiffs Request for Judicial Notice filed by
                               Oluwamuyiwa Awodiya.(kpe)(Main Document 27 replaced for clearer image on
                               4/23/2018)(yha). Modified text on 4/23/2018(yha).(Entered: 04/19/2018)
  04/24/2018             28     Consent MOTION to Stay Deadlines and Referral to Mediation by Ross University
                                School of Medicine. Responses due by 5/8/2018 (Attachments:#i Supplement)(Meddin,
                                Christina)(Entered: 04/24/2018)
  04/24/2018             29    PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's Consent
                               Motion to Stay Deadlines and Referral to Mediation. 28 . Therein, Defendant states that
                               mediation would be particularly likely to help resolve the matter and requests that the
                               Court stay all deadlines pending the outcome of mediation. 28 at 2. The Court shall enter
                               a Referral to Mediation following the Parties' submission ofajoint scheduling report, as
                               required by the Court's Pretrial Order 5. The Parties may file the joint scheduling report
                               prior to the expiration ofthe deadline in which to do so. UPON CONSIDERATION of
                               the Motion, the pertinent portions ofthe record, and being otherwise fully advised in the
                               premises, it is hereby ORDERED AND ADJUDGED that Defendant's Motion to Stay
                               Deadlines and Referral to Mediation is DENIED. Signed by Chief Judge K. Michael
                               Moore on 4/24/2018. OmOl)(Entered: 04/24/2018)
  05/03/2018             30    RESPONSE to Motion re 26 MOTION Judicial Notice and Defendant's Request to be
                               Heard filed by Ross University School of Medicine. Replies due by 5/10/2018.(Meddin,
                               Christina)(Entered: 05/03/2018)
  05/07/2018             31 REPLY to 30 Defendant's Request to be Heard and Response to Plaintiffs Request for
                                Judicial Notice by Oluwamuyiwa Awodiya.(kpe)(Entered: 05/07/2018)
  05/08/2018             32     MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                                Receive Notices ofElectronic Filing for Brian M. Stolzenbach. Filing Fee $ 75.00
                                Receipt# 113C-10633946 by Ross University School ofMedicine. Responses due by
https://ecf.flsd.uscourfs.gov/cgl-bln/DktRpt.pl76725164056735D5-L_1_0-1                                                 5/26
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                                5/22/2018 (Attachments:#1 Text ofProposed Order)(Meddin, Christina)(Entered:
                                05/08/2018)
  05/08/2018              33    PAPERLESS ORDER. THIS CAUSE came before the Court upon a Motion to Appear
                                Pro Hac Vice, Consent to Designation, and Request to Electronically Receive Notices of
                                Electronic Filings 32.UPON CONSIDERATION ofthe Motion, the pertinent portions of
                                the record, and being otherwise fully advised in the premises, it is ORDERED AND
                                ADJUDGED that the Motion is GRANTED.Brian M.Stolzenbach may appear Pro Hac
                                Vice in this matter. The Clerk ofthe Court shall provide electronic notification of all
                                electronic filings to bstolzenbach@seyfarth.com. Signed by Chief Judge K. Michael
                                Moore on 5/8/2018.(jmO1)(Entered: 05/08/2018)
  05/09/2018              34    MOTION for Leave to File Second Amended Complaint re 21 Amended Complaint by
                                Oluwamuyiwa Awodiya. Responses due by 5/23/2018 (Attachments:#1 Second
                                Amended Complaint)(kpe)(Entered: 05/09/2018)
  05/10/2018             35    PAPERLESS ORDER. THIS CAUSE came before the Court upon Plaintiffs Motion for
                               Leave to File Second Amended Complaint. 34.Federal Rule of Civil Procedure 15(a)(2)
                               permits a party to amend its pleadings by leave of court or by written consent ofthe
                               adverse party. The decision to grant or deny a motion to amend pleadings is within the
                               sound discretion ofthe trial court. Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598
                               (5th Cir. 1981). The policy ofthe federal rules is to permit liberal amendment to facilitate
                               determination ofclaims on the merits and to prevent litigation from becoming a technical
                               exercise in the fine points ofpleading. Id. Thus, unless there is a substantial reason to
                               deny leave to Lunend,the discretion ofthe district court is not broad enough to permit
                               denial. Id. A substantial reason could include "undue delay, bad faith or dilatory motive,
                               repeated failure to cure deficiencies by amendments previously allowed, undue prejudice
                               to the opposing party, and futility ofthe amendment." Grayson v. Kmart Corp., 79 F,3d
                               1086, 1110(11th Cir. 1996). The Court does not find a substantial reason to deny
                               Plaintiffs motion for leave to amend. Accordingly, UPON CONSIDERATION ofthe
                               Motion 34 ,the pertinent portions ofthe record, and being otherwise fully advised in the
                                premises, it is hereby ORDERED AND ADJUDGED that Plaintiffs Motion for Leave to
                                File Second Amended Complaint is GRANTED.Plaintiff is instructed to file its Second
                                Amended Complaint on the docket.

                                Clerks Notice: Filer must separately re-file the amended pleading pursuant to Local Rule
                                15.1, unless otherwise ordered by the Judge. Signed by Chief Judge K. Michael Moore on
                                5/10/2018. GmOl)(Entered: 05/10/2018)
  05/14/2018             36    Joint SCHEDULING REPORT - Rule 26{f) by Ross University School ofMedicine
                               (Attachments:#1 Exhibit)(Meddin, Christina)(Entered: 05/14/2018)
  05/14/2018             37    PAPERLESS ORDER SCHEDULING TRIAL IN FORT LAUDERDALE.This case is
                                now set for trial commencing the two week trial period of March 18,2019, at 9 a.m. in
                                the United States District Courthouse,299 East Broward Boulevard, Fort Lauderdale,
                                Florida. The assigned courtroom will be announced at the calendar call. All parties are
                                directed to report to the calendar call on March 14, 2019, at 2 p.m., at which time all
                                matters relating to the scheduled trial date may be brought to the attention ofthe Court. A
                                final pretrial conference as provided for by Rule 16, Fed. R. Civ. P., and Rule 16.1(C),
                                S.D. Fla. L.R., is scheduled for March 5, 2019, at 11 a.m. The calendar call and the final
                                pretrial conference will take place in Courtroom 13-1 (thirteenth floor). United States
                                District Courthouse, 400 North Miami Avenue, Miami,Florida. A bilateral pretrial
                                stipulation and all other pretrial preparations shall be completed NO LATER THAN
                                FIVE DAYS PRIOR TO THE PRETRIAL CONFERENCE. All motions to amend the
                                pleadings or to join additional parties must be filed by the later offorty-five (45)days
                                after the date of entry ofthis Order, or forty-five(45)days after the first responsive
https://ecf.flsd.U8COUrts.gov/cgi-bin/DktRpt,pl?672516405673505-L_1_0-1                                                      6/26
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                     pleading by the last responding defendant. Any and all pretrial motions, including
                                motions for summary judgment, Daubert motions, and motions in limine must be filed no
                                later than eighty(80)days prior to the trial date. Responses to summary Judgment
                                motions must be filed no later than fourteen (14) days after service ofthe motion, and
                                replies in support ofthe motion must be filed no later than seven(7)days after service of
                                the response, with both deadlines computed as specified in Rule 6,Fed. R. Civ. R Each
                                party is limited to one Daubert motion. If all evidentiary issues cannot be addressed in a
                                20-page memorandum,the parties must file for leave to exceed the page limit. Each party
                                is also limited to one motion in limine (other than Daubert motions). If all evidentiary
                                issues cannot be addressed in a 20-page memorandum,the parties must file for leave to
                                exceed the page limit. All discovery, including expert discovery, shall be completed one
                                hundred (100) days prior to the date oftrial. The failure to engage in discovery pending
                                settlement negotiations shall not be grounds for continuance ofthe trial date. All exhibits
                                must be pre-marked, and a typewritten exhibit list setting forth the number and
                                description of each exhibit must be submitted at the time of trial. Plaintiffs exhibits shall
                                be marked numerically with the letter "P" as a prefix. Defendant's exhibits shall be
                                marked numerically with the letter "D" as a prefix. For a jury trial, counsel shall prepare
                                and submit proposed jury instructions to the Court. The Parties shall submit their
                                proposed jury instructions and verdict form jointly, although they do not need to agree on
                                each proposed instruction. Where the parties do not agree on a proposed instruction, that
                                instruction shall be set forth in bold type. Instructions proposed only by a plaintiff should
                                be underlined. Instructions proposed only by a defendant should be italicized. Every
                                instruction must be supported by citation to authority. The parties should use the Eleventh
                                Circuit Pattern Jury Instructions for Civil Cases as a guide, including the directions to
                                counsel contained therein. The parties shall jointly file their proposed jury instructions
                                via CM/ECF,and shall also submit their proposed jury instructions to the Court via e-
                                mail at moore@flsd.uscourts.gov in WordPerfect or Word format. For a non-jury trial, the
                                parties shall prepare and submit to the Court proposed findings offact and conclusions of
                                law fiilly supported by the evidence, which counsel expects the trial to develop, and fully
                                supported by citations to law. The proposed jury instructions or the proposed findings of
                                fact and conclusions of law shall be submitted to the Court no later than five(5) business
                                days prior to the scheduled trial date. Pursuant to Administrative Order 2016-70 ofthe
                                Southern District of Florida and consistent with the Court of Appeals for the Eleventh
                                Circuits Local Rules and Internal Operating Procedures, within three days ofthe
                                conclusion of a trial or other proceeding, parties must file via CM/ECF electronic
                                versions of documentary exhibits admitted into evidence, including photographs of non-
                                documentary physical exhibits. The Parties are directed to comply with each ofthe
                                requirements set forth in Administrative Order 2016-70 unless directed otherwise by the
                                Court.

                                THE FILING BY COUNSEL OF A NOTICE OF UNAVAILABILITY BY MOTION OR
                                OTHERWISE IS NOT PROVIDED FOR UNDER THE LOCAL RULES AND SHALL
                                NOT BE PRESUMED TO ALTER OR MODIFY THE COURT'S SCHEDULING
                                ORDER. Signed by Chief Judge K. Michael Moore on 5/14/2018. GrfiOl)

                                Pattern Jury Instruction Builder - To access the latest, up to date changes to the      1th
                                Circuit Pattern Jury Instructions go to https://pji.cal 1.uscourts.gov or click here.
                                (Entered: 05/14/2018)
  05/14/2018              38    PAPERLESS ORDER OF REFERRAL TO MEDIATION. Trial having been set in this
                                matter for the two week trial period beginning March 18,2019, at 9:00 a.m. pursuant to
                                Rule 16 ofthe Federal Rule of Civil Procedure and Rule 16.2 of the Local Rules ofthe
                                United States District Court for the Southern District of Florida, it is hereby ORDERED
                                AND ADJUDGED as follows: 1. All parties are required to participate in mediation. The

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                                mediation shall be completed no later than eighty(80)days before the scheduled trial
                                date. 2. Plaintiffs counsel, or another attorney agreed upon by all counsel ofrecord and
                                any unrepresented parties, shall be responsible for scheduling the mediation conference.
                                The parties are encouraged to avail themselves ofthe services of any mediator on the List
                                of Certified Mediators, maintained in the office ofthe Clerk of this Court, but may select
                                any other mediator. The parties shall agree upon a mediator and file a Notice of Mediator
                                Selection within fifteen (15)days from the date ofthis Order. Ifthere is no agreement,
                                lead counsel shall file a request for the Clerk of Court to appoint a mediator in writing
                                within fifteen(15)days fi-om the date of this Order, and the Clerk shall designate a
                                mediator fi"om the List of Certified Mediators. Designation shall be made on a blind
                                rotation basis. 3. A place, date, and time for mediation convenient to the mediator,
                                counsel of record, and unrepresented parties shall be established. If the parties cannot
                                agree to a place, date, and time for the mediation,they may motion the Court for an order
                                dictating the place, date, and time. 4. The physical presence of counsel and each party or
                                representatives of each party with full authority to enter in a full and complete
                                compromise and settlement is mandatory. If insurance is involved, an adjuster with
                                authority up to the policy limits or the most recent demand, whichever is lower, shall
                                attend. 5. All discussions, representations and statements made at the mediation
                                conference shall be confidential and privileged. 6. At least ten(10)days prior to the
                                mediation date, all parties shall present to the mediator a brief written summary ofthe
                                case identifying issues to be resolved. Copies ofthose summaries shall be served on all
                                other parties. 7. The Court may impose sanctions against parties and/or counsel who do
                                not comply with the attendance or settlement authority requirements herein, or who
                                otherwise violate the terms of this Order. The mediator shall report non-attendance and
                                may recommend imposition ofsanctions by the Court for non-attendance. 8. The
                                mediator shall be compensated in accordance with the standing order ofthe Comt entered
                                pursuant to Rule 16.2.B.6, or on such basis as may be agreed to in writing by the parties
                                and the mediator selected by the parties. The cost of mediation shall be shared equally by
                                the parties unless otherwise ordered by the Court. All payments shall be remitted to the
                                mediator within 30 days ofthe date ofthe bill. Notice to the mediator of cancellation or
                                settlement prior to the scheduled mediation conference must be given at least two(2)fiill
                                business days in advance. Failure to do so will result in imposition of a fee for one hour.
                                9.If a fiill or partial settlement is reached in this case, counsel shall promptly notify the
                                Court ofthe settlement in accordance with Local Rule 16.2.F, by filing a notice of
                                settlement signed by the counsel of record within ten (10) days ofthe mediation
                                conference. Thereafter, the parties shall forthwith submit an appropriate pleading
                                concluding the case. 10. Within five(5)days following the mediation conference, the
                                mediator shall file a Mediation Report indicating whether all required parties were
                                present. The report shall also indicate whether the case settled (in full or in part), was
                                continued with the consent ofthe parties, or whether the mediator declared an impasse.
                                11. If mediation is not conducted,the case may be stricken from the trial calendar, and
                                other sanctions may be imposed. Signed by Chief Judge K. Michael Moore on 5/14/2018.
                                OmOl)(Entered: 05/14/2018)
  05/14/2018             39     Second AMENDED COMPLAINT against Ross University School of Medicine filed in
                                response to Order Granting Motion for Leave, filed by Oluwamuyiwa Awodiya.(kpe)
                                Modified on 5/15/2018 (kpe).(Entered: 05/15/2018)
  05/29/2018             40     ANSWER and Affirmative Defenses to Amended Complaint(SECONDED AMENDED)
                                by Ross University School of Medicine.(Meddin, Christina) Entered: 05/29/2018)
  05/29/2018             41     NOTICE of Mediator Selection. Added Ross University School ofMedicine.(Meddin,
                                Christina)(Entered: 05/29/2018)
  05/30/2018             42     Clerks Notice to Filer re 41 Notice of Mediator Selection and/or Hearing. Mediator Not

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                                Added; ERROR - The Filer failed to add all mediator. Filer is instructed to file a Notice
                                ofEntry ofParties/Mediator and add the additional mediator,(kpe)(Entered: 05/30/2018)
  05/31/2018             43    NOTICE of Mediator Selection. Added Leslie W.Langbein.(Meddin, Christina)
                               (Entered: 05/31/2018)
  06/22/2018             44     ORDER denying 26 Request for Judicial Notice. Signed by Chief Judge K. Michael
                                Moore on 6/22/2018.(jmOl)(Entered: 06/22/2018)
  07/11/2018             45     Consent Motion for Leave to File Third Amended Complaint 39 Amended Complaint by
                                Oluwamuyiwa Awodiya. Responses due by 7/25/2018.(Attachments:#1Proposed Third
                                Amended Complaint,# 2 Third Amended Complaint)(kpe)(Entered: 07/11/2018)
  07/11/2018             46    PAPERLESS ORDER.THIS CAUSE came before the Court upon Plaintiffs Motion for
                                Leave to File a Third Amended Complaint. 45.Federal Rule of Civil Procedure 15(a)(2)
                                permits a party to amend its pleadings by leave ofcourt or by written consent ofthe
                                adverse party. The decision to grant or deny a motion to amend pleadings is within the
                               sotmd discretion ofthe trial court. Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598
                               (5th Cir. 1981). The policy ofthe federal rules is to permit liberal amendment to facilitate
                               determination ofclaims on the merits and to prevent litigation fi-om becoming a technical
                               exercise in the fine points ofpleading. Id. Thus, unless there is a substantial reason to
                               deny leave to amend,the discretion ofthe district court is not broad enough to permit
                               denial. Id. A substantial reason could include "undue delay, bad faith or dilatory motive,
                               repeated failure to cure deficiencies by amendments previously allowed, undue prejudice
                               to the opposing party, and futility ofthe amendment." Grayson v. Kmart Corp., 79 F.3d
                               1086, 1110 (11th Cir, 1996). The Coiut does not find a substantial reason to deny
                               Plaintiffs motion for leave to amend. Accordingly, UPON CONSIDERATION ofthe
                               Motion 45 ,the pertinent portions ofthe record, and being otherwise fully advised in the
                               premises, it is hereby ORDERED AND ADJUDGED that Plaintiffs Motion for Leave to
                               File a Third Amended Complaint is GRANTED.Plaintiff is instructed to file the Third
                               Amended Complaint on the docket on or before July 16, 2018.

                                Clerks Notice: Filer must separately re-file the amended pleading pursuant to Local Rule
                                15.1, unless otherwise ordered by the Judge. Signed by Chief Judge K. Michael Moore on
                                7/11/2018. OmOl)(Entered: 07/11/2018)
  07/11/2018                   Set Deadlines per 46 Order. Amended Complaint due by 7/16/2018.(asl)(Entered:
                               07/12/2018)
  07/16/2018             47    THIRD AMENDED COMPLAINT against Ross University School of Medicine filed in
                               response to Order Granting Motion for Leave, filed by Oluwamuyiwa Awodiya.(kpe)
                               (Entered: 07/17/2018)
  07/30/2018             48    NOTICE/STIPULATION of Substitution of Counsel by Ryan Roman on behalf ofRoss
                               University School ofMedicine instead ofprior counsel ofrecord Seyfarth Shaw LLP..
                               Attorney Ryan Roman added to party Ross University School of Medicine(pty:dfl).
                               (Attachments:#1 Text ofProposed Order Granting Substitution of Counsel)(Roman,
                                Ryan)(Entered: 07/30/2018)
  07/30/2018             49     Unopposed MOTION for Extension of Time to File Response/Reply/Answer as to 47
                                Amended Complaint by Ross University School of Medicine.(Attachments:#1 Text of
                               Proposed Order Granting Unopposed Motion)(Roman, Ryan)(Entered: 07/30/2018)
  07/31/2018             50    PAPERLESS ORDER.THIS CAUSE came before the Court upon Defendant's
                               Unopposed Motion for an Extension of Time to Respond to the Complaint.49. UPON
                                CONSIDERATION ofthe Motion 49 ,the pertinent portions ofthe record, and being
                                otherwise fiilly advised in the premises, it is hereby ORDERED AND ADJUDGED that

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                     the Motion is GRANTED.Defendant shall respond to the Complaint on or before August
                      13, 2018. Signed by Chief Judge K.Michael Moore on 7/31/2018. OmOl)(Entered;
                                 07/31/2018)
   07/31/2018                    Reset Answer Due Deadline per 50 Order: Ross University School of Medicine response
                                 due 8/13/2018.(asl)(Entered: 07/31/2018)
   08/07/2018             51     Joint MOTION for Settlement Conference in Lieu ofPrivate Mediation re 38 Order
                                 Referring Case to Mediation,,,,,,,,,,,,,,,, by Ross University School of Medicine.(Roman,
                                 Ryan)(Entered: 08/07/2018)
   08/09/2018             52    PAPERLESS ORDER REFERRING CASE TO MAGISTRATE JUDGE FOR
                                SETTLEMENT CONFERENCE. THIS CAUSE came before the Court upon the Parties'
                                Joint Motion for Referral to Settlement Conference.^. Therein,the Parties request that
                                they be permitted to attend a settlement conference before a Magistrate Judge ofthis
                                Court in lieu of attendance at mediation before a private mediator and request that this
                                Court enter an order striking the prior notice of mediator selection. 51 at 2. Pursuant to
                                the Local Rules, a Magistrate Judge is authorized to "conduct pretrial conferences,
                                settlement conferences, omnibus hearings, and related pretrial proceedings in civil and
                                criminal cases." Accordingly, UPON CONSIDERATION ofthe Motion,the pertinent
                                portions ofthe record, and being otherwise fully advised in the premises, it is hereby
                                ORDERED AND ADJUDGED that the Motion is GRANTED IN PART and DENIED
                                IN PART. This matter is referred to United States Magistrate Judge Lurana S. Snow for
                                the purpose ofconducting a settlement conference. The Parties shall contact Judge
                                Snow's chambers to arrange to complete the settlement conference and the Parties shall
                                submit a status report to the Court within five(5)days ofthe conclusion ofthe settlement
                                conference. However,the Court's Order ofReferral to Mediation 38 remains in effect. If
                                the Parties do not reach a settlement agreement during the settlement conference, the
                                Parties must comply with the Court's Order ofReferral to Mediation. Signed by Chief
                                Judge K. Michael Moore on 8/9/2018.(jmOl)(Entered: 08/09/2018)
  08/09/2018              53    ORDER REFERRING CASE to Magistrate Judge Lurana S. Snow for for Settlement per
                                52 Order. Signed by ChiefJudge K. Michael Moore on 8/9/2018.(asl) Modified to
                                remove docket text on 8/9/2018 (asl).(Entered: 08/09/2018)
  08/10/2018              54    PAPERLESS ORDER REFERRING CASE TO MAGISTRATE JUDGE FOR
                                SETTLEMENT CONFERENCE.THIS CAUSE came before the Court upon the Parties'
                                Joint Motion for Referral to Settlement Conference. 51. The Court entered an order
                                referring the Parties to Magistrate Judge Lurana S. Snow for the purpose of conducting a
                                settlement conference. 52.However, Judge Snow recused herselffrom the case and the
                                case was reassigned to Magistrate Judge Barry S. Seltzer, 20.Accordingly, the matter is
                                referred to United States Magistrate Judge Bany S. Seltzer for the purpose ofconducting
                                a settlement conference. The Parties shall contact Judge Seltzer's chambers to arrange to
                                complete the settlement conference and the Parties shall submit a status report to the
                                Court within five(5)days ofthe conclusion ofthe settlement conference. However, as
                                stated in the Court's previous order 52,the Court's Order ofReferral to Mediation 38
                                remains in effect. Ifthe Parties do not reach a settlement agreement during the settlement
                                conference, the Parties must comply with the Court's Order ofReferral to Mediation.
                                Signed by Chief Judge K. Michael Moore on 8/10/2018.(jmOl)(Entered: 08/10/2018)
  08/10/2018              55    PAPERLESS ORDER ofInstructions for Setting a Settlement Conference. The District
                                Court has entered an Order[DE 54]referring the case to the undersigned for a settlement
                                conference. Accordingly, Counsel and Pro Se Plaintiff are ORDERED to meet and
                                confer, either telephonically or in person, for the purpose of determining a date on which
                                to conduct the settlement conference. No later than August 17,2018,Defendant's counsel
                                shall telephone Chambers with no fewer than three dates(for the fiill business day)on
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                                which the parties and their counsel will be available for the settlement conference. All
                                parties must attend the settlement conference in person. Following the submission of
                                proposed dates, the undersigned will enter an order setting the settlement conference with
                                further instructions. Signed by Magistrate Judge Barry S. Seltzer on 8/10/2018.(pbOO)
                               (Entered: 08/10/2018)
  08/10/2018             56     Unopposed MOTION for Leave to File Excess Page limits for Summary Judgment and
                                Statement of Material Facts by Oluwamuyiwa Awodiya.(ebz)(Entered: 08/10/2018)
  08/13/2018             57     PAPERLESS ORDER.THIS CAUSE came before the Court upon Plaintiffs Motion to
                                File Excess pages for Summary Judgment and Statement of Material Facts. 56. Therein,
                                Plaintiff requests that the Court permit Plaintiffto file a summary judgment motion and
                                accompanying statement of material facts in excess ofthe page limits imposed by the
                                Local Rules for the Southern District ofFlorida. UPON CONSIDERATION of the
                                Motion,the pertinent portions ofthe record, and being otherwise fully advised in the
                                premises, Plaintiffs Motion to File Excess Pages^is DENIED. All submissions must
                                comply with the Local Rules ofthe Southern District ofFlorida and the Federal Rules of
                                Civil Procedure. Failure to do so will result in the striking of non-compliant submissions.
                                Signed by Chief Judge K. Michael Moore on 8/13/2018.(jmOl)(Entered: 08/13/2018)
  08/13/2018             58     ANSWER and Affirmative Defenses to Amended Complaint by Ross University School
                                of Medicine.(Roman,Ryan)(Entered: 08/13/2018)
  08/16/2018             59    Declaration in Support ofPlaintiffs Motion for Partial Summary Judgment re 61 Motion
                               for Partial Summary Judgment by Oluwamuyiwa Awodiya.(kpe) Modified on 8/17/2018
                               (kpe).(Main Document 59 replaced due to missing pages on 8/20/2018)(nc). Modified
                               docket text on 8/20/2018 (nc).(Entered: 08/16/2018)
  08/16/2018             M     MOTION for Partial Summary Judgment by Oluwamuyiwa Awodiya. Responses due by
                               8/30/2018 (Attachments:#1 Statement of Material Facts In Support)(kpe)(Entered:
                               08/17/2018)
  08/17/2018             60     ORDER Setting Settlement Conference for 10/1/2018 at 09:30 AM in Fort Lauderdale
                                Division before Magistrate Judge Barry S. Seltzer. Signed by Magistrate Judge Barry S.
                                Seltzer on 8/17/2018. See attached documentforfull details.(pbOO)(Entered:
                                08/17/2018)
  08/20/2018             62    Clerks Notice of Docket Correction re 59 Declaration in Support ofPlaintiffs Motion for
                               Partial Summary Judgment re 61 Motion for Partial Summary Judgment. Correction
                               Document replaced due to missing pages. The corrected image is attached to this notice,
                               (nc)(Entered: 08/20/2018)
  08/23/2018             63     Defendant's MOTION for Relief Under Rule 56(d)ofthe Federal Rules of Civil
                               Procedure or, Altematively, Motion for Extension of Time to Respond to Summary
                               Judgment re M MOTION for Partial Summary Judgment, MOTION for Extension of
                               Time to File Response/Reply/Answer by Ross University School of Medicine.
                               (Attachments:#1 Affidavit(Declaration ofRyan Roman in Support of Defendant's
                               Motion),# 2 Exhibit A to Declaration (First Request for Production ofDocuments),# 3
                               Exhibit B (First Set ofInterrogatories))(Roman, Ryan)(Entered: 08/23/2018)
  08/27/2018             64     RESPONSE to Motion re 63 Defendant's MOTION for Relief Under Rule 56(d) ofthe
                                Federal Rules of Civil Procedure or, Altematively, Motion for Extension of Time to
                                Respond to Summary Judgment filed by Oluwamuyiwa Awodiya. Replies due by
                                9/4/2018.(kpe)(Entered: 08/27/2018)
  08/27/2018                   Declaration in Support re 64 Response to Motion, by Oluwamuyiwa Awodiya.(kpe)
                               (Entered: 08/27/2018)

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  08/29/2018             66     PAPERLESS ORDER.THIS CAUSE came before the Court upon Defendant's MOTION
                                for Relief Under Rule 56(d) ofthe Federal Rules of Civil Procedure or, alternatively,
                                Motion for Extension of Time to Respond to Plaintiffs Motion for Partial Summary
                                Judgment. 63 . Therein, Defendant requests that the Court deny or defer ruling on
                                Plaintiffs Motion for Partial Summary Judgment 61 or alternatively, requests that the
                                Court grant Defendant a thirty(30)day extension oftime to respond to Plaintiffs Motion
                                for Summary Judgment. Plaintiff responded in opposition arguing that the Court should
                                deny Defendant's request. M •

                                Federal Rule of Civil Procedure 56(d) authorizes a party opposing a summary judgment
                                motion to file a motion for additional time to conduct discovery so that it may
                                appropriately oppose the motion. See Fed. R. Civ. P. 56(d); Reflectone, Inc. v. Farrand
                                Optical Co.,Inc., 862 F.2d 841,843(11th Cir. 1989). Specifically, the Rule permits a
                                court to(1)defer consideration of a summary Judgment motion or deny it,(2)allow
                                additional time for the norunovant to obtain affidavits, declarations, or take additional
                                discovery, and (3)issue any other appropriate order upon a showing by the nonmovant
                                that "it caimot present facts essential to justify its opposition." Fed. R. Civ. P. 56(d). The
                                protection afforded by Rule 56(d)is designed to safeguard against a premature grant of
                                summary judgment. Smith v. Florida Dep't of Corr., 713 F.3d 1059, 1064(11th Cir.
                                2013). It is widely recognized that courts should grant a Rule 56(d) motion when the
                                discovery sought is "relevant to the issues presented by the motion for summary
                               judgment." Snook v. Trust Co. of Ga. Bank of Savannah, 859 F,2d 865,870(11th Cir.
                               1988); see also Baron Servs., Inc. v. Media Weather Innovations LLC,717 F.3d 907,912
                               (Fed. Cir. 2013). On the other hand. Rule 56(d)is not designed to save a case from
                               summary judgment for a party who is merely seeking to embark on an evidentiary fishing
                                expedition. See e.g., Ellis v. J.R.'s Country Stores, Inc., 779 F.3d 1184, 1208(10th Cir.
                                2015).

                                Plaintiff initiated the instant action on March 6, 2018 alleging five counts against
                                Defendant.1. On April 9,2018,Plaintiff filed an Amended Complaint. 21. Then, with
                                leave ofthe Court, Plaintifffiled a Second Amended Complaint on May 14,2018. 39.
                                Finally, on July 16, 2018,Plaintifffiled a Third Amended Complaint alleging ten counts
                                against Defendant. 47 . On August 13,2018, Defendant filed its answers and affirmative
                                defenses 59 ,and three days later, on August 16, 2018,Plaintifffiled a Motion for Partial
                                Summary Judgment.^. Defendant recently served is first set of discovery requests and
                                argues that there are a number of key areas for which discovery is necessary in this
                                action, including, discovery into Plaintiffs alleged disabilities, requests for
                                accommodations,treatments sought and diagnoses made by third parties. 63.UPON
                                CONSIDERATION ofthe Motion, the Response, the pertinent portions ofthe record, and
                                being otherwise fully advised in the premises, it is hereby ORDERED AND
                                ADJUDGED that Defendant's Motion 63 is GRANTED IN PART and DENIED IN
                                PART. Defendant's Request for Relief Under Rule 56(d) is GRANTED and thus,
                                Defendant's Motion for an Extension ofTime is DENIED AS MOOT.It is further
                                ORDERED that Plaintiffs Motion for Partial Summary Judgment is DENIED WITHOUT
                                PREJUDICE as premature. Signed by Chief Judge K. Michael Moore on 8/29/2018.
                                GmOl)(Entered: 08/29/2018)
  09/04/2018             67    MOTION for Partial Judgment on the Pleadings by Oluwamuyiwa Awodiya.
                               (Attachments:#i Declaration in Support)(kpe)(Entered: 09/05/2018)
  09/07/2018             68     Unopposed MOTION for Insurance Claims Adjuster to Appear Telephonically at
                                Settlement Conference re^Order,, Set/Reset Hearings, by Ross University School of
                                Medicine.(Roman, Ryan)(Entered: 09/07/2018)
  09/07/2018             69    PAPERLESS ORDER denying M Motion for Insurance Claims Adjuster to Appear
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                     Telephonically at Settlement Conference. Signed by Magistrate Judge Barry S. Seltzer on
                                9/7/2018.(pbOO)(Entered: 09/07/2018)
  09/18/2018              70    RESPONSE in Opposition re^MOTION for Judgment on the Pleadings filed by Ross
                                University School ofMedicine. Replies due by 9/25/2018.(Roman, Ryan)(Entered:
                                09/18/2018)
  09/24/2018             21     REPLY to 70 Response in Opposition to Motion by Oluwamuyiwa Awodiya.(kpe)
                                (Entered: 09/24/2018)
   10/01/2018             72    REPORT on Settlement Conference.(Case did not settle) Signed by Magistrate Judge
                                Barry S. Seltzer on 10/1/2018. See attached documentforfull details.(pbOO) Text
                                Modified on 10/1/2018 (cqs).(Entered: 10/01/2018)
   10/01/2018             73    PAPERLESS Minute Entry for proceedings held before Magistrate Judge Barry S.
                                Seltzer: Settlement Conference held on 10/1/2018. Case reached an Impasse. Attorney
                                Appearance(s): Ryan Roman for the Defendant, Oluwamuyiwa Awodiya (PlaintiffPro
                                Se)(Digital 9:33:22-9:38:50)(at)(Entered: 10/01/2018)
   10/02/2018             74    ORDER OF RECUSAL signed by Magistrate Judge Barry S. Seltzer on 10/1/2018.
                                Magistrate Judge Barry S. Seltzer recused. Case randomly reassigned by Clerk to
                                Magistrate Judge Alicia 0. Valle for all further proceedings. See attached documentfor
                               full details,(ane)(Entered: 10/02/2018)
  10/30/2018             75     Unopposed MOTION to Seal Exhibit to Motion to Compel per Local Rule 5.4 by Ross
                                University School of Medicine.(Attachments:#1 Text ofProposed Order Granting
                                Unopposed Motion)(Roman,Ryan)(Entered: 10/30/2018)
  10/30/2018             76    Defendant's MOTION to Compel Plaintiffs Production ofDocuments and Better
                               Responses to Interrogatories by Ross University School of Medicine. Responses due by
                               11/13/2018 (Attachments:#i Exhibit A (First Set ofInterrogatories),# 2 Exhibit B (First
                               Request for Production),# 3 Exhibit C(Responses to Interrogatories),# 4 Exhibit D
                               (Responses to Request for Production),# 5 Exhibit E(Stipulated Protective Order),# 6
                               Exhibit F(Amended Responses to Interrogatories),# 7 Exhibit G(Amended Responses
                               to Request for Production),# 8 Exhibit H(Filed Under Seal))(Roman, Ryan)(Entered:
                                10/30/2018)
  10/31/2018             77     PAPERLESS ORDER granting 75 Defendant's Unopposed Motion for Leave to File
                                Exhibit to Motion to Compel Under Seal. Signed by Magistrate Judge Alicia 0. Valle on
                                10/31/2018.(sdOl)(Entered: 10/31/2018)
  10/31/2018             78     ORDER Setting Hearing on Motion 76 Defendant's Motion to Compel PlaintifPs
                               Production ofDocuments and Better Responses to Interrogatories. Hearing set for
                                11/16/2018 at 10:30 AM in Fort Lauderdale Division before Magistrate Judge Alicia 0.
                                Valle. Signed by Magistrate Judge Alicia O, Valle on 10/31/2018. See attached document
                               forfull details.(sdOl)(Entered: 10/31/2018)
  10/31/2018                   SYSTEM ENTRY - Docket Entry 79[misc] restricted/sealed until further notice.
                               (1029398)(Entered: 10/31/2018)
  10/31/2018             80     Clerks Notice to Filer re 79 Sealed Document. Document Not Captioned; In the future
                                when filing a Sealed Document the Filer must File a Notice ofFiling with the Exhibit
                                attached with the proper caption pursuant to Local Rules. It is not necessary to refile this
                                document,(nc)(Entered: 11/01/2018)
  11/02/2018                    MOTION to Continue Hearing on Defendant's Motion to Compel by Ross University
                                School of Medicine. Attorney Octavia Monique Green added to party Ross University
                                School of Medicine(pty:dft). Responses due by 11/16/2018(Green, Octavia)(Entered:
                                11/02/2018)
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  11/02/2018             82     PAPERLESS ORDER granting M Joint Motion to Continue Hearing on Defendant's
                                Motion to Compel. Hearing set for 11/21/2018 at 1:30 PM in Fort Lauderdale Division
                                before Magistrate Judge Alicia 0. Valle. Signed by Magistrate Judge Alicia 0. Valle on
                                11/2/2018.(sdOl)(Entered: 11/02/2018)
  11/06/2018                    MOTION for Protective Order by Oluwamuyiwa Awodiya.(kpe)(Entered: 11/07/2018)
  11/06/2018             84     RESPONSE in Opposition to 76 Defendant's MOTION to Compel Plaintiffs Production
                                ofDocuments and Better Responses to Interrogatories filed by Oluwamuyiwa Awodiya.
                                See DE 83 for image. Replies due by 11/13/2018.(kpe)(Entered: 11/07/2018)
  11/08/2018             85    PAPERLESS ORDER Setting Hearing on^Plaintiffs Motion for Protective Order(the
                               "Motion"). Hearing set for 11/21/2018 at 1:30 PM in Fort Lauderdale Division before
                                Magistrate Judge Alicia 0. Valle. The parties are to include the Motion in the Joint Status
                                Report required by ECF No. 78 . The deadline for filing the Joint Status Report is
                                extended to Friday, November 16,2018. Signed by Magistrate Judge Alicia 0. Valle on
                                11/8/2018.(sdOl)(Entered: 11/08/2018)
  11/12/2018             M      RESPONSE in Opposition re M MOTION for Protective Order filed by Ross University
                                School of Medicine. Replies due by 11/19/2018.(Green, Octavia)(Entered: 11/12/2018)
  11/16/2018             87     NOTICE by Ross University School of Medicine re 85 Order Setting Hearing on Motion,
                                Notice ofFiling Joint Status Report(Green, Octavia)(Entered: 11/16/2018)
  11/19/2018             M      REPLY to Response in Opposition to Plaintiffs M MOTION for Protective Order filed
                                by Oluwamuyiwa Awodiya.(kpe)(Entered: 11/20/2018)
  11/19/2018                   Second MOTION for Judicial Notice by Oluwamuyiwa Awodiya.(Attachments:#i
                               Declaration in Support)(kpe)(Entered: 11/20/2018)
  11/20/2018             90    NOTICE of Courtroom Assignment. The Motion Hearing scheduled on 11/21/2018 at
                               1:30pm before US Magistrate Judge Alicia 0. Valle will be held in Courtroom 207 at the
                               Federal Courthouse in Fort Lauderdale FL.(tpl)(Entered: 11/20/2018)
  11/21/2018             91    PAPERLESS ORDER GRANTING ACCESS TO ELECTRONIC DEVICES IN THE
                               COURTROOM FOR DISCOVERY HEARING. This cause comes before the Court upon
                               Plaintiffs appearance at the Courthouse on November 21,2018 with a cell phone and
                               laptop in advance ofthe discovery hearing scheduled for this afternoon. Given Plaintiffs
                               pro se status, the Court will consider his presentation at the Courthouse as an ore tenus
                               request for electronic devices to be allowed into the Courthouse for use during the
                               hearing. Plaintiffs ore tenus request is GRANTED. Consequently, Plaintiff and Defense
                               coimsel may bring cell phones and laptops into the discovery hearing before the
                               undersigned. Signed by Magistrate Judge Alicia 0. Valle on 11/21/2018.(sdOl)(Entered:
                               11/21/2018)
  11/21/2018             92    PAPERLESS Minute Entry for proceedings held before Magistrate Judge Alicia 0. Valle:
                               Motion Hearing held on 11/21/2018 re 76 Defendant's MOTION to Compel Plaintiffs
                               Production ofDocuments and Better Responses to Interrogatories filed by Ross
                               University School of Medicine,M MOTION for Protective Order filed by Oluwamuyiwa
                                Awodiya. Oral argument heard from both sides. Order to follow. Total time in court: 2
                                hour(s). Attorney Appearance(s): Ryan Roman, Octavia Monique Green, Oluwamuyiwa
                                Awodiya.(Digital 13:41:23)(tpl)(Entered: 11/21/2018)
  11/21/2018             93    PAPERLESS ORDER ON DISCOVERY MOTIONS.For the reasons stated on the
                               record at the hearing held on November 21, 2018,76 Defendant's Motion to Compel
                               Plaintiffs Production of Documents and Better Responses to Interrogatories is
                                GRANTED IN PART AND DENIED IN PART. Additionally, M Plaintiffs Motion for

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                               Protective Order is DENIED. Signed by Magistrate Judge Alicia 0. Valle on 11/21/2018.
                               (sdOl)(Entered: 11/21/2018)
  11/28/2018              94    NOTICE by Ross University School of Medicine ofFiling the Parties'Proposed
                                Stipulated Protective Order(Attachments:#i Text ofProposed Order,# 2 Text of
                                Proposed Order)(Green, Octavia)(Entered: 11/28/2018)
  11/30/2018             95     PAPERLESS ORDER REGARDING 94 Notice ofFiling the Parties' Proposed Stipulated
                                Protective Order Governing Discovery Material (the "Notice"). The Notice contains two
                                competing versions ofa proposed Stipulated Protective Order and advises that the
                                "Parties were unable to agree on the language in paragraph 8 and paragraph 11" ofthe
                                proposed orders.(ECF No. 94 ). Upon review ofthe Notice, the proposed orders, and
                               being fully advised in the matter, the Court approves the version of the Stipulated
                               Protective Order at ECF No.[94-2] as appropriate for this case. Consequently, the parties
                               are to execute [94-2]the Stipulated Protective Order and file the same with the Court for
                               final execution. The Court finds that a hearing is unnecessary and DENIES Plaintiffs
                               request for ahearing. Signed by Magistrate Judge Alicia 0, Valle on 11/30/2018.(sdOl)
                               (Entered: 11/30/2018)
  11/30/2018             96     MOTION for Extension of Time to File Response/Reply/Answer as to^MOTION
                                Judicial Notice by Ross University School of Medicine.(Attachments:#i Text of
                                Proposed Order)(Green, Octavia)(Entered: 11/30/2018)
  12/03/2018             97     PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendants'
                                Unopposed Motion for Extension of Time to Respond to Plaintiffs Second Motion for
                                Judicial Notice 96.UPON CONSIDERATION ofthe Motion,the pertinent portions of
                                the record, and being otherwise fully advised in the premises, it is hereby O^^ERED
                                AND ADJUDGED that the Motion 96 is GRANTED.Defendants shall respond to
                                Plaintiffs Second Motion for Judicial Notice^on or before December 10, 2018. Signed
                                by Chief Judge K. Michael Moore on 12/3/2018.(ah03)(Entered: 12/03/2018)
  12/03/2018             98     NOTICE by Ross University School of Medicine re 95 Order,,,(Notice ofFiling the
                                Parties'Stipulated Protective Order Governing Discovery Material)(Attachments:#i
                                Exhibit 1 (Stipulated Protective Order Executed by the Parties))(Roman,Ryan)(Entered:
                                12/03/2018)
  12/03/2018             99     STIPULATED PROTECTIVE ORDER GOVERNING DISCOVERY MATERIAL.
                                Signed by Magistrate Judge Alicia 0. Valle on 12/3/2018. See attached documentforfull
                                details.(sdOl)(Entered: 12/03/2018)
  12/10/2018            100     RESPONSE in Opposition re M MOTION Judicial Notice filed by Ross University
                                School of Medicine. Replies due by 12/17/2018.(Green, Octavia)(Entered: 12/10/2018)
  12/10/2018            101     Plaintiffs Statement of Material Facts in Support ofPlaintiffs Second 102 MOTION for
                                Partial Summary Judgment by Oluwamuyiwa Awodiya.(kpe)(Entered: 12/11/2018)
  12/10/2018            102     Plaintiffs Second MOTION for Partial Summary Judgment by Oluwamuyiwa Awodiya.
                                Responses due by 12/26/2018.(Attachments:#1 Declaration In Support)(kpe)(Entered:
                                12/11/2018)
  12/12/2018            103     MOTION for Extension of Time To Continue Pretrial Deadlines by Ross University
                                School of Medicine. Responses due by 12/26/2018(Attachments:#i Text ofProposed
                                Order)(Green, Octavia)(Entered: 12/12/2018)
  12/13/2018            104     PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's Motion to
                                Continue Pretrial Deadlines 103 . Therein, Defendant seeks a thirty(30)day extension of
                                the discovery deadline for the purpose of allowing Defendant to supplement and/or
                                amend its expert report in light ofPlaintiffs Third Amended Calculation ofDamages,

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                                which was served on the last day of discovery. 103 at 1. Defendant also seeks an
                                extension ofthe deadline to file pretrial motions in order to incorporate information
                                related to damages. UPON CONSIDERATION ofthe Motion,the pertinent portions of
                                the record, and being otherwise ftilly advised in the premises, it is hereby ORDER AND
                                ADJUDGED that the Motion JLQ3 is GRANTED IN PART and DENIED IN PART. The
                                deadline for discovery is extended through December 28, 2018 for the limited purpose of
                                allowing Defendant to supplement and/or amend its expert report in light ofPlaintiffs
                                Third Amended Calculation ofDamages. It is fiirther ORDERED that Defendant shall
                                file any pretrial motions on or before January 4, 2019. Signed by Chief Judge K. Michael
                                Moore on 12/13/2018.(ah03)(Entered: 12/13/2018)
  12/13/2018            105     ORDER denying 67 Motion for Judgment on the Pleadings. Signed by Chief Judge K.
                                Michael Moore on 12/13/2018. See attached documentforfull details.(jmOl)(Entered;
                                12/13/2018)
  12/17/2018            106     REPLY to Response In Opposition to Second M MOTION for Judicial Notice filed by
                                Oluwamuyiwa Awodiya.(kpe)(Entered: 12/18/2018)
  12/21/2018            107     RESPONSE in Opposition re 102 MOTION for Partial Summary Judgment filed by Ross
                                University School of Medicine. Replies due by 12/28/2018.(Attachments:#1 Statement
                                ofMaterial Facts in Opposition to 2nd Motion for Partial Summary Judgment,# 2
                                Declaration of Ryan Roman in Support of Opposition to Second Motion for Partial
                                Summary Judgment)(Roman,Ryan)(Entered: 12/21/2018)
  12/26/2018            108     Unopposed MOTION for Clarification ofthe Court's Order on Defendant's Motion to
                                Continue Pretrial Deadlines re 104 Order, by Oluwamuyiwa Awodiya. Responses due by
                                1/9/2019.(kpe)(Entered: 12/27/2018)
  12/27/2018            109    PAPERLESS ORDER. THIS CAUSE came before the Court upon Plaintiffs Motion for
                               Clarification 108 . Therein, Plaintiffrequests cleirification ofthe Court's Order granting
                               Defendant an extension oftime to file pretrial motions 104 because the Order did not
                               address an extension oftime for Plaintiff as well. Plaintiff has already filed a Motion for
                               Summary Judgment 102 but has not filed any other pretrial motions and requests an
                               extension oftime to do so. UPON CONSIDERATION ofthe Motion 108 ,the pertinent
                               portions ofthe record, and being otherwise fiilly advised in the premises, it is hereby
                               ORDERED AND ADJUDGED that Plaintiff shall have until on or before January 4,
                               2019 to file any additional pretrial motions, motions in limine, or Daubert motions. All
                                other deadlines, including the deadline to conduct mediation, remain in effect. Signed by
                                Chief Judge K. Michael Moore on 12/27/2018.(ah03)(Entered: 12/27/2018)
  12/27/2018            110    NOTICE by Ross University School of Medicine re 107 Response in Opposition to
                               Motion,Filing Corrected Exhibit(Attachments:#i Exhibit)(Green, Octavia)(Entered:
                               12/27/2018)
  miimn                 111     Joint MOTION to Set Aside Mediation or, Alternatively, To Extend Deadline to Conduct
                                Mediation by Ross University School of Medicine.(Attachments:#1 Text ofProposed
                                Order)(Green, Octavia)(Entered: 12/27/2018)
  12/28/2018            112    PAPERLESS ORDER. THIS CAUSE came before the Court upon a Joint Motion to
                               Excuse Mediation or. Alternatively, for an Extension of Time to Conduet Mediation ill.
                               Therein,the Parties state that they attended a settlement conference in October, which
                               ended in an impasse, and that the Parties believe that any further efforts to mediate this
                               case would be fruitless. On May 14, 2018, the Court entered a Paperless Order of
                                Referral to Mediation 38 requiring all parties to participate in mediation no later than
                               eighty(80)days before the scheduled trial date. On August 9,2018,the Court referred
                               the ease to a Magistrate Judge for Settlement Conference 52 and specifically noted that
                               "The Court's Order of Referral to Mediation 38 remains in effect. Ifthe Parties do not

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                                reach a settlement agreement during the settlement conference,the Parties must comply
                                with the Court's Order ofReferral to Mediation." 52. This was reiterated again in the
                                Court's second Order Referring the Case for Settlement Conference. 54.Now,the day
                                before the Parties' deadline to conduct mediation, the Parties request that the Court
                                excuse them from their mediation obligations. Accordingly, UPON CONSIDERATION
                                ofthe Joint Motion,the pertinent portions ofthe record, and being otherwise fully
                                advised in the premises, it is hereby ORDERED AND ADJUDGED that the Joint Motion
                                111 is GRANTED IN PART and DENIED IN PART. The Parties are not excused from
                                mediation. The Parties shall conduct mediation on or before January 4,2019. The
                                physical presence of counsel and each party or representatives of each party with full
                                authority to enter in a full and complete compromise and settlement is mandatory. Within
                                one(1)day following the mediation conference, the mediator shall file a Mediation
                                Report indicating whether all required parties were present. The report shall also indicate
                                whether the case settled (in fiill or in part) or whether the mediator declared an impasse.
                                Signed by Chief Judge K. Michael Moore on 12/28/2018.(ah03)(Entered: 12/28/2018)
  01/03/2019            113     Reply Declaration In Support ofi02 Second MOTION for Partial Summary Judgment
                                filed by Oluwamuyiwa Awodiya.(kpe)(Entered: 01/04/2019)
  01/03/2019            114     Reply In Support of102 Second MOTION for Partial Summary Judgment filed by
                                Oluwamuyiwa Awodiya.(kpe)(Entered: 01/04/2019)
  01/03/2019              15   REPLY Statement of Material Facts In Support of 102 Second MOTION for Partial
                               Summary Judgment by Oluwamuyiwa Awodiya.(kpe)(Entered: 01/04/2019)
  01/04/2019            116     MOTION in Limine To Exclude Reference to Adtalem Global Education Inc. and Its Net
                                Worth by Ross University School of Medicine.(Attachments:#1 Exhibit)(Green,
                                Octavia)(Entered: 01/04/2019)
  01/04/2019            117     MOTION to Strike and Preclude PlaintiffFrom Testifying to Improper Lay Opinions by
                                Ross University School of Medicine. Responses due by 1/18/2019(Attachments: #1
                                Exhibit)(Green, Octavia)(Entered: 01/04/2019)
  01/04/2019            118     NOTICE by Laurie L. Riemer . Attorney Laurie L. Riemer added to party Laurie L.
                                Riemer(pty:med).(Riemer, Laurie)(Entered: 01/04/2019)
  01/04/2019            119     Statement of: Statement of Material Facts in Support of Motion for Summary Judgment
                                by Ross University School of Medicine (Attachments:#i Exhibit Declaration of R.
                               Roman,# 2 Exhibit 1 to Declaration of R. Roman,# 3 Exhibit 2to Declaration of R.
                               Roman,# 4 Exhibit 3 to Declaration ofR. Roman,# 5 Exhibit 4 to Declaration ofR.
                               Roman,# 6 SEALED - Exhibit 5 to Declaration ofR.Roman,# 7 Exhibit 6 to
                               Declaration ofR.Roman,# 8 Exhibit 7 to Declaration ofR.Roman,# 9 Exhibit 8 to
                               Declaration ofR. Roman,# iO Exhibit 9 to Declaration of R. Roman,# 11 Exhibit 10 to
                               Declaration of R. Roman,#12 Exhibit 11 to Declaration ofR.Roman,# 13 Exhibit 12 to
                               Declaration of R. Roman,# 14 Exhibit 13 to Declaration ofR.Roman,# 15 Exhibit 14 to
                               Declaration of R. Roman,# 16 Exhibit 15 to Declaration ofR. Roman,#17 Exhibit 16 to
                               Declaration ofR.Roman,# 18 SEALED - Exhibit 17 to Declaration ofR. Roman,# 19
                               Exhibit 18 to Declaration ofR. Roman,# 20 Exhibit 19 to Declaration ofR. Roman,# 21
                               Exhibit 20 to Declaration ofR. Roman,# 22 Exhibit 21 to Declaration of R. Roman,# 23
                               Exhibit 22 to Declaration ofR. Roman,# 24 Exhibit 23 to Declaration ofR. Roman,# 25
                               Exhibit 24 to Declaration ofR. Roman,# 26 Exhibit 25 to Declaration ofR. Roman,#
                               SEALED -(27)Exhibit 26 to Declaration of R. Roman,# 28 Exhibit 27 to Declaration of
                               R. Roman)(Green, Octavia)-Modified/Sealed Exhibits per(129) Order on 1/11/2019
                               (gp).-(Entered: 01/04/2019)
  01/04/2019            120     MOTION for Summary Judgment by Ross University School of Medicine. Responses
                                due by 1/18/2019(Attachments: #1 Exhibit A)(Green, Octavia)(Entered: 01/04/2019)
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  01/08/2019            121    ORDER granting in part and denying in part^Motion for Judicial Notice. Signed by
                               Chief Judge K. Michael Moore on 1/8/2019. See attached documentforfull details.
                               (ah03)(Entered: 01/08/2019)
  01/08/2019            122    PAPERLESS ORDER TO SHOW CAUSE. THIS CAUSE came before the Court upon a
                               sua sponte review ofthe record. On May 14, 2018,the Court entered a Paperless Order of
                               Referral to Mediation 38 requiring all parties to participate in mediation no later than
                               eighty(80)days before the scheduled trial date. On December 28,2018,the Court
                               entered a Paperless Order denying the Parties request to be excused from mediation and
                               ordering the Parties to conduct mediation on or before January 4, 2019. 112.The Order
                               also stated that "Within one(1)day following the mediation conference, the mediator
                               shall file a Mediation Report indicating whether all required parties were present. The
                               report shall also indicate whether the case settled (in frill or in part) or whether the
                               mediator declared an impasse." The Parties are hereby ORDERED to show cause by
                               January 10,2019 as to why no Mediation Report has been filed and also to provide a
                               status report to the Court. Failure to do so may result in the imposition of sanctions.
                               Signed by Chief Judge K. Michael Moore on 1/8/2019.(ah03)(Entered: 01/08/2019)
  01/09/2019            123    FINAL MEDIATION REPORT by Laurie Riemer. Disposition: Case did not settle.
                               (Green, Octavia)(Entered: 01/09/2019)
  01/09/2019            124    RESPONSE TO ORDER TO SHOW CAUSE re 122 Order to Show Cause,,,, by Ross
                               University School ofMedicine.(Green, Octavia)(Entered: 01/09/2019)
  01/09/2019            125    MOTION in Limine to Exclude Evidence Regarding Uncertainty of Damages,Ex-
                               girlfriend, Counseling Notes, and Judicial Admissions by Oluwamuyiwa Awodiya.(kpe)
                               Modified to restrict document due to error on 1/9/2019. See DE 127 for image (cbr).
                               (Entered: 01/09/2019)
  01/09/2019            126     MOTION to Exclude the Expert Testimony ofRonald Quintero by Oluwamuyiwa
                                Awodiya.(kpe)(Entered: 01/09/2019)
  01/09/2019            127     Clerks Notice ofDocket Correction re 125 MOTION in Limine. Document Restricted
                               Due to Error; The correct document has been attached to this notice. Original filing
                               missing pages,(cbr)(Entered: 01/09/2019)
  01/11/2019            128    MOTION to Seal per Local Rule 5.4 by Ross University School of Medicine.
                               (Attachments:#i Text ofProposed Order Proposed Order)(Green, Octavia)(Entered:
                               01/11/2019)
  01/11/2019            129    PAPERLESS ORDER.THIS CAUSE came before the Court upon Defendant's Motion to
                               Seal J28.Having reviewed the Motion to Seal, the Court finds good cause to seal the
                               materials requested. Accordingly, UPON CONSIDERATION ofthe Motion, the pertinent
                                portions ofthe record, and being otherwise fully advised in the premises, it is hereby
                                ORDERED AND ADJUDGED that the Motion 128 is GRANTED. The Clerk of Court is
                               DIRECTED to maintain under SEAL Exhibits 5, 17, and 26 to the Declaration ofRyan
                               Roman,[119-6],[119-18] and [119-27], until frrrther order ofthis Court, or upon the
                               conclusion ofthis litigation, including any appeals. Signed by Chief Judge K. Michael
                               Moore on 1/11/2019.(ah03)(Entered: 01/11/2019)
  01/11/2019            130     CLERK'S NOTICE OF COMPLIANCE with 129 PAPERLESS ORDER.DIRECTING
                                The Clerk of Court to maintain under SEAL Exhibits 5, 17, and 26 to the Declaration of
                                Ryan Roman,[119-6],[119-18] and [119-27], until further order ofthis Court, or upon
                                the conclusion ofthis litigation, including any appeals,(gp)(Entered: 01/11/2019)
  01/22/2019            131     RESPONSE in Opposition re 125 MOTION in Limine to Exclude Evidence Regarding
                                Uncertainty ofDamages, Ex-Girlfriend, Counseling Notes, and Judicial Admissions f\\c^
                                by Ross University School of Medicine. Replies due by 1/29/2019.(Attachments:#i
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                               Exhibit A,#2 Exhibit B,# 3 Exhibit C,# 4 Exhibit D,# 5 Exhibit E,# 6 Exhibit F)
                               (Green, Octavia)(Entered: 01/22/2019)
  01/22/2019            132    STRICKEN RESPONSE in Opposition re 126 MOTION in Limine to Exclude Evidence
                               Regarding Uncertainty ofDamages, Ex-Girlfriend, Counseling Notes, and Judicial
                               Admissions filed by Ross University School of Medicine. Replies due by 1/29/2019.
                               (Attachments:#i Exhibit A,# 2 Exhibit B,# 3 Exhibit C,#4 Exhibit D)(Green,
                               Octavia) Modified on 1/23/2019 per DE 134 Notice of Striking (kpe).(Entered:
                                01/22/2019)
  01/22/2019            133     RESPONSE in Opposition re 126 MOTION in Limine/Daubert Motion to Exclude the
                                Expert Testimony ofRonald Quintero and Incorporated Memorandum ofLaw filed by
                                Ross University School ofMedicine. Replies due by 1/29/2019.(Attachments:#1
                                Exhibit A,# 2 Exhibit B,# 3 Exhibit C,# 4 Exhibit D)(Green, Octavia)(Entered:
                                01/22/2019)
  01/22/2019            134     NOTICE by Ross University School of Medicine re 132 Response in Opposition to
                                Motion,(Request to Strike DE 132)(Green, Octavia)(Entered: 01/22/2019)
  01/23/2019            135     PAPERLESS ORDER.THIS CAUSE came before the Court upon Defendant's Notice to
                                Strike 134 the Response In Opposition to Plaintiffs Daubert Motion 132.Defendant
                                timely filed a corrected Response at 133.UPON CONSIDERATION ofthe Notice, the
                                pertinent portions ofthe record, and being otherwise fully advised in the premises, it is
                                hereby ORDERED AND ADJUDGED that Defendant's Response In Opposition to
                                Plaintiffs Daubert Motion at 132 is STRICKEN. The Clerk ofthe Court is instructed to
                                STRIKE the Response In Opposition to Plaintiffs Daubert Motion 132. Signed by Chief
                                Judge K. Michael Moore on 1/23/2019.(ah03)(Entered: 01/23/2019)
  01/28/2019            136     RESPONSE in Opposition re 117 MOTION to Strike and Preclude PlaintiffFrom
                                Testifying to Improper Lay Opinions filed by Oluwamuyiwa Awodiya. Replies due by
                                2/4/2019.(Is)(Entered: 01/29/2019)
  01/28/2019            137     RESPONSE in Opposition re 120 MOTION for Summary Judgment filed by
                                Oluwamuyiwa Awodiya. Replies due by 2/4/2019.(Is)(Entered: 01/29/2019)
  01/28/2019            138     AFFIDAVIT/DECLARATION re 137 Response in Opposition to Motion by
                                Oluwamuyiwa Awodiya (Is)(Entered: 01/29/2019)
  01/28/2019            139     Statement of: Material Facts in Opposition by Oluwamuyiwa Awodiya re 120 MOTION
                                for Summary Judgment(Is)(Entered: 01/29/2019)
  01/28/2019            140     MOTION for Judicial Notice re 137 Response in Opposition to Motion by Oluwamuyiwa
                                Awodiya.(Is)(Entered: 01/29/2019)
  02/04/2019            141     REPLY to Response to Motion re 117 MOTION to Strike and Preclude PlaintiffFrom
                                Testifying to Improper Lay Opinions filed by Ross University School of Medicine.
                               (Green, Octavia)(Entered: 02/04/2019)
  02/04/2019            142     RESPONSE in Support re 120 MOTION for Summary Judgment filed by Ross
                                University School ofMedicine.(Green, Octavia)(Entered: 02/04/2019)
  02/04/2019            143     RESPONSE to 139 Statement of Material Facts ,filed by Ross University School of
                                Medicine.(Attachments:#1 Affidavit Supporting Declaration ofRyan Rortian)(Green,
                                Octavia) Modified on 2/5/2019(kpe).(Entered; 02/04/2019)
  02/05/2019            144     Clerks Notice to Filer re 143 Reply to Response to Motion. Incorrect Document Link;
                                ERROR - The filed document was not correctly linked to the related docket entry. The
                                correction was made by the Clerk. It is not necessary to refile this document but future

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                    filings must comply with the instructions in the CM/ECF Attorney User's Manual,(kpe)
                               (Entered: 02/05/2019)
  02/05/2019            145    REPLY in Support ofPlaintiffs 125 MOTION in Limine filed by Oluwamuyiwa
                               Awodiya.(kpe)(Entered: 02/05/2019)                                 ^
  02/05/2019            146    REPLY in Support ofPlaintiffs J26 MOTION to Exclude filed by Oluwamuyiwa
                               Awodiya.(kpe)(Entered: 02/05/2019)
  02/12/2019            147    RESPONSE in Opposition re 140 MOTION for Judicial Notice re 137 Response in
                               Opposition to Motion filed by Ross University School of Medicine. Replies due by
                               2/19/2019.(Attachments:#1 Exhibit A)(Green, Octavia)(Entered: 02/12/2019)
  02/19/2019            148    REPLY to Plaintiffs Request for 140 Judicial Notice in Support ofPlaintiffs Response in
                               Opposition to Defendant's Motion for Summary Judgment filed by Oluwamuyiwa
                               Awodiya.(kpe)(Entered: 02/19/2019)
  02/28/2019            149    PRETRIAL STIPULATION by Ross University School of Medicine (Attachments:#i
                               Exhibit 1,# 2 Exhibit 2,# 3 Exhibit 3,# 4 Exhibit 4)(Roman, Ryan)(Entered:
                               02/28/2019)

  02/28/2019            150    Proposed Voir Dire Questions by Ross University School ofMedicine.(Green, Octavia)
                               (Entered: 02/28/2019)
  03/01/2019           151 NOTICE by Ross University School of Medicine re 149 Pretrial Stipulation - NOTICE
                               OF FILING PLAINTIFF'S STATEMENT OF THE CASE(Attachments: #i Exhibit A)
                               (Green, Octavia)(Entered: 03/01/2019)
  03/01/2019            152    NOTICE by Ross University School of Medicine re 149 Pretrial Stipulation - NOTICE
                               OF FILING PLAINTIFFS OBJECTIONS TO DEFENDANTS EXHIBIT LIST
                               (Attachments:#1 Exhibit A)(Green, Octavia)(Entered: 03/01/2019)
  03/01/2019            153    MOTION to Bring Electronic Equipment into the courtroom by Ross University School
                               ofMedicine. Responses due by 3/15/2019(Attachments:#i Text ofProposed Order)
                               (Green, Octavia)(Entered: 03/01/2019)

  03/02/2019            154    ORDER denying 102 Motion for Partial Summary Judgment; granting in part and
                               denying in part 120 Motion for Summary Judgment. Signed by Chief Judge K.Michael
                               Moore on 3/2/2019. See attached documentforfull details. GmOl)(Entered: 03/02/2019)
  03/02/2019           155     ORDER granting il6 Motion in Limine; granting in part and denying in part 117 Motion
                               to Strike ; denying 125 Motion in Limine; denying 126 Motion in Limine. Signed by
                               Chief Judge K. Michael Moore on 3/2/2019. See attached documentforfull details.
                               (jmOl)(Entered: 03/02/2019)
  03/04/2019            156     ORDER granting 153 Motion to Bring Electronic Equipment into the courtroom. Signed
                                by Chief Judge K. Michael Moore on 3/4/2019. See attached documentforfull details.
                               (ah03)(Entered: 03/04/2019)
  03/04/2019            157    PAPERLESS ORDER. THIS CAUSE came before the Court upon Plaintiffs Motion for
                               Judicial Notice 140. On December 27, 2018,the Court entered a Paperless Order
                                granting Plaintiff an extension oftime until January 4,2019 to file any additional pretrial
                                motions. 109.On January 28,2019 Plaintiff filed a Motion for Judicial Notice 140.A
                                district court has discretion in deciding how best to manage the cases before them, and
                               that discretion extends to whether to consider untimely motions. See Enwonwu v. Fulton-
                                Dekalb Hosp. Auth., 286 F. App'x 586,595 (11th Cir. 2008). Here, Plaintiff filed his
                                motion over three weeks after the Court's deadline for pretrial motions. Accordingly,
                                UPON CONSIDERATION ofthe Motion, the pertinent portion of the records, and being
                                otherwise fully advised in the premises, it is hereby ORDERED AND ADJUDGED that
https;//ecf.flsd.uscourts.gov/cgi-bin/DktRpt.pl?672516405673505-L_1_0-1                                                  20/26
8/24/2019USCA11 Case: 19-12832                      Document: 13-1
                                                               CM/ECF - Date    Filed:
                                                                        Live Database     08/28/2019
                                                                                      - flsd           Page: 25 of 280
                                Plaintiffs Motion 140 is DENIED WITHOUT PREJUDICE. Signed by Chief Judge K.
                                Michael Moore on 3/4/2019.(ah03)(Entered; 03/04/2019)
  03/05/2019            158     PAPERLESS Minute Entry for proceedings held before Chief Judge K. Michael Moore:
                                Final Pretrial Conference held on 3/5/2019. Issues addressed. Defense estimates
                                approximately 2-3 days for trial; trial to be held in Miami; parties to attend calendar call
                                on 3/14/2019 at 2:00 PM. Attorney Appearance(s): Ryan Roman, Octavia Monique
                                Green, Other appearances: Pro Se Plaintiff, Mr. Awodiya. Court Reporter: William
                                Romanishin, 305-523-5558/Bill Romanishin@flsd.uscourts.gov.(rgl)(Entered:
                                03/05/2019)
  03/06/2019            159     NOTICE ofFiling Discovery: Deposition Designations by Ross University School of
                                Medicine.(Attachments:#1 Exhibit A)(Green, Octavia)(Entered: 03/06/2019)
  03/08/2019            160     MOTION in Limine to Exclude New Theories ofLiability by Ross University School of
                                Medicine.(Green, Octavia)(Entered: 03/08/2019)
  03/08/2019            161    MOTION in Limine to Preclude PlaintiffFrom Introducing Documents Produced After
                               the Discovery Deadline Into Evidence by Ross University School of Medicine.
                               (Attachments:#1 Exhibit RUSM's Request for Production to Plaintiff,# 2 Exhibit Email
                               Correspondence)(Green, Octavia)(Entered: 03/08/2019)
  03/12/2019            162    Proposed Jury Instructions by Ross University School of Medicine.(Green, Octavia)
                               (Entered: 03/12/2019)
  03/12/2019            163    NOTICE by Ross University School of Medicine ofFiling Proposed Verdict Form
                               (Green, Octavia)(Entered: 03/12/2019)
  03/14/2019            164    PAPERLESS ORDER. THIS CAUSE came before the Court upon Plaintiffs telephonic
                               notiflcation that he cannot make the scheduled calendar call due to a flight cancellation.
                               The Court finds good cause to continue the calendar call and trial. Accordingly, UPON
                               CONSIDERATION ofthe notiflcation, the pertinent portions ofthe record, and being
                               otherwise fully advised in the premises, it is ORDERED AND ADJUDGED that the
                               calendar call scheduled for today, March 14, 2019 at 2:00 p.m. is hereby CANCELLED.
                               It is further ORDERED that the currently scheduled trial is continued to the the two-week
                               trial period commencing May 28,2019at 9 a.m. in Courtroom 13-1,(thirteenth floor)
                               United States Courthouse, 400 North Miami Avenue, Miami,Florida. All parties are
                               directed to report to the newly scheduled calendar call on May 23, 2019, at 2 p.m., at
                               which time all matters relating to the scheduled trial date may be brought to the attention
                               ofthe Court. The calendar call will take place in Courtroom 13-1 (thirteenth floor).
                                United States District Courthouse,400 North Miami Avenue, Miami,Florida. All other
                                deadlines not addressed herein are unaffected by this Order. Signed by Chief Judge K.
                                Michael Moore on 3/14/2019.(ah03)(Entered: 03/14/2019)
  03/26/2019            165     MOTION for Order to Designate Method ofDamage Calculations by Oluwamuyiwa
                                Awodiya.(kpe)(Entered: 03/27/2019)
  03/26/2019            166    RESPONSE to Defendant's 160 MOTION in Limine to Exclude New Theories of
                               Liability filed by Oluwamuyiwa Awodiya. Replies due by 4/2/2019.(kpe)(Entered:
                               03/27/2019)
  03/26/2019            167    RESPONSE to Defendant's 161 MOTION in Limine to Preclude PlaintiffFrom
                               Introducing Documents Produced After the Discovery Deadline Into Evidence filed by
                                Oluwamuyiwa Awodiya. Replies due by 4/2/2019.(kpe)(Entered: 03/27/2019)
  04/01/2019            168    MOTION to Continue Trial hy Ross University School of Medicine. Responses due by
                               4/15/2019(Attachments:#i Text ofProposed Order Proposed Order Granting
                               Defendant's Motion to Continue Trial)(Green, Octavia)(Entered: 04/01/2019)

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                                                                       Live Database    08/28/2019   Page: 26 of 280
  04/03/2019            169     RESPONSE in Opposition re 165 MOTION Order to Designate Method ofDamage
                                Calculations filed by Ross University School of Medicine. Attorney Donnie Marcel King
                                added to party Ross University School of Medicine(pty:dfl). Replies due by 4/10/2019.
                                (King,Donnie)(Entered: 04/03/2019)
  04/03/2019            170     REPLY to Response to Motion re 161 MOTION in Limine to Preclude PlaintiffFrom
                                Introducing Documents Produced After the Discovery Deadline Into Evidence filed by
                                Ross University School ofMedicine.(King, Donnie)(Entered: 04/03/2019)
  04/03/2019            171     REPLY to Response to Motion re 160 MOTION in Limine to Exclude New Theories of
                                Liability filed by Ross University School of Medicine.(King, Dormie)(Entered:
                                04/03/2019)

  04/08/2019            172     PAPERLESS ORDER REFERRING MOTIONS.PURSUANT to 28 U.S.C. § 636 and
                                the Magistrate Rules ofthe Local Rules ofthe Southern District ofFlorida, the above-
                                captioned cause is hereby referred to United States Magistrate Judge Alicia 0. Valle to
                                take all necessary and proper action as required by law regarding Defendant's Motions in
                                Limine 160 and 161 . Signed by Chief Judge K. Michael Moore on 4/8/2019.(ah03)
                                (Entered: 04/08/2019)
  04/08/2019            173     PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's Motion to
                                Continue Trial IM ■ Therein, Defendant request the Court continue trial until the second
                                week ofthe two-week trial period commencing May 28,2019 because the first week
                                conflicts with counsel's son's end of school year award ceremony in Chicago,Illinois.
                                The Court finds good cause to hold trial during the second week ofthe two-week trial
                                period. UPON CONSIDERATION ofthe Motion, the pertinent portions ofthe record,
                                and being otherwise fiilly advised in the premises, it is hereby ORDERED AND
                                ADJUDGED that the Motion 168 is GRANTED.Signed by Chief Judge K. Michael
                                Moore on 4/8/2019.(ah03)(Entered: 04/08/2019)
  04/08/2019            174     PAPERLESS ORDER REFERRING MOTION.PURSUANT to 28 U.S.C. § 636 and the
                                Magistrate Rules ofthe Local Rules ofthe Southern District of Florida, the above-
                                captioned cause is hereby referred to United States Magistrate Judge Alicia 0. Valle to
                                take all necessary and proper action as required by law regarding Plaintiffs Motion to
                                Designate Method ofDamage Calculations 165 . Signed by Chief Judge K. Michael
                                Moore on 4/8/2019.(ah03)(Entered: 04/08/2019)
  04/11/2019            175     MOTION for Leave to File Partial Motionfor Summary Judgment by Ross University
                                School of Medicine.(Attachments:#1 Exhibit 1,# 2 Exhibit 2)(Roman, Ryan)(Entered:
                                04/11/2019)
  04/11/2019            176     ORDER OF REASSIGNMENT to Judge Roy Altman for all further proceedings, Chief
                                Judge K. Michael Moore no longer assigned to case. Signed by Chief Judge K. Michael
                                Moore on 4/11/2019. See attached documentforfull details, (yar)(Entered: 04/11/2019)
  04/11/2019            177     REPLY to Plaintiffs 165 MOTION for Order to Designate Method Damage Calculations,
                                filed by Oluwamuyiwa Awodiya.(kpe)(Entered: 04/12/2019)
  04/17/2019            178     MOTION for Reconsideration and Alteration of Omnibus Order(Responses due by
                                5/1/2019) by Oluwamuyiwa Awodiya.(kpe)(Entered: 04/17/2019)
  04/18/2019            179     CLERK'S PAPERLESS NOTICE terminating previously scheduled hearing dates. This
                                case has been transferred to the Honorable Roy K. Altman. The parties are hereby
                                notified that any hearing dates scheduled before Chief Judge K. Michael Moore are
                                hereby TERMINATED and will be rescheduled by Judge Roy K.Altman.(rgl)(Entered:
                                04/18/2019)
  04/22/2019            180     AMENDED SCHEDULING ORDER:In Limine Motions due by 6/11/2019. Pretrial

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                               Stipulation due by 6/11/2019. Jury Trial set for 6/24/2019 in Fort Lauderdale Division
                               before Judge Roy K. Altman. Calendar Call set for 6/18/2019 01:45 PM in Fort
                               Lauderdale Division before Judge Roy K. Altman. Signed by Judge Roy K. Altman on
                               4/19/2019. See attached documentforfull details,(kpe)

                               Pattern Jury Instruction Builder - To access the latest, up to date changes to the 11th
                               Circuit Pattern Jurv Instructions go to https://pji.cal 1.uscourts.aov or click here.
                               (Entered: 04/22/2019)
  04/25/2019            181    RESPONSE to Defendant's 175 MOTION for Leave to File Partial Motion for Summary
                                Judgment, filed by Oluwamuyiwa Awodiya. Replies due by 5/2/2019.(kpe)(Entered:
                               04/25/2019)
  04/26/2019            182    MOTION to Continue Trial re 180 Scheduling Order,, by Ross University School of
                               Medicine. Responses due by 5/10/2019(Attachments:#1 Text ofProposed Order
                               Granting Motion)(Roman, Ryan)(Entered: 04/26/2019)
  04/26/2019            183    PAPERLESS Order Calendar Call reset for 6/11/2019 01:45 PM in Fort Lauderdale
                               Division before Judge Roy K. Altman. Signed by Judge Roy K. Altman on 4/26/2019.
                               QzOO)(Entered: 04/26/2019)
  04/30/2019            184    ORDER granting 182 Motion to Continue. Calendar Call reset for 6/11/2019 01:45 PM in
                               Fort Lauderdale Division before Judge Roy K. Altman, Jury Trial set for 7/8/2019 before
                               Judge Roy K. Altman. Signed by Judge Roy K. Altman on 4/30/2019. See attached
                               documentforfull details,(vmz)(Entered: 04/30/2019)
  05/01/2019            185    RESPONSE in Opposition re 178 MOTION for Reconsideration re 154 Order on Motion
                               for Partial Summary Judgment, Order on Motion for Summary Judgment MOTION to
                               Alter Judgment filed by Ross University School of Medicine. Replies due by 5/8/2019.
                               (Green, Octavia)(Entered: 05/01/2019)
  05/03/2019            186    PAPERLESS ORDER Setting Oral Argument on 178 the Plaintiffs MOTION for
                               Reconsideration re 154 Order on Motion for Partial Summary Judgment, Order on
                               Motion for Summary Judgment MOTION to Alter Judgment; 165 the Plaintiffs
                               MOTION for Order to Designate Method ofDamage Calculations; 160 the Defendant's
                               MOTION in Limine to Exclude New Theories ofLiability, 175 the Defendant's MOTION
                               for Leave to File Partial Motionfor Summary Judgment', 161 The Defendant's MOTION
                               in Limine to Preclude PlaintiffFrom Introducing Documents Produced After the
                               Discovery Deadline Into Evidence. Motion Hearing set for Wednesday, 5/8/2019 at 02:30
                               PM in Fort Lauderdale Division, Courtroom 207A before Judge Roy K. Altman. The
                               parties should be prepared to discuss the substance ofany outstanding motions pending
                                before the Court. Signed by Judge Roy K. Altman on 5/3/19.(tas)(Entered: 05/03/2019)
  05/06/2019            187    REPLY to Plaintiffs 178 MOTION for Reconsideration and Alteration of Omnibus
                                Order, filed by Oluwamuyiwa Awodiya.(kpe)(Entered: 05/06/2019)
  05/07/2019            188    Unopposed MOTION to Continue (filed by Defendant as a courtesyfor Plaintiffwho
                               does not have access to CM/ECF)re 186 Order Setting Hearing on Motion,,, by Ross
                               University School of Medicine. Responses due by 5/21/2019(Roman,Ryan)(Entered:
                               05/07/2019)
  05/07/2019            189    PAPERLESS ORDER denying as moot 188 Motion to Continue in light ofthe Court's
                               forthcoming order resetting all motions hearings for the Calendar Call, which will be held
                               on June 11,2019 at 1:45 p.m. Signed by Judge Roy K. Altman on 5/7/2019.(RKA)
                               (Entered: 05/07/2019)
  05/07/2019            190    PAPERLESS ORDER Setting Oral Arguments re 178 the Plaintiffs MOTION for
                               Reconsideration re 154 Order on Motion for Partial Summary Judgment, Order on
https;//ecf.flsd.uscourts.gov/cgi-bin/DktRpt.pl?672516405673505-L_1_0-1                                                  23/26
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                               Motion for Summary Judgment, Motion to Alter Judgment;IM the Plaintiffs MOTION
                               for Order to Designate Method ofDamage Calculations; 160 the Defendant's MOTION
                               in Limine to Exclude New Theories ofLiability, 175 the Defendant's MOTION for Leave
                               to File Partial Motionfor Summary Judgment', 161 the Defendant's MOTION in Limine
                               to Preclude PlaintiffFrom Introducing Documents Produced After the Discovery
                               Deadline Into Evidence : Motion Hearing RESET for 6/11/2019 at 01:45 PM in the Fort
                               Lauderdale Division, Courtroom 207A before Judge Roy K. Altman. The parties should
                               be prepared to discuss the substance ofany outstanding motions pending before the
                               Court. Signed by Judge Roy K. Altman on 5/7/19.(tas)(Entered: 05/07/2019)
  05/15/2019            191    ORDER denying 175 Motion for Leave to File ; denying 178 Motion for Reconsideration
                               ; denying 178 Motion to Alter Judgment. Signed by Judge Roy K. Altman on 5/14/2019.
                               See attached documentforfull details,(cqs) Modified on 6/20/2019(chl)to change to
                               opinion per chambers.(Entered: 05/16/2019)
  05/22/2019            192    RESPONSE to the Court's May 16,2019 Order EEC No.121, by Oluwamuyiwa
                               Awodiya.(kpe)(Entered: 05/22/2019)
  05/29/2019            193    Defendant's Brief on Extraterritorial Application ofthe Americans with Disabilities Act
                               and the Rehabilitation Act in response to 191 Order on Motion for Leave to File, Order
                               on Motion for Reconsideration, Order on Motion to Alter Judgment by Ross University
                               School of Medicine.(Roman,Ryan)(Entered: 05/29/2019)
  06/03/2019            194    MOTION in Limine to Preclude Prejudicial Evidence and Theories by Oluwamuyiwa
                               Awodiya.(Is)(Entered: 06/03/2019)
  06/03/2019            195    AFFIDAVIT/DECLARATION in Support re 194 MOTION in Limine filed by
                               Oluwamuyiwa Awodiya.(Is)(Entered: 06/03/2019)
  06/04/2019           196     NOTICE OF WITHDRAWAL OF MOTION by Ross University School ofMedicine re
                               161 MOTION in Limine to Preclude PlaintiffFrom Introducing Documents Produced
                               After the Discovery Deadline Into Evidence filed by Ross University School of Medicine
                               (Roman,Ryan)(Entered: 06/04/2019)
  06/10/2019            197    Unopposed MOTION to Bring Electronic Equipment into the courtroom (filed by
                               Defendant as a courtesyfor Plaintiffwho does not have access to CM/ECF) by Ross
                               University School of Medicine. Responses due by 6/24/2019(Roman,Ryan)(Entered:
                               06/10/2019)

  06/10/2019            198    NOTICE by Ross University School of MQdiicme ofFiling Deposition Designations and
                               Counter-Designations(Attachments:#1 Exhibit A (Plaintiffs Deposition Designations),
                               # 2 Exhibit B (Defendant's Deposition Designations))(Roman,Ryan)(Entered:
                               06/10/2019)

  06/10/2019            199    PRETRIAL STIPULATION by Ross University School ofMedicine(Attachments:#i
                               Exhibit Joint Pretrial Stipulation,# 2 Exhibit 1 - Plaintiffs Exhibit List,# 3 Exhibit 2-
                               Defendant's Exhibit List,# 4 Exhibit 3 - Plaintiffs Witness List,# 5 Exhibit 4 -
                               Defendant's Witness List)(Roman, Ryan)(Entered: 06/10/2019)
  06/10/2019            200    Proposed Voir Dire Questions by Ross University School ofMedicine.(Roman, Ryan)
                               (Entered: 06/10/2019)
  06/10/2019            201    Proposed Jury Instructions by Ross University School of Medicine.(Attachments:#i
                               Exhibit A - Joint Jury Instructions,# 2 Exhibit B - RedlLne,# 3 Exhibit C - Plaintiffs
                               Proposed Verdict Form,# 4 Exhibit D - Defendant's Proposed Verdict Form)(Roman,
                               Ryan)(Entered: 06/10/2019)
  06/11/2019           202     PAPERLESS NOTICE RESETTING CALENDAR CALL AND MOTION HEARINGS
                               (TIME ONLY)to 2:00 p.m. on June 11, 2019.(tas)(Entered: 06/11/2019)
https://ecf.flsd.uscourts.gov/cgl-bln/DktRpt.pl7672516405673505-L_1_0-1                                                    24/26
8/24/2019USCA11 Case: 19-12832                      Document: 13-1     Date
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  06/11/2019            203    PAPERLESS ORDER granting 197 the Plaintiff's Unopposed Motion for Permission to
                               Bring Electronic Devices into the Courthouse. The Plaintiff may bring his cellular
                               telephone and laptop computer into the U.S. Federal Building and Courthouse in Fort
                               Lauderdale, Florida for the calendar call scheduled on June 11,2019. Signed by Judge
                               Roy K. Altman on 6/11/2019.(jzOO)(Entered; 06/11/2019)
  06/11/2019            204     NOTICE by Ross University School of Medicine ofFiling Record Evidence (Green,
                                Octavia)(Entered: 06/11/2019)
  06/12/2019            205    PAPERLESS ORDER notifying the Plaintiffthat the Court will provide, free of charge,
                               real-time transcription services during the pendency ofthe trial currently set for the two-
                               week trial period beginning July 8,2019. Signed by Judge Roy K. Altman on 6/12/2019.
                               O'zOO)(Entered: 06/12/2019)
  06/13/2019            206    RESPONSE in Opposition re 194 MOTION in Limine to Exclude Prejudicial Evidence
                               and Theories filed by Ross University School of Medicine. Replies due by 6/20/2019.
                               (Attachments:#i Exhibit A,# 2 Exhibit B)(King, Donnie)(Entered: 06/13/2019)
  06/14/2019            207    Proposed Voir Dire Questions by Ross University School of Medicine.(Roman,Ryan)
                               (Entered: 06/14/2019)
  06/14/2019            208    PRETRIAL STIPULATION by Ross University School of Medicine (Attachments:#i
                               Exhibit A - Joint Pretrial Stipulation,# 2 Exhibit 1 - Plaintiffs Exhibit List,# 3 Exhibit 2
                               - Defendant's Exhibit List,# 4 Exhibit 3 - Plaintiffs Witness List,# 5 Exhibit 4 -
                               Defendant's Witness List)(Roman, Ryan)(Entered: 06/14/2019)

  06/14/2019            209    Proposed Jury Instructions by Ross University School of Medicine.(Attachments:#1
                               Exhibit Exhibit A - Joint Proposed Jury Instructions,# 2 Exhibit Exhibit B - Proposed
                               Verdict Forms)(Roman,Ryan)(Entered: 06/14/2019)
  06/18/2019            210     ORDER Closing Case. Counts 1,11, VIII, and IX ofthe Plaintiffs Third Amended
                                Complaint[ECF No.47] are DISMISSED with prejudice. All pending motions are
                               DENIED as moot. The Clerk of Court is instructed to CLOSE this case. Signed by Judge
                               Roy K.Altman on 6/17/2019.See attached documentforfull details,(kpe)Modified on
                               6/20/2019(chl)to change to opinion per chambers.(Entered: 06/18/2019)
  06/20/2019            211    FINAL JUDGMENT. This action is DISMISSED on the merits. The Clerk is directed to
                                CLOSE this case, all pending hearings and deadlines are CANCELLED,and any pending
                                motions are DENIED as moot. Signed by Judge Roy K. Altman on 6/19/2019. See
                                attached documentforfull details,(kpe)(Entered:(16/20/2019)
  06/26/2019            212    MOTION for Amended and Additional Findings in the Court's Order Closing Case re
                               210 Order Dismissing Case, by Oluwamuyiwa Awodiya. Responses due by 7/10/2019
                               (jao)(Entered: 06/26/2019)
  06/26/2019            213     AFFEDAVIT/Declaration in Support of Motion for Amended and Additional Findings in
                                the Court's Order Closing the Case re DE 212 MOTION to Amend/Correct 210 Order
                                Dismissing Case, filed by Oluwamuyiwa Awodiya.(jao)(Entered: 06/26/2019)
  06/26/2019            214     Document filed in wrong case and has been correctly filed in the right case. Modified on
                                6/26/2019 (jao). Modified text on 6/26/2019 (asl).(Entered: 06/26/2019)
  06/26/2019            215     Clerks Notice ofDocket Correction re 214 Notice ofMediator Selection and/or Hearing.
                                Document Filed in Wrong Case; Document restricted and docket text modified.
                                Document refiled in correct case # 19-cv-60382.(jao)(Entered: 06/26/2019)
  07/02/2019            216     TRANSCRIPT of Calendar Call and Motion Hearing held on 6-11-19 before Judge Roy
                                K. Altman, Volume Number 1 of 1, 1-90 pages. Court Reporter: Francine Salopek, 954-

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                     769-5657 / Francine_Salopek@flsd.uscourts.gov. Transcript may be viewed at the court
                     public terminal or purchased by contacting the Court Reporter Francine Salopek before
                     the deadline for Release ofTranscript Restriction. After that date it may be obtained
                                through the Court Reporter Francine Salopek and PACER.Redaction Request due
                                7/23/2019. Redacted Transcript Deadline set for 8/2/2019. Release of Transcript
                                Restriction set for 9/30/2019.(fs)(Entered: 07/02/2019)
  07/09/2019            217     ORDER denying 212 Motion for Amended and Additional Findings in the Courts Order
                                Closing Case. Signed by Judge Roy K. Altman on 7/9/2019. See attached documentfor
                               full details,(kpe)(Entered: 07/10/2019)
  07/17/2019            218     Notice of Appeal as to 211 Judgment,210 Order Dismissing Case, by Oluwamuyiwa
                                Awodiya. FILING FEE:(NOT PAID). Within fourteen days ofthe filing date of a Notice
                                of Appeal, the appellant must complete the Eleventh Circuit Transcript Order Form
                                regardless of whether transcripts are being ordered [Pursuant to FRAP 10(b)]. For
                                information go to our FLSD website under Transcript Information,(apz)(Entered:
                                07/18/2019)
  07/18/2019                    Transmission ofNotice of Appeal, Order/Judgment under appeal and Docket Sheet to US
                                Court ofAppeals re 218 Notice ofAppeal, Notice has been electronically mailed,(apz)
                               (Entered: 07/18/2019)
  07/29/2019            219     Acknowledgment of Receipt ofNOA ftom USCA re 218 Notice of Appeal,filed by
                                Oluwamuyiwa Awodiya. Date received by USCA:7/18/2019. USCA Case Number: 19-
                                12832-D.(apz)(Entered: 07/29/2019)



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                                      Southern District ofFlorida




                                                        Case No.      0:18-cv-60482-KMM

               Oluwamuyiwa Awod^a
                      Plaintiff

                                                        Jury Trial;         13Yes DNo

                        -V-
                                                        Hon.ChiefJudge: K. Michael Moore
                                                        Magistrate Judge: Bany S. Seltzer



    Ross University School of Medicine, School
          ofVeterinary Medicine Limited
                     Defendant




                                  THIRD AMENDED COMPLAINT


         Plaintiff, OLUWAMUYIWA AWODIYA,in proper person,complains against

  Defendant, ROSS UNIVERSITY SCHOOL OF MEDICINE,SCHOOL OF VETERINARY

  MEDICINE LIMITED (hereinafter, referred to as"Defendant" or"RUSM").

                                                 PARTIES


          1.      Plaintiff, Oluwamuyiwa Awodiya is currently a resident ofthe State ofMaryland

  and,at all relevant times, was a student at Ross University School of Medicine.


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          2.      Defendant, RUSM is a private for-proiit medical school. Adtalem Global

  Education is registered with the Florida Department ofState to do business in Florida as Ross

   University School ofMedicine. According to public records,RUSM's principal place ofbusiness

  is in Broward county ofthe State ofFlorida. RUSM is also registered to do business in

   Teimessee, which documents that RUSM's"principal address"is located in Broward cotmty of

  the State ofFlorida. RUSM has administrative offices in Florida, has 5 classrooms in Florida,

  and gives programs ofinstruction in Florida. RUSM institution is licensed by Florida

   Department ofEducation,under the provision ofChapter lOOS ofFlorida Statues also under the

   provision Chapter 6E ofthe Florida Administrative Code.

                                    JURISDICTION AND VENUE

          3.      This court hasjurisdiction pursuant to 28 U.S.C.§ 1332 in that there is complete

   diversity ofcitizenship between the parties and the amount in controvert exceeds $75,000.00,

   exclusive ofinterests and costs.

          4.      Jurisdiction is invoked pursuant to 28 U.S.C. § 1331 (questions offederal law)

   based upon Section 504 ofthe Rehabilitation Act of 1973(hereinafter,referred to as"Section

   504")and Title III ofthe Americans with Disabilities Act(hereinafter, referred to as the

  "ADA").

          5.      This Court also has supplementaljurisdiction over tite state law claims in this

   action pursuant to 28 U.S.C.§ 1367(a) because Plaintiffs state law claims are so related to his

  federd claims that both form a part ofthe same case or controversy.

          6.      Venue is appropriate in this Court under 28 U.S.C. § 1391 as Defendant's

   administrative offices, its principal place ofbusiness,and its principal address are located in this

  judicial district
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              FACTS FOR NBME CBSE EXAM TAKEN IN THE UNITED STATES

         7.      Plaintififsuffers fiom mental impairments; he has an attention impairment later

  diagnosed as Attention Deficit Disorder Without Mention ofHyperactivity (hereinafter,referred

  to as "ADHD")and has mi anxiety disorder later diagnosed as"Anxiety State, Unspecified"

  (hereinafter, referred to as "Anxiety Disorder") which resembles the anxiety caused by Plaintiff's

  later diagnosed Obsessive Compulsive Disorder(hereinafter,referred to as "CCD").

         8.      In December 201S,Plaintiffrequested test accommodations fi'om the Associate

  Dean ofRUSM,Dr. Bryan Hayse("Dr.Hayse").

         9.      After Plaintifffailed his 5^ semester by one percent, he went to Dr. Hayse and

  asked ifhe could retake any ofhis exams because he needed more time to answer the questions;

  Plaintiff also told Dr. Hayse that he had extreme difficulty^ paying attention during his exams. Dr.

  Hayse partially denied the request,responding that he could only accommodate Plaintifffor

  ftiture exams but not for exams tiiat Plaintiffhad already taken.

         10.     Dr. Hayse then told Plaintiffthat he would call McMillan Cufty("Mr. Cufty")to

  get accommodations for tiie Plaintiff.

         11.     In January 2016,Plaintiff gave the RUSM counseling center his CONNERS

  CPT3 assessment results ofhis ADHD assessed by his primary health care provider in the United

  States ofAmerica. At the same time,he requested accommodations for his ADHD which

  included additional time to complete exams,extended testing time and extra time to study for

  and between the National Board ofMedical Exantiners(NBME)Comprehensive Basic Sciences

  examination(CBSE)(hereinafter,referred to as"NBME CBSE"or"COMP")attempts, as well

  as assistance and guidance to process requests with NBME for extended test time.

         12.     After Plaintiffrequested accommodations again. Dr. Davendra Sharma and
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  McMillan Cuffy wanted to do their own evaluation and diagnostic assessments for PlaintifPs

  attention problem.

         13.    In addition to PlaintifPs CONNERS CPT3 assessment already provided to

  RUSM,Plaintifftook RUSM's CAARS assessment for the second time which indicated ADHD

  and took the Test ofVariables of Attention(T.O.V.A.)assessment which also indicated ADHD.

         14.    RUSM later confirmed PlaintifiPs diagnosis ofADHD and the need for test

  accommodations.

         15.    RUSM also diagnosed Plaintiff with an Arodety Disorder.

         16.    RUSM knew that Plaintiffhad difficulty completing his exams on time.

         17.    With an already signed 'Release ofInformation Consent'form addressed to

  RUSM administration. Plaintiffallowed RUSM psychiatrist and counseling center to confirm the

  ADHD diagnoses with the Accommodations Coordinator. Mr. Cufty then scheduled Plaintiffto

  see the Accommodations Coordinator, Matthew J. StcAvart-Fulton.

         18.    During the PlaintifPs meeting with the Accommodations Coordinator, he again

  requested the same test accommodations.

         19.    RUSM denied and failed to provide Pkuntiff with any accommodations for his

  mental impairments.

         20.    Due to RUSM denial ofacconmu^tions for PlaintifPs disability, RUSM caused

  a hostile and discriminative academic environment

         21.    The PlaintifPs disabilities Worsened because ofthe discriminative academic

  environment created by RUSM.Over numerous documented visits to foe counseling center of

  RUSM,Plaintiffcontinued to e^qness his concern for his mental impairments and foe need for

  extended testing time.
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         22.     In Febniaiy and March 2016,Plaintiff again requested RUSMs assistance and

  guidance to process requests for accommodations on NBME exams.RUSM refused again.

         23.     Majority ofthe Plaintiffs attempts to pass the NBME CBSE took place in the

  United States ofAmerica. He again requested for reasonable accommodations from RUSM

  administration located in Florida, including to posq)one his NBME CBSE until the next testable

  window.RUSM denied the request also saying that ifPlaintiff does not sit for the exam,he will

  be withdrawn from the school.

         24.     When Plaintiffenrolled into RUSM,the student handbook stated that students are

  subject to administrative withdrawal ifthey do not'*pass"the NBME CBSE within three

  consecutive attenq>ts. RUSM changed this policy to state that students are subject to

  administrative withdrawal ifthey do not"sit" the NBME CBSE within ttiree consecutive

  attempts. RUSM essentially forced studentsto sit for the exam even when diey are not ready to

  do so, by penalizing them with an Academic Mthdrawal.RUSM decision to change the policy

  in order to make students sit for the NBME CBSE was arbitrary, capricious,and lacking any

  discemable rational basis. Furttiermore,RUSM did not make any attempt to notify students in

  advance ofthis significant change in policy. And lastly, this rignificant change in policy put

  students with learning disabilities at a substantial disadvantage to other students.

         25.     While Plaintiff was seeking assistance from RUSM,RUSM failed to provide

  Plaintiffany information regarding disability support services provided by the university,
                        \



  accommodations,or his rights under Section 504 and the ADA.

         26.     RUSM took no action pursuant to Plaintiffs requests for assistance, and RUSM,

  refused to acknowledge his disabilities, let alone provide disability accommodations.

         27.     RUSM eventually dismissed Plaintifffor frdhire to pass any ofhis NBME CBSE
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  attempts.

          28.     Despite RUSM's knowledge ofPlaintilfdisability, RUSM &iled to address his

  disability and dismissed him.

          29.     RUSM was aware that PlaintifE's disabilities qualified him under Section 504,

  which dictates that he is entitled to various "academic adjustments"to ensure that he is not

  discriminated against, based upon his disabilities. These adjustments can include substitution of

  specific courses required to complete a degree program and modification "ofthe manner in

  which specific coiu-ses are conducted." Section 504 also requires that a college or university

  modify how th^ evaluate academic achievement ofa student wifii disabilities.

          30.     Had RUSM provided the reasonable accommodations Plaintiffrequested, vshich

  did not materially alter the program and could have been provided by RUSM for minimal(if

  any)expense. Plaintiff would have had the same opportunify as students wifiiout his disabilities.

  But,RUSM provided no such accommodations.

          31.     As a result ofnot being provided reasonable accommodations.Plaintiff was put at

  a substantial disadvantage to other students ultimately leading to his dismissal fix>m the program.

         32.     RUSM's Mlures to provide Plaintiff with minimal acconunodations and to

  modify its evaluation ofhis academic performance in light ofhis disability, despite RUSM's

  knowledge ofhis disability and despite Plaintiffs repeated requests, are in direct violation of

  law.

         33.     In August 2016,Plaintiffscored a 67 on the NBME Comprehensive exam. At the

  time ofthis score,the acadenaic catalog stated that a score of66 or higher is a passing score. The

  academic catalog also states that "this catalog siqtersedes all previous editions and is in effect

  until a subsequent version is published either in print or online. The latest version published at
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  the time was tiie 2015-2016,vol.7 Ross University Academic Catalog. The next version ofthe

  academic catalog was not published until November 2016 in which it changes the passing score

  from 66 to 68. This publication was months aOer the Plaintififhad already attained a score of67.

   RUSM claims that the 67 score Avas not a passing score leading to the dismissal ofthe Plaintiff.

          34.     The Plaintiffappealed his dismissal to the Dean.The Dean did not make his final

   decision to permanently dismiss Plaintiff within 15 calendar days ofreceipt ofthe £q)peal. The

  student handbook clearly states that on a student's second appeal,the Dean will respond within

   15 calendar days ofreceipt ofthe appeal.

                   FACTS FORNBME CBSE EXAM TAKEN IN DOMINICA

                          fFACTS FOR FRAUDULENT INDUCEMENT!


          35.    In early 2014,Plaintiff was a prospective student who had allied to RUSM for

   its medical degree program.

          36.     While Pl^tiffwas searching for medical schools that he could apply to, he

   would go to their websites and read their admission requirements. Plaintiff used RUSM's website

  to make an important life decision to apply and attend its medical degree program.

          37.     During his search and before Plaintiffenrolled into RUSM,RUSM put this exact

   statement, word for word,in the Admission Requirements section ofits website:

                  It is the policy and practice ofthe University to complty with tiie

                  Americans with Disabilities Act as applicable and practical in

                  Dominica. No qualified individual with a disability will be denied

                  access to or participation in services, programs,or activities of

                  Ross University.

  (Emphasis added). This statement is falsely represented because there is no applicable
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  Americans with Disability("ADA")law for students in Dominica.

         38.     RUSM had knowledge that students did not have a protected right imder the laws

  ofthe ADA in Dominica and did not disclose this to prospective students.

         39.     When Plaintiffenrolled into RUSM,he fiilly relied and depended on RUSM's

  statement about ADA applicability and compliance that they advertised to prospective students.

  Plaintifffelt that it was safe to attend the school because he knew that he would still have the

  protection ofthe Americans with Disability Act in any event that he becomes disabled or ifany

  disabilities are discovered during his enrollment in Dominica.

         40.     RUSM published this statement in its admission requirements with the intentions

  ofpersuading U.S. prospective students to ^ly to its medical degree program in Dominica.

         41.     When Plaintiff was enrolled in RUSM,he requested accommodations to address

  his mental impairments for the NBME CBSE exam that he first attempted in Donunica.Plaintiff

  believed that he would get those accommodations ifRUSM determined the requested

  accommodations were appropriate, because ofRUSMs stated compliance with the ADA in

  Dominica.

         42.     RUSM did not provide any test accommodations for Plaintiffs mental disabilities,

  despite providing them with his ADHD assessment j&om his private health provider in the U.S.

  and despite the multiple ADHD diagnostic assessments tiiat RUSM administered to the Plaintiff

  in Dominica.
                                                                                                     /



         43.     The same NBME CBSE exam that Plaintiffrequested accommodations for, he did

  not pass and RUSM dismissed him for not passing that exam. Due to his dismissal firom the

  program.Plaintiff suffered direct and proximate damages.

         44.     It is recently learned that RUSM knew that its statements of ADA compliance and
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  applicability in Dominica were false. Also,fiom previous lawsuits against RUSM and its

  veterinary sister school, it is easily apparent that RUSM knew that its statements on its website,

  used to induce prospective students to enroll into their school, were false.

                                                                       /




                                    FIRST CAUSE OF ACTION

       VIOLA nON OFSECTION504 OF THE REHABIUTATIONACT OF1973

                                C'SECTION S04*')y 29 U.S,a§794

         45.      PlaintiflFreincorporates by reference each and every preceding paragraph as if

  fully restated herein.

         46.     Plaintiffis a qualified individual with a disability, as defined by Section 504 of

  the Rehabilitation Act of 1973,29 U.S.C.§ 705(20). Plaintiffsuffers fi^om mental impairments

  which qualifies him as an individual with a disability. His mental impairments include his

  attention impairment with ADHD and his clinical anxiety caused by his Anxiety Disorder and his

  OCD. These disabilities substantially limit major life activities; including learning and working,

  because it substantially limits his ability to complete examinations and assignments on a timely

  basis and limits his ability to organize and stay on task,limits his ability to take notes in class,

  and requires him to take medication.

         47.     Plaintiffis otherwise qualified to participate in RUSM's curriculum and is able to

  participate in said program with or without accommodations,but was discriminated against
  because ofhis disability.

         48.     Defendants receive federal financial assistance,as defined by 29 U.S.C. §794,

  and,as such, may not discriminate against a person because ofhis disability.

         49.     Despite Plaintiff's requests for reasonable accommodations;including allowing
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   him the additional time he required to complete the NBME CSBE,as a result ofhis disabilities.

   Defendants refused to provide them.

           50.    Solely by reason ofhis disabilities. Plaintiff was excluded fiom the participation

   in,denied the benefits o( subjected to discrimination,exploitation and a hostile educational

   environment at RUSM,such acts and omissions violatii^ Section 504. Plaintiffs inability to pass

   the NBME CBSE was a direct manifestation of his disabilities and RUSM's failure to provide

   the reasonable accommodations he required to address these disabilities. As a result,RUSM

   dismissed Plaintiffon the basis ofhis known disabilities.

           51.    Defendant exercised bad faith in filing to provide appropriate and necessary

   accommodations and modifications to Plaintiffso that he could continue in his educational

   program, which is a violation ofSection 504.

           52.    Such acts, omissions and feilures by RUSM proximately caused injuries to

   Plaintiff.

           53.    Defendant has wrongly caused Plaintiffto be discriminated against, denied

   reasonable accommodations,forcibly dismissed him from the program,all in violation ofhis

   rights pursuant to Section 504,depriving him ofthe opportunity to complete his education and

   fiirther his career, including the value ofthe lost degree with respect to future earnings, and

   inflicting emotional distress and physical injury, all to his damage in an amount in excess of

   Seventy Five Thousand Dollars($75,000.00).



                                  SECOND CAUSE OF ACTION

      VIOLATION OF TITLEIII OF THEAMERICANS WITHDISABIUTIESACT

                                  (ADA),42 U.S.C §12101,etseq.


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          54.     Plaintiffreincorpomtes by refeience each and every preceding paragraph as if

   fully restated herein.

          55.     Plaintiffis a qualified individual with a disability, as defined in the Americans

   with Disabilities Act("ADA"),as amended,42 U.S.C. § 12101,er seq. Plaintiff suffers firom

   mental impairments which qualifies him as an individual with a disability. His mental

   impairments include his attention impairment with ADHD and his clinical anxiety caused by his

   Anxiety Disorder and his OCD.These disabilities substantially limit major life activities;

   including leamJng and working,because it substantially limits his ability to complete

   examinations and assignments on a timely basis and limits his ability to organize and stay on

   task,limits his ability to take notes in class,and requires him to take medication.

          56.     Plaintiffis able to perform the essential functions to participate in Defendant's

   curriculum with or without accommodations but was discriminated against and placed at a

   disadvantage because ofhis disability.

          57.     RUSM is considered to be a"place ofpublic accommodation," as defined in 42

   U.S.C.§ 12181(7),as it is a private school,so as to be covered by the mandate ofthe ADA.

          58.     RUSM is a facility, the operation of which constitutes a program and services for

   ADA purposes.

          59.     RUSM &iled and refused to reasonably accommodate Plaintiffin violation of

   Title ni ofthe ADA.Plaintiffrequired additional time in which to complete his NBME CBSE as

  a result ofhis disabilities, which was a reasonable accommodation he requested and RUSM

  refused to provide.

          60.     Plaintiff's inability to pass the NBME CBSE was a direct manifestation ofhis

   disabilities and RUSM's &ilure to provide the reasonable accommodations he required to



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           65.     Plaintiifreincoiporates by reference each and every preceding paragraph as if

   iiilly restated herein.

           66.     Plaintiffis a qualified individual with a handicap,as defined by 34 CFR § 104.3.

   Plaintiff suffers from mental impairments A^ch qualifies him as an individuai wifii a handicap.

   His mental impairments include his attention impairment with ADHD and his clinical anxiety

   caused by his Anxiety Disorder and his OCD.These handicaps substantially limit major life

   activities; including learning and working,because it substantially limits his ability to complete

   examinations and assignments on a timely basis and limits his ability to organize and stay on

   task,limits his ability to take notes in class,and requires him to take medication.

           67.     Plaintiffis otherwise qualified to participate in RUSM's curriculum and is able to

   participate in said program with reasonable accommodations in place.

           68.     Defendant is a recipient that receives federal financial assistance,as defined by 34

   CFR § 104.3,and,as such, may not discriminate against a person because ofhis handicap.

           69.     Despite Plaintiffs requests for reasonable accommodations;including allowing

   him the additional time he required to complete the NBME CSBE,as a result ofhis disabilities.

   Defendant refused to provide them.

           70.     Solely by reason ofhis disability. Plaintiff was excluded from the participation in,

   denied the benefits of, subjected to discrimination,exploitation and a hostile educational

   environment at RUSM,such acts and omissions violating 34 C.F.R. § 104.4. Plaintiffs inability

   to pass the NBME CBSE was a direct manifestation ofhis disabilities and RUSM's failure to

   provide the reasonable accommodations he required to address these disabilities. As a result,

   RUSM dismissed Plaintiffon the basis ofhis known disabilities.

           71.     Defendant exercised bad feith in felling to provide appropriate and necessary



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   accommodations and modifications to Plaintiff so that he could continue in his educational

   program, which is a violation of34 C.F.R.§ 104.4.

           72.     Such acts, omissions and fiiilures by RUSM proximately caused injuries to

   Plaintiff.

           73.     Defendant has wrongly caused Plaintiffto be discriminated against, denied

   reasonable accommodations,forcibly dismissed him fi'om the program,all in violation of his

   rights pursuant to 34 C.F.R. § 104.4, depriving him ofthe opportunity to complete his education

   and further his career,including the value ofthe lost degree with respect to fixture earnings, and

   inflicting emotional distress and physical injury, all to his dam^e in an amount in excess of

   Seventy Five Thousand Dollars($75,000.00).



                                  FOURTH CAUSE OF ACTION

                             VIOLATION OF34 C.F.R.§104.44, etseq.

           74.    Plaintiflfreincorporates     reference each and every preceding paragraph as if

   fully restated herein.

           75.    Plaintiffis a qualified individual with a handic^,as defined by 34 CFR § 104.3.

   Plaintiffsuffers fiem mental impairments vduch qualifies him as an individual with a handicap.

   His mental impairments include his attention impairment with ADHD and his clinical anxiety

   caused by his Anxiety Disorder and his OCD.These handicaps substantially limit major life

   activities; including learning and working,because it substantially limits his ability to complete

   examinations and assignments on a timely basis and limits his ability to organize and stay on

   task, limits his ability to take notes in class, and requires him to take medication.

           76.    Plaintiffis otherwise qualified to participate in RUSM's curriculum and is able to



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   participate in said program with reasonable accommodations in place.

           77.    Defendant is a recipient diat receives federal financial assistance,as defined by 34

   CFR § 104.3,and,as such, may not discriminate against a person because ofhis handicap.

           78.    RUSM changed the handbook to make students "sif'for the NBME CBSE exam

   within 3 consecutive attempts or be removed fiom the school. This rule change is a

   discrimination against ADHD students. ADHD students need more time to study therefore need

   the ability to space out their attempts instead ofdoing them without an option to take more time

   to study for an attempt

           79.    Solely by reason ofhis disability, Plaintiflf was excluded fix)m the participation in,

   denied the benefits of, subjected to discrimination,exploitation and a hostile educational

   environment at RUSM,such acts and omissions violating 34 C.F.R § 104.44. Plaintiffs inability

   to pass the NBME CBSE was a direct manifestation ofhis dis^ility and RUSM's unlawfiil rule

   imposed upon handicapped students tiiat had the effect oflimiting the participation of

   handic^yped students. As a result,RUSM dismissed Plaintiffon the basis ofhis known

   disability.

           80.    Defendant exercised bad feith vhen RUSM in^sed an unlawful rule upon

   handic^yped students that had the effect oflimiting the participation ofhandicapped students,

   wiiich is a violation of34 C.F.R. § 104.44.

           81.    Such acts, omissions and failures by RUSM proydmately caused injuries to

   Plaintiff.

           82.    Defendant has wrongly caused Plaintiffto be discriminated against, denied

   reasonable accommodations,forcibly dismissed bim fiom the program,all in violation ofhis

   rights pumuant to 34 CJ.R.§ 104.44, depriving him ofthe opportunity to complete his education



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   and further his career,including the value ofthe lost degree with respect to future earnings, and

   inflicting emotional distress and physical injury, all to his damage in an amount in excess of

   Seventy Five Thousand Dollars($75,000.00).

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                                   FIFTH CAUSE OF ACTION


         VIOLATION OFFLORIDA ADMINISTRATIVE CODE 6E-2.004(S)(c)(4);

                 VIOLATION OF§760.08, Fla.StaL (2018)(in Ote olternatNe)

          83.     Plaintiffreincorporates by reference each and every preceding paragr^h as if

   hilly restated herein.

          84.     Plaintiffis a qualified individual with a disability. Plaintiff suffers from mental

   impairments which qualifies him as an individual with a disability. His mental impairments

   include his attention impairment with ADHD and his clinical anxiety caused by his Anxiety

   Disorder and his OCD.These disabilities substantially limit major life activities; including
                                                            I



   learning and woiidng,because it substantially limits his ability to complete examinations and

   assignments on a timely basis and limits his ability to organize smd stay on task,limits his ability

   to take notes in class, and requires him to take medication.

          85.     Plaintiffis able to perform tire essential functions to participate in Defendant's

   curriculum with or without accommodations but was discriminated against and placed at a

   disadvantage because ofhis disability.

          86.     Plaintiffis otherwise qualified to participate in RUSM's curriculum and is able to

   participate in said program with reasonable accommodations in place.

          87.     RUSM institution is licensed by Florida Department ofEducation,under the

   provision ofChapter 1005 ofFlorida Statues also under the provision Ch£q>ter 6E ofthe Florida


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   Administrative Code.

           88.    Despite PlaintifPs requests for rea^nable accommodations;including allowing

   him the additional time he required to complete the NBME CSBE,as a result ofhis disabilities.

   Defendants refused to provide tfa^n.

           89.    Solely by reason ofhis disability. Plaintiff was excluded foom the participation in,

   denied the benefits of subjected to discrimination, exploitation and a hostile educational

   environment at RUSM,such acts and omissions violating 6E-2.004(5)(c)(4).PlaintifPs inability

   to pass the NBME CBSE was a direct manifestation ofhis disability and RUSM's foilure to

   provide the reasonable accommodations he required to address this disability. As a result, RUSM

   dismissed Plaintiffon the basis ofhis known disabilities.

           90.    Defendant exercised bad foith in fiiiling to provide {q)propriate and necessary

   accommodations and modifications to Plaintiffso that he could continue in his educational

   program, which is a violation of6E-2.004(5)(cX4).

           91.    Such acts, omissions and failures by RUSM proximately caused injuries to

   Plaintiff.

           92.    De&ndant has wrongly caused Plaintiffto be discriminated gainst,denied

  reasonable acconimodations,forcibly dismissed him from the program,all in violation ofhis

  rights pursuant to 6E-2.004(5)(cX4),depriving him ofthe opportunity to conq)lete his education

  and further his career,including the value ofthe lost degree with respect to future earnings,and

   mfiicting emotional distress and physical injury, all to his damage in an amount in excess of

  Seventy Five Thousand Dollars($75,000.00).



                                  SIXTH CAUSE OF ACTION




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                                    BREACH OF CONTRACT

          93.     Plaintiffreincoiporates by reference each and every preceding paragraph as if

   fully restated herein.

          94.     By admitting Plaintiff and accepting his tuition payments,and by Florida law,

   RUSM has an express and implied contract with Plaintiffin connection with rights explicitly

   guaranteed him by RUSM pursuant to the RUSM Student Handbook and RUSM Academic

   Catalog.

          95.     Defendant's actions constitute a material and substantial breach ofthe e}q>ress and

   implied contract by:

                  (SUBCOUNTI)denying Plaintiffhis right to equal opportunity and denying

          Plaintiff, a "qualified person with a disability,""reasonable accommodations" as is set

          forth in the RUSM Academic Catalog.

                 (SUBCOUNT2)denying Plaintiff his right to a productive learning

          environment firee fiom discrimination as is set forth in the RUSM Academic Catalog.

                 (SUBCOUNT3)Refusing Plaintiffs request for assistance and guidance to

          process requests for accommodations on USLME exams as is set forth in the RUSM

          Academic Catalog - Accommodations and USMLE/NBME Testing.

                 (SUBCOUNT4)Making Plaintiffsit the NBME CBSE within three consecutive

          attempts which had not existed in the RUSM Student Handbook when Plaintiff had

          enrolled in 2014 and has no basis in academic or professional requirements. Defendant's

          decision to change the policy in order to make students sit for the NBME CBSE within

          three consecutive attempts was arbitrary, capricious, and lacking any discemable rational

          basis which also put students with learning disabilities at a substantial disadvantage to


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          other students. Even ifthe Defendant's reserved the right to change the university's

          academic degree requirements,it cannot ifsuch changes are arbitrary or c^mcious.

                 (SUBCOUNT5)Dismissing PlaintifiF when he obtained a score of67 on the

          NBME CBSE.The latest version ofdie Ross UnivCTsity Academic Catalog published at

          that time was the 2015-2016,vol. 7 which stated that the passing score for NBME CBSE
          was a 66. This version was in effect until a subsequent version is publii^ed online.

                 (SUBCOUNT6)The Dean's failure to respond to the Plaintiff within 15

          calendar days ofreceipt ofthe second appeal as is set forth in the RUSM Student

          Handbook.

          96.     At all times relevant. Plaintiffabided by and governed his conduct by the terms of

   the aforementioned contract and met all financial obligations,

          97.     As a direct and proximate result ofDefendants' actions. Plaintiffhas lost the

   difference in value over a lifetime ofearnings e^qiected to be earned by an individual who
   graduated fi'om RUSM and PlaintifFs earning edacity without a medical degree fi'om RUSM.

          98.     As a direct and proximate result ofDefendants' actions. Plaintiff has lost tuition

   he paid to RUSM.

          99.    As a result ofthe breach committed against Plaintiff, he has suffered loss,damage
   and detriment;including incidental and consequential damages in an amount in excess of
   Seventy Five Thousand Dollars($75,000.00).



                                SEVENTH CAUSE OF ACTfON

        BREACH OF THE COVENANT OFGOOD FAITHAND FAIR DEAUNG

          100. Plaintiffreincorporates by reference each and every preceding paragraph as if


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   fully restated herein.

           101.    The aforementioned contract between the parties contained an implied covenant

   ofgood faith and feir dealing, which precludes Defendants fiom evading the spirit ofthe

   contract, willfully rendering imperfect i^ormance,interfering with Plaintiff's ability to benefit

   firom its terms,acting in contravention ofPlaintiff's reasonable expectations,failing to abide by

   the standards and policies promulgated by Defendants,or otherwise acting in an arbitrary and

   capricious maimer with respect to Plaintiff".

           102.    Defendants breached this implied covenant ofgood &ith and Mr dealing by

   making it impossible for Plaintiffto realize the benefit ofhis contract and by permitting its

   agents to act in bad faith and in a manner vdrich interfered with Plaintiff's contractual

   expectations.

           103.    As a result ofthe breach committed against Plaintiff, he has suffered loss,damage

   and detriment;including incidental and consequential damages in an amount in excess of

   Seventy Five Thousand Dollars($75,000.00).



                                 EIGHTH CAUSE OF ACTION


         FRAUDULENTINDUCEMENT(bothfalse statement and omisswn offact)

           104. Plaintiffreincorporates by reference each and every preceding paragr^h as if

   fidly restated herein.

           105.    RUSM publishes important information to prospective students on its website.

   This information includes statements made in its admission requirements section ofits website.
   The statement quoted in ^106 has not changed since 2012 and is currently(as of2018)still on
   RUSM's website advertised to prospective students looking to gain admission into the medical


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   degree program.

           106.   Continuously between 2012 and 2018,and before Plaintifr^^lied and enrolled

   into RUSM's medical degree program,RUSM published a statement in its Admission

   Requirements section ofits website stating'It is the policy and practice ofthe University to

   comply with the Americans with Disabilities Act as applicable and practical in Dominica. No

   qualified individual with a disability will be denied access to or participation in services,

   programs,or activities ofRoss University School ofMedicine."(Emphasis added).

          107. the quoted statement in flOti, published by RUSM,intended to induce and

   persuade prospective students to apply and enroll into RUSM's medical degree program.

          108. RUSMwasfitily aware that the statement in fl06 was &lse.This statement is

   falsely represented because there is no applicable Americans with Disability law for students in

   Elomimca. Even afier the numerous stud^its filed ADA lawsuits against RUSM,              continued
   to advertise the false statement to prospective students on its Admission Requirements website.

   Previous lawsuits reveal that RUSM knew that the statement was felse for almost 10 years.
          109. In addition to making a Mse statement,RUSM also committed fiaud by omission
   when it Mled to disclose that students did not have a protected right under the laws ofthe ADA

   in Dominica.

          110.    Plaintififrelied on RUSM's fiaudulent ADA statement\\hen he chose to enroll at

  RUSM for its medical degree program in Dominica.

          111. RUSM did nottake the reasonable steps, and was deliberately indifferent, to
  ensure that Plaintiff was reasonably accommodated for his mental impairments because RUSM
  believed that it had no legal obligations to provide those reasonable accommodations in

  Dominica.




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           112.    As a result ofRUSM's fraudulent ADA statement. Plaintiff was induced into

   leaving the United States ofAmerica to enroll at RUSM in Dominica, was discriminated against,

   denied reasonable accommodations,forcibly dismissed him from the program,depriving him of

   the opportunity to complete his education and further his career,including the value ofthe lost

   degree with respect to future earnings,and inflicting emotional distress and physical injury, all to

   his damage in an amount in excess ofSeventy Five Thousand Dollars($75,000.00).

           113. Plaintiffis also entitled to punitive damages at a 2:1 or 3:1 ratio ofthe

   comp^isatory damages.



                                  NINTH CAUSE OF ACTIOIV

               NEGLIGENTMISREPRESEmATIONm THEINDUCEMENT

           114. Plaintiffreincorporates by reference each and every preceding paragraph as if
   Mly restated herein.

           115.   Continuously between 2012 and 2018,and before Plaintiffimplied and enrolled

   into RU$M's medical degree program,RUSM published a statement in its Admission
   Requirements section ofits website stating "It is the policy and practice ofthe University to
   compfy witii the Americans with Disabilities Act as applicable and practical In Dmnlnica.No

   quakfied individual with a disability will be denied access to or participation in services,
   programs,or activities ofRoss University School ofMedicine."(Emphasis added).
          116. RUSM misrepresented tiie statement in ^115 by misleading prospective students
  into believing that they still had their protected tights under the ADA while enrolled at RUSM in
  Dominica.

          117. RUSM should have been aware that the statement infl15 was false. Especially


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   after numerous students had filed ADA lawsuits against RUSM and its sister school. RUSM

   continued to advertise the &lse statement to prospective students on its Admission Requirements

   website. Previous lawsuits reveal that RUSM should have known that the statement was false for

   almost 10 years.

          118.    By RUSM placing the statement off115 in its Admission Requirements section

   ofit website,RUSM inteiuied to use the statement to induce prospective students to enroll into

   its medical degree program in Dominica

          119.    Plaintiff was one ofthe many prospective students that relied on all the important

   information that RUSM posted in its Admissions Requirements section ofit website,including

   the statement quoted inf115. Plaintiff used this information to decide ifhe should enroll at

   RUSM.

          120.    RUSM did not take the reasonable steps,and was deliberately indifferent,to

   ensure that Plaintiffwas reasonably accommodated for his mental impairments because RUSM

   believed that it had no legal obligations to provide those reasonable accommodations in

   Dominica.

          121.    As a result ofRUSM's negligently misreiHesented ADA statement. Plaintiff was

   induced into leaving the United States ofAmerica to enroll at RUSM in Dominica,was

   discriminated against, denied reasonable accommodations,forcibly dismissed him firom the

   program,depriving him ofthe opportunity to complete his education and fiirther his career,

   including the value offtie lost degree with respect to future earnings,and inflicting emotional

   distress and physical injury, all to his damage in an amount in excess ofSeventy Five Thousand

   Dollars($75,000.00).

          122.    Plaintiffis also entitled to punitive damages at a 2:1 or 3:1 ratio ofthe



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   compensatoiy damages.



                                 TENTH CAUSE OF ACTION


                                BREACH OFFIDUCIARYDUTY

           123.    Plaintiifreincorporates by reference each and every preceding paragraph as if

   fiilly restated herein.

           124.    RUSM created a fiduciary duty when it assured Plaintiffthat"RUSM is

   committed to ensuring that qualified students with disabilities are afforded reasonable

   accommodations."

           125.    The RUSM Academic Catalog states"RUSM is committed to ensuring that

   qualified students with disabilities are afforded reasonable accommodations."

           126.    RUSM exercised overvriielming influence over Plaintiffin ensuring the he

   received reasonable acconamodations for his m^tal impairments known to the school. It is

   impossible for Plaintiffto go directly to NBME to receive extended testing time for the NBME

   CBSE;only RUSM has the ability and the duty to inform NBME about which students need

   extended testing time for the NBME CBSE.

           127.    Plaintifftrusted RUSM to ensure that he was reasonably accommodated for his

   mental impairments on his NBME CBSE.

           128.    Afier RUSM had knowledge ofPlaintiffs ment^ impairments,tiiey did not

   ensure that he was reasonably accommodated as RUSM claimed it was coimnitted to do.

           129.    As a result ofRUSM's breach offiduciary duty.Plaintiff was discriminated

   {gainst, denied reasonable accommodations,forcibly dismissed him firom the program,depriving

   him ofthe opportunity to complete his education and further his career, including the value of


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   the lost degree with respect to future earnings,and inflicting emotional distress and physical

   injury, all to his damage in an amount in excess ofSeventy Five Thousand Dollars($75,000.00),

          130. Plaintiffis also entitled to punitive damages at a 2:1 or 3:1 ratio ofthe

   compensatory damages.



                                          JURY DEMAND


          Plaintiffrespectfully pmys a trial by jury on all issues so triable.



   WHEREFORE^ Plaintiff prays that this Honorable Court enterjuc^ent in PlaintifFs fevor,

   and against Defendant,fon

          (1)Compensatory damages in the amount excess of$9,000,000,including the loss of

   future earning capacity expected to be earned by an individual who graduated from RUSM.
          (2)Compensatory damages for the student load debt and interest caused by RUSM in the

   amoimt excess of$200,000.

          (3)Injunctive reliefs as described in para@tq)h 64.

          (4)Punitive dam^es at a 2:1 or 3:1 ratio ofcompensatory damages; estimated in the

   amount excess of$20,000,000.

          (5)The costs and disbursements ofthis action,for interest, and such other court or

   attorney's fees and further reliefasjustice requires.




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   DATED this 8th day ofJuly, 2018:

                                               Oluwamuyiwa Awodiya(I consent this
                                                   to be mv electronic signature!
                                                By: Oluwamuyiwa Awodiya,pro se litigant
                                                                        15005 Dahlia Dr.
                                                                      Bowie, MD 20721
                                                                        (240)602-1836
                                                               Plaintiff, in Proper Person




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                                 CERTIFICATE OF SERVICE


          I do hereby certify that on this 12th day of My,2018,1 have caused a true and correct

   copy ofthe Third Amended Complaint by mailing a copy to the Court,v^ere the Court's
   CM/ECF system will send notification to the following:

                                   Christina Meddin
                                   Seyfarth Shaw LLP
                                   1075 Peachtree Street NE
                                   Suite 2500
                                   Atlanta, GA 30309
                                   404-888-1886
                                   Email: cmeddin@seyfarth.com

                                   Brian M.StoLzenbach
                                   Seyfarth, Shaw,LLP
                                   233 South Wacker Drive, Suite 8000
                                   Chicago,IL 60601
                                   312^0-5000
                                   Email: bst0l2enbach@seyfarth.com




                                                       By: Olu       lyiwa Awodiya,pnb se litigant
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


                            CASE NO.0:18-cv-60482-MOORE/SELTZER



   OLUWAMUYIWA AWODIYA,

            Plaintiff,

   V.



   ROSS UNIVERSITY SCHOOL OF
   MEDICINE,SCHOOL OF
   VETERINARY MEDICINE LIMITED,

            Defendant.
                                               /

                 DEFENDANT'S ANSWER AND AFFIRMATIVE DEFENSES TO
                      PLAINTIFF'S THIRD AMENDED COMPLAINT

            Defendant Ross University School of Medicine, School of Veterinary Medicine Limited

  ("RUSM")hereby files its answer and affirmative defenses to the Third Amended Complaint[ECF

   No.47]("Complaint")filed by plaintiff Oluwamuyiwa Awodiya ("Plaintiff').

                                               PARTIES


            1.     In response to paragraph 1, RUSM is without knowledge or information to admit

   or deny that Plaintiff is currently a resident of the State of Maryland and therefore denies same.

   RUSM admits that Plaintiff was a student at Ross University School of Medicine but is without

   knowledge or information to admit or deny that he was a student there at "all relevant times" and

   therefore denies same.

            2.     In response to paragraph 2,RUSM admits that it is a corporate entity that operates

   a private, for-profit medical school. RUSM denies that its principal place of business is in the

   State of Florida. RUSM fiirther states that it has conditional approval for a temporary location in

   Tennessee while Dominica is recovering fi-om a hurricane that severely damaged the island in


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   2017. Further, the Florida Department of Education's Commission on Independent Education

   approves RUSM's clinical clerkship program in the state ofFlorida. RUSM admits that Adtalem

   Global Education is registered with the Florida Department of State to do business in Florida as

   Ross University School of Medicine. RUSM admits that it has five classrooms for activities

   associated with its clinical clerkship program. RUSM denies any remaining allegations in

   paragraph 2 ofthe Complaint.

                                    JURISDICTION AND VENUE

           3.      In response to paragraph 3, RUSM admits that the Court possesses subject matter

  jurisdiction over this matter but denies any remaining allegations in this paragraph and denies that

  Plaintiff is entitled to any relief whatsoever.

           4.      In response to paragraph 4, RUSM admits that the Court possesses subject matter

  jurisdiction over this matter but denies any remaining allegations in this paragraph and denies that

  Plaintiff is entitled to any relief whatsoever.

           5.      In response to paragraph 5,RUSM admits that the Court possesses subject matter

  jurisdiction over this matter but denies any remaining allegations in this paragraph and denies that

  Plaintiff is entitled to any relief whatsoever.

           6.      In response to paragraph 6, RUSM admits that venue is proper pursuant to 28

  U.S.C.§ 1391(b)(2)but denies any remaining allegations in this paragraph and denies that Plaintiff

  is entitled to any relief whatsoever.

                FACTS FOR NBME CBSE EXAM TAKEN IN THE UNITED STATES

           7.      In response to paragraph 7, RUSM admits that the Ross University School of

   Medicine Counseling Center made certain diagnoses regarding Plaintiff which are documented in




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   written records, the content of which speak for themselves. RUSM denies any allegations

   inconsistent therewith.

            8.    In response to paragraph 8,RUSM denies the allegations.

            9.    In response to paragraph 9,RUSM denies the allegations.

            10.   In response to paragraph 10,RUSM denies the allegations.

            11.   In response to paragraph 11, RUSM admits that Ross University School of

   Medicine Counseling Center came into possession of a copy of Plaintiffs Conners CPT

   Assessment Report atsome time on or after December 31,2015(the date on which the Assessment

   appears to have been administered). Atthis time,RUSM is without sufScientinformation to admit

   or deny the truth of the allegation that this Report was furnished by Plaintiff to the Counseling

   Center in January 2016. RUSM denies the remaining allegations.

            12.   In response to paragraph 12,RUSM denies the allegations.

            13.   In response to paragraph 13,RUSM admits that the Ross University School ofMedicine

   Counseling Center came into possession ofa copy ofPlaintiff's Conners CPT3 Assessment Report at

   some time on or after December 31, 2015 (the date on which the Assessment appears to have been

   administered). RUSM admits that the Ross University School of Medicine Coimseling Center

   administered the TOVA and the CAARS on or about January 18, 2016. RUSM admits that the

   Counseling Center concluded that the results ofthe TOVA "suggest[ed]an attention problem,including

   ADHD" and concluded that the results of the CAARS "indicated ADHD predominantly hrattentive

   presentation." RUSM denies the remaining allegations.

            14.   In response to paragraph 14, RUSM admits that McMillan Cuffy of the Ross

   University School of Medicine Coimseling Center made the following assessment of Plaintiff:




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   "Attention Deficit Disorder Without Mention of Hyperactivity - F90.9, 314.00." RUSM denies

   the remaining allegations.

           15.    In response to paragraph 15, RUSM admits that McMillian Cuffy of the Ross

   University School of Medicine Counseling Center made the following assessment of Plaintiff:

   "Anxiety State, Unspecified -F41.9, 300.00." RUSM denies the remaining allegations.

           16.    In response to paragraph 16, RUSM admits that the Ross University School of

   Medicine Counseling Center made certain diagnoses regarding Plaintiff which are documented in

   written records, the content of which speak for themselves. RUSM denies any allegations

   inconsistent therewith.

           17.    In response to paragraph 17,RUSM admits thatPlaintiffexecuted a Consentto Release

   Confidential Information, authorizing the Counseling Center to discuss otherwise confidential

   information pertaining to his treatment with'RUSM Administration" to facilitate treatment planning

   and to provide information relevantto academic accommodations. RUSM admits that this would have

   permitted the Counseling Center, including the psychiatrist treating Plaintiff to discuss his ADHD

   with the school's Accommodations Coordinator, Matthew Stewart-Fulton. Atthis time,RUSM lacks

   knowledge or information sufficient to form a belief as to the tmth ofthe allegation that McMillan

   Cuffy scheduled Plaintiffto see the Accommodations Coordinator.

           18.    In response to paragraph 18,RUSM denies the allegations.

           19.    In response to paragraph 19,RUSM denies the allegations.

           20.    In response to paragraph 20,RUSM denies the allegations.

           21.    In response to paragraph 21, RUSM admits that the Ross University School of

   Medicine Counseling Center made certain diagnoses regarding Plaintiff which are documented in

   written records, the content of which speak for themselves. RUSM denies any allegations




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   inconsistent therewith and specifically denies the allegation that a discriminative academic

   environment was created by RUSM.

           22.    In response to paragraph 22,RUSM denies the allegations.

           23.    In response to paragraph 23,RUSM admits that Plaintiffs first attempt to pass the

   NBME CBSE took place in Dominica and that his second through fifth attempts took place at

  Prometric Test Centers in the United States ofAmerica. RUSM denies the remaining allegations.

           24.    In response to paragraph 24, RUSM admits that, when Plaintiff enrolled, the

   Student Handbook stated that students are subject to Administrative Withdrawal if they do not

   pass the NBME CBSE within three consecutive attempts. RUSM denies the remaining allegations.

           25.    In response to paragraph 25,RUSM denies the allegations.

           26.    In response to paragraph 26,RUSM denies the allegations.

           27.    In response to paragraph 27, RUSM admits that it dismissed Plaintiff for failure to

  achieve the minimum passing score on the NBME CBSE after five attempts but denies the remaining

  allegations.

           28.    In response to paragraph 28, RUSM admits that it dismissed Plaintiff for failure to

  achieve the minimum passing score on the NBME CBSE after five attempts but denies the remaining

  allegations.

           29.    In response to paragraph 29,RUSM is without knowledge or information sufficient

  to form a belief as to the truth of the allegation that Plaintiff suffered disabilities, as that term is

  defined under the Rehabilitation Act, during his time at RUSM. The remaining allegations in this

  paragraph call for a legal conclusion and do not state any facts requiring a response fi-om RUSM.

  To the extent paragraph 29 alleges any fact to which RUSM is required to respond,RUSM denies

  the allegations.




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           30.    In response to paragraph 30,RUSM denies the allegations.

           31.    In response to paragraph 31,RUSM denies the allegations.

           32.    In response to paragraph 32,RUSM denies the allegations.

           33.    In response to paragraph 33,RUSM admits that Plaintiffscored a 67 on the NBME

   CBSE (Comprehensive Basic Science Exam) in August 2016 and admits that the last published

   Academic Catalog prior to that date was the ROSS UNIVERSITY SCHOOL OF MEDICINE

   ACADEMIC CATALOG 2015-2016, VOL.7, and that it stated that the minimum passing score on

   the NBME CBSE was 66. RUSM also admits that this version ofthe Academic Catalog stated:

                  This catalog supersedes all previous editions and is in effect until a
                  subsequent version is published either in print or online. All
                  information in this catalog is current at the time of printing.
                  Statements regarding tuition and fees, curriculum, course
                  offerings, admissions, and graduation requirements are subject
                  to change at any time and are applicable to all enrolled students
                  unless otherwise stated.

  (Emphasis added). RUSM admits that the 2016-2017 version of the Academic Catalog was not

  published until November 2016, months after Plaintiff scored a 67, and that this version states that

  68 is the minimum passing score on the exam.

           By way offurther answer,RUSM states that it sent an e-mail communication to all students,

  including Plaintiff, in August 2015, advising them that the minimum passing score on the exam

  would be a 68 as of mid-November 2015, more than five months before Plaintiff's first attempt at

  the exam in April 2015, when he scored a 58, and more than nine months before the only time he

  scored above a 64, when he scored a 67 on his third attempt. RUSM admits that Plaintiffs score of

  67in August2016 was not a passing score and that his failure to passthe exam,despite being allowed

  five attempts(one more than ordinarily permitted by school policy), resulted in his dismissal from

  school. RUSM denies any remaining allegations.




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            34.   In response to paragraph 34, RUSM admits that Plaintiff appealed his dismissal to

   the Dean. RUSM admits that the Student Handbook in effect at the time stated that "[t]he Dean will

   respond within 15 calendar days of receipt ofthe appeal." RUSM admits that the Dean responded

   16 days after receipt ofPlaintiffs appeal. The remaining allegations are denied.

                    FACTS FOR NBME CBSE EXAM TAKEN IN DOMIINICA

           35.    In response to paragraph 35,RUSM admits the allegations.

            36.   In response to paragraph 36,RUSM is without knowledge or information to admit or

   deny the allegations and therefore denies same.

            37.   In response to paragraph 37,RUSM states that its website speaks for itselfand RUSM

   denies any allegations inconsistent therewith. The remaining allegations in this paragraph call for a

   legal conclusion and do not state any facts requiring a response fi-om RUSM. To the extent the

   remaining allegations in paragraph 37 allege any fact to which RUSM is required to respond, the

   allegations are denied.

            38.   In response to paragraph 38,RUSM denies the allegations.

            39.   In response to paragraph 39, RUSM is without knowledge or information to admit

   or deny the allegations and therefore denies same.

           40.    In response to paragraph 40,RUSM denies the allegations.

           41.    In response to paragraph 41,RUSM denies that, while enrolled, Plaintiffrequested

   accommodations to address his mental impairments for the NBME CBSE exam that he first

   attempted in Dominica. RUSM is without knowledge or information to admit or deny the

   remaining allegations in paragraph 41 and there denies same.

           42.    RUSM is without knowledge or information to admit or deny the allegations and

   therefore denies same.




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          43.      In response to paragraph 42,RUSM denies the allegations.

          44.      In response to paragraph 43,RUSM denies the allegations.

          45.      In response to paragraph 44,RUSM denies the allegations.

                                     FIRST CAUSE OF ACTION

   VIOLATION OF SECTION 504 OF THE REHABILITATION ACT OF 1973("SECTION
                                         504"),29 U.S.C.§794

          46.      RUSM restates, re-alleges, and incorporates by reference its responses to each and

   every preceding paragraph ofthe Complaint as iffully set forth herein.

          47.     In response to paragraph 46, RUSM neither admits nor denies the allegations

   contained therein because such allegations call for a legal conclusion and do not state any facts

  requiring a response from RUSM. To the extent paragraph 46 alleges any fact to which RUSM is

  required to respond,RUSM denies the allegations.

          48.     In response to paragraph 47,RUSM denies the allegations.

          49.     In response to paragraph 48, RUSM admits that it receives federal financial

  assistance. The remaining allegations in paragraph 48 call for a legal conclusion and do not state

  any facts requiring a response from RUSM. To the extent the remaining allegations allege any facts

  to which RUSM is required to respond,RUSM denies the allegations.

          50.     In response to paragraph 49,RUSM denies the allegations.

          51.     In response to paragraph 50,RUSM denies the allegations.

          52.     In response to paragraph 51, RUSM denies the allegations.

          53.     In response to paragraph 52,RUSM denies the allegations.

          54.     In response to paragraph 53,RUSM denies the allegations and denies that Plaintiff

  is entitled to any relief.




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                                    SECOND CAUSE OF ACTION

     VIOLATION OF TITLE m OF THE AMERICANS WITH DISABILITIES ACT(ADA),
                            42 U.S.C.§ 12101,

            55.    RUSM restates, re-alleges, and incorporates by reference its responses to each and

   every preceding paragraph ofthe Complaint as iffully set forth herein.

            56.    In response to paragraph 55, RUSM neither admits nor denies the allegations

   contained therein because such allegations call for a legal conclusion and do not state any facts

   requiring a response from RUSM. To the extent paragraph 55 alleges any fact to which RUSM is

   required to respond, RUSM denies the allegations.

            57.    In response to paragraph 56,RUSM denies the allegations.

            58.    In response to paragraph 57,RUSM denies the allegations.

            59.    In response to paragraph 58,RUSM denies the allegations.

            60.    In response to paragraph 59,RUSM denies the allegations.

            61.    In response to paragraph 60,RUSM denies the allegations.

            62.    In response to paragraph 61,RUSM denies the allegations.

           63.     In response to paragraph 62,RUSM denies the allegations.

           64.     In response to paragraph 63,RUSM denies the allegations.

           65.     In response to paragraph 64,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.

                                     THIRD CAUSE OF ACTION

                                VIOLATION OF 34 C.F.R- §104.4,et seq.

           66.     RUSM restates, re-alleges, and incorporates by reference its responses to each and

   every preceding paragraph ofthe Complaint as iffully set forth herein.




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           67.     In response to paragraph 66, RUSM neither admits nor denies the allegations

   contained therein because such allegations call for a legal conclusion and do not state any facts

   requiring a response from RUSM. To the extent paragraph 66 alleges any fact to which RUSM is

   required to respond,RUSM denies the allegations.

           68.     In response to paragraph 67,RUSM denies the allegations.

           69.     In response to paragraph 68, RUSM admits that it receives federal financial

   assistance. The remaining allegations in paragraph 68 call for a legal conclusion and do not state

   any facts requiring a response from RUSM. To the extent the remaining allegations allege any facts

   to which RUSM is required to respond,RUSM denies the allegations.

            70.    In response to paragraph 69,RUSM denies the allegations.

           71.     In response to paragraph 70,RUSM denies the allegations.

            72.    In response to paragraph 71,RUSM denies the allegations.

           73.     In response to paragraph 72,RUSM denies the allegations.

            74.    In response to paragraph 73,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.

                                   FOURTH CAUSE OF ACTION

                                VIOLATION OF 34 C.F.R.§ 104.44,eL seq.

           75.     RUSM restates, re^alleges, and incorporates by reference its responses to each and

   every preceding paragraph ofthe Complaint as iffully set forth herein.

           76.     In response to paragraph 75, RUSM neither admits nor denies the allegations

   contained therein because such allegations call for a legal conclusion and do not state any facts

   requiring a response from RUSM. To the extent paragraph 75 alleges any fact to which RUSM is

   required to respond,RUSM denies the allegations.

            77.    In response to paragraph 76,RUSM denies the allegations.

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            78.    In response to paragraph 77, RUSM admits that it receives federal financial

   assistance. The remaining allegations in paragraph 77 call for a legal conclusion and do not state

   any facts requiring a response from RUSM. To the extent the remaining allegations allege any facts

   to which RUSM is required to respond,RUSM denies the allegations.

            79.    In response to paragraph 78,RUSM denies the allegations.

            80.    In response to paragraph 79,RUSM denies the allegations.

            81.    In response to paragraph 80,RUSM denies the allegations.

            82.    In response to paragraph 81,RUSM denies the allegations.

            83.    In response to paragraph 82,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.

                                     FIFTH CAUSE OF ACTION

                VIOLATION OF FLORIDA ADMINISTRATIVE CODE 6E-2.004(5)(c)(4);
                 VIOLATION OF §760.08,FLA.STAT.(2018)(EV THE ALTERNATIVE)

            84.    RUSM restates, re-alleges, and incorporates by reference its responses to each and

   every preceding paragraph ofthe Complaint as iffully set forth herein.

            85.    In response to paragraph 84, RUSM neither admits nor denies the allegations

   contained therein because such allegations call for a legal conclusion and do not state any facts

   requiring a response from RUSM. To the extent paragraph 84 alleges any fact to which RUSM is

   required to respond, RUSM denies the allegations.

            86.    In response to paragraph 85,RUSM denies the allegations.

            87.    In response to paragraph 86,RUSM admits the allegations.

            88.    In response to paragraph 87,RUSM admits the allegations.

            89.    In response to paragraph 88,RUSM denies the allegations.

            90.    In response to paragraph 89,RUSM denies the allegations.


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           91.     In response to paragraph 90,RUSM denies the allegations.

           92.     In response to paragraph 91,RUSM denies the allegations.

           93.     In response to paragraph 92,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.

                                     SIXTH CAUSE OF ACTION

                                     BREACH OF CONTRACT


           94.     RUSM restates, re-alleges, and incorporates by reference its responses to each and

   every preceding paragraph ofthe Complaint as iffully set forth herein.

            95.    In response to paragraph 94,RUSM denies the allegations.

           96.     In response to paragraph 95,RUSM denies the allegations, including all subparts.

           97.     In response to paragraph 96,RUSM denies the allegations.

           98.     In response to paragraph 97,RUSM denies the allegations.

            99.    In response to paragraph 98,RUSM denies the allegations.

            100.   In response to paragraph 99,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.

                                   SEVENTH CAUSE OF ACTION

            BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

            101.   RUSM restates, re-alleges, and incorporates by reference its responses to each and

   every preceding paragraph ofthe Complaint as iffiilly set forth herein.

            102.   In response to paragraph 101,RUSM denies the allegations.

            103.   In response to paragraph 102,RUSM denies the allegations.

            104.   In response to paragraph 103,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.



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                                     EIGHTH CAUSE OF ACTION

                                    FRAUDULENT INDUCEMENT
                     (BOTH FALSE STATEMENT AND OMISSION OF FACT)

            105.    RUSM restates, re-alleges, and incorporates by reference its responses to each and

   every preceding paragraph ofthe Complaint as iffiilly set forth herein.

            106.    In response to paragraph 105, RUSM admits that it published information for

   prospective students on its website, including in the Admissions Requirements section. RUSM is

   without knowledge of information to admit or deny the remaining allegations in paragraph 105 of

   the Complaint and therefore denies same.

            107. In response to paragraph 106, RUSM states that the website speaks for itself and

   RUSM denies any allegations inconsistent therewith.

            108.    In response to paragraph 107,RUSM denies the allegations.

            109.    In response to paragraph 108,RUSM denies the allegations.

            110.    In response to paragraph 109,RUSM denies the allegations.

            111.    In response to paragraph 110, RUSM is without sufficient information to admit or

   deny the allegations and therefore denies the same.

            112.    In response to paragraph 111,RUSM denies the allegations.

            113.    In response to paragraph 112,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.

            114.   In response to paragraph 113,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.




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                                      NINTH CAUSE OF ACTION


                   NEGLIGENT MISREPRESENTATION IN THE INDUCEMENT


            115.    RUSM restates, re-alleges, and incorporates by reference its responses to each and

   every preceding paragraph ofthe Complaint as iffully set forth herein.

            116.    In response to paragraph 115, RUSM states that the website speaks for itself and

   RUSM denies any allegations inconsistent therewith.

            117.    In response to paragraph 116,RUSM denies the allegations.

            118.    In response to paragraph 117,RUSM denies the allegations.

            119.    In response to paragraph 118,RUSM denies the allegations.

            120.    In response to paragraph 119, RUSM is without sufficient information to admit or

   deny the allegations and therefore denies the same.

            121.   In response to paragraph 120,RUSM denies the allegations.

            122.   In response to paragraph 121,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.

            123.   In response to paragraph 122,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.

                                     TENTH CAUSE OF ACTION

                                   BREACH OF FIDUCIARY DUTY

            124.   RUSM restates, re-alleges, and incorporates by reference its responses to each and

   every preceding paragraph ofthe Complaint as iffiilly set forth herein.

            125.   In response to paragraph 124,RUSM denies the allegations.

            126.   In response to paragraph 125, RUSM states that the Academic Catalog speaks for

   itself and RUSM denies any allegations inconsistent therewith.

            127.   In response to paragraph 126,RUSM denies the allegations.

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                128.   In response to paragraph 127, RUSM is without sufficient information to admit or

   deny the allegations and therefore denies the same.

            129.       In response to paragraph 128,RUSM denies the allegations.

            130.       In response to paragraph 129,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.

            131.       In response to paragraph 130,RUSM denies the allegations and denies that Plaintiff

   is entitled to any relief.

            RUSM further denies(i) any allegation ofPlaintiffs Complaint not specifically responded

   to above and (ii)that Plaintiff is entitled to any relief whatsoever.

            WHEREFORE, defendant Ross University School of Medicine, School of Veterinary

   Medicine Limited respectfully requests that the Court (i) dismiss plaintiff Oluwamuyiwa

   Awodiya's Complaint with prejudice,(ii) award RUSM its reasonable attorneys' fees and costs,

   and (iii) grant such other and further reliefto RUSM as the Court deemsjust and proper.

                                         AFFIRMATIVE DEFENSES

            RUSM asserts the following affirmative defenses without assuming the burden of proof on

   such defenses that otherwise would rest on Plaintiff.

                                           First Affirmative Defense

            The Third Amended Complaint fails to state a claim upon which reliefmay be granted.

                                         Second Affirmative Defense

            There is no private right of action for alleged violations of the Administrative Code or

   statutory sections referenced in Plaintiff's Fifth Cause ofAction,so the entire cause ofaction should

   be dismissed.




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                                         Third Affirmative Defense


            Neither the Student Handbook nor the Academic Catalog constitutes a contract between

   Plaintiffand RUSM and,to the extent either could be said to constitute a contract in whole or in part,

   Plaintiff has not alleged, nor could he prove, a material breach ofsaid contract

                                        Fourth Affirmative Defense


            Any monetary recovery by Plaintiffshould be reduced by his mitigation of and/or failure to

   mitigate damages.

                                         Fifth Affirmative Defense

            Plaintiff's claims are barred in whole or in part, because RUSM promulgated firm policies

   against discrimination and otherwise exercised reasonable care to prevent and promptly correct any

   alleged discrimination, and Plaintiff unreasonably felled to take advmtage of the preventative or

   corrective opportunities provided or to avoid harm otherwise.

                                         Sixth Affirmative Defense

            Plaintiff's claims are barred by the doctrine of accord and satisfaction.

                                       Seventh Affirmative Defense


            To the extent Plaintiff alleges that any ofRUSM's employees acted in an unlawful manner,

   such conduct, if it occurred, was outside ofthe course and scope ofthat individual's employment,

   was not authorized or condoned by RUSM,and was undertaken without the knowledge or consent

   ofRUSM. Thus,RUSM is not liable for any such conduct, if it occurred.

                                        Eighth Affirmative Defense


           ff Plaintiff sustained any injury, damage or loss by reason of any act, error or omission on

   the part ofRUSM,said injury,damage,or loss must be reduced to the extent that he failed to exercise
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   reasonable care to avoid or limit the alleged harm.



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                                        Ninth Affirmative Defense

            Plaintiff is barred from seeking punitive damages because RUSM cannot be vicariously

   liable for discriminatory decisions of managerial agents, as those decisions, if any, were contrary to

   RUSM's good faith efforts to comply with applicable laws and regulations prohibiting

   discrimination.


                                        Tenth Affirmative Defense


            Plaintiffs request for punitive damages is barred because RUSM engaged in good faith

   efforts to comply with the law and had reasonable grounds to believe that any act or omission taken

   was not a violation ofthe law.


                                      Eleventh Affirmative Defense

            Plaintiff's claims are barred to the extent they are based upon any act or omission occurring

   outside the applicable limitations period.

                                       Twelfth Affirmative Defense

            Plaintiffs claim for breach offiduciary duty is barred because RUSM is not a fiduciary, does

   not act as a fiduciary and does not owe a fiduciary duty to Plaintiff.




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    Dated: August 13,2018                        Respectfully submitted,

                                                 AKERMANLLP
                                                 Three Brickell City Centre
                                                 98 Southeast Seventh Street
                                                 Suite 1100
                                                 Miami,Florida 33131
                                                 Telephone:(305)374-5600
                                                 Facsimile: (305)374-5095

                                                By:s/Michael C. Marsh
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                                                 michael.marsh@akerman.com
                                                 simone.tobie@,akerman.com
                                                 Ryan Roman
                                                 Florida Bar. No. 0025509
                                                rvan.roman@,akerman.com
                                                 dorothv.matheis@,akerman.com
                                                 Octavia M. Green
                                                 Florida Bar No. 119179
                                                 octavia.green@akerman.com
                                                simone.tobie@.akerman.com




                                 CERTIFICATE OF SERVICE


           I HEREBY CERTIFY that, on August 13, 2018, a true and correct copy ofthe foregoing

   document was served via CM/ECF on:

            Oluwamuyiwa Awodiya
            15005 Dahlia Drive
            Bowie, Maryland 20721
            Telephone:(240)602-1836
            E-mail: drmuyiwa.a@gmail.com



                                                    s/Michael C. Marsh
                                                    Michael C. Marsh




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                                        CONNERS CPT3
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                         United States District Court
                                                    for the
                                          Southern District ofFlorida




  OLUWAMUYIWA AWODIYA,                                        Case No. 0:18-cv-60482-]KMM
                       Plaintiff,

                         -V-
                                                              Hon. Chief Judge; K. Michael Moore
                                                              Magistrate Judge: Barry S. Seltzer
  ROSS UNIVERSITY SCHOOL OF
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  MEDICINE,SCHOOL OF
  VETERINARY MEDICINE LIMITED
                                                                                                AUe 1 S 2!!fS
                      Defendant.
                                                                                             STEVEN M. LARIMORE
                                                                                             CLERK U.S. DIST. CT.
              PLA1NT1FF*S MOTION FOR PARTIAL SItmmapv ti                                              fla - miami


         Pursuant to Rule 56 ofthe Federal Rules ofCivil Procedure,PlaintifF, Oluwamuyiwa

 Awodiya("Plaintiff')»in proper person, hereby submits the following Plaintiffs Motion for

 Partial Summary Ju^ment.'




         'Also see die accompanying,Plaintiffs Statement of Material Facts in Support ofPlaintiffs Motion for
 Partial Summary Judgment("SMF");Declaration ofOluwamuyiwa Awodiya in Support ofPlaintiffs Motion for
 Partial Sununary Judgnient("Awodiya Decl.")and Exhibits C'Ex.")P-01 through P-38 attached thereto.

          In Defendant's Response to Plaintiffs First Set of Requests for Admission("Ex.P-2T'),each "Admission
 No." tiierein will be referenced as paragraphs hereinafter; In Defendant's Response to Plaintiffs Second Set of
 Requests for Admission("Ex.P-28"),each "Request No." therein will be rei^nced as paragraphs hereinafter.
        Also referenced is Defendant's Answer and Affirmative Defenses to Plaintiffs Tliird Amended Complaint
 [ECF No.58]("Def. Ans.").
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                                        INTRODUCTION

        In this Motion for Partial Summary Judgment(the "Motion"),Plaintiff moves for

 sumnuuyjudgment against Ross University School of Medicine, School of Veterinary Medicine

 Limited("RUSM"or "Defendant")on parts ofthe following claims: discrimination by failure to

 reasonably accommodate his disabilities, breach offiduciary duty, breach ofcontract,fiaudulent

 inducement/omission and negligent misrepresentation. In this Motion,PlaintifiP brings his failure

 to accommodate claims imder 34 C.F.R. § 104.4,effectuating Section 504 ofthe Rehabilitation

 Act of 1973,29 U.S.C.§ 794(the"RA");and Title III ofthe Americans with Disabilities Act,42

 U.S.C. § 12101 ("ADA").

        Plaintiff suffers firom multiple mental impairments that adversely affected his academic

 performance at RUSM.PlaintifTs mental impairments consists ofanxiety and an attention

 impairment PlaintifTs diagnosed anxiety disorder,'Anxiety State, Unspecified'("Anxiety

 Disorder")and his diagnosed Obsessive-Compulsive Disorder("CCD")manifest as anxiety,

 concurrently with his attention impairment,diagnosed as Attention Deficit Disorder Without

 Mention ofHyperactivity("ADHD")(individually a "mental impairment" and collectively the

 "mental impairments").

        RUSM knew ofPlaintiffs mental impairments. RUSM even diagnosed Plaintiffs mental

 impairments themselves. At least five different employees,including the Dean,failed to

 accommodate Plaintifffor his exams including for his NBME Comprehensive Basic Sciences

 Examination("NBME CBSE" or"COMP").In addition to Plaintiffs multiple requests for

 extended testing time,RUSM knew that Plaintiffneeded some type ofaccommodation because it

 was documented that he kept"running out oftime"to pass exams, would circle random answers

 Avithout thinking about the questions to avoid leaving them blank,and simplyjust"never


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finished an exam on time" all due to his mental impairments. None ofRUSM's employees took
the {^propiiate steps to ensure that Plaintiff was reasonably accommodated for his disability.

        The RUSM Counseling Center had a fiduciary duty to provide RUSM administrators

 with PlaintijEFs confidential information relevant to getting him academic accommodations. The

RUSM Counseling Center became a fiduciary when it signed ajoint agreement with Plaintififand

 when it made commitment to Plaintifr.

        RUSM breached its contract with Plaintiff when it dismissed him after he scored a 67 on

the NBME CBSE.RUSM also breached its contract with Plaintiff because the Dean did not have

the contractual right to make Plaintiffs dismissal final afler the contractual 15 calendar days.

        RUSM misrepresented and omitted facts about the api^icability ofthe Americans with

Disabilities Act in Dominica on its website to prospective students,including to Plaintiff

                                  FACTUAL BACKGROUND

       A.      Parties

       RUSM receives Federal financial assistance jfrom the United States ofAmerica as it

participates in Federal Student Loans under the William D.Ford Direct Loan Program. SMF atf
2. RUSM is a place ofpublic accommodations because it is a private school.Id. atf 3.

       The Florida Department ofEducation licenses RUSM to offer programs ofinstruction
under the provision ofChapter 1005,Florida Statutes and Chapter 6E ofthe Florida

Administrative Code.Id. at14.

       William Owen("Dean Owen")is an employee ofRUSM and he is employed as tire Dean
and Chancellor.Id. at^5. Davendra Sharma("Dr. Sharma")is an employee ofRUSM and he is

employed as a professor and psychiatrist Id. at^6. Bryan Hayse("Dr. Hayse")is an employee
ofRUSM and he is employed as an Associate Dean.Id. atf 7. McMillan Cuflfy("Mr. Cuffy")is
an employee ofRUSM and he is employed as a counselor.Id. at Tf 8. Matthew Stewart-Fulton

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                                         Southern District ofFlorida                   CLERK U.S. DIST. CT.
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       OLUWAMUYIWA AWODIYA,                               Case No. 0:18-cv-60482-KMM
                         Plaintiff,

                           -V-
                                                          Hon.ChiefJudge: K.Michael Moore
                                                          Magistrate Judge: Alicia O. Valle
       ROSS UNIVERSITY SCHOOL OF
       MEDICINE,SCHOOL OF
       VETERINARY MEDICINE LIMITED




            PLAINTIFF'S SECOND MOTION FOR PARTIAL SUMMARY JUDGMENT


               Pursuant to Rule 56 of the Federal Rules of Civil Procedure, plaintiff Oluwamuyiwa

      Awodiya ("PlaintifF), in proper person, hereby submits his Second Motion for Partial Summary

      Judgmait("Motion").

               Plaintiff brings this Motion against Ross University Sdiool of Medicine, School of

      Veterinary Medicine Limited("RUSM")in whole or in part on his failure to accommodate claims

      (under 42 U.S.C. § 12182; 29 U.S.C, § 794; 34 C.F.R. § 104), breach of fiduciary duty claim,

      fraudulent misrepresentation claims(inducement and omission), and negligent misrepresoitation

      claim.
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                                                   Terms


               The term "ADA" refers to Title HI of the Americans with Disabilities Act, 42 U.S.C. §

      12182.

               The term "RA"refers to Section 504 ofthe Rehabilitation Act of 1973,29 U.S.C. § 794.

               The term "ADHD"refers to Attention Deficit Disorder Without Mention ofHyperactivity.

               The term "Anxiety Disorder" refers to Anxiety State, Unspecified.

               The term "OCD"refers to Obsessive Compulsive Disorder.

               The term "Mental Impairments" refers to (i) Attention Deficit Disorder Without Mention

      of Hyperactivity,(ii) Anxiety State, Unspecified, and (iii) Obsessive Compulsive Disordo*.

               The term "NBME CBSE" or "COMP" refers to NBME Comprdiensive Basic Sciences

      Examination.

               The term "ROI Agreement" refers to the Release of Information Consent Agrement

      attached as Exhibit SJr07.

               The citatiori term "Admis. No." refers individually to each request in RUSM's responses

      to Plaintiffs request for admissions attached as Exhibit SJ-08.

               The citation term "Sharma Dep." refers to Davendranand Shaima's deposition transcript

      attached as Exhibit SJ-21.

               The citation term "Hayse Dq)." refers to Bryan Hayse's deposition transcript attached as

      ExhibhSJ-22.

               The citation term "Fulton Dep." refers to Matthew Stewart-Fulton^s deposition transcript

      attached as Exhibit SJ-23.




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      Alignment
      1.        Failure TO Accommodate Claims

                A.        Legal Framework
                B.        PlaintiflF is Disabled                                                                                      2
                          i.         "Concentrating" is a Major Life Activity.                                                        3
                          ii.       Plaintiffs Mental Impairments Substantially Limits Concentration                                  3
                C.        Plaintiff is an 'Otherwise Qualified' bidividual                                                             5
                D.        Plaintiff Requested an Accommodation                                                                        6
                          i.        Months Before Plaintiffs NBME CBSE Attempts                                                       6
                          ii.        After Plaintiffs NBME CBSE Attempts. The Grievance Process                                       10
                E.        In the Alternative, Plaintiffs Need for an Accommodation was Obvious                                        11
                F.        A Reasonable Accommodation Existed                                                                          13
                0.        RUSM Failed to Provide a Reasonable Accommodation                                                           13
      IL        Breach of Fiduciary Duty Claim                                                                                        13
                A.        The RUSM Counseling Center had a Fiduciary Duty to Plaintiff,                                               13
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                A.        RUSM Made a False Statement Regarding a Material Fact; and/or RUSM
                          Misrepresented a Material Fact                                   15
                                     The ADA-Statement                                                                                15
                           1.        The ADA-Statement is False and/or Misrepresented                                                 16
                           ii.       The ADA-Statement is Material.                                                                   16
                B.        RUSM had Knowledge that the ADA-Statement is False; and/or Made the
                          Representation Without Knowledge as to its Truth or Falsity, or RUSM Ought to
                          have Known of its Falsity.                                                                                  18
                C.        RUSM Intended for Proqjective Students in the U.S. to Rely on the ADA-
                          Statement                                                                                                   19
                D.        RUSM Omitted a Material Fact tiiat it had a Duty to Disclose to Prospective
                          Students                                                                                                    19
                E.        Plaintiff was Consequently Injured Acting in Reliance on the ADA-Statement
                          and/or Injury Resulted to Plaintiff Acting in Justifiable Reliance on the ADA-
                          Statement                                                                                                   19
                          i.        Plaintiffs Reliance and Consequent Injury                                                         20

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                   ii.       Justifiable Reliance                                 20

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      U.S. V. Hialeah Housing Authority,418 Fed. Appx.872,(11th Cir. 2011)                6

      Wachovia Insurance Services, Inc. v. Toomey,994 So.2d 980,(Fla. 2008)               14

      ZCInsurance Co. v. Brooks,847 So.2d 547,(Fla. Dist Ct App. 2003).                   19

             Statutes


      42 U.S.C.§ 12102                                                                  2,3

      42 U.S.C.§ 12181                                                                   16

      42 U.S.C.§ 12182                                                                   18

             Other Authorities

      Pattern Jury Instructions, Civil Cases,Eleventh Circuit,§4.12,(2018 revisiwi)       6

             Regulations


      34C.F.R.§104                                                                    2,3,18




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                                             INTRODUCTION


             In May of2014,Plaintiff became a medical student at RUSM. After passing his first four

      semesters in Dominica, he failed his fifth semester in December of 2015. When Plaintiff failed

      that semester, RUSM suspected, tested, and confirmed Plaintiffs concentration/attention

      limitations. Plaintiff informed RUSM numerous times that he needed extended testing time, but

      RUSM allows its faculty to be deliberately indifferent to disabled students in need of an

      accommodation. Contrary to what RUSM advertised to prospective students, RUSM did not have

      a policy—or required in any fashion—^for its faculty to comply with the ADA in Dominica.

                                        STANDARD OF REVIEW


             "A party may move for summary judgment, identifying each claim or defense — or the

      part of each claim or defense — on which summary judgment is sought. The court shall grant

      summaryjudgment iftiie movant shows that there is no genuine dispute as to any material fact and

      the movant is entitled tojudgment as a matter oflaw." Fed. R.Civ.P.56(a)."Ifthe court does not

      grant all the relief requested by the motion, it may enter an order stating any material fact —

      including an item ofdamages or other relief— that is not genuinely in dispute and treating the fact

      as established in the case." Fed. R. Civ. P.56(g).

                                                ARGUMENT


      I.     Failure to Accommodate Claims

             "To state a failure to accommodate claim,it must be shown that the plaintiff(1)is disabled,

      (2) is an 'otherwise qualified' individual, and (3) was discriminated against by way of the

      defendant's failure to provide a reasonable accommodation."J.A.M. v. Nova Se. Univ., Inc., Case

      No.0:15-cv-60248-KMM,at *8(S.D. Fla. Aug. 12,2015).

             A.      L^al Framework.
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             Since 34 C.F.R. § 104.4 effectuates the RA and because the RA and Title III ofthe ADA

      both prohibit discrimination on the basis ofdisability by an institution of higher education, these

      claims will be discussed together as a failure to accommodate claim."No qualified handicapped

      person shall, on the basis ofhandicap,be excluded from participation in, be denied the benefits of,

      or otherwise be subjected to discrimination under any program or activity which receives Federal

      financial assistance." 34 C.F.R. § 104.4(a)."The purpose ofthis part is to effectuate section 504

      of the Rehabilitation Act of 1973, which is designed to eliminate discrimination on the basis of

      handicap in any program or activity receiving Fed^al financial assistance." 34 C.F.R.§ 104.1.

             "Both the ADA and the RA prohibit discrimination on the basis of disability by an

      institution of higher education. ... Because both statutes generally impose the same legal

      requirements,the Court will discuss the ADA and RA claims together,relying on cases construing

      those statutes interchangeably, unless a distinction is relevant"JA.M.,Case No.0:15-cv-60248-

      KMM,at *5-6."[T]he only material difference between the rights and remedies afforded plaintiffr

      under Title II and Section 504 lies in their respective causation requirements, but that this

      diff^ence was immaterial where the plaintiffs claims are based on a failure to make reasonable

      acconunodations for disabled individuals." Alhoniga v. Sch. Bd. ofBroward Cnty.,87 F.Supp. 3d

      1319,1332(S.D. Fla. 2015)(emphasis added)(citing Bennett-Nelson v. La. Bd, ofRegents, 431

      F.3d 448,454(5th Cir.2005)).

             B.      Plaintifr is Disabled.

             A disabled or handicapped person is any person who (i) has a"physical or mental

      impairment" w^ich "substantially limits one or mme major life activities,"(ii) has a "record of"

      such an impairment, or (iii) is "regarded as" having such an impairment 42 U.S.C. § 12102(1);

      accorrf 34 C.F.R. § 104.3(j)(l).
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             "However, for a failure to accommodate claim, an individual must show that he has a

      disability within the 'actual disability' prong or the 'record of prong[.]"Pope v. ABFFreightSys.,

      Inc., NO. 3:17-cv-564, at *6-7 (W.D.N.C. Jul. 24, 2018). "Has a record of such an

      impairment means has a history of, <x\ia& been misclassified as having, a mental or physical

      impairment that substantially limits one or more major life activities." 34 C.F.R.§ 104.3QX2)(iiO

      (onphasis omitted and added).Plaintiffs Mental Impairments are so well documented and detailed

      that he satisfies both the 'actual disability' and the 'record of prongs.

                      i. "Concentrating'^ is a Major Life Activity.
             By statute, "major life activities include ... concentrating'..." 42 U.S.C. § 12102(2)(A).

      Since only one major life activity is required to be disabled. Plaintiff does not find it necessary to

      argue all other possible major life activities in this Motion.

                      iL Plaintiffs Mental Impairments Substantially Limits Concentration.
             "[Mjental impairment means ... any mental or psychological disorder." 34 C.F.R. §

      104.3(j)(2)(i), Plaintiff was diagnosed with the following mental disorders, ADHD, Anxiety

      Disorder, and OCD. Each of these Mental Impairments substantially limit the same major life

      activity, concentration; and consequently, his ability to complete exams in the standard time

      allotted. "The ADA defines 'discrimination' to include 'not making reasonable accommodatirms

      to the known physical or mental limitotinns ofan otherwise qualified individual with a disability."

      Duckett V. Dunlop Tire Corp., 120 F.3d 1222,1224(11th Cir. 1997)(emphasis added)(quoting

      42 U.S.C.§ 12112(b)(5)(A)).

              Diagnostic tests. After Plaintiff took multiple dii^ostic tests between December 2015

      throu^ January 2016 his treating professionals stated,(1)Plaintiffs "Coimers CPT3 computer




             'PtaintifT may use the term "concentration" interchangeably with "attention."

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      testing results Q states that the scores are 'associated with a very high likelihood of having a

      disorder'such as ADHD."Ex.SJ-01;(2)"The TOVA was administered.The results are not within

      normal limits and the overall pattern of performance sugg^ts an attention problem, including

      ADHD." Ex. SJ-02; and (3)"The CAARS was also administered. The results indicated ADHD

      predominantly Inattentive presentation." Id. Plaintiffs Conners CPT3, TOVA,and CAARS all

      reached the same conclusion about Plaintiffs concmtration problems.

             Medical record notes by Plaintiffs treating professionals. On December 30, 201S, Dr.

      Mauricio's medical note about Plaintiff reads:

                    The patient reports the following concerns related to
                    attentirm/concentration:

                    [F]requently fails to give close attention to dettuls or makes careless
                     mistakes at work or in school[.]
                    [C]onstantly has difficulty sustaining attention to tasks at work or in
                    school[.]

                    [I]ntmnittmtly doesn't seem to listen when spdren to directly[.]
                    (T]requently does notfollow through on instructions or fails to finish
                     work or duties[.]
                    [C]onstantly has difficulty widi tasks requiring persistence or
                    organization(schoolwork orjob duties)[.]
                    [CjcHistantly Has [sic] problems with procrastination/avoidance of
                     tasks.

                    [Cjonstantly distracted by noise or activity.
                    [CjcHistantly is fcvgetful in daily activities, e.g., difficulty
                    remembering appointments or obligations[.]
                    [intermittently finds it hard to follow conversations, even when
                     being spoken to directly[.]
      Ex.SJ-03,at 3. On June 17,2016,Dr. Mauricio's medical note about Plaintiffreads:

                    [H]ave not been on time for anything in the last couple of mondis,
                    continuous missing events,study maybe 3 hours a day or less,don't
                    feel a"focus" effect/ don't feel anything,stupid things distract[him]
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                    from main subjectQ. He reports that he continues to be '^al'ways
                     late",forgetting all his appointments...
      Id. at IS.

             Denise H. Unterman's (Plaintiffs psychotherapist) medical note reads,"[a]nxiety dating

      to at least[hi^ school]." Ex. SJ-04, at 35. Ms. Unterman's medical note further reads:

                    [0]nset of anxious feelings in HS w/ worsening in college around
                    exams when he started pulling out his eyelashes and chin hairs.[...]
                    [S]truggling w/ completing exams due to compulsively checking
                    that he has completed previous answers. [...] [H]e's very worried
                    about undermining his score by not completing the exam in the time
                    allowed.. He pulls his eyelashes to the point where he no longer has
                    any.

      Id. Ms. Unterman's goal for Plaintiffreads:

                    Goal I: Anxiety Reduce [«c] the overall leve[l], frequency and
                    intensify ofthe anxiety so that daily fimctioning is not impaired.
      /d.at36.

             RUSM counseling records indicate that Plaintiffexperienced"running out oftime"on his

      exams.Ex.SJ-05.These records also show that"towards the aid"ofexams.Plaintiffwould"los[e]

      his momentum and just circle questions widiout really thinking ofdie answers." Ex. SJ-06.

             C.     Plaintiff is an 'Otherwise Qualified'Individual
             RUSM admitted that Plaintiff is an otherwise qualified individual. Paragraph 86 of the

      Complaint[ECF No.47]reads:

                    Plaintiffis odierwise qualified to participate in RUSM's curriculum
                    and is able to participate in said program with reasonable
                    accommodations in place.
      Compl.f 86.

             RUSM admitted to the allegation in its Answer and Affirmative Defenses[ECF No. 58]

      ("Answer")as follows:

                    In response to paragraph 86,RUSM admits the allegations.
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       Answer% 87.

              D.      PlaintiffRequested an Accommodation.
              The determination of whether a request for accommodation has been made, is a legal

       conclusion."However stated, a plaintifT can be said to have made a request for accommodation

       when the defendant has 'enough information to know of both the disability and desire for an

       accommodation."'         v. Aimco Props., L.P., 814 F.3d 1213, 1226 (11th Cir. 2016)(quoting

       Cormeen v. MBNA Am. Bank, N.A., 334 F.3d 318, 332(3d Cir.2003)(internal quotation marks

       omitted))."[A]plaintiff'need not use magic words,' but'should provide enough information about

       his or her limitations and desires to suggest at leastthe possibility that reasonable accommodation

       may be found....'" Adigun v. Express Scripts, Inc.,No. 17-15225,at *4-5(11th Cir. Aug.7,2018)

      (brackets omitted)(quoting Smith v. Midland Brake,Inc., 180 F.3d 1154,1172(10th Cir. 1999));

       accord U.S. v. Hialeah Housing Authority, 418 Fed. Appx. 872, 876 (11th Cir. 2011).

      "[Ajccommodation request need not be formal, be in writing, or invoke any particular 'magic

       words[.]'" Sessoms v. Trs. ofthe Univ. ofPa.,No. 17-2369,at *8(3d Cir. Jun.20,2018). Hie term

       "request' is a legal concept.

              "Put another way, the third and fourth elements require [Plaintiff] to prove that [he]

       informed [RUSM]of both the substantial limitations [his] disability created and the need for an

       accommodation." Pattern Jury Instructions, Civil Cases, Eleventh Circuit, § 4.12, p. 7 (2018

       revision).

                      i. Months Before Plaintiff's NBME CBSE Attempts.
              After Plaintiff failed his fifth semester in December 2015, he executed a ROl Agreement

       with the RUSM Counseling Center. Ex. SJ-07; Answer f 17. When Plaintiff signed the ROl

       Agreement, he verbally asked Dr. Sharma and Mr. Cufty to tell RUSM administration(1)that he

       needed extended testing time for a suspected attention problem that needed to be diagnosed and
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      (2) that he needed an earlier flight home to help him emotionally with failing the smester.

       Awodiya Decl.If 3.

              The ROI Agreement states that Plaintiff "authorize[d] RUSM Counseling Center" to

       discuss his "confidential information" with "RUSM Administration" for the purpose "to provide

       information relevant to academic accommodations" and authorized them to do so with "ongoing

       communication."Ex.SJ-07."RUSM admitsthatthis would have permitted the Counseling Center,

       including the psychiatrist treating Plaintiff, to discuss his ADHD with the school's

       Accommodations Coordinator[.]" Answer ^17.

              Dr. Sharma is RUSM's "professor of behavior sciences and consultant psychiatrist for

       health services." Sharma Dep.7:23-24.Dr. Sharma admitted that he has"helped other students to

       get test accommodations at Ross University." Id. 27:1-3. Althou^ he may not make the final

       decision. Dr. Sharma stated that he is the one who makes the requests for accommodations for

       studrats. In Dr. Sharma's own words, he stated,"I'm the one — or the doctors make the request

       for accommodation, which is time-and-a-half. You get extra time. We actually put it we want the

       student to get the accommodation[.]"Id. 37:17-21.

              Dr. Sharma admitted that he noticed Plaintiffs attention/concentration symptoms,

       including,constantly has difficulty sustaining attention to tasks,constantly has difficulty with tasks

       requiring persistence or organization, constantly distracted by noise or activity, and constantly

       forgetful in daily activities. Sharma Dep. 12:9-21. Dr.Sharma stated,"what I saw was evidence of

       ADHD that required, you know,testing and confirmation." Id. 13:1-3. Dr. Sharma admitted that

       he noticed Plaintiffs symptoms in "December 2015."Id. 13:19-24. Dr. Sharma further admitted

       that he noticed Plaintiffs symptoms to the"extent" that Dr.Sharma"recommended an assessment

       for the ADHD," when Plaintiffsigned the ROI Agreement"for the release ofinformation relative
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       to academic accommodations." Id. 73:1-8. Dr. Sharma further admitted diat PlaintifTs "ADHD

       symptoms that [he] observed in December 2015" were "relevant to academic accommodations."

       /£/. 74:13-22.

              Dr. Sharma admitted that he was"informed that [P]laintifr was running out oftime on his

       exams." Sharma Dep. 23:7-9. Dr. Sharma further admitted that he believed that "[PjlaintifFs

       ADHD,specific to him, was significantly limiting his ability to complete his exams in the time

       allowed." Id. 20:19-22. Dr. Sharma also stated Aat Plaintiff told him that he was continuing to

      "r[u]n out oftime" on his exams even though he passed fiiera in March 2016. Id. 18:24-19:7. Dr.

       Sharma fiirther stated, "did I prescribe the stimulant [Ritalin] because the student needed extra

       time? That is part ofthe problem that ADHD has,that it causes the student to take longer. So the

       medication would help that So, yes, that's correct." Id. 39:14-19. Then Dr. Sharma admitted that

       Plaintiff told him that he was still running out of time on his exams despite the medication. Id.

       40:24-41:7.


              Dr.Hayse has served as the Associate Dean ofStudent Affairs at RUSM.Ex. SJ-09. His

       "[a]reas of oversight include ... academic accommodations." Id. Dr. Hayse was responsible for

       making the "final decision" on academic accommodations. Hayse Dep.23:22-24:8. Plaintiff also

       informed Dr.Hayse ofhis limitations and the need for extended testing time. On the same day that

       Plaintiff signed the ROI Agreement in December 2015, he had a joint meeting with Dr. Sharma

       and Mr. Cuffy about failing the semester. Ex. SJ-10. Dr. Shanna's counseling note reads,"[f]elt

       he was treated unfairly because he failed by one point...[h]e wanted to spe^ to the Dean about

       changing his grade." M at 1. The same counseling note also reads,"[i]s trying to see ifhe can have

       his grade changed. EMt[s/c] with student affairs." Id. at 2.
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              The next day Plaintiff met with Dr. Hayse in Student Affairs. PlaintifTasked Dr. Hayse if

       he could retdce his exams with extended testing time because the RUSM Counseling Center

       suspected an attention problem that needed to be diagnosed. Awodiya Decl.f 4. Dr. Hayse told

       Plaintiffthat he could accommodate Plaintifffor fiiture exams but not for exams that Plaintiffhad

       already taken,/j. f5.Dr.Hayse told Plaintiffthat he would contact Mr.Cuflfy aboutthe suspected

       attention problem so that Plaintiffcould receive extended testing time for future exams.Id. ^6.

              Mr. Cuffy is a coimselor at RUSM. Admis. No. 48. Mr. Cuffy's counseling note reads,

       "[Plaintiff returned to office after talking to Dr. Hayes [,r/c] in Student Affiiirs regarding his

       academic situation. I subsequently received an email from Dr. Hayes [.sr/c] requesting that we talk

       at some pointre:the client. Aftor the meeting with Dr> Hayes,[s'/c]die client was very dis£q>pointed

       but stable." Ex. SJ-11. Another counseling note diree days later by Mr. Cuffy reads, "[ajfter

       exhausting all avenues of getting his grades changed, he is at the point where he is accepting to

       come back here in January to repeat semester S." Ex. SJ-12.

              When Plaintiffreturned to Dominica to repeat his fifdi semester in January 2016,Plaintiff

       provided the RUSM Counseling Center with an assessment of his ADHD that was performed by

       Dr. Mauricio in the United States. Mr.Cuffy clinically assessed Plaintiff with ADHD and Anxiety

       Disorder. Answer       14-15. Mr, Cuffy's counseling note reads, "[Plaintifi] was assessed in the

       U.S.for ADHD;he provided us with a copy ofthe results which are scsuined in his file.... Clinical

       assessment: Academic problems; repeating semester 5." Ex. SJ-13. See also diagnostic tests and

       medical record notes siqtra pp.3-4. Mr.Cuffy's counseling notes also reads,'that towards the end

       ofthe exam [Plaintif!^ lost his momentum and just circle questions without really thinking ofthe

       answers." Ex. SJ-06.
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              Dr. Sharma, Dr. Hayse, and Mr. Cuffy were each informed of Plaintiffs limitations and

      the need for an accommodation.

                       ii. After Plaintiffs NBME CBSE Attempts.The Grievance Process.
              In 2017,the RUSM Promotions Committee recommended Plaintiff for dismissal because

      of his performance on his NBME CBSE attemj^. Dean Owen denied Plaintiffthe opportunity to

      continue despite being informed by Plaintiffs mental health providers that Plaintiffsuffers fiom a

      disability tiiat adversely affects his academic performance.

              "[S]omeone other than the disabled person may request an acconunodation on behalf of

      the disabled person." Moore v. Hexacomb Corp.,670 F. Supp. 2d 621,629(W.D. Mich. 2009).

      ''[A]family member,friend, health professional,or other representative may request a reasonable

      accommodation on behalf of an individual with a disability."fr/. at 629-630 (quoting TcqtIot v.

      Phoenixville Sch. Dist, 184 F.3d 296, 312(3d Cir. 1999)); accord McLean v. Abingfon Mem'l

      Hosp., CIVIL ACTION NO. 15-671, at *15 (E.D. Pa. Sep. 15, 2015); Boudreau v. Bethesda

      Found ofNeb., Civil Action No. l:14-cv-03451-CMA-CBS,at *10 n.2(D. Colo. Jan. 27,2016).

              On June 1,2017,the RUSM Promotions Conunittee instructed Pl^tiffto email an £q)peal

       letter to Dean Owen at PromotionAppeals@RossU.edu "[i]f additional information has become

       available or if you believe university procedure wasn't followed." Ex. SJ-14.

              On June 12,2017,Plaintiffs independent psychiatrist and psychotherapist informed Dean

       Owen that Plaintiffs mental impairment had adversely affected his academic performance in

       medical school,Ex.SJ-15.Plaintiffs psychiatrist and psychotherapist sent an email to Dean Owen

       which states:

                             We are writing on behalf of [Plaintiff), a student in your
                       program.

                             We have been treating Mr. Awodiya for the past several
                       months for ADHD and Obsessive Compulsive Disorder.He has had

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                     symptoms ofthe latter for the past 4-6 years but did not understand
                     the nature of the diagnosis until recently. We believe that the
                     anxiety and checking rituals inherent to this condition have been
                     adversely affecting his academic performance in medical school.
       Id.(emphasis added).

              On June 13,2017,RUSM confirmed that it received Plaintiffs £^peal letter to Dean Owen.

       Ex. SJ-16. Plaintiffs appeal letter to Dean Owen stated:

                     [M]y objective is to keep this letter relevant to how OCD has
                     influenced my academic performance.


                             My biggest challenge with OCD is the extreme anxiety and
                     urges that overwhelm me. ... Honestly, I don't fiilly understand
                     everything about my OCD yet, but sometimes there isn't a solution
                     to sooth my anxiety. Therefore, when I can't identify why I feel the
                     way I do, I get hopelessly overwhelmed. Sometimes the solution is
                     not even logical, like pulling out my eyelashes.
                              I'm the student who never finished an exam on time. I was
                     compelled to back track my answers just to make sore th^
                     didn't disappear 5 seconds after I went to the next question....
                     These are just some of the ways that OCD has influenced my
                     academic performance.
                            ... I cannot tell you that I can fix this ovemight, but I can tell
                     you that progress can be made.
       Ex. SJ-17(emphasis added).

              On June 29, 2017, Dean Owen sent a letter to Plaintiff which states that he "carefully

       reviewed [Plaintiffs] academic record, [Plaintiffs] appeal of the Student Promotions

       Committee's recommendation for dismissal, and [Plaintiffs] pre-matriculation credentials."

       Ex. SJ-18(emphasis added). Dean Owen still decided to dismiss Plaintiff.Id.

              E.     In the Alternative,Piaintiffs Need for an Accommodation was Obvious.
              Even if RUSM could somehow create a question of feet as to whether Plaintiff made a

      "request" for an accommodation, a request is not required when PlaintifiPs need for an


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       accommodation was obvious. The same &cts already set forth above, support diis alternative as

       well.

               "[T]he entity will know of the individuars need for an accommodation because it is

       obvious." McCulhm ex rel. DF& TF v. Orlando Reg'lHealthcare Sys., Inc.,768 F.3d 1135,1147

      (11th Cir. 2014)             Robertson v. Las Animas Cnty. Sheriffs Dep% 500 F.3d 1185, 1197

      (10th Cir.2007))."Whether the public entity's knowledge derives from an individual's request for

       an accommodation or an individual's obvious need for an accommodation,the critical componoit

       of the raitity's knowledge is that it is aware not just that the individual is disabled, but that the

       individual's disability affixts his ability to receive the benefits ofdie entity's services."Robertson

       V. Las Animas,500 F.3d 1185, 1197 n.lO(10th Cir. 2007).

               "[A]disabled person's failure to expressly 'request' an accommodation Q is not fatal to an

       ADA claim where the defendant otherwise had knowledge ofan individual's disability and needs

       but took no action. A specific demand may be uimecessary where the need for an accommodation

       is obvious."Aarz/e/v. Fla. Dep'tofCorr.,CASE NO.l;15-cv-00150-WTH-GRJ,at *2(N.D.Fla.

       Nov.27,2017)(second bracket added)(quoting McCoy v. Texas Dep't ofCriminal Justice, 2006

       WL 2331055 at *7(S.D. Tex 2006)).

               "Application of this general rule [that a request for accommodation is a prerequisite to

       liability for failure to accoinmodate] is not warranted, however,where the disability is obvious or

       othowise known to the employer without notice from the employee." Bra<fy v. Wal-Mart, 531

       F.3d 127, 135 (2d Cir. 2008)(brackets in original)(quoting Felix v. New York City Transit

       Authority, \54 F.Supp.2d 640(S.D.N.Y. 2001)). "[W]hen an employer has independent

       knowledge ofan ^ployee's dis^ility[,][t]he rule requiring a request for accommodation [does

       not {q>ply] in such circumstances." Id. (last bracket in original). "A requirement that such an


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      employee ask for accommodation would be tantamount to nullifying the statutory mandate of

      accommodation for one entire class of disabled (as that term is used in the ADA)employees. We

      therefore hold that an employer has a duty reasonably to accommodate an employee's disability if

      the disability is obvious—which is to say,ifthe employer knew or reasonably should have known

      that the employee was disabled."Id.

             "Lastly, the regulations governing the ADA provide that, to determine the appropriate

      reasonable accommodation,an employer may need to initiate an informal,interactive process with

      the individual with a disability in need of an accommodation to identify the person's limitations

      and potential reasonable accommodations."^agwe// v. Morgan Cnty. Comm'n,No. 15-15274, at

      *7(11th Cir. Jan. 18,2017)(quotation marks omitted).

             F.      A Reasonable Accommodation Existed.

             RUSM admits "that extended testing time for the NBME CBSE is a reasonable

      accommodation for disabled students that need extended testing time." Admis.No.58.

             G.     RUSM Failed to Provide a Reasonable Accommodation.

             RUSM admits "that RUSM did not provide Plaintiff with extended testing time for the

      NBME CBSE." Admis.No. 16.

      II.    Breach ofFiduciary Duty Claim
             The RUSM Counseling Center had an ongoing duty to provide RUSM administration with

      confidential information reposed by Plaintiff, if the information was relevant to academic

      accommodations.

             "The elements ofa claim for breach offiduciary duty are:the existence ofa fiduciary duty,

      and the breach ofthat duty such that it is the proximate cause ofthe plaintiffs damages." Gracey

      V. Eaher,837 So. 2d 348,353(Fla. 2002).

             A.     The RUSM Counseling Center had a Fiduciary Duty to Plaintiff.


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              "The counselor-counselee relationship has been characterized as a fiduciary one."Doe v.

       Evans, 814 So. 2d 370, 374 (Fla. 2002). "Fiduciary relationships usually arise in one of four

       situations:(1) when one person places trust in the faithfiil integrity of another, who as a result

       gains superiority or influence overthe first,(2)when one person assumes control and responsibility

       over anoth^,(3)when one person has a duty to act for or give advice to another on matters falling

       within the scope of the relationship, or (4)when there is a specific relationship that has

       traditionally been recognized as involving fiduciary duties[.]" Wachovia Insurance Services, Inc.

       V. Toomey,994 So.2d 980,998 n.7(Fla. 2008)(alterations omitted).

              As stated above,Plaintiff v^bally asked Dr. Sharma and Mr.Cuffy,to communicate with

       RUSM administration on his behalf.See stqtra pp.6-7. The RUSM Counseling Center's fiduciary

       duty is outlined, in writing,in the joint ROI Agreement Restated here, the ROI Agreement states

       fitat Plaintiff"authorize[d] RUSM Counseling Center" to discuss his "confidential information"

       with "RUSM Administration" for the purpose "to provide Information rdevant to academic

       accommodations" and authorized them to do so with "ongoing communication." Ex. SJ-07

      (emphasis added)."RUSM admits diat this would have permitted the Counseling Center,including

       the psychiatrist treating Pluntiff, to discuss his ADHD with the school's Accommodations

       Coordinator[.]" Answer^ 17.

       HI.    Fraudulent Inducement/Omission and Negligent Misrepresentation Claims
              RUSM &lsely advertised to prospective students that die university required its faculty "to

       comply" with the Americans with Disabilities Act in Dominica. RUSM admitted that the

       advertisement was intended for prospective students but used the phrase"as applicable"to exclude

       these same students from the purported "policy" or requirement that it advertised to have.

              "To state a claim for fiaudulent inducement pursuant to Florida law,[Plaintilf| must allege

       four elements:'(1)a frilse statementregarding a material &ct;(2)the statement maker's knowledge

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      that the representation is false;(3)intentthatthe representation induces another's reliance;and(4)

      consequent injury to the party acting in          BankofAm.,N.A. v. Grec HomesJX,LLC,CASE

      NO.13-21718-CIV-ALTONAGA/Siinonton,at *\1 (S.D. Fla. Jan.23,2014)(quoting ThompMns

      V. LiVJoe Records. Inc., 476 F.3d 1294,1315(11th Cir.2007)(citations omitted)).

             "A plaintiff may establish negligent misrepresentation by proving(1)a misrepresentation

      ofa material fiv:t;(2)the rq)resentor made the representation without knowledge as to its truth or

      &lsity, or under circumstances in which the representor ought to have known of its fiilsity;(3)the

      representor intended to induce another to act on the misrepresentation; and (4)injury resulted to

      die party acting in justifiable reliance on the misrepresentation." Tsavaris v. Pfizer, Inc., Case No.

       l:15-cv-21826-KMM, at *9(S.D, Fla. Feb. 1, 2016)(quoting Sovran v. Travelers Ins. Co., 982

      F.2d 1497,1503(11th Cir. 1993)(citation omitted).

              A.     RUSM Made a False Statement Regarding a Material Fact; and/or RUSM
                     ISRsrepresented a Material Fact
                     L   The ADA-Statement

              Paragnqih 106 ofthe Complaint reads,"[cjontinuously between 2012and 2018,and before

      Plaintiffapplied and enrolled into RUSM's medical degree program,RUSM published a statement

       in its Admission Requirements section ofits website" stating;

                     It is the poliiy^ and practice of the University to comply with the
                     Americans with Disabilities Act as applicable and practical in
                     Dominica.

       Compl.f 106(emphasis added)(hereinaflBr referred to as the "ADA-Statement"); See also Ex.

       SJ-19, at 3(the ADA-Statement as it appeared on October 31,2012).

              RUSM did not deny and therefore admitted the all^ation of tiie ADA-Statement in its

       Answer,as it reads:

                     In response to paragraph 106, RUSM states that the website speaks
                     for itselfand RUSM denies any allegations inconsistent therewith.

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       Answerf 107.

                      ii. The ADA-Statement is False and/or Misrepresented.
              First, RUSM did not have a policy instructing its faculty "to comply" with the Americans

       with Disabilities Act in Dominica. Second, RUSM believed or took the position that Title III of

       the Americans with Disabilities Act was not applicable in Dominica and then used this malicious

       beliefto elude the compliance that it advertise to prospective students.

              Title I ofthe Americans widi Disabilities Act is only applicable to employees.42 U.S.C.§

       12112(a). Title II ofthe Americans with Disabilities Act is only applicable to public entities. 42

       U.S.C.§ 12132.In contrast. Title III ofdie Americans with Disabilities Act is applicable to private

       entitle including "postgraduate private school[s]." 42 US.C.§ 12I81(7)(J). RUSM is a "private,

       for-profit medical school." Answerf2.

              Dr. Hayse—who made the final decision and oversaw the academic accommodations

       process—had no knowledge ofany imposed compliance with the ADA nor the RA in Dominica.

       Hayse Dep. 14:11-18. In &ct. Dr. Hayse even went as far as to say that they were not"beholds

       to"the ADA,rather,theyjust used it as a "guideline." Hayse Dep. 10:14-17.         also Admis.No.

       29(RUSM admitting that the school "is not required to comply with Title III of the ADA in

       Dominica").

                      iiL The ADA-Statement is MateriaL

              Even though RUSM's mmn campus location in Dominica was required to comply with

       Title IV, HEA statutes and regulations—^including the RA—^in exchange to receive Federal

       financial assistance, see PL's Second Motion for Judicial Notice [ECF No.89], RUSM also did

       not have a policy or requirement instructing its faculty to comply with the RA in Dominica,Hayse

       Dep. 14:11-18,10:14-11:6,11:17-21.




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              Since RUSM did not have a policy—or required in any fashion—^for its faculty to comply

       with either Title UI ofthe Americans with Disabilities Act or the RA,it perpetuated discrimination

       by providing its faculty the option to be deliberately indifferent to the known limitations ofdisabled

      students who needed reasonable accommodations in Dominica.

              In addition to ignoring the known needs and limitations of disabled students, RUSM

       blindly adheres to its own formalisms^ about die manner of requests for accommodations which
      are actually just administrative methods used to perpetuate discrimination ofdisabled students by

      refusing to provide reasonable accommodations for oral requests, by requiring magic words to get

      accommodations, and by refusing to offer (or investigate) a reasonable accommodation after

      someone else—other ftian the disabled student—^informed RUSM faculty ofthe disabled student's

      limitations and need for an accommodation.

              Taking dqmsitions.Plaintiffasked Dr.Sharma ifstudents need to expressly "say"die word

      "accommodations" in order to get accommodations, Dr. Sharma answered,"[y]es,they have to."

      Sharma Dep. 29:7-18. In this example, die magic word here is "accommodations." Dr. Sharma

       ftuther stated:


                         I can only send the documentation to the accommodations office,
                         what we have,and they would receive accommodadon.
                                ... You have — you have good documentation, in my
                         opinion. Other students may have had one less test done, but still
                         with a good diagnostic report of ADHD. So they would be given
                         aconnmodations.

       Sharma Dep. 27:13-23. In addition to requiring magic words. Dr. Sharma explained diat nobody

       can request for accommodations on a student's behalf, stating:




              ^"[W]hat matters is not'formalisms about the manner ofthe request,' but tiiat the employer has notice ofthe
       employee's disability and wish to be accommodated." Hunt v. Aimco Props., LP., 814 F.3d 1213, 1226(11th Cir.
       2016)(quoting rqy/orv. PhoenixvUle Sck Dist, 184FJd296,313(3dCir.l999».
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                       Nobody can apply for accommodation.Notthe student's mother,the
                       student's father, not the student's psychiatrist, the student's
                       counselor. Nobody can apply for accommodations. Only the
                       student, and it has to be done in Avriting. ... Nobody else, mother,
                       faculty,the dean,the president ofthe USA.


                              The dean cannot ask for the accommodation on the student's
                       behalf. ... It do^n't matter. Nobody. Nobody can ask for the
                       accommodation. Only the ^dent
       Shanna Dep.43:12-16,43:21-24(emphasis added),44:4-9. See also Shacma Dep.44:24-45:9.

                RUSM's formalisms are at odds with the text ofthe ADA and RA regulations, stating:

                       An individual or entity shall not, directly or throu^ contractual (nt
                       other torangements, utilize standards or criteria or methods of
                       administration— (i) diat have the effect of discriminating on the
                       basis ofdisability; or(ii)that perpetuate the discrimination ofothers
                       who are subject to common administrative control.
       42 U.S.C.§ 12182(b)(D);accord 3A C.F.R. §§ 104.4(b)(l)(v),(b)(4).

                B.     RUSM had Knowledge that the ADA-Statement is False; and/or Made the
                       Representation Without Knowledge as to its Truth or Falsity,or RUSM Ought
                       to have Known ofits Falsity.
                Mr. Stewart-Fulton is one of die accommodation coordinators at RUSM. Answa:117.

       Taking his deposition. Plaintiff asked Mr.Stewart-Fulton if"feculty at RUSM"was required "to

       comply" with Title 111 of die ADA mid the RA. Fulton Dep. 31:14-21. Mr. Stewart-Fulton

       answered,"[i]n ref^ence to when you were enrolled and the campus was located on Dominica,

       we were not required to comply with the ADA."Id, 32:1-4. He further answered that diey simply

       "abided by the spirit" ofthe ADA and the RA.Id,32:5-7. Mr.Stewart-Fuhon fiirther admitted that

       there was no policy "to comply" and therefore was not required to comply widi die ADA and RA

       in Dominica,/ri. 32:12-19.These admissions are consistent with Dr.Hayse's testimony.See supra

       p. 16.




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              C.     RUSM Intended for Prospective Students in the U.S. to Rely on the ADA-
                     Statement.

              RUSM distinctly wanted prospective students to leave the U.S. to attend its school in

       Dominit^.RUSM "focus their marketing efforts on attracting highly qualilBed, primarily U.S.and
       Canadian applicants[.]"Ex.SJ-20,at 19(Form 10-K SEC filing for the 2012fiscal year)."RUSM
      admits that it published information for prospective students on its website, including in the
       Admissions Rajuirements section." Answer If 106(emphasis added). The ADA-Statement was in
      the Admissions Requirements section.See st^ra p. 15.

              D.     RUSM Omitted a Material Fact that it had a Duty to Disclose to Prospective
                     Studente.

             "Florida law recognizes that fraud can occur by omission, and places a duty on one who
       undertakes to disclose material information to disclose that information fully."ZCInsurance Co.
      V. Brooks,847 So.2d 547,551 (Fla. Dist. Ct. App.2003).

              RUSM materially omitted that it believed or took the position that no part ofthe ADA was

      applicable to the prospective students once they became students in Dominica and/or therefore did

      not have any policy directing its faculty to comply with the ADA in Dominica. RUSM made

      deliberate efforts to at^ct prospective students to leave the U.S. to attend its medical school in
      Dominica. It advertised to these prospective students that it was the *'policy" ofthe school "to

      comply" with the Americans with Disabilities Act as {q)plicable in Dominica. But,as evidenced

      by Dr. Hayse's and Mr. Stewart-fulton's testimony, RUSM in fact did not have a compliance
      policy nor did they feel obligated to comply with the ADA in Dominica.Supra.RUSM had a duty
      to advise prospective students that its faculty was not "beholden to" the ADA,sipra p. 16, and
      that they only "abided by the spirit" ofthe ADA,supra p. 18.
             E.      Plaintiff was Consequently Injured Acting in Reliance on the ADA-Statement
                     and/or Injury Resulted to Plaintiff Acting in Justifiable Reliance on the ADA-
                     Statement


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                       i. Plaintiff's Reliance and ConsequentInjuiy.
              Plaintiff had "serious concerns about attending a medical school ... located in a less

       developed nation than the U.S." Awodiya Decl. If 9."The ADA-Statement about RUSM's ADA

       compliance was one of the most important Actors in [Plaintiffs] decision to leave the U.S. to

       become a student at RUSM in Dominica." Awodiya Decl. If 14-15; Id. 110-12. Consequently,

       Plaintiff was denied the boietits and equal enjoyment of RUSM's medical program that was

       advertised by the ADA-Statement because RUSM refused to require its faculty to comply with the

       ADA in Dominica and therefore allowed compliance to be optional and for its faculty to be

       deliberately indifferent to Plaintiffs disability and needs.

                       ii. Justifiable Reliance.^
              Plaintiff wasjustified in relying on RUSM's ADA-Statement because he was a layperson

       widi minimal knowledge of law and had no reason to suspect that the information was being

       misrepresented. In fact. Plaintiff "thought the ADA-Statement was tmly applicable to U.S.

       students, as opposed to non-U.S. students, because ofthe word 'Americans' in 'Americans with

       Disabilities Act'" Awodiya Decl. ^ 16. "[Plaintiff] didn't know tfiat the ADA had different

       divisions or paits and that g^graphical applicability could differ among any parts ofthe ADA."
                               \




                                                   CONCLUSION


               Plaintiff Oluwamuyiwa Awodiya respecthilly requests diat the Court enter an Order (i)

       granting summary judgment in fiivor ofdie Plaintiff, in whole or in part on each claim herein;(ii)

       stating any material fact that is not genuinely in dispute and treating the fact as established in diis

       case; and/or(iii) granting Plaintiffsuch other and hirther reliefas the Court deemsjust and proper.



            '"Justifiable reliance is not a necessary elementoffraudulent misrepresentation." Butler v. Yusem,44So.3d
       102,105 (Fla. 2010).

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       DATED this 7th day ofDecember,2018:

                                                          Respectfully submitted.



                                                           By: Oluwamuyiwa Awodiya,pro se litigant
                                                                                       15005 Dahlia Dr.
                                                                                     Bowie, MD 20721
                                                                                       (240)602-1836
                                                                              Plaintiff, in Proper Person

                                     CERTIFICATE OF SERVICE


              I do hereby certify that on this 7th day ofDecember,2018,1 have caused a true and

       correct copy of(i)PLAINTIFF'S SECOND MOTION FOR PARTIAL SUMMARY

       JUDGMENT,(ii)DECLARATION OF OLUWAMUYIWA AWODIYA IN SUPPORT OF

       PLAINTIFF'S SECOND MOTION FOR PARTIAL SUMMARY JUDGMENT,and (iii)

       PLAINTIFF'S STATEMENT OF MATERIAL FACTS IN SUPPORT OF PLAINTIFF'S

       SECOND MOTION FOR PARTIAL SUMMARY JUDGMENT by mailing a copy to the Court,

       where the Court's CM/ECF system will send notification to the following:

                       Ryan Roman                      Octavia Monique Green
                        Akerman Senterfitt             Akerman LLP
                       Suntrust International Center   Three Brickell City Centre
                       1 SE 3rd Avenue                 98 Southeast Seventh Street
                       25th Floor                      Suite 1100
                        Miami, PL 33131-1714           Miami,FL 33131
                       305-374-5600                    (305)982-5670
                        Fax: 305-374-5095              Email:
                        Email:                         octavia.green@akerman.com
                        ryan.roman@akerman.com




                                                           By: Oluwaiauyiwa Awodiya,pM se litigant
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                                   Exhibit SJ-04
                           (Denise H.Unterman's medical notes)
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                KAISER
                PERMANENTE.
   Oiuwamuyiwa O Awodiya                                                           Description; 24 year old
   4/18/2017 3:45 PM Office Visit                                                  male
   MRN:|                                                                           Provider; DENISE
                                                                                   HAGLEYUNTERMAN
                                                                                   LCSW
                                                          Encounter#; 235085077    Department; Psychotlie-
                                                          Center: LARGO


  Visit Summary
 POP and Center
     Primary Care Provider                 Phone                          Center
     Enaruna Mae(M.D.)Tychus, M.D.         301-618-5500                   LARGO

 Registration
     Non- EpicCare Patient

  Reason for Visit
     ANXIETY

 Diagnoses
                                                                     Codes                Comments
     TRICHOHLLOMANIA         - Primary                               F63.3
     OBSESSIVE COMPULSIVE DISORDER                                   F42.9



 Progress Notes
  Unterman. Denise H (L.C.S.W.). L.C.S.W. at 4/18/2017 3:45 PM
    Status; Signed
    ••Sensitive Note'"

  Psychotherapy New Evaluation - Confidential

  Ft asked to be called Mee-wah. He said good-naturedly,"I give everyone 10 free passes to get my
  name right!'

 S: Chief Complaint: Pt has been pulling his eyelashes out and struggles to complete exams due to
 compulsive checking behavior.
     Symptoms Checklist for Major Depressive Episode

 This SmartLink has not been configured with any valid records.

  This SmartLink has not been configured with any valid records.

  Mental Status Exam:
  appearance: attire/dress is appropriate, eye contact is good, hygiene is good
  behavior: normal, collaborative, engaged
                                                                 Awodiya. oiuwamuyiwa
                                                                          Oluwa       O
                                                                 MRNimm
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  Prognsss Notes(continued)
  Unterman. Denise H (L.C.S.W.). L.C.S.W. at 4/18/2017 3:45 PM feontinuedl
  mood: normai, stable, w/ full affective range
  speech: normal in RTV
  ttiought content: denies suicidal ideation, plan, or intent, denies homicidal
  ideation, plan, or intent
  thought process: coherent, logical, relevant
  delusions: negative
  halludnations: negative
 insight: good
 judgment: good




    HPI: Pt reports onset of anxious feelings in HS w/ worsening in college around exams when he
 started pulling out his eyelashes and chin hairs. Initially he used his fingers but now uses tweezers
 for greater precision. Currently in 2nd year of medical school at Ross University Where's he's doing
  well but struggling w/ completing exams due to compulsively checking that he has completed
  previous answers. Also, when he's confident that he knows an answer, he nonetheless selects one
 that"sounds more complicated" because he "can't believe the easy one is righf. Board exams are
 coming up in a few months and he's very worried about undermining his score by not completing the
 exam in the time allowed.. He pulls his eyelashes to the point where he no longer has any. He's
 researched his Sxs and is his today to "find out if something's wrong w/ me and what can be done." I
 shared his dx, explained trichotillomania and the difference between compulsive traits and compulsive
 personality disorder. We explored self-esteem issues, whether he considers himself intelligent, and
  wondered blether why he might not trust himself to know exams answers. He expressed relief at
 talking about his, admitting that he's always viewed himself as "stupid" because his mother frequently
 told him that he was growing up. His thought process is along the tines of, "If I think I know the
 answer, it couldn't possibly be right." I described CBT and shared some strategies that he can try
  between now and his next visit, which he wants to hold off on tilt after his exam as he's consumed w/
 studying. Also, he didn't want to go to another site w/ earlier availability.
    Psychiatric History: Anxiety dating to at least HS
    Family Psychiatric History; Not obtained
     Social History: R is one of2 children of Nigerian descent. Raised by his mother. Sister is also in
  medical school. He'll be residing w/ his mother for the next 2 years while doing clinical rotations in
  Maryland.
     Substance Abuse History: Denied
     Tobacco Use:
 History
 Smoking Status
   • Never Smoker
  Smokeless Tobacco
  • Not on file

      Medical History (incl. Meds.):Patient Active Problem List:
   ADHD

                                                                             Oluwamuyiwa O
                                                                 MRN:|

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  Progress Notes(continued)
  Untennan. Denise H fL.C.S.W.). L.C.S.W. at4/18/2017 3:45 PM fcontlnuad)




  Current Outpatient Prescriptions:
 • DEXTROAMPHETAMINE-AMPHETAMINE 15 mg Oral Tab, Take 1 tablet by mouth 2 times a day,
  Disp:60, Rfl:0
  « buPROPion 300 mg Oral 24hr SR Tab, Take 1 tablet by mouth daily, Disp: 90. Rfl: 1




 O: General Appearanc^lnterview Behavior: Slender, fiiendly, good sense of humor, very bright,
 candid, intellectually curious
     Suicidal/Homicidal/Violent Ideation: Denied

  A: DSM IV Axis I: Trichotillomania
              Axis 11: Compulsive Behaviors
              Axis III: See medical Hx
              Axis IV: compulsive Sxs
              Axis V (current/best in last year): 80

 Is patient being considered for referral to Case Management Services?: no
 (If yes, use current case management referral protocol).
 Dual diagnosis?: no

 P: We discussed the diagnosis,the reasonable options and follovtrtng treatment plan.
 Goal I: Anxiety Reduce the overall lever,frequency and intensify of the anxiety so that daily
 hjnctioning is not impaired.

 Anticipated achievement date: TBD

 Additional Recommendation/Interventions: CBT to begin in June. Continue MM for ADHD.
 Follow-up Appointment: 6/2/17 w/ Denise Unterman, LCSW-C


    Electronically signed by Unterman, Denise H (LC.S.W.), LC.S.W.,4/20/2017 1:20 PM



  Medications
  Infusion Orders

                                                                  Awodiya, Oluwamuyiwa O
                                                                  MRN:|

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                                   Exhibit SJ-09
                            (Dr.Bryan Hayse's faculty profile)
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ROSS UNIVERSITY                                                                       Alumni Current Students Gainful Employment Student Consumer Info Q,
  SCHOOL OF MEDIQNE
                                        ADMISSIONS          HD PROORAM              STUDENT LIFE        ABOUT




                                       A      IdD Program   Faculty    BryanHayse


                                    BRYAN HAYSE
                                    ASSOCIATE DEAN. MEDICAL SCIENCES




                                    Dr. C. Bryan Hayse has serveC as the Associate Dean. Medical Sciences Student Affairs at Ross University
                                    School of Medicine since 2015. Areas of oversight include academic advismg, student-faculty mentoring.
                                    Student professionalism and integrity, academic accommodations, counseling and psychological services,
                                    campus life, new and continuing student orientation, housing, and campus level financial aid. immigration, and
                                    registrar services. Throughout his career Dr Hayse has worked in close partnership with faculty, fellow
                                    administrators, and students to establish several student centered initiatives focused on enhancing overall

   CONTACT INFORMATION              academic and personal development by empowering students to achieve life-long goals
                                    Or Hayse earned his bachelor's and master's degrees in science from Murray State University and doctorate in
   Bryan Hayse I Stuilent           higher education leadership and policy from Vanderbilt University. Prior to arriving at RUSM. Dr Hayse served

   Affairs
                                    in a variety of student affairs and faculty roles at Young Harris College. GA; Belmont University. TN; Centenary
   Phone:865-338-5719               College of Louisiana; and Murray State University. KY.
   bryanhayselorossu.etJu

                                            AREAS OF EXPERTISE




                                         Student Affairs, Academic Advising,Student Conduct and Professionalism, Student Orientation and
                                         Transition, Residence Life and Housing,




                                            EOUCATiON




                                                            ROSS UNIVERSITY
                                                                  SCHOOL OF MEDiaNE


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                                    Exhibit SJ-21
                    (Exceipts ofDav^dra Shanna's deposition transcript)
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                                       UNITED STATES DISTRICT COURT
                                                         FOR THE
                                       SOUTHERN DISTRICT OF FLORIDA




                                       CASE NO.: 0:18-CV-60482-KMM




                       OLUWAMUYIWA AWODIYA,

                                            Plaintiff,

                       vs.


                       ROSS UNIVERSITY SCHOOL OF
                       MEDICINE, SCHOOL OF VETERINARY
                       MEDICINE LIMITED,

                                            Defendant.




                                                               350 E. Las Olas Blvd.
                                                               Fort Lauderdale, Florida
                                                               October 16, 2018
                                                               12:59 p.m.




                                                THE DEPOSITION OF



                                              DAVENDRANAND SHARMA




                                   Taken on Behalf of the Plaintiff

                             Pursuant to Notice of Taking Deposition

                                          Commencing at 12:59 p.m.




                                           Alpha 6 Omega Reporting Services/ Inc.
                                                       (954) 523-6422




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                                                                 Page 22                                                        Page 24
           1     cantaUcto. Ican oidy treat the plaintiffand get                1      requesting accommodations fir extra time.
           2     him b^terwMi bis ADHD. The need for extra time                 2         Q. Okay. I dunk I understand-
           3     isnmoiydetemiinatkm. It is availaUe, aocoiding                 3            So let me ask you diis. Ifastudent
           4     to the regulations ofthe univetsity. It is the                 4      doesnt request an aooommodatiDn, hut the school
           5     studoit,who has the diagnosis, who needs to request            5      notices that he needs an acoommadation.do you thmlr
           6     it,ifhefoinks foat he needs extra time,because                 6      the sdiool is liable?
           7     not evmy student with a dogoosis ofADHD requests               7             MR.ROMAN: Cfojection to the extent it
           8     extratime. So we can Only advise a studoit that                8         calls fora 1^1coKhision since!>'. ffiiarma
           9     acccnnmodattons are availaUe,iftl^reach to the                 9         is not a lawyer.
          10     accommodation office and request it You                      10       BYMR.AWC«3IYA:
          11     understand?                                                  11          Q. Let me rephrase.
          12             Ifs notfm me to tell the student «dio                12            Ifyou notice that a studoit needs an
          13     has ADHD,that they must because they need it focy            13       aooommodatian,but he doesnt request an
          14     should go. Youundetstand?                                    14       accommodation —
          15            It is myduty to letthe studrat know that              15             Itn going to come back to it. Ilostmy
          16     there is r^ulations tiiat provide extra time ifthey          16       train ofthou^ta little bit
          17     request it                                                   17          A. You want a break? I could use an extra
          18        Q. So let me ask you this.                                18       cup ofcoffee.
          19          A. Uh-huh.                                              19             MR.AWODIYA' Lefs take a break and go
          20        Q. Is it correct tiiatyoiiVe trying tosay                 20          offthe record.
          21     that the school would act independently in relatimi          21             (Whoeupon,a break was taken fiom 1:33 to
          22     to your own beliefofthe studenth iced?                       22             1:40 p^m.)
          23        A. No,ithnDtmybeliefoftfacstudenh                         23       BYMR.AWODIYA:
          24     need for extra time, you know. Ifs the sludaifs              24          Q. IhdplaintiffteUyoU'tbat-Ictmc
          25     need for, one,trraim^ and need — Sk studeid                  25       rephrase.


                                                                 Page 23                                                       Page 25
           1    hasto need the extm time. It is not for me to                   1           Did plaintifften you that Mattiiew
           2    know diat tiiey would need it,because nai^ studerUs             2      Stewatt-Fuhon denied plaiitififs lequ^for
           3    do not      firextra timefor one reason or the                  3      accmnmodaticm?
           4    otha.                                                           4         A. I doift recall that
           5         Q. What languagedo you ifaiidr-let me                      5         Q. Do you know why plaintiff never tecmved
           6    rephrase.                                                       6      test accommodations fiom Ross University?
           7         You wereinfirmed that{riainliffwas                         7          A. Our counseliiig center record that I have
           B    luimii^ outoftime on his exams,coiteci?                         8      in rrydoCTnertatiort in my notatioitdoesnft show
           9         A. Yes. Ifsdiaa                                            9      that the plaiiniff ai^lied for accowimodatfiw.
          10         Q. And you also noticed that-that his                    10          Q. So outside oftitcdocumods, you dont
          11    ADHD-let me retdaase.                                         11       reoKitfoer arty coitvasations with plaintiff?
          12          CocDCCt the symptoms you saw plaintiff                  12          A. IremoidiQraccHiversatimiiecenlfyBhout
          13    eqierienang with lus ADHD widi turn tumnng out of              13      the d^poshion here. Ptior to that,I believe there
          14    time,because to me itseeitts like that is the                  14      was a conversattonahout getting tiiedocumentation
          IS    plamtiffinfirmity—                                            15       you wanted fiom the-our counseling ceito', and we
          16       A Okay. Let me—dwy^alt connected                            16      directed you to Shannon Evans m Knoxville.
          17    SyrqptomsleadtodiagaoasofADHD. ADHDhaswilfa                   17          Q. hi Donainica you draft remeiUxa atryofthe
          18    itpitibleitB in managing time. Thatis why ADHD h              18       oosveisations you had witii pbuntiffi
          19    afforded extra time by the Office ofAacmtmodationSk            19         A. Like what?
          20    which ooDsidets it a disabitily, all right,                    20            I mean-about tqiplyiiig fm
          21    aooonliiig to die American ffisaiality Act                    21       accommodatiinf?
          22          Ifsa conditioD, which we siqipari                        22             Are you sayiiig I dorft renumber arQi ofthe
          23    students, who have ADHD,fir extra tiiiKL                      23       coirversatiois?
          24          Does that help you?                                      24         Q. Weff,because a couple ofthnes you said.
          25          So we have no proUcm with a student                      25         mtin the docummit,itls mtin the counseliiig


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                                                          Page 26                                                                   Page 28
           1     record,and therefore, yoa caift recall                       1       dcn't give it fiom the clinic, fiom the counseling
           2           Do you lecall any infonnadon dial was not              2       services.
           3     indie<k)cuniats?                                             3          Q. Butyouwoiddgiveinfininationto—
           4        A. Irecall a lot of—your histoiy, your                    4          A. Yes. We pass the records.
           5     medicalfaistoiy, your concons about your emotions,           5          Q. And so,how would you help these studeits?
           6     your relationshy difGciiIties. your problems with            6             Would you recommend,based cm dteir
           7     passing dte exams. I recall a lot ofthose. But               7       documentation and the symptoms you observed,that
           8     specific wmds or conveisatioDS,I doiA. I                     8       they get testing accommodatinns?
           9     certainly dontlemeutba'you specifically saying you           9          A. Part ofthe counseling intidce and
          10     implied for acccxnmodation.                                 10       sereening for ADHD is eveiy student is advised that
          11        Q. Okay. Let'sgoto dierelationsh^diing.                  11       acconanodation is available and fliat they have to
          12           k it collect that you believe plamtiffs               12       qiplyfiiritifthQ'wantiL We dtmt encour^e.
          13     relationship problems caisedhimarodety?                     13       We don't fmce. Wejustsaytothestudais,"]t's
          14         A. Yes.                                                 14       your option h^availaUe."
          15        Q. Do you believe that diatanxlefy-at                    15             Not eveiy student wants it Some-ntf
          16     that time,in Dommica,<M you believe that his                16       eveiy student would want accommodation de^te
          n      anxie^ was also affecting his exams in addition to          17       having die diagnosis ofADHD,whidi can give them
          18     die ADHD?                                                   18      the accormnodations.
          19         A. Yes.                                                 19         Q. Ifa student wanted accmnmodations,and
          20         Q. Do you think that his anxiety ontnbuted              20      you passed along the mftmnation to Ross Unvosify
          21     to himnniiii^ out oftime onhis exaiiB inDonnmca?            21      administratiait would yourecmnmrad indiose
          22         A. Itcoidd. KsjuAspeculation,because                    22      situations that diey get academic accommodaticms?
          23     ifs cme ofdie factms diat can affect academic               23         A. Absolute^,yes.
          24     perfiirmaiBe. Sure,it could have affected                   24         Q. So ifa student came to you and said he
          25     perfbrmance.                                                25      was lunoing out of tinie, do you dunk that—ifthe


                                                          Page 27                                                               Page 29
           1        Q. Have you helped other studei<s to          test        1      student told die academic—ifdie student told die
           2     accommodations at Ross Universi^                             2      accommodation coordinatra'he was running out oftime
           3         A. Yes.                                                  3      on his exams,would that constitute infemnng him
           4         Q. Con^Mued to plahtiff, have odier students             4      the need of more time on his exams?
           5     with less documentadon ofADHD received                       5         A Ififae student told die accommodations
           6     acccmimodations at Ross Univeisi^                            6      oflSce.
           7         A. There have been students with the                     7          Q. Yes. The point frntiying to eiqness here
           8     diagnosis-tfa^ may have less documenlatkn^ Init              8      is dial students don't necessarily know dm ^lecifk:
           9     eveiyone has the diagnosis adequately diagnosed.             9      language,acconfing to dm ADA orto die
          10     including you.                                              10      Rdabiiitatkm Act, what Gtmstitutes a request
          11        Q. Whenyou say,"m^have less," less in                    11      They smqity may say diat diey need be^ some way.
          12     wfaataqiect?                                                12      diat fm tunning out oftinie on exams,fin not
          13        A. Accommodation is not Dcy portfolio. lean              13      congleting examsi
          14     only send the dnciimmtatinn to the accommodations           14         A Uh-hnh. lundeistand.
          15     office, what wc have,and they would receive                 15         Q. Does a studadiKed to expies^ request
          16     accmnmodatian. So based on the accommodations               16      and sgr "accommodations"in ordo'to get
          17     offke assessment that all the documerts are in              17      acotmunodations?
          18     place.                                                      18         A Yes,diey have to. It's aiwiys done ly
          19           So your questicm is relating to yoinself              19      die counseling service part ofour piDoess when we
          20     You have-you have good documentadoi^ innqr                  20      make die diagnosis ofADHD. Ifs called "standards
          21     opiiBoa Odier students may have had(me less test            21      practice" or "feest practices."
          22     done,but still whh a good diagnostic rqpoit of              22             Every petscm who is diagnosed widi ADHD is
          23     ADHD. So they would be given accmiBnodations.               23      guided to the student handbook that there is
          24          But they have to fiilfili the accoimnodation           24      acoommodations BvailddCL Tte process is very
          25     ofRceh — accommodation is not ny portfolio. We              25      stiaightfiirwaid. They need to go to die



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                                                               Page 34                                                           Page 36
           1     plaintiff                                                      1      their portfolio. I can only say, fiom my
           2            So tins document was signed for that                    2      expeifonce,a vcibal request is nota request for
           3     puipose,so we can give infonnation about the                   3      acooimnodations.
           4     plaintifrs emotional heahfa and request an early               4         Q. Would you say that when the diagnosis was
           5     return. lUs document was not forieleasit^                      5      made—
           6     information aboutaccommodation,because there was               6         A. Uh-huh.
           7     no request for accommodations &om me in                        7         Q. —and after you observed all die
           8     December 20IS.                                                 8      symptom^ diat Ross University had possession ofall
           9           To make it more clear, dieie was no                      9      the necessary documoits ofplaintififs ADHD and die
          10     diagnosis at diat time. It wasjust at die start of            10      synqttoms ofhis ADHD?
          11     pieliminaiytesting,scieeniiigfiH'ADHD. Sodteie                11         A. Yetdi, wehad —wehadmadeadiagaosts.
          12     was no way documents could have been sait to support          12      The diagnosis was done,and we accepted,and die
          13     accommodatirms for ADHD,because die diagnosis was             13      student was-the plaintiff was being treated.
          14     notmade. It makes n> sense.                                   14        Q. Earlier you said that students with less
          15        Q. Sov^KndmdiagDosiswasmadeand                             15      documentadon have leceived — you said earlie-
          16     plaintifFdid not revoke Us consod; would diat not             16      stutots with less documentation ofADHD have
          17     be consideied oogoin^                                         17      received accmnmodadon artirm conqtared to plamtiff
          18        A. Oiigoing to wbat?                                       18         A. Uh-huh.
          19        Q. Well, you said the documents didnt exist                19         Q. Do you diink that is foil?
          20     atdiattiine.                                                  20           MR.ROMAN: TU just object as to vague
          21         A. Hie diagnosis didnt exist                              21         as to what "foir" means.
          22         Q. Butdm diagnosis existed afia die wilder                22      BY MR.AWODIYA:
          23     break?                                                        23         Q. Letmeiqthiase.
          24         A. Yes. Yes.                                              24            Do you think diat plaintiff was treated
          25         Q. Wly werent those records sent?                         25      equally?


                                                              Page 35                                                           Page 37
           1         A. Because,as!said,weriontdrelease                         1        A. Well, I dontdiink diem was a question
           2     information unless we request—we receive a                     2      ofequal treatment,ifthe plaintiffdidn't aiqily
           3     request cidier fiom die studoit, who has the                   3      for accTHnmodations. Ifdie plaintiffhad applied
           4     diagnosis,and that has to be in writing,not a                  4      and did not get it, I would say,seems somettiing is
           5     verbal request,or it has to come fixdn the                     5      ncnri^t We would have tolook at why diat was
           6     accommodations office in writing unda a protected              6      not given. And diads not my portfolio. I can only
           7     e-mail that the-thatth^ are going throu^ the                   7      say that the documentatkm that the plaintiffbad
           8     process ofsiqqtorting a ropiest for aocrnnmodathm.             8      qtpeated to me to be adequate for acoommodadons.
           9     Hiete was no request made for accommodations. So               9         Q. So you believe that plaindffhad adequate
          10     diafs why I said, tfaeie^ no request. Wecannot                10      documentatkm ofhis ADHD to get test
          11     give out infonnation to die accommodations office.            11      accommodatiofis?
          12     Then we would be sued forgiving infimnation beyond            12         A.. That^me. Ibelievethat. Again,diat
          13     die scope. The scope ofthis document was only to              13      doesn't mean the plaindff would get{mcommodations.
          14     get the plamtiffback hoqie early.                             14'     because the final say is the accommodations office.
          15          Q. Qivemeonesecotdl. I had something and                 15      It doesnt mean diat I believe ifs correct Hie
          16     it's coming back to me.                                       16      acGommodadons office have thdr own r^obb'ons.
          17          A. Take your time.                                       17      and they could ovenide my request, becausefm die
          18          Q. (%. You said that a requesthas to be in               18      OIK—or the doctors make the request for
          19     writing?                                                     19       acccnunodadoii, wiiidi is time-and-a-bal£ You get
          20         A. Yes.                                                   20      extratime. We aimialty put it we want the student
          21         Q. What ifit's oial?                                      21      to get the acoommodadon,but that doesn't mean they
          22         A, No.                                                   22       getit
          23         Q. It doesn't count?                                     23           Q. So even diough you tliink diat plaintiff
          24         A. It doesn't count to the accommodatiaas                 24      needs extra tiiiK,ifk out of your hands as to
          25     office, as for as I know,and tfaafk their-thafs               25      wh^er he gets extra dme for liis exams?


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                           United States District Court                                    DEC 10 2018
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                                                                                         STEVEN M. LARIMORE
                                            Southern District of Florida                  CLERK U.S. DIST. CT.
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       OLUWAMUYIWA AWODIYA,                                   Case No. 0:18-cv-60482-KMM
                         Plaintiff,


                                                              Hon. Chief Judge: K. Michael Moore
                                                              Magistrate Judge: Alicia O. Valle
       ROSS UNIVERSITY SCHOOL OF
       MEDICINE,SCHOOL OF
       VETERINARY MEDICINE LIMITED
                        Defendant.


                  DECLARATION OF OLUWAMUYIWA AWODIYA IN SUPPORT OF

            PLAINTIFF'S SECOND MOTION FOR PARTIAL SUMMARY JUDGMENT


             1.      Pursuant to 28 U.S.C. § 1746,1, Oluwamuyiwa Awodiya,as plaintiff, in proper

      person, ofthe above-captioned action, make this declaration in support of Plaintiffs Second

      Motion for Partial Summary Judgment. I am over 18 years ofage and I am competent to testify

      about the matters discussed herein.

             2.      I was a student at Ross University School of Medicine("RUSM"). I was admitted

      into RUSM in April, 2014.1 started my first semester at RUSM in May 2014.

             3.      When I signed the ROI Agreement, I verbally asked Dr. Sharma and Mr. Cuffy to

      tell RUSM administration that I needed extended testing time for a suspected attention problem

     that needed to be diagnosed and that I needed an earlier flight home to help me emotionally with

     failing that semester.

             4.      On December 10,2015,1 met with Dr. Bryan Hayse("Dr. Hayse"). 1 asked him if

      I could retake any ofthe exams because I need more time answering questions. 1 told Dr. Hayse
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      that I have extreme difficulty paying attention during exams. I also told him that the RUSM

      Counseling Center suspected an attention problem that needed to be diagnosed.

             5.      Dr. Hayse responded that he could accommodate me for future exams but not for

      exams that I had already taken because RUSM does not allow students to retake exams for my

      semester.


             6.      Dr. Hayse then told me that he would contact Mr. Cufly so that I could receive

      extended testing time for future exams.

             7.      I am a U.S. citizen and a resident of Maryland.

             8.      While searching for medical schools, I would go to the admissions sections of

      their websites to learn about each school.

             9.      Before 1 became a student at RUSM,I had serious concerns about attending a

      medical school outside ofthe United States of America, especially for medical schools that were

      located in a less developed nation than the U.S.

             10.     1 had googled pictures of Dominica and was discouraged about attending RUSM

      because the island was substantially more "nature" than what I was used to in the U.S.

             11.     A few of my many concerns about Dominica were how I would be treated there,

      the safety risks of being on the island, and whether I could continue to use my Federal financial

      aid to pay for my tuition.

             12.     It was very important for me to be reassured that RUSM faculty would have an

      obligation to provide me an opportunity to complete the medical program in any event diat I got

      hurt, became disabled, or learned ofa disability in Dominica.

              13.    My thoughts contained everything from less access to healthcare to falling offthe

      side ofa mountain.
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             14.     Before 1 decided to enroll at RUSM,1 read "It is the policy and practice ofthe

      University to comply with the Americans with Disabilities Act as applicable and practical in

      Dominica"(the "ADA-Statement")in the Admissions Requirements section ofits website.

             15.     The ADA-Statement about RUSM's ADA compliance was one ofthe most

     important factors in my decision to leave the U.S. to become a student at RUSM in Dominica.

             16.     I ofcourse thought the ADA-Statement was only applicable to U.S. students, as

     opposed to non-U.S. students, because ofthe word "Americans" in "Americans with Disabilities

      Act." Since I am a U.S. citizen, 1 believed it would have to be applicable to me.

             17.     RUSM never told me that the school believed that the ADA was not applicable to

     any students in Dominica,even ifthe students were American citizens.

             18.     1 didn't know that the ADA had different divisions or parts and that geographical

     applicability could differ ^ong any parts ofthe ADA.1 don't even know all the laws in my

     state. Most ofthe laws that I did know at the time werejust common sense because of moral

     reasons and tv shows.

                                                 F.XHTBITS


             19.     A true and correct copy of Dr. Earl John Mauricio's January 5,2016 email

     received by Plaintiff is attached as Exhibit SJ-01.

             20.     A true and correct copy of McMillan Cuffy's Counseling Note dated 1-18-2016 is

      attached as Exhibit SJ-02.

             21.     A true and correct copy ofexcerpts from Dr. Earl John Mauricio's medical notes

     from Plaintiff's medical records are attached as Exhibit SJ-03.

             22.     A true and correct copy ofexcerpts from Denise H. Unterman's medical notes

     from PlaintifTs medical records are attached as Exhibit SJ-04.
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            23.     A true and correct copy of Davendra Sharma's Counseling Note dated 3-11-2016

     is attached as Exhibit SJ-05.

            24.     A true and correct copy of McMillan Cuffy's Counseling Note dated 3-11-2016 is

     attached as Exhibit SJ-06.

            25.     A true and correct copy ofthe Release ofInformation Consent Agreement

     between Plaintiffand the RUSM Counseling Center is attached as Exhibit SJ-07.

            26.     A true and correct copy of Defendant's Responses to PlaintifPs Requests for

     Admission is attached as Exhibit SJ-08.

            27.     A true and correct copy of Dr. Bryan Hayse's faculty profile on RUSM's website

     is attached as Exhibit SJ-09.

            28.     A true and correct copy of Davendra Sharma's Counseling Note dated 12-09-

     2015 is attached as Exhibit SJ-IO.

            29.     A true and correct copy of McMillan Cuffy's Counseling Note dated 12-10-2015

     is attached as Exhibit SJ-11.

            30.     A true and correct copy of McMillan Cuffy's Counseling Note dated 12-13-2015

     is attached as Exhibit SJ-12.

            31.     A true and correct copy of McMillan Cuffy's Counseling Note Dated 1 -11-2016

     is attached as Exhibit SJ-13.

            32.     A true and correct copy ofRUSM's Promotions Committee June 1,2017 letter

     received by Plaintiff is attached as Exhibit SJ-14.

            33.     A true and correct copy ofPlaintiffs psychiatrist and psychotherapist's June 12,

     2017 email to Dean Owen is attached as Exhibit SJ-15.
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             34.     A true and correct copy of RUSM's June 13,2017 email,confirming receipt of

      PlaintifFs Appeal Letter to Dean Owen,is attached as Exhibit SJ-16.

             35.     A true and correct copy of PlaintifFs June 13,2017 Appeal Letter to Dean Owen

      is attached as Exhibit SJ-17.

             36.     A true and correct copy ofDean Owen's June 29,2017 letter ofhis final

      grievance decision is attached as Exhibit SJ-18.

             A true and correct copy of RUSM's Admissions Requirements section of its website on

      October 31,2012 is attached as Exhibit SJ-19.

             37.     A true and correct copy ofexcerpts of Adtalem's(formally known as Devry)

      2012 Annual Report is attached as Exhibit SJ-20.

             38.     A true and correct copy ofexcerpts ofDavendra Sharma's deposition transcript is

      attached as Exhibit SJ-2].

             39.     A true and correct copy ofexcerpts of Bryan Hayse's deposition transcript is

      attached as Exhibit SJ-22.

             40.     A true and correct copy ofexcerpts of Matthew Stewart-Fulton's deposition

      transcript is attached as Exhibit SJ-23.

             I declare under penalty ofperjury under the laws ofthe United States of America that the

      foregoing is true and accurate.

      EXECUTED ON this 7th day of December,2018:

                                                          Respectfully submitted.



                                                           By: Oluwamuyiwa Awodiya,/JTO je litigant
                                                                                     15005 Dahlia Dr.
                                                                                    Bowie, MD 20721
                                                                                      (240)602-1836
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            12/4/2018         Awodiya, Oluwamuylwa v. Ross University School of Medicine et al.     William Owen




                                           UNITED STATES DISTRICT COURT
                                                           FOR THE
                                           SOUTHERN DISTRICT OF FLORIDA




                                           CASE NO.; 0:18-CV-60482-KMM




                        OLUWAMUYIWA AWODIYA,

                                               Plaintiff,

                        vs.


                        ROSS UNIVERSITY SCHOOL OF
                        MEDICINE, SCHOOL OF VETERINARY
                        MEDICINE LIMITED,

                                               Defendant.




                                                               350 E. Las Olas Blvd.
                                                               Fort Lauderdale, Florida
                                                               December 4, 2018
                                                               10:56 a.m.




                                                  THE DEPOSITION OF



                                                       WILLIAM OWEN




                                       Taken on Behalf of the Plaintiff

                                Pursuant to Notice of Taking Deposition

                                             Commencing at 10:56 a.m.




                                          Alpha & Omega Reporting Services, Inc.
                                                      (954) 523-6422




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             12/4/2018           Awodlya, Oluwamuyiwa v. Ross Otiiversity School of Medicine et al.                             Hilliam Owen

                                                                 Page 6                                                           Page 8
                1    understand the question you're answering.                1         Q. In 2017,when students appealed foeir
                2        A. Yes.                                              2      dismissal, what fiu:tots do you take into
                3      Q. It's also very inqnntantthat you answer             3      consideration when you matte a decision on foat
                4   my questions throu^ spoken word,not through &cial         4      appeal?
                5   expression or gestures. Please refiainfiom                5         A It's important to recr^pize that the
                6    answering questions with sounds like "uh-huh" or         6      primary appeal does not go to me. Itgoestoa
                7   "hmmtam"or words that mtQr not get transoibed             7      committee that reviews foe academic record.
                8   accurately. You must actually st^ a word. Ifyou           8      interviews foe student, and then,convenes a meeting
                9   mean yes,say yes,not uh-huh.                              9      amongstfoemselves. They will rmider a decision
              10       A. Noted. And yes.                                    10      eifoer to readmit foe student or to sustain foe
              11       Q. Also, please allow any questions and any           11      qipeal.
              12    objections to be fiilly stated before you speak. The     12             Those are refetiBd to me in writing. If
              13    court reporter cannot take down more than one person     13      foere is a sustaining ofthe dismissal,I will sign
              14    speaking at foe same time; otherwise,the record          14      off(m it,looking at the suirunaty frmn foe
              15    will bejumbled and foe questions and answers will        15      committee. The studentfoeteafier hasfoe
              16    be disjointed.                                           16      opportunity to iqipeal back. Some will come to me
              17           Ross lawyers may itteke objections to             17      directly; ofoers will go to foe committee.
              18    questions foat I a^ you. They are objectforKfiu          18            Ifit goes to foe committee,the committee
              19    thejudge to considte'l^. You are stQl required           19      will foen sard it back to me. llo(fofi)r
              20    to answer the question unless you are instructed not     20      confirmation offoe components ofthe decision by
              21    to by their lawyers.                                     21      foe committee once again; however,the student is
              22           Everything foat is said is being taken            22      also clearly instructed fliat they are to introduce
              23    down by the court reporter veihatim. You will have       23      at fiiattime any mitigating ftctors foat accounted
              24    an opportunity to read the deposition transcript and .   24      firr their academic ch'behavioral perfimnance that
              25    make ccnections you believe are necessary. If you        25      were not made known to the committee. Occasionally


                                                                 Page 7                                                           Page 9
               1    make changes in your testimony thatoe inconsistent        1      foatoccius. Mmeofimflian not,there is not new
               2    with the answers givmi durir^ the deposition,I will       2      information fiud is introduced.
               3    be entitled to eommmrton those discrqrancies at           3            The other guidance foat is ^ven to foe
               4    trial to question your tiuthfolness.                      4      student isfoat they are to identify ifthere have
               5           Do not guess when providing responses.             5      been any procedural variances,in trams ofhow their
               6    Instead, please provide your best estimate based on       6      case was handled. In foat case,(folineate those fi}r
               7    your recollection. Ifyou need to take a break at          7      measwell. I take a look at foose as well
               8    arty time, please let me know. All!ask is we not          8            Moreofbraifoannot, Iwill send foe case
               9    take a break wdtile thme's a question pending.            9      bade to file committee,in fiiat context, pointing out
              10           Are you here today under foe influence of         10      why Ifiiink it mrarits being reviewed again. The
              11    any medication or sufforing from any physical.           li      cmnmittee will forai send me another opinimi. Iwill
              12    mental,or emotirmal condition that would aflect          12      review it with foe Dean ofStudents. We'll come to
              13    your abUity to hear my questions or to give              13      adecisicm as a groiq), and then, ultimately I will
              14    truthful answers?                                        14      make foe filial dedsion myself,whidi 1 own.
              15         A. No,lam not                                       15         Q. Do you,at any point, lookatthe
              16            Excuse me.                                       16      studenf^ records yourself?
              17         Q. \Vhen did you start working for Ross             17         A. I do.
              18    University?                                              18         Q. Sohow—how do you handle appeais when a
              19       A. As I recall, April of2017.                         19      student informs you foat a disabilify adversely
              20         Q. Okay. And whidt campus is your office            20      affected their perfimnance?
              21    located?                                                 21         A. I will confirm foe disabilhy by lodcmg
              22         A. Miramar, Florida, United States.                 22      fin written documentafion ofthe disability,in
              23         Q. What is your position at Ross University?        23      particular lookmg for foe diagnosis,looking for
              24         A. I am the dean and chancellor of Ross             24      who made foe diagnosis, looking for when the
              25    University School ofMedicine.                            25      diagnosis was made,and lastly, looking fm-what


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                                                                Page 10                                                           Page 12
                 1   sort ofintervention was made around that diagnosis,      1         A. I have personal requirenmnts.
                 2   whedier it be pharmacological, behavioral therapy.       2         Q. Can you tell me those personal
                 3   or both.                                                 3      requirements?
                 4           I will also have a conversation with             4         A. As fve stated to you earlier, it depends
                 5   the — he is titled the Associate Dean ofStudents         5      upon die diagnosis. It depends upon die
                 6   to get his opinion about itas well. Occasionally,        6      imervention. It depends upon die prognosis,as
                 7   he will be instructed to acquire source materials.       7      suggested by the thereqiist or psychiatrist It also
                 8   An example would be ifsomeone has had external           8      depends iqion the committBe and whatthe committee
                 9   testing. Give me diose records so that 1 might look      9      stated in their engagement writh the shutent,and in
                10   at them myself.                                         10      some cases die Dean ofStudents will enga^ widi the
                11         I will, on occasion,either directly or            11      student direcdy,and,likewise, his report back to
                12   through the Dean ofStudents reach—have them             12      me. So it is a multiplicity of&ctoi5. Itisnot
                13   teach back out to the therapist and/or psychiatrist     13      formulaic nor should it be.
                14   with the query being,do you think ttiis will            14         Q. So you don't investigate every student
                15   interfere wMi the studenfs academic performance.        15      diat tells you diat their disability was afifecting
                16   what is the prognosis ofthe student, and lastly.        16      their academic performance?
            .   17   how long do you think dier^y will be needed.            17         A. No.
                18      Q. Do you always do that?                            18             MR.ROMAN: flljust sdso object,because
                19      A. Sometimes. It's dependent upon the case.          19         I diink that misstates the prior testimony, but
                20      Q. Wlw sometimes?                                    20         you?e permitted to answer.
                21      A. Ifs dependent upon the case,the                   21            IHE WITNESS: Some students are dishonest
                22   circumstances ofthe case.                               22      BY MR.AWODIYA:
                23      Q. Ifa studenttells you that they have a             23        Q. How could you make diat statement^out
                24   disability that was affecting their acadmnic            24      any student without investigating every student?
                25   performance,you sometimes investigate it?               25         A. Because a student has never been


                                                                Page 11                                                          Page 13
                 1      A. Sometimes 1 investigate it with a                  1      evaluated.
                 2   follow-up query to the psychiatrist If1 have a           2         Q. You wouldn'tknow thatifyou didat
                 3   statementfiom the psychiatrist and/or therapist          3      investigate.
                 4   that says, we have investigated diis, here is our '      4         A. I would ask for documentatiort
                 5   findings, here is our prognosis, I have no need to       5         Q. So you always ask the studem fin
                 6   go back and push back to the psychiatrist               6       documentation after th^ tell you that their
                 7      Q. So once you have that fiom the                     7      disabili^ is afiecting their academic perfiitmanoe?
                 8   psychiatrist; what happens next?                         8         A. Yes, we do. We ask for verification-
                 9      A. Depends upon die case.                             9      external verification by someone who is foimally
                10      Q. Butit pl^s a &ctor in whether you will           10       trained in the area.
                11   allow die student back into Ross or not?               11             MS.BOMAR: Excuse me.
                12      A. Sometimes it does. It depends upon the           12             THEWriNESS: May I be socially pucfae.
                13   case.                                                  13          because you're the fiuthest in? Could you grab
                14      Q. Give me an example where it does entitle         14          me a cup ofcof^?
                15   the student to be reenrolled into Ross?                15             MS.BOMAR: 1 will. Cream as well?
                16       A. I would prefer not to since diat is             16             THE WITNESS: Yes. No sugar.
                17   disclosing medical information about a student vdio    17       BY MR.AWODIYA:
                18   is a patient I can give you a hypothetical.            18          Q. So ifprocedure was followed,but you were
                19       Q. Dont give me a hypotheticaL Give me die         19       introduced new information,and the student infinmed
                20   requirements.                                          20       you aboutdieir disability, and it was severe enough
                21          What informatirMi do you require fiom a         21       to afi&ct dieir academic performmce, would you
                22   student diat will entitle diat student to be           22       consider that as a foctor?
                23   readmitted back into Ro^?                              23          A. Can you rqieatdiat in a mote ordered
                24      A. It depends upon the case.                        24       sequence? 1 think tiMre were three ifititeie, and I
                25      Q. So you have no requirements?                     25       could not follow than all.



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                                                              Page 18                                                          Page 20

               1        Q. Do you recognize this e-mail?                      1          A. Yes,it is.
               2        A. I dp,in the context of preparation for             2          Q. So then,from that statement you must
               3    the deposition.                                           3       have reviewed plaintiffs appeal letter tiiafs in
               4       Q. Do you remember in the context of                   4       fixmt of you labeled Exhibit P-25; is tiiat correct?
               5    plaintiffs appeal to you?                                 5          A. I would suggest I would;however,I am
               6        A. 1 do not                                           6       uncertain v/hat is being described here. This is a
               7       Q. But you would have received this document           7       categorical description. Ifs not a prescriptive
               8    during that time frame; is diat correct?                  8       descriptioa
               9       A. I will not confirm that,since it says.              9          Q. Whafs categorical?
              10    "To: promotionsappeals@ross." Secondly,I'm               10          A. Your appeal ofthe promotions
              11    uncertain what you mean by "that time frame."            11       recommendation for dismissal, pre-matriculation
              12          fm sorry. I'm —                                    12       credentials. It does not describe tix: individual
              13        Q. From plaintiffs appeal.                           13       documents.
              14        A I'm relative prescriptive, in terms of             14          Q. Thafs — ifs fine. Because tiiis is die
              15    statements. So 1 will not confirm that                   15       only thing that triggeied the ^peal. There was no
              16       Q. Please turn to die first page ofthe set            16       other forms. There was nothing else. It was simply
              17    ofdocuments in Iront ofyou.                              17       this e-mail and the doctofs e-mail that triggered
              18       A. I now have that page.                              18       the qrpeal process. There was nothing else that-
              19       Q. Is it correct that it says that appeal             19       there would be no other documents. So ifs —
              20    letters will be sent by e-mail to Dean Owen at           20       thafs fine.
              21    ProrootionsAppeals(@RDssU.edu?                           21             Sojudging fiom the documents we have
              22        A Yes.                                               22       reviewed, based on your recollection,from die
              23       Q. So that is the correct e-mail address              23       language you used in your letter sent to plaintiff!
              24    which you would have received information about a        24       did you see pl^tiffs appeal letter that was sent
              25    students ^peal?                                          25       to you?


                                                              Page 19                                                          Page 21

               1       A That does not come direcdy into my e-mail            1          A. 1 recall your letter, and ifs coming back
               2    box. It may be routed.                                    2       with greater clarity in the context ofthe
               3       Q. Lets stick to what the student vyas                 3       extraordinary circumstances ofhow many times you
               4    directed to do.                                           4       &iled the preparatory or the premonitory exam for
               5          The student was directed to send new                5       yourStepl. It is coming back. Whatisalso
               6    inibtmation to this e-mail address for you; is that       6       coming back as we're talking diis through is your
               7    correct?                                                  7       tetter from the psychiatrist or the psychotherapist
               8        A Yes. As is conventional practices in                8          Q. Tell me what you recall
               9    universities, it is routed.                               9           A He's in CBT therapy and acquiring
              10        Q. So are you suggesting diat you have—you           10       strategies for managing his tymptoms. He is
              11    could have possibly not received the document?           11       considering psychotropic medication.
              12        A. I'm not suggesting it I'm stating it              12             What I am remembering is an attestation
              13    It is possible.                                          13       fiom a therapist that desoibes an interventionai
              14        Q. But you must have received plaintiffs             14       program In progress,not being executed,nor any
              15    actual appeal letter; is that correct?                   15       verification ofifs benefits. That's ^^halI
              16        A. I vaguely recall receiving the appeal             16       recall.
              17    letter, as I stated to you earlier.                      17          Q. So would that be the ic^on why you
              18        Q. Please turn to Exhibit P-26.                      18       decided to uphold his dismissal?
              19           Did you send this letter?                         19          A. Yes. As well as your past performances.
              20        A Yes, 1 did.                                        20          Q. Sojust to be clear, because plaintiffs
              21       Q. This letter says,"I have carefully                 21       psydiiatrist said that he didn't — let me rephrase.
              22    reviewed your academic record, your appeal ofthe         22              Just because plaintiffs psyriiiatrist
              23    Student Promotions Committee's recommendation for        23       implied that he was hesitant about taking medication
              24    dismissal."                                              24       for his disability, thafs why you decided to uphold
              25           Is that statement correct?                        25       his dismissal?



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                              ROSS UNIVERSITY
                                            SCHOOL OF MEDICINE




                            STUDENT HANDBOOK


                                      2015- 2016




                                         January 1,2016




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         •   Do not sit for their first attempt of the USMLE Step 2 CS within one(1) year after completing their core
             clinical clerkship;
         •   Do not sit for their retake of USMLE Step 2 CS within one(1) year of prior attempt;
         •   Do not submit USMLE Step results within 30 days of receipt;
         •   Do not submit sitting dates for Step exams within 30 days of being verified with ECFM6 by the Office of
             the Registrar;
         •   Do not submit missing file documentation within one semester of being admitted, including but not
             limited to transcripts, letters of recommendations and immigration documents;
         •   Do not submit required health documents prior to starting IMF; or
         •   Failure to meet the conditions of their readmission.


    A student who is Administratively Withdrawn will be reported as withdrawn effective the last date of any
    academically related activity or the date the Institution determined the change in status. The withdrawal date will
    be reported to the U.S. Department of Education which will cause the student's loans to enter repayment status, in
    accordance with the terms and conditions of the loans. Please consult with the Office of Student Finance to
    determine the impact on individual loan repayment.

    Academic Dismissal
    Students are subject to Academic Dismissal based on the following:

         •   Failing any course or semester upon two attempts;
         •   Failure of remedial courses;
         •   Student is, or will be, unable to complete the Foundations of Medicine curriculum in no more than 75
             instructional weeks (five semesters)for students who completed their first semester prior to May 2013.
             Students who complete their first semester after May 2013 must complete their Foundations of Medicine
             curriculum in 90 instructional weeks (six semesters). The Promotions Committee may make an exception
             based on academic progress or mitigating circumstances;
         •   Failure to achieve a cumulative GPA of 2.00 or above by the completion ofthe Foundations of Medicine
             curriculum;
             Failure to pass the NBME CBSE in three consecutive attempts;
             Failure to pass the USMLE Step 1 or Step 2 CK or CS in six (6)attempts;
             Failure to pass any SCE in four(4)attempts;
             Failure of two clinical clerkships(including IMF);
             Failure of a clinical clerkship where a grade of R was awarded for the same clerkship;
             Failure to abide by RUSM policies;
             Student demonstrates the inability to meet the RUSM's technical standards;
             Failure to meet the conditions of their reinstatement on appeal; or
             Failure to complete all required degree requirements within seven (7) years of matriculation or as
             otherwise noted on reacceptance or reinstatement.

    Students may also be dismissed for non-academic reasons or professionalism concerns pursuant to the Code of
    Conduct.(See Code of Conduct section in this Student Handbook).

    Appeals Process for Academic Dismissal: Foundations of Medicine
   First Appeal: Any student dismissed from the Foundations of Medicine curricuium may appeal the dismissal to the
   Student Promotions Committee — Foundations of Medicine Subcommittee. Academic Dismissal Appeal form and
   letter should be emailed to PromotionAppealsORossU.edu and the Office of the Registrar(RegistrarORossU.edul
   and must be made within 15 calendar days of the date on the dismissal notification letter. The appeal will be heard
    by the Student Promotions Committee - Foundations of Medicine Subcommittee, which will then make an official
    decision to uphold or overturn the dismissal.




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    Second Appeal: In cases of procedural irregularity, inappropriate decisions, or where additional data has become
    available that was not considered by the Student Promotions Committee - Foundations of Medicine
    Subcommittee, a final appeal may be made to the Dean of RUSM. Academic Dismissal Appeal form and letter must
    be emailed to the Dean at PromotionAppeals@Rossu.edu and the Office of the Registrar(Registrar@RossU.edu)
    within 15 calendar days of the date on the decision letter from the Student Promotions Committee - Foundations
    of Medicine Subcommittee and specifically address the rationale for the appeal. The Dean will respond within 15
    calendar days of receipt ofthe appeal. The Dean's decision is final.

    A student who successfully appeals a dismissal decision will be reinstated for the semester subsequent to the
    semester in which the decision regarding the appeal is made. For example, a student who is dismissed at the end
    of the September 2015 term, and is allowed to return, would be on inactive status for the January 2016 term and
    then resume his/her studies during the May 2016 term if his/her appeal is granted.

    For a student who successfully appealed a dismissal for failure to pass the NBME CBSE will be notified of the
    conditions of reinstatement and provided a deadline to sit for the exam. Requests to change the conditions of the
    reinstatement are not granted, including an extension to sit for the exam. Students who are unable to meet the
    condition of their reinstatement have the option to withdraw. Failure to meet the condition of the reinstatement
    will result in a dismissal from RUSM.

    Appeals Process for Academic Dismissal: Clinical Sciences
    First Appeal: Any student dismissed from the Clinical Science curriculum may appeal the dismissal to the Student
    Promotions Committee - Clinical Sciences Subcommittee. Academic Dismissal Appeal form and letter should be
    emailed PromotionAppeals@RossU.edu and the Office of the Registrar(Registrar@RossU.edu) and must be made
    within 15 calendar days of the date on the dismissal notification letter. The appeal will be heard by the Student
    Promotions Committee - Clinical Science Subcommittee, which will then make an official decision to uphold or
    overturn the dismissal.


    Second Appeal: in cases of procedural irregularity, inappropriate decisions, or where additional data has become
    available that was not considered by the Student Promotions Committee -Clinical Sciences Subcommittee, a final
    appeal may be made to the Dean of RUSM. Academic Dismissal Appeal form and letter must be emailed to the
    Dean via PromotionAppeais@Rossu.edu and the Office of the Registrar(Registrar@RossU.edu) within 15 calendar
    days of the date on the decision letter from the Student Promotions Committee - Clinical Sciences Subcommittee
    and specially address the rationale for the appeal. The Dean will respond within 15 calendar days of receipt of the
    appeal. The Dean's decision is final.

    Academic Dismissal Appeal Form may be found on the student portal.




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    PRIVACY RIGHTS AND FERPA NOTIFICATION

    RUSM follows the guidelines of the U.S. Family Educational Rights and Privacy Act (FERPA), and maintains student
    rights as outiined below;

         •   Right to Review. Students have the right to inspect and review educational records within 45 days of the
             date that RUSM receives a request for access. Students should submit a written request to the Office of the
             Registrar that identifies the records they wish to inspect.The Office ofthe Registrar will make arrangements
             for access and notify the student of the time and place where the records may be inspected.

         •   Corrections. Students have the right to request the amendment of education records that they believe are
             inaccurate or misleading. Students should write to the Office of the Registrar, clearly identify the part of
             the record they want corrected and specify why it is inaccurate.

         •   Hearings, if RUSM decides not to amend the record as requested by the student, RUSM will notify the
             student of the decision and advise the student of his or her right to a hearing regarding the request for
             amendment. Additional information regarding the hearing procedures will be provided when the student
             is notified of the right to a hearing.

         •   Consent. Students have a right to consent to disclosures of personally identifiable information contained in
             the student's education record, except to the extent that FERPA authorizes disclosure without consent.

         •   Disclosures without Consent. Disclosure can be made without consent to RUSM officials with legitimate
             educational interests who need to review a record in order to fulfilJ their professional responsibilities. A
             RUSM official is a person employed by RUSM in an administrative, supervisory, academic or research, or
             support staff position (including law enforcement unit personnel and health staff); a person or company
             with whom RUSM has contracted (such as an attorney, auditor, or collection agent); a person serving on
             the Board of Trustees; or a student serving on an official committee (such as a disciplinary or grievance
             committee) or assisting a RUSM official. Upon request, RUSM may disclose education records without
             consent to officials of another school in which a student seeks or intends to enroll.

         •   RUSM may disclose directory information upon request. Directory information includes:
                o Name,address, and telephone listing
                o Dates of attendance, degrees and awards
                o Field of study
                  o    Most recent school attended
                  o   Photographs
                  o   Date and place of birth
                  o    E-mail address

         •   Students have the right to file a complaint with the U.S. Department of Education concerning alleged
             failures by RUSM to comply with the requirements of FERPA. The name and address of the Office that
             administers FERPA is:


             Family Policy Compliance Office
             U.S. Department of Education
             400 Maryland Avenue,SW
             Washington, D.C, 20202-8520

             For further information, students may also contact the Family Policy Compliance Office directly at 1-800-
             USA-LEARN (1-800-872-5327)(voice). Individuals who use TDD may call 1-800-437-0833.




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                                  ROSS UNIVERSITY
                                          SCHOOL OF MEDICINE


                               ROSS UNIVERSITY SCHOOL OF MEDICINE
                                       ACADEMIC CATALOG
                                        2015-2016, VOL.7




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    RUSM ATAGLANCE


   Year Founded:1978


    Location:
    Dominica: Foundations of Medicine


    Graduates: 11,000+

    Clinical Rotations; Performed in the US, Canada, and UK

    Enrollment: Approximately 3,500 students; 98% are US or Canadian
    residents.


    Facilities:
    Dominica: 26-acre fully equipped, technologically advanced campus in
    Picard, Dominica; hospital, classroom and clinical examination rooms at
    Princess Margaret Hospital.

    Florida: Five classrooms ranging in capacity from 32 to 150 seats, all
    wireless and technologically advanced;4 clinical simulation laboratory
    rooms; 2 Harvey rooms; study and student lounge areas; and a Learning
    Resource Center.

    Faculty Members:
    Dominica: 90+ member faculty with MD and/or PhD credentials.
    Florida: In collaboration with the Center for Haitian studies
   (University of Miami)2 full-time faculty, 2 part-time faculty and 8
   junior faculty, with MD credentials, in addition to 50+ community
    preceptors.

    Course of Study: Students complete the foundational basic science
    courses in Dominica through the Foundations of Medicine curriculum.

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   Because RUSM operates on a year-round schedule(new classes start in
   September, January and May)students can complete their pre-clinical
   courses in either 16 or 20 months, depending on which curricular track
   they select. The iMF clerkship is completed in the US through our
   affiliation with the Center for Haitian Studies. Students then continue
   their clinical education at one of more than 29 teaching hospitals in the
   US that are affiliated with RUSM. Upon completion of the program of
   medical education and passing Step 1, Step 2 Clinical Knowledge and
   Step 2 Clinical Skills of the United States Medical Licensing
   Examination®(USMLE), students earn their MD degree from RUSM.

   Residencies: RUSM graduates enter US residency programs in virtually
   every specialty of medicine.

   Licensing: RUSM graduates can obtain licenses in all 50 US states,
   Canada and Puerto Rico. Some states require approval for international
   medical schools. RUSM is proud to be approved in each of the states
   that have a process to do so.

   To Apply: Use our online application at www.rossu.edu/medicai-
   school/apply.

   Waitlist: A waitlist is established when the number of accepted
   students exceeds the number of students who can be adequately
   accommodated at the time of acceptance. Waitlisted students are
   automatically accepted for the following semester. There is no need to
   reapply.

    Financial Aid: Current U.S. and Canadian students who meet the
   criteria for US financial aid (i.e., the student is a US citizen or eligible
   non-citizen) may be eligible for US/Canadian government and private
   loan programs.



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    GENERAL INFORMATION

    Foreword
    Students must be familiar with the policies and procedures of RUSM as stated in this catalog and the
    RUSM Student Handbook.


    The contents of this catalog represent the most current information available at the time of publication.
    However, during the period of time covered by this catalog, it is reasonable to expect changes to be
    made without prior notice. The online version,found at RossU.edu, is the most current and accurate
    representation of RUSM's academic catalog. It is updated frequently to give you the most current
    information, and students are responsible for reviewing the changes.

    RUSM reserves the right to change, modify or alter, without notice, all fees, charges,tuition expenses
    and costs of any kind. RUSM further reserves the right to add, modify or delete, without notice, any
    course offering or information contained in this catalog. Class and exam schedules published each
    semester will indicate additions or other changes.

    Following a student's entry into the program,the curriculum may undergo modification(s). Students are
    held responsible for degree requirements in effect at the time of enrollment, plus any changes made
    during the student's progress toward the degree as long as such changes do not delay graduation.

    This catalog describes the educational program and activities available at RUSM. RUSM makes no claims
    that enrolling in a particular class or following the course curriculum will produce a specific
    achievement, employment, qualification for employment, admission to postgraduate degree programs
    or licensure. It is understood that the ultimate responsibility for complying with degree requirements
    rests with the student. This publication is issued by RUSM as authorized and approved by the Dean and
    Chancellor.


    Introduction and Overview
    RUSM is devoted to the education of medical professionals. Founded in 1978, RUSM is located in
    Dominica, West Indies, offers clinical rotations in teaching hospitals across the United States, Canada
    and United Kingdom and is supported by administrative offices located in Miramar, FL and Iselin, NJ.

    RUSM offers a Doctor of Medicine(MD)degree program and has graduated more than 11,000
    physicians during its 37-year history. Graduates are eligible for licensure in all 50 States, Canada and
    Puerto Rico after the successful completion of the requisite licensing examinations.

    The Foundations of Medicine curriculum, conducted in Dominica, consists of a minimum of 64 credits of
    specifically prescribed coursework. All Foundations of Medicine coursework must be satisfactorily
    completed at the RUSM campus in Dominica.

    At the end of the Foundations of Medicine curriculum, students are required to take the National Board
    of Medical Examiners(NBME)Comprehensive Basic Sciences examination (CBSE). Students receiving a
    score of 66 or higher on the CBSE are certified to take the USMLE Step 1. Students who do not pass the
    CBSE are given two subsequent opportunities to take and pass the CBSE in order to certify for the
    USMLE Step 1.




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    The Clinical Science curriculum in the United States begins with a 6-week clerkship: Internal Medicine
    Foundations (IMF), conducted through our affiliation agreement with the Center for Haitian Studies in
    South Florida. Following IMF, students complete 84 additional weeks of clinical . This clinicai experience
    is designed to build on students' training in medical history and physical diagnostic skills, and better
    prepare them to meet the demands of their clinical studies. Students participate in patient care while
    rotating through various medical specialties in affiliated teaching hospitals and other approved
    healthcare facilities in the United States.


    During clinical clerkships, students must complete and pass the USMLE Step 2 Clinical Knowledge (Step 2
    CK) and the USMLE Step 2 Clinical Skills (Step 2 CS). RUSM requires students to pass both the USMLE
    Step 2 CK and Step 2 CS to be eligible for graduation.

    University Mission
    Our mission is to prepare highly dedicated students to become competent and caring physicians.

    Accreditation and Approval
    The government of the Commonwealth of Dominica authorizes RUSM to confer the Doctor of Medicine
    degree and graduates are also eligible for licensure in Dominica. The United States Department of
    Education, through its National Committee on Foreign Medical Education and Accreditation (NCFMEA),
    has determined that the accreditation standards employed by the Dominica Medical Board are
    comparable with those used to evaluate programs leading to the MD degree in the United States by the
    Liaison Committee on Medical Education.


    This determination ensures that students enrolled at RUSM are eligible to participate in the US Federal
    Direct Loan Program. Students or applicants who wish to contact the Dominica Medical Board regarding
    any aspect of RUSM's medical education program can do so by writing to:

            Dominica Medicai Board Government Headquarters
            Kennedy Avenue, Roseau, Commonwealth of Dominica, West Indies

    RUSM students are eligible to take all of the United States Medical License Examinations(USMLE) by
    registering with the Educational Commission for Foreign Medical Graduates(ECFMG)and are eligible to
    apply for licensure in all states in the United States.

    RUSM is also accredited by the Caribbean Accreditation Authority for Education in Medicine and other
    Health Professions(CAAM-HP). CAAM-HP is the legally constituted body established in 2003 under the
    aegis of the Caribbean Community(CARICOM),empowered to determine and prescribe standards and
    to accredit programs of medical, dental, veterinary and other health professions education on behalf of
    the contracting parties in CARICOM.

    In addition, the General Medical Council of Great Britain has granted the RUSM Doctor of Medicine
    degree Limited Registration status, and the World Health Organization includes RUSM in its listing of
    medical schools approved by recognized national authorities.


    In addition, the Society for Simulation in Healthcare (SSH) granted full accreditation to Ross University
    School of Medicine's Simulation Institute in November 2013.
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    Laerdaal SimMan 3G high fidelity simulators and 7 Harvey Cardiopuimonary simulators,the simulation
    laboratories and medical simulation program deliver approximately 10,000 student hours of medical
    simulation experience per semester. The center is also used to administer practical examinations for the
    RUSM Clinical Skills course, which are structured as "fitness to practice" proficiency examinations
    assessing basic clinical skills and clinical reasoning. The Medical Simulation segment of the Clinical Skills
    course delivered at the Simulation Institute emphasizes a systematic approach to a patient with time
    sensitive medical needs(one of the AAMC Core Entrustable Professional Activities) and case content
    correlates with and reinforces basic science lecture content from the Foundations of Medicine
    curriculum. Now included in the Medical Simulation Program is a high quality Standardized Patient
    Program wherein students practice clinicai skills and reasoning in a wide variety of standardized patient
    encounters.


    Campus Safety
    RUSM provides 24-hour,seven-day a week security for the Portsmouth campus. Security is also provided
    at the Princess Margaret Hospital clinical facility for students during their ciinical assignments and
    ciinicai clerkships. Additional campus safety and security information is provided in the Student
    Handbook.


    Miramar, Florida
    The facilities include 5 classrooms ranging in capacity from 32 to 200 seats, all wireless and
    technologically advanced;4 clinical simulation laboratory rooms; 2 Harvey rooms; study and student
    lounge areas and a Learning Resource Center.




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    Foundations of Medicine Campus Administration

    Paul Abney,PhD, LPC, NCC
    Assistant Dean of Educational Assessment


    Alan Bateson, PhD
    Chair, Pharmacology

    Ryan Didier
    Executive Administrator, Dominica Campus

    Jolynne Drummlesmith,PhD
    Interim Chair, Microbiology

    Rosanna Emmanuel, BBA, MPH
    Director, Clinical and Community Affairs

    Gerald A.C. Grell, MB, MD,FRCP, FACP,JP
    Special Advisor to the Dean and Chancellor
    James Grogan,PhD
    Associate Dean of Curriculum


    Maureen Hall, MD
    Interim Director, Center for Teaching and Learning

    Janice Johnson, MD
    Interim Chair, Pathology

    Claire Joseph, MBA, MHRM,CFD
    Director, Faculty Affairs

    Niels Larsen, PhD
    Chair, Biochemisty

    Sheila Nunn,PhD
    Chair, Anatomy

    Robert Sasso, MD,FACOG
    Vice Chair, Clinical Medicine

    Nancy Selfridge, MD
    Chair, Clinical Medicine
    Assistant Dean, Clinical Sciences - Dominica

    Hashim Shams, MD
    Chair, Physiology


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    Davendranand Sharma, MD, MBBS, DPS
    Interim Chair, Behavioral Sciences

    Nathalie Watty, MPM,BSc(Econ)
    Director, Academic Administration and Strategic Planning

    Laura Weike,PhD
    Vice Chair, Anatomy


    FOUNDATIONS OF MEDICINE FACULTY


    Dominica Campus

    Anatomy Department

    Sheila Nunn,PhD
    Chair, Anatomy and Professor
    BSc, University of Newcastle-Upon Tyne (Hons) Microbiology
    PhD,The Queen's University of Belfast(Anatomy)
    University of Leeds Certificate in Learning and Teaching in Higher Education

    Laura WeIke, PhD
    Vice Chair,Anatomy and Associate Professor
    PhD, Boston University School of Medicine

    Zee Brett, PhD
    Assistant Professor
    PhD, University of Sydney Medicine (Neurogenetics/Psychobiology)
    Bachelor of Medical Science Honours I University of Sydney Anatomy Honours(Neuroscience/Genetics)
    Bachelor of Medical Science University of Sydney Pharmacology, Physiology (Neuroscience)

    Rajdeo Kalliecharan, PhD
    Professor
    PhD, Dalhousie University, Canada

    Mary Shannon Moore, PhD
    Associate Professor
    PhD, University of Texas, Southwestern Medical School
    Gyorgy Nagy
    Professor
    MD, University of Pecs
    PhD,Semmelweis University of Medicine
    DSc, Hungarian Academy of Sciences

    Aid! Yin, MB, MM
    Associate Professor
    MM,Beijing Medical University
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                                                            William F. Owen,Jr. MD,FACP
        ROSS UNIVERSITY                                     Dean and Chancellor
                                                            2300 SW 145*1' Avenue,Suite 200,Miramar,FL 33027
              SCHOOL OF MEDICINE                            Ct)754-208-4743
                                                            CO 754-208-4744
                                                            WOwen@RossU.edu




 June 29, 2017


 Oluwamuyiwa Awodiya
 15005 Dahlia Drive
 Bowie, MD 201721

 Dear Oluwamuyiwa:

 I have carefully reviewed your academic record, yOur appeal of the Student Promotions Committee's
 recommendation for dismissal, and your pre-matriculation credentials. I concur with the Promotion
 Committee's decision to dismiss you from Ross University School of Medicine effective April 13, 2017.

 I hope you do not let this detour keep you from achieving your goal of helping people in need.

 Sincerely,




 William F. Owen,Jr., MD, FACP
 Dean and Chancellor


 Cc: Sandra Herrin, University Registrar
     Gary Belotzerkovsky, /\ssociate Dean, Academic & Student Operations
      Jennifer Dennis, Senior Director of Student Finance
      Danielle McDonald, Assistant Director of Clinical Student Conduct and Development
      Dr. Vijay Rajput, Associate Dean, Academic & Student Affairs




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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   OLUWAMUYIWA AWODIYA,                                   CASE NO. 0:18-cv-60482-KMM-AOV

            Plaintiff,
   V.



   ROSS UNIVERSITY SCHOOL OF
   MEDICINE,SCHOOL OF VETERINARY
   MEDICINE LIMITED,

            Defendant.
                                                /

                         DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
                          AND INCORPORATED MEMORANDUM OF LAW

            Defendant Ross University School of Medicine, School of Veterinary Medicine Limited
   ("RUSM"), by counsel, moves for summary judgment on the Third Amended Complaint [ECF
   No.47](the "Complaint")filed by plaintiff Oluwamuyiwa Awodiya ("Plaintiff").
    I.     INTRODUCTION

            In this action. Plaintiff brings the following ten (10) causes of action against RUSM:
   (i) violation of Section 504 of the Rehabilitation Act of 1973 (the "Rehabilitation Act");
   (ii) violation of Title III of the Americans with Disabilities Act ("ADA"); (iii) violation of 34
   C.F.R. § 104.4, et seq.; (iv) violation of 34 C.F.R. § 104.44, et seq.; (v) violation of Florida
   Administrative Code Section 6E-2.004(5)(c)(4) or, in the alternative. Section 760.08, Florida
   Statutes;(vi) breach of contract;(vii) breach ofthe covenant of good faith and fair dealing;(viii)
   fraudulent inducement;(ix) misrepresentation in the inducement; and(x)breach offiduciary duty.
   Each ofPlaintiffs causes of action fail as a matter oflaw.

            Counts I through IV ofthe Complaint, which allege that RUSM failed to provide Plaintiff
   with reasonable accommodations for his attention-deficient/hyperactivity Disorder ("ADHD"),
   anxiety, and obsessive compulsive disorder ("OCD"), fail because Plaintiff cannot establish two
   essential elements ofthese claims:(i) that he made an actionable request pursuant to federal law;
   and (ii) that he is "otherwise qualified" as defined by statute. Plaintiffs inability to proffer facts
   establishing these two elements are fatal to these claims.



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            Summaryjudgment is appropriate as to Counts III and IV ofthe Complaint, which allege
   that RUSM violated 34 C.F.R. § 104.4 and 34 C.F.R. § 104.44,because these sections ofthe Code
   of Federal Regulation are duplicative of the Rehabilitation Act claim and do not give rise to a
   private right of action.
            Count V ofthe Complaint,which alleges that RUSM violated Florida Administrative Code
   Section 6E-2.004(5)(c)(4)or,in the alternative. Section 760.08,Florida Statutes,fail because there
   is no private right of action for a violation of Florida Administrative Code Section 6E-
   2.004(5)(c)(4) and Plaintiff has failed satisfy the jurisdictional prerequisites of a claim under
   Section 760.08, Florida Statutes.
            Counts VI and Vn ofthe Complaint,for breach of contract and breach ofthe covenant of
   good faith and fair dealing against RUSM,fail because there is no evidence of a breach and no
   evidence that RUSM acted arbitrarily or capriciously, as is required for a claim against an
   educational institution like RUSM.

            Summary judgment is appropriate as to Cormts VIII and IX of the Complaint, asserting
   claims for fraudulent inducement and negligent misrepresentation against RUSM,because there is
   no evidence ofa false statement or justifiable reliance.
            Count X of the Complaint, asserting that RUSM breached a fiduciary duty, fails because
   RUSM does not owe a duty to Plaintiff as a matter oflaw.
            As to each count ofthe Complaint,there is no genuine issue of material fact and RUSM is
   entitled to summary judgment as a matter of law. Moreover, there is no evidence to support
   Plaintiffs claims for lost wages or punitive damages. Accordingly, the Court should grant the
   Motion and enter judgment in favor ofRUSM on each ofthe counts ofthe Complaint.
    II.     FACTUAL BACKGROUND

            Plaintiff is a former RUSM medical student. [ECF No.47]at T|1. Plaintiffattended RUSM
   on the island of Dominica from May 2014 until his dismissal from the university in June 2017.
   See RUSM's Statement of Material Facts in Support of its Motion for Summary Judgment
   ("SOF"), a copy of which is being filed simultaneously with this Motion, at ^1. Before attending
   RUSM, Plaintiff completed his undergraduate studies at Morgan State University. Id. at f 2.
   Plaintiff applied to RUSM in 2013. Id. at^4. When Plaintiffenrolled in RUSM,he did not believe
   he suffered from any impairment or disability. Id. at% 5.




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            Plaintiffs medical records reflect that, during Plaintiffs fifth semester at RUSM, he
   struggled with emotional distress due to a relationship break-up with a female student who was
   unfaithful, as well as familial relationship issues and general loneliness. Id. at fif 7-9; see [ECF
   No. 102]at Exhibit SJ-10. This substantially impacted his academics, and contributed to his study
   habits. Id. In December 2015, Plaintiff failed his fifth semester. Id. at ^ 10. After learning of
   this. Plaintiff suffered Jfrom suicidal thoughts and continued visiting the counseling center. Id. at
         10-12, Plaintiff completed a suicidal assessment, admitting to suffering with self-harm
   ideations. Id. atf 13. As a result. Plaintiff signed a Safety Plan, where he agreed to not attempt
   to cause harm to himself and agreed to participate in mental health treatment. Id. atf 14.
            Plaintiffcontinued to seek counseling fi-om the counseling center at RUSM. /c/, atf 15. In
   an effort to get Plaintiff back to the United States sooner,Plaintiffsigned a Release ofInformation
   Consent form on December 9,2015. Id. at Tf 16. This document allowed Plaintiff's counselors to
   communicate with RUSM administrators about getting him off the island earlier. Id. at f 17.
   Plaintiffhad not been diagnosed with ADHD,anxiety, or OCD by anyone at the time ofexecuting
   the Release of Information Consent form. SOF at ^ 17. Nor did Plaintiff ever request an
   accommodation or mention the need for extended test time to complete his exams. Id. at f 18.
   Plaintiff continued counseling, pursuant to the Safety Plan, until he returned home to the United
   States for winter break in mid-December 2015. Id. at      19-21.

            Upon returning to RUSM in January 2016, Plaintiff resumed counseling at RUSM's
   counseling center. Id. at ^ 23. Id. The counseling center first made a diagnosis of Plaintiffs
   ADHD in January 2016. Id. at 124. See also Declaration of Ryan Roman In Support of Motion
   for Summary Judgment, Exhibit 25 atf 4. RUSM first diagnosed Plaintiffs anxiety disorder in
   February 2016. Id. Despite receiving the diagnoses for ADHD and anxiety. Plaintiff never
   requested an accommodation and did not mention the need for additional testing time. SOF atf
   34.

            RUSM requires its students to take and pass the National Board of Medical Examiners'
   Comprehensive Basic Science Exam (the"COMP exam")at the end oftheir fifth semester. Id. at
   136. At the time Plaintiff enrolled at RUSM,the minimum passing score for the COMP was a 66.
   Id. at f 37. In September 2015, RUSM advised students that, effective November 2015, it was
   changing the minimum passing score on the COMP exam from a 66 to a 68. Id. at If 38. Plaintiff
   unsuccessfully attempted to pass the COMP exam five times. Id. at      39-47. After failing to pass

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   the exam the fifth time, Plaintiff     dismissed from RUSM in June 2017. Id. at T||47. Plaintiff
   has offered no evidence that additional time would have enabled him to pass the COMP exam.
            Plaintiff appealed his dismissal and RUSM's Student Promotions Committee upheld the
   dismissal. Id. at If 48. In response, Plaintiff submitted a personal statement, where he makes no
   mention of needing additional testing time or that his alleged disability affected his test-taking
   abilities. Id. at ^ 49. Plaintiff disclosed to RUSM for the first time that he was diagnosed with
   OCD in April 2017. Id. The decision ofthe Student Promotions Committee was upheld on appeal.
   Mat If 50.
   in.      LEGAL STANDARD

            The Court shall grant summary judgment "if the movant shows that there is no genuine
   dispute as to any material fact and the movant is entitled tojudgment as a matter oflaw." Fed. R.
   Civ.P.56(a). The existence ofsome factual disputes — as opposed to genuine disputes ofmaterial
   fact- will not defeat a motion for summaryjudgment. See Gordilis v. Ocean Drive Limousines,
   Inc., Civ. No. 12-24358-JLK, 2014 WL IIUIIA, at *1 (ST). Fla. May 28, 2014)("A fact is
   'material' if it is may determine the outcome under the applicable substantive law."). To defeat
   summaryjudgment,"the non-moving party cannot merely rest upon his bare assertions,conclusory
   allegations, surmises or conjectures." Mclntyre v. FIX ofMiami, Inc., Civ. No. 08-20030-JJO,
   2008 WL 4541017,at *3(S.D. Fla. Oct. 8,2008). A "genuine" dispute as to a material fact exists
   if the evidence is such that a rational trier offact could return a verdict for the nonmoving party.
   Foreman v. City ofPort St. Lucie, Civ. No.07-14036-KMM,2008 WL 958030, at *1 (S.D. Fla.
   Apr. 8, 2008)(citing v4//en v. Tyson Foods, Inc., 121 F.3d 642,646(11th Cir. 1997)). The Court
   must "view the evidence and all factual inferences therefrom in the light most favorable to the
   party opposing the motion." Id.

   IV.      ARGUMENT

                A. Judgment Should be Entered on Counts I Through IV of the Complaint
                   Because There is No Evidence that Plaintiff Made an Actionable Request for
                   an Accommodation

            To succeed on his failure to accommodate claims, including both his Title III ADA claim
   and his claim under Section 504 ofthe Rehabilitation Act,Plaintiffmust demonstrate that he(i) has
   a disability;(ii) is a "qualified individual" under 42 U.S.C.§ 12112(a); and (iii) was discriminated
   against because of his disability by failing to receive an accommodation. Hetherington v. Wal-



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   Mart, Inc., 511 Fed. Appx. 909, 912 (11th Cir. 2013); Portales v. Sch. Bd. ofBroward County,
   Civ. No. 16-62935-FAM,2017 WL 4402534, at *4(S.D. Fla. Oct. 2,2017).
                Under the ADA and Rehabilitation Act, the duty to provide a reasonable accommodation
   is not triggered unless a specific demand for an accommodation has been made. Gaston v.
   Bellingrath Gardens & Home, Inc., 167 F.3d 1361, 1363 (11th Cir. 1999). The demand for
   accommodation was required to comply with the procedure set by RUSM in its Student Handbook.
   See Varad v. Barshak, 261 F. Supp.2d 47,56(D. Mass. 2003)(holding that plaintifffailed to state
   a cause of action for failure to accommodate because she did not comply with the Board of Bar
   Examiners' policy requiring requests for testing accommodations to be in a written format made
   at least seventy-five days prior to date ofexamination).
            Here, the Student Handbook states: "Foundations of Medicine Requests for
   accommodations during the foundational science portion ofthe curriculum should be submitted in
   writing to theAccommodations Coordinatorfor Foundations ofMedicine.'" Id. atf27(emphasis
   added). It fiirther provides that to "qualify for accommodation,a student must identify him/herself
   to the Accommodation Coordinator for Foundations of Medicine or the Director of Office of

   Consultation and Support Services for IMF/Clinical Sciences." Id. atf 29. It is the responsibility
   of students, including Plaintiff, "to obtain a thorough written evaluation fi-om an appropriate
   professional, documenting the presence, extent, and ramifications of the disability." Id. at f 30.
   "The documentation should explain what specific types of accommodation the evaluator believes
   might be most helpfiil in offsetting the effects of the disability to an acceptable extent (in the
   medical school environment, if possible.)." Id.
            By Plaintiffs' own acknowledgement in his alleged statement of facts filed in support of
   his motion for summaryjudgment,see[ECF No. 101], he did not follow this procedure. There is
   no evidence ofa written request for accommodation in this case. Plaintiff attempts to circumvent
   this reality by claiming that a Release ofInformation Consent form is an accommodation request.
   [ECF No. 101] at117. However, nothing in the Release ofInformation Consent form asks for an
   accommodation. The Release ofInformation Consentform only provides permission for RUSM's
   Counseling Center to send information to the RUSM administration. RUSM SOF,at^ 16. Neither
   an oral request by Plaintiff nor the completion of a Release of Information Consent form would
   qualify as a request pursuant to the Student Handbook. Id. at    27-35.




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            Because Plaintiff failed to make an actionable request pursuant to the requirements ofthe
   Student Handbook, Counts I through IV ofthe Complaint fail as a matter oflaw.
                B. Judgment Should be Entered on Counts I Through IV of the Complaint
                   Because Plaintiff Cannot Establish that He is "Otherwise Qualified"
            Plaintiff cannot establish that he is "otherwise qualified" as required by the ADA and the
   Rehabilitation Act. To prove that he is "otherwise qualified," Plaintiff must show that, with or
   without reasonable accommodation, he was able to perform the essential requirements to graduate
   from RUSM. See 42 U.S.C. § 12131(2). Put another way. Plaintiff must present sufficient
   evidence to show that he could satisfy the program's necessary requirements, or that any
   reasonable accommodation by the school would enable him to meet these requirements. Plaintiff
   has not presented evidence that he is "otherwise qualified."
            RUSM's Student Handbook states that:

                   Candidates must possess the emotional health required for the full
                   utilization of their intellectual abilities, for the exercise of good
                   judgment,for the prompt completion ofall responsibilities attendant
                   to the diagnosis and care of patients, for the development of
                   effective relationships with patients and for effective functioning as
                   a member of the health care team. Candidates must be able to
                   tolerate physically taxing workloads and function effectively under
                   stress. They must be able to adapt to changing environments,
                   display flexibility and leam to function in die face of uncertainties
                   inherent in the clinical problems ofpatients.
   [ECF No. 107-1] at f 64; see also Yaldo v. Wayne State Unix., 266 F. Supp. 3d 988, 1012(E.D.
   Mich. 2017)(finding a Plaintiff was not "otherwise qualified" if he failed to satisfy the medical
   school's professionalism requirements); Zimmeck v. Marshall Unix. Bd. of Goxemors, 106 F.
   Supp. 3d 776, 782 (S.D. W. Va. 2015) (finding that a student diagnosed with depression
   unqualified under the ADA because he failed to meet the professionalism requirements of the
   medical school).
            In Yaldo, a plaintiff who suffered from severe anxiety and depression brought an action
   against his medical school for discrimination under the Rehabilitation Act and the ADA. 266 F.
   Supp. 3d. at 1011-1012. The court granted summary judgment in the defendant's favor after
   finding that the plaintiff wias not "otherwise qualified" as defined in the Rehabilitation Act and
   ADA because he failed to satisfy the medical school's professionalism requirements. Id. In so
   holding, the Court looked to the medical school's Policy and Procedure Manual, which had



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   language substantially similar to the Student Handbook in this case. Id. The Policy and Procedure
   Manual in Yaldo stated:

                      The candidate must possess the emotional health required for fiill
                      utilization of his/her intellectual abilities, the exercise of good
                      judgment, the prompt completion ofall responsibilities attendant to
                      the diagnosis and care of patients, and the development of mature,
                      sensitive, and effective relationships with patients. The candidate
                      must be able to tolerate physically taxing workloads and to function
                      effectively under stress. He/she must be able to adapt to changing
                      environments, to display flexibility, and to learn to function in the
                      face of uncertainties inherent in the clinical problems of patients.
                      Compassion, integrity, concern for others, interpersonal skills,
                      interest and motivation are all personal qualities that will be assessed
                      during the admissions and educational processes.
   Id.

            In Yaldo, the Court noted that the medical school's Policy and Procedure Manual required
   "not only that students exercise good judgment, but also that students be able to function
   effectively under stress." Id. The Court then looked at the plaintifPs medical records and noted
   that the plaintiffs therapist described Plaintiffs anxiety as causing him to react impulsively and
   make poor decisions. Id. Thus, "by the evidence Plaintiff submitted, he did not satisfy the
   Technical Standards the medical school required because he could not exercise good judgment
   while under stress." Id. The Court also noted that the Plaintiffs therapist found that he had
   "difficulty for assuming responsibility for his role in the issues that are occurring in his academic
   program ...and his personality prevents him from acknowledgement of his responsibility at times
   and therefore he feels victimized." Id. The Court granted the defendant's motion for summary
   judgment because Plaintiff did not comply with the school's professionalism policy and "failed to
   carry the burden of demonstrating that he was otherwise qualified." Id.
            Here, the Student Handbook requires not only that students possess the emotional health
   required for the full utilization of their intellectual abilities, but also that they exercise good
   judgment. [ECF No. 107-1, at ^ 64]. It also requires that students tolerate physically taxing
   workloads and function effectively under stress. Id. Plaintiff has not shown that he satisfies the
   technical standards of the medical school. The evidence shows that Plaintiff was suffering from
   depression and had suicidal ideations due to a relationship break-up with a female student who
                  (

   was unfaithful, familial relationship issues, and general loneliness. See[ECF No. 102] at Exhibit
   SJ-10. Plaintiff also reported being "constantly forgetful in daily activities" and having constant
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   difficulty with tasks requiring persistence or organization, including schoolwork and job duties.
   SOF at f 22. See also[ECF No. 102] at Exhibit SJ-03. Subsequently, Plaintiff also reported to a
   physician that he has been pulling his eyelashes and chin hairs out. SOF at Tf 49. See also[ECF
   No. 102] at Exhibit SJ-04.
            The Supreme Court of the United States has expressly rejected an interpretation of
   "otherwise qualified" that would prohibit an institution from considering an individual's
   limitations when determining that person's eligibility for an academic program. See Southeastern
   Community College v. Davis,442 U.S. 397,405(1979). The Davis Court stated that"an otherwise
   qualified person is one who is able to meet all of a program's requirements in spite of his
   handicap." Id. at 406. The law does not require an academic program to compromise its
   enrollment criteria. Id.\ see also Bercovitch v. Baldwin Sch., Inc., 133 F.3d 141, 154 (1st Cir.
   1998). Courts are deferential with respect to the academic judgment of universities. See, e.g.,
   Regents of Univ. ofMich. v. Ewing,474 U.S.214,225(1985)("When judges are asked to review
   the substance ofa genuinely academic decision...they should show great respect for the faculty's
   professionaljudgment."); Bd. ofCurators ofthe Univ. ofMo. v. Horowitz,435 U.S. 78,90(1978)
   ("[T]he determination whether to dismiss a student for academic reasons requires an expert
   evaluation ofcumulative information and is not readily adapted to the procedural tools ofjudicial
   or administrative decision-making."). "It is equally clear that '[ujniversity faculties must have the
   widest range of discretion in making judgments as to academic performance of students. ..
   Forbes v. St. Thomas Univ., Inc., 768 F. Supp. 2d 1222, 1232 (S.D. Fla. 2010). As this Court
   recently held, "whether a student is qualified to be a physician is an academic judgment that
   requires an expert evaluation ofcumulative information and is not readily adapted to the procedural
   tools ofjudicial or administrative decision making." See Order on Motion for Judgment on the
   Pleadings[ECF No. 105] at 4{citing Jallali v. Nova Se. Univ., Inc., 992 So.2d 338,342(Fla. Dist.
   Ct. App.2008)).
           "A school's code of conduct is not superfluous to its proper operation; it is an integral
   aspect of a productive learning environment." Bercovitch, 133 F.3d 141 at 154. Furthermore,
   Plaintiff has offered no evidence that additional time would have enabled him to pass the COMP
   exam) that he failed five times. Therefore, Plaintiff is not "otherwise qualified" and judgment
   should be entered in RUSM's favor on Counts I and II.




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                C. Judgment Should be Entered on Counts TIT and IV of the Complaint Because
                   They are Duplicative of Count I and There is No Private Right of Action
            In Counts III and IV ofthe Complaint,Plaintiffbrings claims alleging that RUSM violated
   34 C.F.R. 104,4 and 34 C.F,R. 104.44, respectively. Both ofthese claims must fail because they
   are duplicative ofCount I ofthe Complaint, which alleges that RUSM violated Section 504 ofthe
   Rehabilitation Act.

            The relevant sections ofthe Code ofFederal Regulations were instituted by the Department
   ofEducation in coordination with the Attorney General ofthe United States after Executive Order
   No. 12250 §§ l-201(c)and 1-402 directed all executive agencies covered by Section 504 to issue
   appropriate implementing regulations or policy guides. The purpose of34 C.F.R,§ 104.1, etseq.,
   "is to effectuate section 504 of the Rehabilitation Act of 1973, which is designed to eliminate
   discrimination on the basis of handicap in any program or activity receiving Federal financial
   assistance." See 34 C.F.R. § 104.1. Neither 34 C.F.R. 104.4 nor 34 C,F.R. 104.44 can form the
   basis of separate claims fi"om PlaintifPs Rehabilitation Act claim. Accordingly,judgment should
   be entered in RUSM's favor as a matter oflaw.

            Moreover, neither 34 C.F.R. 104.4 nor 34 C.F.R. 104.44 create a private right of action.
   See Powers v. MJB Acquisition Corp., 993 F. Supp. 861, 869 (D. Wyo. 1998) (dismissing a
   plaintiffs claim under 34 C.F.R. § 104.1 because the regulations do not create a private cause of
   action). Instead, they set forth remedial actions for the Assistant Secretary for Civil Rights ofthe
   Department of Education to take if it is found that a recipient of federal fimding discriminated
   against persons because of a handicap in violation of Section 504. See e.g. 34 C.F.R. § 104.6
   (emphasis added). In Powers,the plaintiff brought a civil lawsuit under 34 C.F.R. §104.1 et seq.
   and the Court dismissed Plaintiffs claim. 993 F. Supp. at 869. In doing so, the Court stated as
   follows:

                   The Court is unable to discern the reason for Plaintiffs' inclusion of
                   this claim in their Complaint. Pt. 104 by its very terms states that
                   its only purpose is to effectuate § 504 of the Rehabilitation Act.
                   Given that Plaintiffs have stated a claim under § 504 any claim that
                   could possibly be asserted under 34 C.F.R. Pt. 104 is obviously
                   redundant. Furthermore,there is no authority-and Plaintiffs do not
                   direct the Court's attention to any — indicating that Congress
                   intended Pt. 104, or any other similarly obscure regulation, to
                   bestow upon individuals a private cause of action. The Court
                  therefore will dismiss this claim.


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    Id.

             The reasoning of the Court in Powers is applicable here. Therefore,judgment should be
    entered in RUSM's favor on Counts HI and IV.

                   D. Judgment Should be Entered on Count V of the Complaint Because There is
                       No Private Right of Action
             In Count V ofthe Complaint, Plaintiff brings a claim alleging that RUSM violated Florida
    Administrative Code Section 6E-2.004(5)(c)(4) or, in the alternative. Section 760.08, Florida
    Statutes. Either claim must fail as a matter oflaw because there is no private right ofaction under
    the former and Plaintiff has failed to comply with a prerequisite to the latter.
          1. There is No Private Right ofAction Under Flo.Admin. Code Section 6E-2.004(S)(c)(4)
                Plaintiff brings his fifth cause of action pursuant to Florida Administrative Code Section
    6E-2.004(5)(c)(4). However,there is no private right ofaction under this regulation. This section
    of the Administrative Code regulates the standards and procedures for licensure of schools. The
    penalty for a violation ofthis section is denial ofthe license or discipline by the Commission for
   Independent Education. See Fla. Admin, Code § 6E-2.006I. The statute does not set forth any
    basis by which a private citizen can bring a civil claim pursuant thereto.
             The Florida Supreme Court has made clear that"a statute that does not purport to establish
    civil liability, but merely makes provision to seciu-e the safety or welfare ofthe public as an entity,
    will not be construed as establishing a civil liability." Murtl^ v. N. Sinha Corp.,644 So.2d 983,
   986(Fla. 1994). Absent such expression ofintent,a private right ofaction is not implied. Villazon
    V. Prudential Health Care Plan, Inc., 843 So. 2d 842,852(Fla. 2003).
                Here, the Administrative Code does not establish civil liability. Therefore, this claim
   should fail as a matter oflaw.

          2. PlaintiffHas Not Met the JurisdictionalPrerequisites
             As an alternative. Plaintiff brings a claim for violation of Section 760.08,Florida Statutes,
   the Florida Civil Rights Act("FCRA"). This claim also fails because Plaintiff must exhaust all
   administrative remedies before bringing a claim for discrimination.
                The FCRA provides that, if"the statute prohibiting unlawful discrimination provides an
   administrative remedy,the action for equitable reliefand damages provided for in this section may
   be initiated only after the plaintiff has exhausted his or her administrative remedy." Fla. Stat.



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    § 760.07. In Section 760.11, the legislature provided an administrative remedy to any "person
    aggrieved by a violation of ss. 760.01-760.10." Id.
             To maintain a cause of action under Section 760.08, Plaintiff was first required file a
    Complaint with the Florida Commission on Human Relations within 365 days of the alleged
    violation and follow the remaining mandatory procedures outlined in Section 760.11. See Jones
    V. Bank ofAm.,985 F. Supp. 2d 1320,1324-25(M.D.Fla. 2013)("As ajurisdictional prerequisite
    to filing an FCRA action, a plaintiff must exhaust her administrative remedies by filing a timely
    charge with the appropriate agency."); Olson v. Dex Imaging, Inc., 63 F. Supp. 3d 1353, 1361
   (M.D.Fla.2014)("To bring a suit for discrimination under the FCRA,a plaintifffirst must exhaust
    administrative remedies.");
             Here Plaintiff failed to follow the mandatory procedures before filing this suit.
    Accordingly,summaryjudgment should be entered in RUSM's favor on Count V. See Jones,985
    F. Supp. 2d at 1331 (dismissing a complaint with prejudice for failing to timely exhaust
    administrative remedies).
                   E. Judgment Should be Entered on Counts VI and VII ofthe Complaint Because
                      Plaintiff Cannot Establish Essential Elements of These Claims

             In Count VI and Vll, Plaintiff asserts claims for breach of contract and breach of the
    covenant ofgood faith and fair dealing. Bolh ofthese claims deal with purported violations ofthe
    Student Handbook. Pursuant to Florida law,"[a] court will not interfere with a private university's
    enforcement of its regulations unless the university has acted arbitrarily and capriciously, in
    violation of a constitution or statute, or for fraudulent purposes." Sirpal v. Univ. ofMiami, Civ.
    No.09-22662-STB,2011 WL 3101791 at *14(S.D. Fla. July 25,2011)(citing                   v, NovaSe.
    Univ., Inc.^ 992 So. 2d 338, 342 (Fla. Dist. Ct. App. 2008)). Plaintiff has broken down the
    purported violations into six different "sub-counts." [ECF No. 47] at           93-99. Summary
    judgment is warranted on each of these sub-counts because Plaintiff has not presented any
    evidence to show that RUSM's actions were arbitrary or capricious,
        i. Sub-Counts IThrough in FaU as a Matter ofLaw
                 The first three sub-counts deal with Plaintiffs allegation that RUSM failed to provide
    Plaintiff with adequate accommodations after his ADHD diagnosis. There is no evidence that
    RUSM's alleged failure to provide him a reasonable accommodation was arbitrary or capricious.
    Instead, the record evidence clearly establishes that RUSM has a set policy, through its Student

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    Handbook, of how to apply for accommodations. SOF at            27-32. The record evidence also
    shows that Plaintiff failed to properly apply for an accommodation. SOF atf 34. RUSM requires
    all applications for accommodations to be made in writing and be supported by adequate
    documentation. Id. at^ 29.
            Courts have held that institutions can require requests for accommodations to be submitted
    in written format. See Varad, 261 F. Supp. 2d at 56(holding that plaintiff failed to state a cause
    ofaction for failure to accommodate because she did not comply with the Board ofBar Examiners'
    policy requiring requests for testing accommodations to be in a written format made at least
    seventy-five days prior to date of examination). Where a plaintiff is aware of a policy requiring
    an application to be made in writing but fails to follow it, he is responsible for the breakdown of
    the interactive process. Id. Plaintifffoiled to comply with RUSM's policy in seeking a reasonable
    accommodation. Siunmaryjudgment as to sub-counts I through III should be granted. Moreover,
    because sub-counts I through III relate to Plaintiffs failure to accommodate claims, to the extent
    that Plaintiffs ADA and Rehabilitation Act claims fail, these sub-coimts must also fail.
       2, Sub-Counts JV and V Fail as a Matter ofLaw
            In sub-coimts IV and V, Plaintiff alleges that RUSM breached a contract with him and
    breached the covenant of good faith and fair dealing by changing its Student Handbook after he
    enrolled. However, the Student Handbook in existence when Plaintiff enrolled provided that
    RUSM "reserved the right to change, modify or delete, without notice, any course offering or
    information contained in this catalog." SOF at 136.
            Moreover, Plaintiff cannot establish that RUSM's changes to its policy were arbitrary or
    capricious. "Implicit in the university's general contract with students is a right to change the
    university's academic degree requirements ifsuch changes are not arbitrary or capricious." Jallali
    V. Nova Se. Univ., Inc., 992 So.2d 338,343(Fla. Dist. Ct. App.2008); see also Doherty v. S. Coll.
    ofOptometry, 862 F.2d 570,577-78(6th Cir. 1988)("No record evidence exists that[the school]
    acted arbitrarily, capriciously or with malice."). A court should not interfere with a private
    university's enforcement of its regulations unless the university has acted arbitrarily and
    capriciously, in violation of a constitution or statute, or for fraudulent purposes. See John B.
   Stetson Univ. v. Hunt, 102 So. 637, 640 (Fla. 1924); see also McCawley v. Universidad Carlos
   Albizu, Inc., 461 F. Supp. 2d 1251, 1257 (S.D. Fla. 2006)("Courts are generally reluctant to


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    interfere with or substitute their judgment regarding decisions of academic institutions to award
    degrees.")*
            The United States Supreme Court has held that"[ujniversity faculties must have the widest
    range of discretion in making Judgments as to the academic performance of students and their
    entitlement to promotion or graduation." Regents ofUniv. ofMich. v. Swing,474 U.S. 214, 225
    n. 11 (1985). Uie decision of whether a student is qualified to be a physician is an academic
   judgment that "requires an expert evaluation ofcumulative information and is not readily adapted
    to the procedural tools ofjudicial or administrative decision-making." Jallali, 992 So.2d at 342.
    Like the plaintiff in Jallali, Plaintiff alleges that RUSM breached its contractual obligation and
    breached the covenant of good faith and fair dealing when it changed its academic policy and
    passing requirements. [ECF No. 47] atf 95. However, Plaintiff has not presented any evidence
    to suggest that such changes to the Student Handbook or Academic Catalog were arbitrary or
    capricious. Nor is Plaintiffable to. RUSM has the ability to set forth the terms under which it will
    admit and subsequently graduate its students. Summaryjudgment should be granted in RUSM's
    favor as to sub-counts IV and V of Plaintiffs breach of contract and breach of the covenant of

    good faith and fair dealing claims.
       3. Sub-Count VIFails as a Matter ofLaw
            In sub-count VI,Plaintiffalleges that RUSM breached a contract and the covenant ofgood
   faith and fair dealing when RUSM's Dean failed to respond to Plaintiff within 15 calendar days of
    receipt of the second appeal. [ECF No. 47] at Tf 95. The record evidence shows that Plaintiff
    submitted his appeal on June 13,2017. [ECF No. 102]at Exhibit SJ-16. Upon review.Dean Owen
    upheld Plaintiffs dismissal and informed Plaintiff by letter on June 29,2017. SOF atf 50. This
    Court has previously held that Plaintiff cannot establish that the Dean's failure to reply within the
   15 day deadline was arbitr^ or capricious or otiierwise affected Plaintiff in any material way.
   See Order on Plaintiffs Motion for Judgment on the Pleadings [ECF No. 105] at 7. Summary
   judgment is thus warranted as to sub-count VI of Count VI and Count VII.
                F. Judgment Should be Entered on Counts VUI and IX ofthe Complaint Because
                   There is No Evidence of a False Statement or Justifiable Reliance

            Under Florida law, in order to establish a viable cause of action for negligent
    misrepresentation, a plaintiff must prove that: (i) the defendant made a misrepresentation of
    material fact that he believed to be true but which was in factfalse;(ii)the defendant was negligent

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    in making the statement because he should have known the representation was false; (iii) the
    defendant intended to induce the plaintiffto rely on the misrepresentation; and (iv) injury resulted
    to the plaintiff acting in justifiable reliance upon the misrepresentation. Simon v. Celebration Co.,
    883 So. 2d 826, 832 (Fla. Dist. Ct. App. 2004)(citing Johnson v. Davis, 480 So. 2d 625 (Fla.
    1985)).
            Similarly, in order to prevail on a claim for fraudulent inducement, a plaintiff must show
    that: (i) the defendant made a misrepresentation material fact; (ii) the defendant knew or should
    have known of the falsity ofthe statement; (iii) the defendant intended for the representation to
    induce plaintiffto rely on it and act on it; and(iv)the plaintiffsuffered injury in justifiable reliance
    on the representation. Biscayne Inv. Group, Ltd, v. Guarantee Management Servs., Inc. 903 So.
    2d 251 (Fla. 3d DCA 2005){citing Samuels v. King Motor Co. ofFt. Lauderdale, 782 So.2d 489
   (Fla, 4th DCA 2001)).
            Plaintiff contends RUSM made a misstatement on its website by representing: "It is the
    policy and practice of the University to comply with the Americans with Disabilities Act as
    applicable and practical in Dominica." As an initial matter. Plaintiff has not stated any facts that
    establish the falsity ofthat statement. RUSM stands by the veracity ofthe statement made on its
    website. Checkers Drive-In Restaurants, Inc. v. Tampa Checkmate Food Servs., Inc., 805 So. 2d
    941,944(Fla. Dist. Ct. App. 2001)(reversing judgment for fraudulent inducement where "there
    was no evidence, however, that the statement attributed to Mr, Brown in this press release was
   false or misleading at the time it was made."). The language clearly states that RUSM will comply
    with the ADA "as applicable and practical" in Dominica and the evidence supports that RUSM's
   actions are consistent with this statement.

            Moreover, there is no evidence that RUSM intended to induce the plaintiffto rely on the
   statement or that Plaintiffjustifiably relied on the statement Tambourine Comerico Int'l S.A. v.
   Solowsky, No. 06-20682 CIV, 2007 WL 689466, at *6 (S.D. Fla. Mar. 4, 2007)(holding that
   "reliance requires a plaintiff to establish that, but for the alleged misrepresentation or omission,
   the plaintiff would not have entered into the transaction at issue."). Neither Plaintiff nor RUSM
   knew that Plaintiff suffered from an impairment or disability at the time he was admitted into
   medical school. SOF at ^5, Moreover,Plaintifftestified that he never reviewed the ADA prior to
   the litigation. Id. at 14.


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             Plaintiffs failure to proffer evidence establishing the essential elements of his fraudulent
    inducement and fraudulent misrepresentations claims is fatal to these claims. Judgment should be
    entered in RUSM's favor on Counts VIII and IX ofthe Complaint.
                   G. Judgment Should be Entered on Count IX for Breach of Fiduciary Duty
                      Because RUSM Does Not Owe A Duty to Plaintiff as a Matter ofLaw
             Plaintiff cannot establish a claim for breach offiduciary duty, alleged in his tenth cause of
    action. Morrison v. Univ. ofMiami, Case No. l:15-cv-23856-UU, 2016 WL 3129490(S.D. Fla.
    Jan. 20,2016). As the Court held in Morrison,"a fiduciary duty does not simply arise because of
    students' status." Id. at *7. In Morrison,the plaintiff attempted to circumvent a long line ofcase
    law supporting this position by arguing that a "special relationship" arose from her "dependency"
    on the University to handle her complaints of discrimination and retaliation. Id. In response, this
    Court stated that "this reasoning would convert many,if not all, employer/employee relationships
    into fiduciary relationships, and there is simply iio support in the law for such a result." Id. The
    Court dismissed the plaintiff's breach offiduciary duty claim with prejudice.
                 The reasoning in Morrison is equally applicable here. Plaintiff caimot establish that any
    fiduciary relationship exists. Plaintiff's motion for summaryjudgment on his breach of fiduciary
    duty claim should be denied and his claim should be dismissed as a matter oflaw.
                   H. PlaintifPs Claim for Lost Earning Capacity Damages Should be Stricken
                      Because there are No Facts Showing that Plaintiff Lost Any Wages
             Plaintiff's claim for lost earning capacity damages should be stricken because there is no
    evidence supporting such damages. Through the close of discovery. Plaintiff has not provided
    RUSM with any evidence, through tax returns or otherwise, that he lost any wages as a result of
    RUSM's alleged failure to accommodate. Although Plaintiffopines that he is unable to become a
    doctor or find equally as lucrative altemative work,see Plaintiff's Third Amended Calculation of
    Damages, attached hereto as Exhibit A,this is nothing more than a self-serving and unqualified
    vocational rehabilitation opinion by an unqualified lay witness and subject to a Daubert motion
    filed by RUSM concurrently herewith.
             Only an expert can opine on whether or not Plaintiff can obtain equally as lucrative
    employment in the fiiture. Plaintiff carmot meet his burden of establishing that he has the
    qualifications necessary to render such expert opinions and his opinion is not based on a reliable
    methodology used by experts in the field. See Elcockv. Kmart Corp.,233 F,3d 734(3d Cir. 2000)


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    (discussing the "outer limit" ofthe qualifications necessary to testify as a vocational rehabilitation
    expert).
            In Elcock, the Third Circuit discussed the "floor" with respect to an expert witness's
    qualifications. Id. at 743. In Elcock, Plaintiffs proffered expert had no formal training in
    vocational rehabilitation but had experience obtaining employment for disabled individuals while
    working with the Division of Workers' Compensation. The Court noted that in his position with
    the Division of Workers' Compensation, the proffered expert must have "learned about the
    difficulties disabled individuals face in employment, and has accumulated some experience in
    evaluating whether they can return to a particular job." Id. The Court also acknowledged that the
    proffered expert"kept abreast ofthe relevant literature in his field" and "consulted the Dictionary
    of Occupational Titles, a standard tool of the vocational rehabilitationist." Id. In addition, the
    expert possessed "a degree in a field tangentially related to the one about which he testified, and
    he has also attended conferences regarding vocational rehabilitation." Id. Finally, in the process
    oftestifying as an expert in similar matters,the expert"no doubt performed his brand ofvocational
    rehabilitation assessments." Id. Despite these qualifications the Court had "misgivings" and found
    that the proffered expert was only "marginally qualified to perform a vocational rehabilitation
    assessment." Id. In fact, the Court made clear that a districtjudge, within its discretion, would be
    fi-ee to decline to qualify him.
            Plaintiffis not a vocational rehabilitation expert and has no experience helping people who
    suffer from mental impairments get or keep ajob. Plaintiffcannot meet his burden ofestablishing
    that he has the qualifications necessary to render vocational rehabilitation opinions or show that
    his methodology is reliable. Outside of Plaintiffs owns self-serving and inadmissible opinion,
    there is no other evidence oflost earning capacity damages. Accordingly Plaintiffs claim for such
    damages should be stricken.
                I. Plaintiffs Claim for Monetary Damages on His ADA Title III Claim Should Be
                   Stricken

            Plaintiff may only seek injunctive relief on his ADA Title III claim (Count 11). See 42
    U.S.C.A. § 12188; 42 U.S.C.A. § 2000a-3. Monetary damages are not an available remedy. Id.
    Accordingly, Plaintiffs request for monetary damages for his ADA claim should be stricken as a
    matter of law. Forbes v. St. Thomas Univ., Inc., No. 07-22502-CIV, 2008 WL 11411866, at *3



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    (S.D. Fla. Aug. 28, 2008)(granting motion to strike student's request for damages on her ADA,
    Title ni claims).
                 J. PlaintifTs Claim for Punitive Damages Should Be Stricken As a Matter ofLaw
             Although Plaintiff can receive monetary damages under the Rehabilitation Act for
    intentional discrimination, punitive damages are not available. Barms v, Gorman,536 U.S. 181,
    189(2002)(holding punitive damages are unavailable section 504). Moreover, punitive damages
    are not recoverable for breach ofcontract claims, irrespective ofthe motive ofdefendant. Griffith
    V.Shamrock Village, Inc., 94 So.2d 854(Fla. 1957). Because punitive damages cannot be sought
    on Plaintiffs Rehabilitation Act Claim (Count I), ADA Title HI Claim (Coimt II) and Breach of
    Contract Claims (Counts VI and XII), Plaintiffs claim for punitive damages on these claims
    should be stricken as a matter oflaw.

             Moreover, under Florida Statutes Section 768.72(2),"a defendant may be held liable for
    punitive damages only if the trier of fact, based on clear and convincing evidence, finds that the
    defendant was personally guilty of intentional misconduct or gross negligence. "No claim for
    punitive damages shall be permitted unless there is a reasonable showing by evidence in the record
    or proffered by the claimant which would provide a reasonable basis for recovery of such
    damages." Id.
             Here, Plaintiff cannot meet his burden of establishing that RUSM engaged in intentional
    misconduct or gross negligence, nor has Plaintiff made any effortto do so. Accordingly,Plaintiffs
    claim for punitive damages should be stricken in its entirety.
                                             CONCLUSION

             WHEREFORE, defendant Ross School of Medicine, School of Veterinary Medicine
    Limited respectfully requests that this Court enter an Order:(i) granting its motion for summary
   judgment in all respects; (ii) dismissing all of Plaintiffs' causes of action and entering final
   judgment in RUSM's favor; and (iii) granting RUSM such other and further relief as the Court
    deems just and proper.




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    Dated; January 4,2019

                                        Respectfully submitted,

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                                      CERTIFICATE OF SERVICE


            I HEREBY CERTIFY that on January 4, 2019 a true and correct copy of the foregoing
    document was served via CM/ECF on:

                Oluwamuyiwa Awodiya
                15005 Dahlia Drive
            Bowie, Maryland 20721
            Telephone:(240)602-1836
            E-mail: drmuviwa.a@gmail.com



                                                    s/Donnie M. Kins
                                                    Donnie M.King




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     1                      UNITED STATES DISTRICT COURT

     2                  FOR THE SOUTHERN DISTRICT OF FLORIDA

     3

     4      OLUWAMUYIWA AWODIYA,

     5                  Plaintiff

     6      vs.                                         CASE NO.

                                                        0:18-cv-60482-KMM

            ROSS UNIVERSITY SCHOOL OF

            MEDICINE, SCHOOL OF

     8      VETERINARY MEDICINE LIMITED,

     9                  Defendant.

    10




    11

    12

    13                   VIDEO-CONFERENCED bSPOSITION OF
    14                         MATTHEW STEWART-FULTON

    15

    16                             NOVEMBER 5, 2018

    17                                 1:06 P.M.

    18                                                            I



    19                  ROSS UNIVERSITY SCOOL OF MEDICINE

    20                          KNOXVILLE, TENNESSEE

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    24                   Deborah West, LCR-314 (TN), CLR

    25



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         1 documentation firom that student's record with the          1            THE WITNESS: In reference to when
         2 counseling center.                                          2        you were enrolled and the campus was
         3        Q    How do you personally know that?                3        located on Dominica, we were not required
         4        A    Because that is what the counseling             4        to comply with the ADA. Although in the
         5 center advised me when I took on this role.                 5        interest ofsupporting our students, we
         6      Q Can that process occur before die                    6        abided by the spirit ofthe ADA and
         7 student actually comes to you and submits another 7                  Section 504 ofthe Rehabilitation Act to
         8 request for academic accommodations?               8                 provide ^propriate accommodations within
         9      A I don't understand what you mean by         9                 the process that was defined in the
        10 another request in relation to the information    ID               student handbook.
        11 release.                                                    11 BY MR. AWODIYA:
        12       Q Ifthe student first requ^ts that           12      Q Sojust to clarify, there is no
        13 the counseling center send the documentation — lei 13 policy that requires faculty to comply with those
        14 me rephrase.                                       14 laws you just stated?
        15          Can the student have the                  15      A That's my recollection based on
        16 documentation sent over to the accommodations               16 whafs in the student handbook.
        17 coordinator before the student goes to the       17       Q So you, yourself, are not required
        18 accommodations coordinator to ask for a request? 18 to comply with those laws in Dominica?
        19       A Yes,they can.                            19       A That is my tmderstanding.
        20       Q Okay. Were you contacted on behalf       20       Q    Where did you get your knowledge
        21 ofplaintiffs by the counseling center at any     21 about what  is required from Title III of the
        22 point?                                           22 Americans   with Disabilities Act?
        23       A Not to my recollection.                  23       A From review of the Americans with
        24       Q Would you remember if you were?          24 Disabilities Act and Section 504 ofthe
        25       A It's possible. ButI don't remember       25 Rehabilitation Act From consultation with the
                                                             Page 31                                                   Page 33
          1 all the contacts that I have had from the                   1 hiring manager who brought me into this position.
         2 counseling center.                                           2 And consultation with, at the time,the DeVry lega 1
         3       Q So is it correct that you can                        3 office.
         4 neitiier confirm nor deny whether you received              4      Q But they did not tell you diat you
          5 communication from the counseling center on behalf         5 were required to comply with those laws?
          6 ofplaintiff?                                               6          MR,ROMAN: I will object,for the
          7       A I do not have in my records any                    7       record, to the extent it calls for any
          8 documentation from the counseling center regarding         8       communications you had with DeVry's legal
          9 the plaintiff.                                             9       counsel that would be covaed by
         10       Q What about phone calls?                            10       attomey-client privilege and I would
         11       A 1 don't recall ifI had any phone                   11       instruct you not to answer.
         12 calls with the counseling center about the                 12         To the extent you have spoken with
         13 plaintiff.                                                 13       any of the oflier folks you described or
         14       Q Is faculty at RUSM required to                     14       anyone else, you may answer the question.
         15 comply with Title ni ofthe Americans with                  15           THE WITNESS: The answer, I think,
         16 Disabilities Act?                                          16       ultimately goes back to the legal office,
         17       A    Are you referring to the ADA?                   17       so I will not answer any further on that
         18       Q    Yes.                                            18 BY MR. AWODIYA:
         19       A    No.                                             19      Q Has anyone that is not in the legal
         20       Q    Are they required to comply with                20 office ofRoss University tell you that you ~ let
         21 Section 504 ofthe Rehabilitation Act?                      21 me rephrase.
         22           MR.ROMAN: I will object to this                  22          Is it conect to say that you were
         23        and the last question to the extent it              23 never told that you had to comply with those laws'
         24        calls for a legal conclusion. Ifthe                 24       A That conversation goes back to the
         25        witness can answer,he may do so.                    25 conversation with the legal office.
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          1         Q No communication from the lawyers.                    1             I think Mr.Ryan may have some
         2    Let's limit the scope ofthis question to anyone               2         questions for you.
         3 that is not a lawyer.                                            3            MR.ROMAN: That's right We could
         4       A All right Please ask the question.                       4         take a short break, and before we take a
         5       Q Is it correct to say that no one                         5         break we will label this as exhibit —
         6    from Ross University, excluding lawyers, has told             6         lefs call it Fulton 1. This is the
         7    you that you need to comply with the Americans widi           7         document, the PDF that you sent me.
         8    Disability Act and Section 504?                               8            It actually has all ofthe exhibits
         9         A    That's correct.                                     9         together. I don't think we used all of
         10        Q     So if a student believes a violation              10         them but it will at least cover what we
         11   occurs, how would they go about enforcing it if you          11         used.
        12    are not required to follow those laws?                       12            MR. AWODIYA: Okay. That's fine.
        13          A A violation ofthe legislation we                     13         because they are Bates labeled, I
         14   are discussing, the ADA and Section 504?                     14         believe.
        15         Q    Yes.                                               15            MR.ROMAN; We will go off the
        16         A    I don't know. If there is an issue                 16         record forjust a minute.
        17    like that 1 usually refer that up to my manager.             17           (Thereupon,the respective
        18         Q    Who is your manager?                               18             document was marked as Exhibit
        19         A    Dr. Hayse.                                         19            Number 1.)
        20      Q Is there any policy with faculty                         20            (Break taken)
        21 about how to handle direct requests to them?                    21                 EXAMINATION
        22      A Direct requests for?                                     22 BY MR.ROMAN:
        23         Q    Academic accommodations?                           23        Q     We're back on the record. Mr.
        24         A    They are guided to contact me.                     24   Stewart-Fulton my name is Ryan Roman and I am one
        25         Q    Is there a policy?                                 25   ofthe attorneys for Ross University school of
                                                                 Page 35                                                           Page 37
         1          A     Not that I can recall.                            1   medicine. I just have a few questions for you.
         2          Q     So how would other faculty know                   2             Prior to today's deposition, do you
         3 that?                                                            3   recall having met Mr. Awodiya
         4       A Other faculty know who I am and know                     4        A     I do not
         5 what the role of my office is.                                   5        Q If you had met with Mr. Awodiya and
         6       Q How would they know that?                                6   he had made a request for an accommodation, what
         7       A It has been communicated previously                      7   would you have said to him?
         8 in faculty meetings.                                             8        A I would have, depending on the
         9          Q     How often did you hold faculty                    9   circumstances at the time, what the request was
        10    meetings?                                                    10   about, generally speaking I would talk about the
        11         A Faculty meetings are usually held                     11   application process and offer to either provide an
        12 once a month for the first three months of each                 12   application package in the moment or email one.
        13 semester.                                                       13         Q This package is what you described
        14          Q In every meeting you tell them that                  14   earlier as the packet ofinformation that's
        15    they need to send students to get accommodations             15   provided in response to a verbal request for
        16    from you?                                                    16 accommodations?
        17          A    No.                                               17        A     Correct.
        18          Q     Are faculty meetings required to                 18        Q     T am going to show you a document
        19 attend?                                                         19 that we will mark as Fulton 2. And for the record
        20          A    No.                                               20   and for Mr. Awodiya,this is the PDF 1 sent you
        21              MR.AWODIYA: I think that's it. I                   21 that is Bates number RUSM 179 to 182.
        22          can't remember ~ I had a question and I                22            (Thereupon, the respective
        23           didn't write it down and I don't remember             23            document was marked as Exhibit
        24          it right now. But I appreciate your time               24            Number 2.)
        25          and I thank you very much.                             25

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     1                     UNITED STATES DISTRICT COURT

     2                  FOR THE SOUTHERN DISTRICT OF FLORIDA

     3

     4      OLUWAMUYIWA AWODIYA,

     5                  Plaintiff

     6      vs.                                        CASE NO.

                                                       0:18-cv-60482-KMM

            ROSS UNIVERSITY SCHOOL OF

            MEDICINE, SCHOOL OF

     8      VETERINARY MEDICINE LIMITED,
     9                   Defendant.

    10



    11

    12

    13                   VIDEO-CONFERENCED DEPOSITION OF

    14                                BRYAN HAYSE

    15

    16                            NOVEMBER 5, 2018

    17                                 3:07 P.M.

   18

    19                  ROSS UNIVERSITY SCOOL OF MEDICINE

    20                          KNOXVILLE, TENNESSEE

    21

    22

    23

    24                   Deborah West, LCR-314 (TN), CLR

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          1 required to comply,I mean does Ross require theii 1          Do you remember why you sent that
          2 enqiloyees to comply,not ifthey're legally        2 email to Mr. Cuffy?
          3 required to comply. I am asking if Ross,the            3          A    No,unfortunately I do not remember.
          4 entity, requires their employees to comply with the 4             Q    Do you remember if you and Mr. Cuffy
          5 American with Disability Act.                           5 followed up after this email?
          6        A    I am not sure I understand the             6          A    I do not remember.
          7 question.                                               7       Q Would you have only sent that email
          8      Q It was a little long. Let me make                8 at the request ofthe student?
          9 it shorter.                                            9          A    No.
         10        A Yeah.                                         10     Q Is thore any possible reason why you
         11       Q Does Ross University itselfrequire             11 would send an email to Mr. Cuffy regarding a
         12 its employees and faculties to comply widi Title       12 student?
         13 ni offte American with Disability Act in               13         A    Typically ifI reach out to
         14 Dominica?                                              14 counseling or Mr. Cuffy,in this case, it would be
         15        A    Not to my knowledge.                     15 ifI referred a student to counseling, would be one
         16         Q Is that also correct for Section 504       16 reason, or ifcoimseling had asked me to see
         17   ofthe Rehabilitation Act?                          17 somebody or had,I guess,opened the door to a
         18         A    That is correct.                        18 meeting with a student beforehand.
         19         Q Okay. 1 am not going to ke^ you            19           So that would be two examples of why
         20   long, because there's not much — it's just I want 20 I would have reached back out, either to say I have
         21   to go to the counseling documentsjust to see if we 21 seen the student at your direction or to say I have
         22   can jog your memory a little bit about our         22 met with the student you have asked me to speak
         23 interaction.                                           23 with.
         24          Counsel, can you hand Dr. Hayse both 24      Q I don't know ifRoss has one ofthe
         25 the counseling documents,the one labeled RUSM 25 documents,but I think they can fact check. In one
                                                         Page 15                                                        Page 17
          1 000141 and 144?                                         1 ofthe counseling documents.Dr. Shanna states that
          2         MR.ROMAN: Yes. We can use the                   2 plaintiffwanted to see you because of his grade
          3         same composite exhibit called Fulton 1         3 for our encounter in December of2015.
          4         which has those two pages as the first         4           Does thatjob your memory?
          5         two pages of the exhibit.                       5      A      It does not
          6 BYMR.AWODIYA:                                          6      Q Do you have any reasons specific to
          7       Q Okay. Dr. Hayse,do you see in this             7 grades and academic situations as to why you would
          8 document where it says,"Client returned to office      8 send an email to the counseling center?
          9 after talking to Dr. Hayse"?                           9       A      I do not have any specific criteria
         10        A    I do.                                      10 for that, no.
         11        Q    "And student affairs regarding his         11       Q Would you be able to speak to
         12 academic situation"?                                   12 Mr. Cuffy about a student without a release of
         13        A    Ido.                                       13 information form?
         14        Q    Do you remember what the academic      14       A I would. T could speak to him. He
         15 situation was?                                     15 might not be able to speak to me.
         16         A Unfortunately,I don't.                   16       Q So having a discussion about a
         17         Q Do you know why plaintiff would have 17 student a release ofinformation agreement would
         18   been dis^pointed after he left your office?      18 need to be signed?
         19         A    I do not.                             19       A No. From my side, a student is
         20         Q Did plaintifftell you that he was        20 protected under FERPA on my side going by that So
         21   having some type ofattention problem?            21 ifI were to discuss a student that I had a meeting
         22         A    I don't recall.                       22 with a counsel or anybody else with a need-to-know
         23         Q Same document. It says that              23 basis, that I could do.
         24   Mr.Cu^ received an email from you requesting 24               However, within coimseling there is
         25   that you talk at some point about the plaintiff. 25 much stricter guidelines that counselors go by. So

                                                                                                            5(Pages 14-17)
                                                   Veritext Legal Solutions
        800-726-7007                                                                                           305-376-8800
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         1 Stewart-Fulton or review the policy within the    1 BY MR. AWODIYA:
         2 handbook, or get the student's name and reach out 2       Q Let me rephrase. How would a
         3 to them directly.                                 3 faculty member know where to tell the students —
         4      Q Is there a policy telling faculty to       4 let me rephrase.
         5 do that?                                                      5           How would a feculty member know how
         6      A       I don't know for sure.                           6 to handle such a request ifthere is no policy in
          7       Q So how would faculty know that that                  7 the faculty handbook about handling that request?
          8 is what they are supposed to do?                              8        A    So the policies stated in the
          9       A I would say it is not something that                 9 student handbook of what a smdent needs to do,and
         10 they — that specific thing is not ~ let me back              10 that's what students are held accountable to is the
         11 up a second.                                                 11 student handbook,so 1 would say that most — a lot
         12          So I would say that as well as many                 12 ofthings that might be in the student handbook
         13   other pieces oftheirjob fall within - our                  13 aren't necessarily referred to in the faculty
         14   faculty gets asked a lot ofquestions in a lot of           14 handbook.
         15   different areas. And I would say our faculty are           15            So I think that students as adult
         16   very well trained when being asked a question,             16 learners, you know,are responsible for knowing
         17   especially when it has to do with students to              17 that information. Like I said, most faculty have
         18 consult the office ofstudent affairs.                        18 been working with them for a number of years.
        19              Because this is one of many, many                19            I think or I know because of
        20    questions a student might ask that is outside of           20   trainings I have been a part of, teach them to come
        21    their area ofexpertise. So I would say the vast            21   to student affairs with questions or colleagues, et
        22    majority will reach out to us to help answer that          22   cetera, chairs, ifthey are asked a question or
        23    question. But the faculty member, quite frankly,           23   referring the student to the student handbook.
        24    might answer I don't know the answer to that or I          24         Q Or they couldjust simply deny the
        25    don't know how to proceed with that as well.               25   request, right?
                                                               Page 31                                                         Page 33
          1      Q But there is no clear guidance as to                  1       A They wouldn't have the authority to
          2 what they should do?                                         2 deny the request
          3        A   I am not sure. I would have to                    3       Q Well,they wouldn't know what to do
         4 refer to the faculty handbook.                                4 with it, so they would simply say I can't help you.
         5       Q So you think a policy ofthat effect                   5 That is a possibility, right?
         6 would be in the faculty handbook?                             6       A 1 would say any faculty that deals
          7        A   I am not sure.                                    7 with academic accommodations would know the
         8      Q Let's assume it is not, because                        8 process. Not all faculty would be in a situation
         9 everyone I have deposed said there is no                      9 where they would be able to grant or deny any type
         10 information regarding academic accommodations in             10 of academic accommodation.
         11 the faculty handbook.                                        11         Q But that is still an assumption. Is
         12           So let's continue that presumption.                12   there any policy anywhere,any rules, any guidance,
         13 Ifthere's no policy or guidance to that effect in            13   anything that Ross can go and get and produce
         14 the faculty handbook, how would all faculty know             14   showing that Ross faculty should handle a request
         15 specifically to request for acconunodation to send           15   directly to them in a certain way?
         16 the student to Mr. Matthew Stewart-Fulton?                   16        A    lam not aware.
         17           MR.ROMAN: I am going to object to                  17      Q You said a student must make a
         18        the question because I don't believe that             18 request in writing. The student handbook, when I
         19        was the testimony from Stewart-Fulton                 19 was eiurolled, had yet to mention a request packet.
         20        earlier today.                                        20 When I was enrolled, did the writing have to have
         21           So 1 will object on that basis. If                 21 any specific structure?
         22        you can answer,if you understand the                  22        A    I do not recall.
         23        question, you can answer.                             23      Q You cant interpret that from the
         24           THE WITNESS: Yeah, you know—                       24 student handbook that's in front of you?
         25                                                              25      A So from the handbook it says,"To

                                                                                                                  9(Pages 30 - 33)
                                                        Veritext Legal Solutions
        800-726-7007                                                                                                    305-376-8800
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


                                     Case No.: 18-cv-60482-KMM


    OLUWAMUYIWA AWODIYA,

           Plaintiff,
    V.



    ROSS UNIVERSITY SCHOOL OF MEDICINE,

           Defendant.
                                                       /

               OMNIBUS ORDER ON MOTIONS FOR SUMMARY JUDGMENT

          THIS CAUSE came before the Court upon Plaintiff Oluwamuyiwa Awodiya's

   ("Plaintiff') Motion for Partial Summary Judgment("Pl.'s Mot")(ECF No. 102) and Defendant

   Ross University School of Medicine's ("Defendant" or "RUSM") Motion for Summary

   Judgment("Def.'s Mot.")(ECF No. 120).' The motions are now ripe for review.
   I.     BACKGROUND^

          Pro se Plaintiff is a former medical student at RUSM, a private medical school in

   Dominica. Pl.'s 56.1       1, 9. Plaintiff applied to RUSM in 2013. Def.'s 56.1 t 4. On its

   website, RUSM ^ted that "[i]t is the policy and practice of [RUSM] to comply with the

   Americans with Disabilities Act ("ADA") as applicable and practical in Dominica." Id. In

   December, 2015, after Plaintiff failed his fifth semester at RUSM, Plaintiff utilized RUSM's


  'Each party filed their respective responses and replies:("Def.'s Resp.")(ECF No. 107);("Pl.'s
   Reply")(ECF No. 114);("Pl.'s Resp.)(ECF No. 137)(Def.'s Reply")(ECF No 142).

   ^ The facts are taken from Plaintiffs Statement of Undisputed Facts ("Pl.'s 56.1")(ECF No.
   101); Defendant's Response in Opposition ("Def.'s Resp. 56.1")(ECF No. 107-1); Plaintiffs
   Reply ("Pl.'s Reply 56.1")(ECF No. 115); Defendant's Statement of Undisputed Facts (Def.'s
   56.1)(ECF No. 119), Plaintiffs Response in Opposition (Pl.'s Resp. 56.1)(ECF No. 139);
   Defendants' Reply ("Def.'s Reply 56.1")(ECF No. 143) and a review of the corresponding
   record citations and submitted exhibits.
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   counseling services, and signed a Release ofInformation Agreement("ROI"), which allowed the

   RUSM counseling center ("Counseling Center") to send his records to the RUSM

   Administration. PL's 56.1 ^ 15-16; Def.'s Resp. 56.1 ^ 15-16. After Plaintiff executed the ROI,

   the Counseling Center provided information to the RUSM Administration to allow Plaintiff to

   leave campus early for the semester. Def.'s. 56.1 ^ 16. In January 2016, Plaintiff returned to

   campus and provided the Counseling Center with an assessment by a doctor in the United States

   diagnosing him with Attention-Deficit/Hyperactivity Disorder ("ADHD"). PL's
                                                                            |  56.1 26.

   Plaintiff also informed Dr. Sharma in the Counseling Center that he was running out of time on

   his exams, and Dr. Sharma prescribed him Ritalin. Id. f 22-23.

          RUSM requires its students to take the National Board of Medical Examiners'("NBME")

   Comprehensive Basic Science Exam ("COMP Exam" or "CBSE") at the end of their fifth

   semester. Def.'s 56.1 ^ 36. RUSM publishes an Academic Catalog, which includes information

   regarding the minimum passing score for the NBME COMP Exam. Id. The Academic Catalog

   states"RUSM reserves the right to add, modify or delete, without notice, any course offering or

   information contained in this catalog." Id. In 2013 when Plaintiff enrolled at RUSM, the

   minimal passing score for the COMP Exam was a 66. Def.'s 56.1 ^ 37.

          In September 2015, an email was sent to all students advising them that the minimum

   passing score on the COMP Exam would be 68 as of mid-November 2015. Def.'s 56.1 f 38. In

   May 2016, RUSM re-issued Volume 7 of the Academic Catalog. Declaration of Oluwamuyiwa

   Awodiya in Support of Plaintiffs Response in Opposition to Defendant's Motion for Summary

   Judgment("Awodiya Response DecL")(ECF No. 138)Ex. RJ-11. The issue date of 2015-2016

   Academic Catalog was September 15, 2015. Id.
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          Plaintiff took the COM? Exam five times. Def.'s 56.1 ^ 39. On Plaintiffs first attempt

   in April 2016,Plaintiff failed with a score of 58. Id. On Plaintiffs second attempt in July 2016,

   Plaintifffailed with a score of64. Id. ^ 40. On Plaintiffs third attempt in August 2016,Plaintiff

   scored a 67,^ and in October 2016, Plaintiff failed the COMP Exam with a score of 61. Id.

   41-42. RUSM dismissed Plaintiff when he failed the COMP Exam in October 2016. Id. Tf 43.

   Plaintiff appealed his dismissal and was readmitted to RUSM in December 2016. Id. ^ 44.

   Plaintiff then took the COMP Exam for a fifth time and received a failing score of 60. Id. ^ 46.

   Plaintiff was again dismissed from RUSM. Id. 147. Plaintiff again appealed the dismissal. Id. Tf

   48. In response. Plaintiff submitted a personal statement, wherein he informed the RUSM that

   he was diagnosed with Obsessive Compulsive Disorder("OCD") in April 2017. Id. f 49. The

   dismissal was upheld on appeal to the Dean. Id. "| 50; PL's 56.1.

          In the Third Amended Complaint ("TAC")(ECF No. 47) Plaintiff alleges ten coimts

   against Defendant for failure to accommodate (Counts I-IV); violation of the Florida

   Administrative Code (Count V); breach of contract and breach ofthe covenant of good faith and

   fair dealing (Counts VI and VII); fraudulent inducement (Count VIII); negligent

   misrepresentation (Coimt IX); and breach offiduciary duty(Count X).

   II.    STANDARD OF REVIEW

          Summary judgment is appropriate where there is "no genuine issue as to any material fact

   [such] that the moving party is entitled to judgment as a matter oflaw." Celotex Corp. v. Catrett,

   All U.S. 317, 322 (1986); Fed R. Civ. P. 56. A genuine issue of material fact exists when "a

   reasonable jury could return a verdict for the non-moving party." Anderson v. Liberty Lobby,

   Inc., All U.S. 242, 249 (1986). "For factual issues to be considered genuine, they must have a



     It is disputed whether the passing score on the COMP Exam was a 66 or 68 in August 2016.
                                                   3
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   real basis in the record." Mann v. laser Int'l, Inc., 588 F.3d 1291, 1303 (11th Cir. 2009)

   (citation omitted). Speculation or conjecture cannot create a genuine issue of material fact.

   Cordoba v. Dillard's, Inc., 419 F.3d 1169, 1181 (11th Cir. 2005). The moving party has the

   initial burden of showing the absence of a genuine issue as to any material fact. Clark v. Coats

   & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991). In assessing whether the moving party has

   met this burden, the court must view the movant's evidence and all factual inferences arising

   from it in the light most favorable to the non-moving party. Denney v. City ofAlbany, 247 F.3d

   1172, 1181 (11th Cir. 2001). Once the moving party satisfies its initial burden, the burden shifts

   to the non-moving party to come forward with evidence showing a genuine issue of material fact

   that precludes summary judgment. Bailey v. Allgas, Inc., 284 F.3d 1237, 1243 (11th Cir. 2002);

   Fed. R. Civ. P. 56(e). "If reasonable minds could differ on the inferences arising from

   undisputed facts, then a court should deny summary judgment." Miranda v. B & B Cash

   Grocery Store, Inc., 975 F.2d 1518, 1534 (11th Cir. 1992). Credibility determinations and the

   weighing ofthe evidence are jury functions, not those of a judge at the summaryjudgment stage.

   Stricklandv. NorfolkS. Ry. Co.,692 F.3d 1151, 1154(11th Cir. 2012).

   in.    DISCUSSION


          A.     Plamtilfs Motion for Summary Judgment

          Pro se Plaintiff moves for summary judgment on his claims of RUSM's failure to

   accommodate (Counts I through IV), fraudulent misrepresentation (Count Vni), negligent

   misrepresentation(Count IX)and breach offiduciary duty(Count X).

                i.       Failure to Accommodate


          Plaintiff moves for summary judgment on his failure to accommodate claims (Counts I

   through rV), arguing that Defendant knew of his OCD and ADHD and failed to reasonably
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   accommodate his mental impairment by allowing him extra time on examinations. In response,

   Defendant argues that Plaintiff(1) was not disabled as defmed by statute, (2) cannot establish

   that he was otherwise qualified to perform the essential requirements to graduate, and (3) cannot
                                                                              I

   establish that he made an actionable request for an accommodation.

          To succeed on a failure to accommodate claim, including both a Title HI ADA claim and

   a claim under Section 504 ofthe Rehabilitation Act, a plaintiff must demonstrate that he:(1)has

   a disability;(2)is an otherwise qualified individual; and(3)was discriminated against because of

   his disability by failing to receive an accommodation. See Boyle v. City ofPell City, 866 F.3d

   1280, 1288 (11th Cir. 2017) (prima facie case of discrimination under Section 504 of the

   Rehabilitation Act); see also Hetherington v. Wal-Mart, Inc., 511 F. App'x 909, 912 (11th Cir.

   2013)(prima facie case of discrimination under the ADA). In addition, to prevail in his ADA

   claim, Plaintiff must further show that his disability is one that is recognized imder the statute

   and that the impairment restricts important life activities in comparison to most people. Forbes

   V. St. Thomas Univ., Inc., 768 F. Supp. 2d 1222,1229(S.D. Fla. 2010).

          First, it is undisputed that Plaintiff was diagnosed with ADHD in December 2015 and

   was diagnosed with OCD in April 2017. PL's 56.1         10-11; PL's Reply 56.1 ^ 75. Defendant



     Plaintiff alleges several claims regarding RUSM's alleged lack of accommodation: a violation
   of Section 504 of the Rehabilitation Act of 1973 ("Rehabilitation Act")(Count 1); violation of
   the ADA (Count II), and violation of 34 C.F.R. § 104.4, et seq (Counts 111 and IV); which
   implement the ADA. However, in Plaintiffs motion for summaryjudgment, he moves generally
   for this Court to grant summary judgment on his "failure to accommodate" claims. Based on
   Plaintiffs arguments, the allegations, and the relevant rules and statutes, it is evident that
   Plaintiff is referring to Counts 1 through lY as the "failure to accommodate" claims. "[P]ro se
   pleadings are held to a less stringent standard than pleadings drafted by attorneys and will,
   therefore, be construed liberally." Miller v. Donald, 541 F.3d 1091, 1100 (11th Cir. 2008)
   (citations omitted). Accordingly, the Court construes Plaintiffs "failure to accommodate"
   arguments as arguments pertaining to Counts 1 through IV.
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   argues that these disabilities do not substantially limit Plaintiffs ability to concentrate, which is a

   "major life activity." Def.'s Resp. at 8. Whether a plaintiff is substantially limited in a major

   life activity is a question of fact for the jury. Dwyer v. Ethan Allen Retail, Inc, 528 F. Supp. 2d

   1297, 1302(S.D. Fla. 2007), aff'd, 325 F. App'x 755 (11th Cir. 2009). Accordingly, Plaintiff's

   motion for summary judgment as to the failure to accommodate claims (Counts I-IV) is

   DENIED.


                 ii.      Fraudulent Inducement and Negligent Misrepresentation

           Plaintiff moves for summary judgment on his claims of fraudulent inducement (Count

   Vin)^ and negligent misrepresentation (Coimt IX), arguing that RUSM falsely advertised to
   prospective students that they complied with the ADA, which he relied on to his detriment. In

   response, RUSM argues that it did not make a misstatement when it stated on its website that it

   has a policy and practice to comply with the ADA, and Plaintiff cannot establish that he

   justifiably relied on that statement.

           Under Florida law, to prevail on a claim for fraudulent inducement, a plaintiff must show

   that (1) the defendant made a misrepresentation of material fact; (2) the defendant knew or

   should have known of the falsity of the statement; (3) the defendant intended for the

   misrepresentation to induce plaintiff to rely and act on it; and (4)the plaintiff suffered injury in

   justifiable reliance on the representation. Biscayne Inv. Grp. Ltd. v. Guarantee Mgmt. Servs.,

   Inc., 903 So.2d 251, 255 (Fla. 3d DCA 2005). Similarly, to succeed on a cause of action for

   negligent misrepresentation, a plaintiff must prove that (1) the defendant made a

   misrepresentation of material fact that he believed to be true but was in fact false; (2) the



   ^ In the TAC, Plaintiff alleges a claim for fraudulent inducement, but refers to this claim in his
   motion for summary judgment as a claim for fraudulent misrepresentation. The Court construes
   Plaintiffs motion to be one for summaryjudgment on a fraudulent inducement claim.
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   defendant was negligent in making the statement because he should have known that the

   representation was false; (3) the defendant intended to induce the plaintiff to rely on the

   misrepresentation; and (4) injury resulted to the plaintiff acting in justifiable reliance upon the

   misrepresentation. Simon v. Celebration Co., 883 So.2d 826, 832(Fla. Dist. Ct. App.2004).

          As discussed infra Section III.B.iv, there is a dispute of fact as to whether Defendant

   made a misstatement. There is also a dispute of fact as to whether Plaintiff relied on the

   statement. In support of his reliance on this statement. Plaintiff provides his ovra declaration

   stating that "[t]he ADA-Statement about RUSM's ADA compliance was one of the most

   important factors in [his] decision to leave the U.S.to become a student at RUSM in Dominica."

   Declaration of Oluwamuyiwa Awodiya f 14 ("Awodiya Deck")(ECF No. 102-1). Defendant

   points to the fact that,(1) Plaintiff was not aware of his own disability imtil December 2015 or

   January 2016-over a year and a half after he began his first semester at RUSM; and (2)Plaintiff

   did not even know what the ADA encompassed prior to this litigation. See PL's 56.1          9-10;

   Deposition of Oluwamuyiwa Awodiya ("Awodiya Dep.") at 148:13-17. The fact that Plaintiff

   did not have a disability or know exactly what the ADA covers goes to the weight and credibility

   of Plaintiffs statement. Credibility determinations and the weighing of the evidence are jury

   functions, not those of a judge at the summary judgment stage. Strickland, 692 F.3d at 1154.

   Viewing the facts in light most favorable to Defendant, Plaintiffs motion for summary as to

   Counts Vlll and DC is DENIED.

               iii.      Breach ofFiduciary Dutv

          Plaintiff moves for summary judgment on his breach of fiduciary duty claim (Count X),

   arguing that the Counseling Center had a duty to communicate with the RUSM Administration

   on Plaintiffs behalf regarding a request for an accommodation, and the Counseling Center failed
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   to do so. In response. Defendant argues that no fiduciary relationship exists as a matter of law

   between Plaintiff, as a student, and RUSM, as a university; and even if a fiduciary relationship

   did exist, there is a dispute of fact as to whether Plaintiff asked the Counseling Center to

   communicate with the RUSM Administration about an accommodation on his behalf.

          Plaintiff provided no evidence to support his breach of fiduciary duty claim alleged

   against RUSM. First, in the TAC Plaintiff alleges a breach of fiduciary duty against RUSM,not

   against the Counseling Center. A college or university does not owe a fiduciary duty to its

   students solely based upon their status as students, Morrison v. Univ. of Miami, No. 1:15-CV-

   23856,2016 WL 3129490, at *7(S.D. Fla. Jan. 20,2016).

          Second, to the extent Plaintiff alleges a fiduciary relationship between himself and the

   Counseling Center, Plaintiff fails to provide sufficient facts that RUSM as an institution owed

   him any fiduciary duty because of that relationship. The fiduciary duty owed by a counselor is

   typically a duty of confidentiality, not a duty to disclose information. See Gracey v. Eaker, 837

   So. 2d 348, 354 (Fla. 2002). It is undisputed that Plaintiff signed a ROl giving the Counseling

   Center permission to disclose certain confidential information without breaching its fiduciary

   duty to Plaintiff. See ROl(PL's Mot Ex, SJ-07). However, Plaintiff does not provide, and the

   Court has not found, any case law to support the argument that the ROl created an affirmative

   duty on the Counseling Center to disclose all information related to a potential accommodation

   to the RUSM Administration. Accordingly, Plaintiff's motion for summary judgment as to

   Count X is DENIED.


          B.     Defendant's Motion for Summary Judgment

          Defendant moves for summary judgment on all ten counts ofthe TAC.

                i.       Failure to Accommodate
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          Counts I through FV allege failure to accommodate claims. In Count I, Plaintiff alleges

   failure to accommodate in violation of Section 504 ofthe Rehabilitation Act, in Count II Plaintiff

   alleges failure to accommodate in violation of the ADA, and in Coimts HI and IV Plaintiff

   alleges nearly identical claims of violation ofthe Code ofFederal Regulations("C.F.R.").

                           1.    ADA and Rehabilitation Act

          Defendant moves for summary judgment on Counts I and II, arguing that Plaintiff did not

   malte an actionable request for an accommodation as required under the ADA and the

   Rehabilitation Act and Plaintiff cannot establish that he is "otherwise qualified" to perform the

   essential graduation requirements.

          Under the Rehabilitation Act and the ADA, "the duty to provide a reasonable

   accommodation is not triggered unless a specific demand for an accommodation has been made."

   United States v. Hialeah Hons. Auth,418 F. App'x 872, 876(11th Cir. 2011)(internal citations

   omitted). The demand must be specific enough so that the defendant had "enough information to

   know of both the disability and desire for an accommodation, or circumstances must at least be

   sufficient to cause a reasonable [person] to make appropriate inquiries about the possible need

   for an accommodation." Id. The Eleventh Circuit has not determined the exact form that a

   request must take. See Barren v. Sch Bd. ofHillsborough Cty., 3 F.Supp.3d 1323, 1330. Thus,

   there is no rule that a "specific demand" must be one that follows the written policy or

   procedures in place.^


   ^ The case Defendant cites for the proposition that Plaintiff is required to follow the formal
   procedures is inapposite. First, it is not binding on this Court. Second, while the Court there
   found that the plaintiff did not follow the instructions that she "admittedly had received on two
   occasions," they also found that the plaintiff made a verbal request more than a month after the
   written policy's deadline which at that point was "too little too late." Farad v. Barshak, 261 F.
   Supp. 2d 47, 48(D. Mass. 2003). The court did not discuss whether the verbal request would
   have been sufficient had it been before the deadline.
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           There is a dispute of fact as to whether Plaintiff made a verbal request for an

    accommodation of extended testing time in January 2016.' Plaintiff testified that he met with
    Mr. Stewart-Fulton in the Accommodations Office and requested extended testing time.

    Awodiya Dep. At 1061-19. Mr. Stewart-Fulton, however, does not even recall meeting with

    Plaintifi^ let alone receiving a request for an accommodation. Stewart-Fulton Dep. 8:20-22.

           Because there is a question offact as to an essential element of a failure to accommodate

    claim, and viewed in the light most favorable to Plaintiff, summary judgment as to Counts I and

    II is DENIED.


                          2.      Failure to Accommodate under the C.F.R.


           Defendant argues that summary judgment should be granted as to Counts III and IV

    because (1) they are duplicative of Counts I and II; and (2) there is no private right of action

    under the C.F.R. "The purpose of[Section 104 of the CFR] is to effectuate section 504 of the

    Rehabilitation Act of 1973, which is designed to eliminate discrimination on the basis of



  'Plaintiff also argues that he made a verbal request for an accommodation to Dr. Sharma in the
    Counseling Center in December 2015, before Plaintiff was formally diagnosed with ADHD.
    Further, Plaintiff has not cited any authority to suggest that Dr. Sharma, in his position as a
    counselor, had a duty to ensure he was provided with an accommodation. The ROI does not
    support this contention. The ROI states that Plaintiff"authorize[s] the RUSM Counseling Center
    to: Discuss otherwise confidential treatment pertaining to [Plaintiffs] treatment" for the puipose
    of "provid[ing] information relevant to academic accommodations and/or medical leave of
    absence." ROI (Ex. SJ-07)(ECF ISlo. 102). This does not authorize the Counseling Center to
    request an accommodation on Plaintiff's behalf, it merely allows the Counseling Center to
    provide information when needed for academic accommodations, presumably otherwise
    requested by Plaintiff. Plaintiff also testified that he requested an accommodation fi-om the
    Associate Dean for Medical Science Student Affairs, Dr. Hayse in December, 2015. Awodiya
    Dep. 75:8-20. Dr. Hayse, on the other hand, testified that Plaintiff did not request
    accommodations or extended testing time during this meeting. Deposition of Bryan Hayse.
   ("Hayse Dep")^CF No. 102-22) at 7:25-8:2; 8:21-24. However, even if Plaintiff did request
    an accommodation at this time, it was before Plaintiff was formally diagnosed with ADHD,and
    Plaintiff has not provided any support for the notion that a suspicion of "attention concentration
    problems" was enough to demonstrate to Dr. Hayse that Plaintiff had a disability which required
    an accommodation.

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    handicap in any program or activity receiving Federal financial assistance." 34 C.F.R. § 104.1.

    There is no private right of action to enforce a statute's implementing regulation unless Congress

    has clearly indicated, expressly or impliedly, to the contrary. American Association ofPeople

    with Disabilities v. Harris, 605 F.3d 1124, 1133 (11th Cir. 2010), opinion vacated upon

    rehearing on other grounds by American Association ofPeople with Disabilities v. Harris, 647

    F.3d 1093 (11th Cir. 2011). Here, the C.F.R. interprets and defines the scope of the ADA and

    Rehabilitation Act but does not provide any sort of private right of action that is already present

    in the statute. See Mason v. City ofHuntsville, Ala., No. lO-CV-02794, 2012 WL 4815518, at

    *13 (N.D. Ala. Oct. 10, 2012). The Court has not foimd, and Plaintiff does not cite, any

    authority indicating that Congress intended 34 C.F.R. § 104 to create a private cause of action.

    See Powers v. MJB Acquisition Corp., 993 F. Supp. 861, 869 (D. Wyo. 1998) (dismissing a

    claim under 34 C.F.R § 104 because there is no private cause of action). Accordingly,

    Defendant's motion for summary judgment as to Counts III and IV is GRANTED,

                 ii.       Violation ofFlorida Administrative Code

           Defendant moves for summary judgment on Count V,which alleges violations of Florida

    Administrative Code Section 6E-2.004(5)(c)(4) or, in the altemative, Florida Statute Section

    760.08.   Defendant contends that there is no private right of action under Section 6E-

    2.004(5)(c)(4) and Plaintiff failed to exhaust all administrative remedies as required by Section

    760.08. Plaintiff did not dispute this.

           Section 6E-2.0061 provides that the penalty for a violation of this section is denial,

    probation, or revocation of the license or discipline by the Commission for Independent

    Education. See Fl. Admin. Code § 6E-2.0061(l)-(4)(2006). The statute does not set forth a

    private right of action. A federal court is "reluctant to read a private right of action into a state


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    statute where the state court has not done so, and the plain language of statute does not establish

    the private right of action." Sailboat Pointe Condo. Ass'n, Inc. v. Aspen Specialty Ins. Co., No.

    08-61129-CIV, 2009 WL 248373, at *4(S.D. Fla. Feb. 1, 2009). Thus,the Court will not read a

    private right of action here.

            Alternatively, Plaintiff brings a claim for a violation of the Florida Civil Rights Act

   ("FCRA") Section 760.08. Fla. Stat. Ann. § 760.08 (2018). Section 760.08 provides that "[a]ll

    persons are entitled to the full and equal enjoyment of the goods, services, facilities, privileges,

    advantages, and accommodations of any place of public accommodation without discrimination

    or segregation on the ground of... handicap." Id. However, Section 760.07 states "[i]f the

    statute prohibiting unlawful discrimination provides an administrative remedy, the action for

    equitable relief and damages provided for in this section may be initiated only after the plaintiff

    has exhausted his or her administrative remedy." Id. § 760.07. Section 760.11 provides an

    administrative remedy to "any person aggrieved by a violation of ss. 760.01-760.10," allowing

    them to "file a complaint with the commission within 365 days of the alleged violation." Id. §

    760.11. Prior to filing suit for alleged violations of the FCRA,a plaintiff must first exhaust his

    administrative remedies. Gillis v. Sports Auth., Inc., 123 F. Supp. 2d 611, 615 (S.D. Fla. 2000).

    Here, it is undisputed that Plaintiff failed to exhaust his administrative remedies before filing this

    lawsuit. Accordingly, Defendant's motion for summaiyjudgment as to Count V is GRANTED.

                iii.       Breach of Contract and Breach of Covenant of Good Faith and Fair
                           Dealing


            As a threshold matter. Plaintiffs breach of contract claim (Count VI)was divided into six

    sub-counts, which will be discussed herein. Defendant moves for summary judgment on all six

    sub-counts, £irguing that the allegations relate to purported violations of the Student Handbook,

    and Plaintiff cannot show that RUSM acted arbitrarily and capriciously in enforcing its

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    regulations. Defendant also moves for summary judgment on the breach of covenant of good

    faith and fair dealing claim (Count VII), arguing that because Plaintiff cannot show any breach

    of contract with RUSM,this count necessarily fails as well.

           Under Florida law, the legal relationship between a private university and a student is

    "solely contractual in character." Sirpal v. Univ. of Miami, 509 F. App'x 924, 929 (llth Cir.

    2013). "The university 'may set forth the terms under which it will admit and subsequently

    graduate students who subject themselves to the rules, regulations and regimen of the college.'"

    Id. These terms may be derived from university publications such as the student handbook and

    catalog. Id. "A court will not interfere with a private university's enforcement of its regulations

    unless the university has acted arbitrarily and capriciously, in violation of a constitution or

    statute, or for fraudulent purposes." Id. "University faculties must have the widest range of

    discretion in making judgments as to the academic performance of students and their entitlement

    to promotion or graduation." Regents of Univ. ofMich. v. Ewing, 474 U.S. 214,225 n. II (1985).

           Further, "whether a student is qualified to be a physician is an academic judgment that

    requires an expert evaluation of cumulative information and is not readily adapted to the

    procedural tools ofjudicial or administrative decisionmaking." Jallali v. Nova Se. Univ., Inc.,

    992 So. 2d 338, 342 (Fla. Dist. Ct. App. 2008). "[Ijmplicit in the university's general contract

    with students is a right to change the university's academic degree requirements if such changes

    are not arbitrary or capricious." Id. at 342-43. "As long as the actions of the University have a

    rational basis, founded on reason and fact, and are not shown to be the product of bias or

    prejudice, they cannot be considered to be arbitrary or capricious." McCawley v. Universidad

    Carlos Albizu, Inc., 461 F. Supp. 2d 1251, 1258 (S.D. Fla. 2006). Decisions by a university are

    generally accorded great deference. Id.



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                           1.     Sub-Counts Ithrough III

           Defendant moves for summary judgment as to sub-coimts I through IE, arguing summary

    judgment should be granted in Defendant's favor because there is no evidence that RUSM's

    failure to provide Plaintiff with a reasonable accommodation was arbitrary or capricious. In sub-

    count I, Plaintiff alleges that Defendant breached its express and implied contract in the Student

    Handbook and Academic Catalog by denying Plaintiff reasonable accommodations. In sub-

    count II, Plaintiff alleges breach of contract for Defendant's alleged denial of the right to a

    productive learning environment free from discrimination. TAC ^ 95. The Student Handbook

    provides that "[rjequests for accommodation . . . should be submitted in writing to the

    Accommodations Coordinator for Foundations of Medicine" and that "[t]o qualify for an

    accommodation, a student must identify him/herself to the Accommodation Coordinator ... or

    the Director of Office of Consultation and Support Services ,. . declare the disability or

    suspected disability in writing, and request accommodation." RUSM Student Handbook (ECF

    119-20) at 46. The Academic Catalog also requires students to "declare the disability or

    suspected disability in writing" to request an accommodation. Academic Catalog (ECF No.

    119-22) at 49. It is undisputed that Plaintiff did not submit a written request for an

    accommodation. Def.'s
                       |  56.1 34.^ Because Plaintiff did not request an accommodation as
    required by the Student Handbook and Academic Catalog, Defendant did not breach the contract




    ® Plaintiff attempts to dispute this fact by stating that the Student Handbook requirement that the
    requests for accommodation be submitted in writing are "not material" because "Plaintiff did not
    read the student handbook in its entirety" and "could not recall ever reading the
   'accommodations' section of the student handbook." PL's Reply.|   56.1 27. While he now
   argues that the language in the Student Handbook is immaterial. Plaintiffs breach of contract
    claim is brought under the "implied contract ... in connection with the rights explicitly
    guaranteed to [Plaintiff by RUSM pursuant to the RUSM Student Handbook." TACf 94.
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    on the grounds alleged in sub-count I and U. Thus, Defendant's motion for summary judgment

    on sub-counts I and 11 is GRANTED.

           In sub-count III, Plaintiff alleges a breach of contract claim due to Defendant's alleged

    refusal to process Plaintiff's request for accommodation on the United States Medical Licensing

    Examination ("USMLE"). It is imdisputed that the Academic Catalog states "[i]f a student with

    a disability requires an accommodation for any phase of the USMLE testing, it is the student's

    responsibility to seek that accommodation directly from the NBME and/or the Federation of

    State Medical Boards (FSMB) in compliance with their policies" because "disability

    accommodations for these examinations are determined solely by the policies or processes ofthe

    NBME or FSMB." Academic Catalog at 50. It is undisputed that Plaintiff did not make such a

    request and Plaintiff has provided no reason why this policy is arbitrary and capricious, in

    violation ofa constitution or statute, or for fraudulent purpose. Accordingly, Defendant's motion
    for summaryjudgment is GRANTED as to sub-count III.

                          2.      Sub-Counts Wand V

           In sub-count IV, Plaintiff alleges that Defendant breached its contract with Plaintiff by

    making Plaintiff sit for the CBSE within three consecutive attempts, because this requirement did
    not exist in the Student Handbook when he enrolled in 2014. TAC ^ 95. Defendant argues that

   summary judgment is warranted on this sub-count because Defendant had the right to change
   RUSM's academic degree requirements and such changes were not arbitrary or capricious.

   Def.'s Mot. at 12. "[Ijmplicit in the university's general contract with students is a right to
   change the university's academic degree requirements if such changes are not arbitrary or
   capricious." Jallali, 992 So. 2d at 342-43. Plaintiff does dispute that this change was not
   arbitrary or capricious, and as such waives any argument otherwise. See Hamilton v. Southland


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    Christian School, Inc., 680 F.3d 1316 1319,(11th Cir. 2012)("The failure to make arguments

    and cite authorities in support of an issue waives it."). Accordingly, summary judgment as to

    sub-count IV is grzinted in favor ofDefendant.

           In sub-count V,Plaintiff alleges that Defendant breached its contract with Plaintiff when

    it dismissed Plaintiff after he obtained a score of 67 on the NMBE CBSE, because the latest

    version of the Academic Catalog stated the passing score was a 66. Defendant moves for

    summary Judgment on this claim, arguing that RUSM had the right to change its academic

    degree requirements if such changes were not arbitrary or capricious, and Plaintiff has not

    established that the higher passing score requirement was arbitrary or capricious. Universities

    have a right to change the university's academic degree requirements if such changes are not

    arbitrary or capricious. Jallali, 992 So. 2d at 342-43

           Here, Plaintiff was on notice via an email sent by the administration on or after

    September 11, 2015 that informed students the passing score on the CBSE would be increased

    fi"om 66 to 68 effective November 2015. The email stated the passing score would be increased

    because,

           [ajccording to the NBME, a CBSE score of 66 predicts a Step 1 score of
           approximately 190. A CBSE score of 68 predicts a Step 1 approximate score of
           195. Since the current passing score on Step 1 is 192, RUSM believes it prudent
           to increase the RUSM passing score on the CBSE to 68. Beginning November 15,
           2015,the RUSM passing score on the CBSE will increase from 66 to 68.

    See Declaration of Sandra Herrin ("Herrin Deck")Ex. 22(ECF No. 119-23).

           Plaintiff argues that this email was superseded by the Academic Catalog, Volume 7

    issued on September 15, 2015 because the catalog was re-distributed in May 2016 with a 2016

    copyright date. However, the Academic Catalog distributed in May 2016 is the same volume

    number as the "September 2015" catalog and has the same "Date of Issue"—September 15, 2015.



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    Awodiya Response Decl., Exs. RJ-10; RJ-11. Except for the copyright date, Plaintiff has shown

    no material difference between the catalogs distributed in September 2015 and May 2016 to

    indicate that this is an updated catalog or was meant to supersede the September 2015 version, as

    opposed to just republishing the same version already available. Regardless, the Academic

    Catalog specifically states that "RUSM reserves the right to add, modify or delete, without

    notice, any course offering or information contained in this catalog." Id, (emphasis added).

    Thus, even if the May 2016 catalog did supersede the September 2015 catalog, Defendant

    reserved the right to change the score requirement without notice.

           Thus, it is undisputed that RUSM gave Plaintiff notice that the NBME passing score was

    changing effective November 2015. See Herrin Decl., Ex. 22. It is also undisputed that RUSM

    provided an explanation for that updated passing score in its email and Plaintiff has not shown

    that the change was arbitrary or capricious. Accordingly, Defendant's motion for summary

   judgment as to sub-count V is GRANTED.

                          3.     Sub-Count VI

           In sub-count VI, Plaintiff alleges that Defendant breached its contract with Plaintiff when

    RUSM's Dean failed to respond to Plaintiff within fifteen (15) calendar days of receipt of his

    appeal. Plaintiff submitted his appeal on June 13, 2017 and Dean Owen upheld Plaintiffs

    dismissal and informed Plaintiff by letter on June 29, 2017-sixteen (16) calendar days after

   receipt of his appeal. Def.'s 56.1 Ex. 27. Defendant argues that Plaintiff cannot establish that

   this failure to meet the 15-day deadline was arbitrary or capricious or otherwise affected Plaintiff

   in any material way. Def.'s Motion at 13. Plaintiff did not reply as to why summary judgment
   should not be granted on this sub-count, and as such, waives his argument opposing summary
   judgment. See Hamilton, 680 F.3d at 1319. Further, the Court can find no reason why a one—


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    day delay in responding to an appeal is arbitrary or capricious as a matter of law. Accordingly,

    Defendant's motion for summary judgment as to sub-count VI is GRANTED.

           Because Defendant's motion for summary judgment is GRANTED as to all six sub-

    counts alleged in Count VI, summary judgment is GRANTED as to Count VI.

                           4.     Breach ofGood Faith and Fair Dealing

           Under Florida law there can be no breach of the implied covenant of good faith and fair

    dealing absent a breach of contract. Burger King Corp. v. Weaver, 169 F.3d 1310, 1316 (Ilth

    Cir. 1999). Because there is no breach a contract. Count VII of PlaintifFs TAG fails and

    summary judgment is granted in favor ofDefendant.

                iv.        Fraudulent Inducement and Negligent Misrepresentation

           Defendant moves for summary judgment on Plaintiff's claim for fraudulent inducement

    and negligent misrepresentation, arguing that Defendant stands behind the veracity of the

    statement on its website that "[i]t is the policy and practice of[RUSM] to comply with the

   [ADA] as applicable and practicable in Dominica" and that Plaintiff has provided no evidence

    that he justifiably relied on Defendant's statement.

           As previously stated, under Florida law, to prevail on a claim for fraudulent inducement,

    a plaintiff must show that (1) the defendant made a misrepresentation of material fact; (2) the

    defendant knew or should have known ofthe falsity of the statement;(3)the defendant intended

    for the misrepresentation to induce plaintiff to rely and act on it; and (4) the plaintiff suffered

    injury in justifiable reliance on the representation. Biscayne Inv. Grp. Ltd., 903 So.2d at 255.

    Similarly, to succeed on a cause of action for negligent misrepresentation, a plaintiff must prove

    that (I)the defendant made a misrepresentation of material fact that he believed to be true but

    was in fact false; (2) the defendant was negligent in making the statement because he should



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    have known that the representation was false;(3)the defendant intended to induce the plaintiffto

    rely on the misrepresentation; and (4)injury resulted to the plaintiff acting in justifiable reliance

    upon the misrepresentation. Simon, 883 So.2d at 832.

           First, while Defendant "stands by" the statement on its website, Defendant provides no

    evidence why the statement is true.        Additionally, while RUSM outlines in the Student

    Handbook how a student must apply for an accommodation. Defendant does not provide the

    Court with any information as to how this policy complies with the ADA or whether it has a

    separate policy in place to comply with the ADA.^ Dr. Hayse testified that, to his knowledge,
    RUSM did not require its employees and facilities to comply with the ADA in Dominica. Hayse

    Dep. 14:11-18. Plaintiff argues that Defendant did not, in fact, have a policy and practice to

    comply with the ADA. Pl.'s Resp. at 18. At minimum,there is a dispute as to whether RUSM

    in fact had a policy or practice of complying with the ADA.

           Second, Defendant argues that there is no evidence that RUSM "intended to induce

    [Plaintiff] to rely on the statement" because RUSM did not know that Plaintiff suffered from an

    impairment or disability at the time he was admitted. Def.'s Mot. at 4. Fraud in the inducement

    exists when "the maker[ofa false statement] intends that another rely upon the statement." Spitz

    V. Pmdential-Bache Sec., Inc., 549 So. 2d 777, 778 (Fla. Dist. Ct. App. 1989). Here, the

    statement was made on RUSM's admission requirements page of its website. Def.'s 56.1 ]f4.

    RUSM. Viewing the facts in the light most favorable to the Plaintiff, a reasonable juror could

    find that the admission requirements page of a medical school's website is targeted towards

    prospective students, such as Plaintiff, to induce them to apply for admission at the school.


    ^ As discussed, supra, the duty to provide a reasonable accommodation is not triggered unless a
    specific demand for an accommodation has been made," {Hialeah Hons. Auth., 418 F. App'x at
    876) but the Eleventh Circuit has not determined how that request must be made. Barren, 3
    F.Supp.3d at 1330.
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            Third, as discussed supra Section IILA.ii, there is a dispute of fact as to whether Plaintiff

    relied on this statement.

            Accordingly, Defendant's motion for summary judgment as to Counts VIII and EX is

    DENIED.


                 V.        Breach of Fiduciary Duty

           Defendant moves for summary judgment on Plaintiffs breach of fiduciary duty claim

   (Count X), arguing that there was no fiduciary relationship between Plaintiff and Defendant. As

    discussed supra Section HI.A.iii, a college or university does not owe a fiduciary duty to its

    students solely based upon their status as students. Morrison, 2016 WL 3129490, at *7.

    Accordingly, Defendant's motion for summaryjudgment as to Count X is GRANTED,

                vi.        Plaintiffs Claims for Damages

           Defendant argues that certain of Plaintiffs claims for damages should be stricken. First,

    Defendant argues that Plaintiffs lost earning capacity damages should be stricken because

    Plaintiffis not an expert and has not provided any evidence supporting such damages.       As a lay

    witness. Plaintiff may testify to his own personal knowledge on a topic. See Fed. R. Evid.

    701(a). Although Plaintiff may not be able to sustain a lost eamings capacity award should he

    prevail at trial, as set forth in the Court's forthcoming order on the motions in limine and Daubert

    motions. Defendant's motion to exclude Plaintiffs testimony on damages is DENIED

    WITHOUT PREJUDICE. See Gharfeh v. Carnival Corp., No. 17-20499-CIV, 2019 WL

    186864, at *3-4 (S.D. Fla. Jan. 14, 2019)(denying without prejudice defendant's motion to

    exclude plaintiffs speculative lost eaming capacity damages).


      This part of Defendant's motion is duplicative of Defendant's Daubert Motion(ECF No. 117).
    The Court will provide further analysis on this issue in its subsequently-filed order on
    Defendant's Daubert Motion.


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           Second, Defendant argues that monetary damages are not an available remedy for an

    ADA Title IE claim. Monetary damages are only available under Title III of the ADA if the

    action is initiated by the Attorney General See Jairath v. Dyer, 154 F.3d 1280, 1283 n. 7(11th

    Cir. 1998)Thus, Defendant's motion to strike monetary damages on Count 11 is GRANTED.

           Finally, Defendant argues that Plaintiffs claims for punitive damages should be

    stricken.'^ Punitive damages are not available under the Rehabilitation Act. See Barnes v.
    Gorman,536 U.S. 181, 189(2002)(punitive damages are not available under Section 504 ofthe

    Rehabilitation Act). As such. Plaintiffs claim for punitive damages on Count 1 is stricken.

    Defendant also moves to strike PlaintifFs punitive damages for fraudulent inducement and

    negligent misrepresentation. Pursuant to Section 768.72(2) of the Florida Statutes,"a defendant

    may be held liable for punitive damages only if the trier of fact, based on clear and convincing

    evidence, finds that the defendant was personally guilty of misconduct or gross negligence." Fla.

    Stat. § 768.72(1). Under Florida law, punitive damages are permitted for claims of fraudulent

    inducement. See XP Glob., Inc. v. AVM, L.P., No. 16-CV-80905,2016 WL 6679427, at *5(S.D.

    Fla. Nov. 14, 2016) (Florida courts allow an award of punitive damages for fraudulent

    inducement). Additionally, a claim of negligent misrepresentation that resembles fraud in the

    inducement may support a claim for punitive damages. Burger King Corp. v. Austin, 805 F.

    Supp. 1007, 1025 (S.D. Fla. 1992). As such. Plaintiffs claim for punitive damages on Counts

    Vll and IX may proceed.

           Accordingly, Defendant's motion to strike Plaintiffs claims of punitive damages is

    GRANTED IN PART and DENIED IN PART.




      As discussed above. Defendant's motion for summary judgment is granted as to Plaintiffs
    breach of contract claims. Accordingly, the Court need not discuss Defendant's request to strike
    punitive damages on these claims.
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    IV.    CONCLUSION


           UPON CONSIDERATION of the Motions, the pertinent portions of the record, and

    being otherwise fully advised in the premises, it is hereby ORDERED AND ADJUDGED

    Plaintiffs Motion for Summary Judgment(ECF No. 102) is DENIED and Defendant's Motion

    for Summary Judgment(ECF No. 120) is GRANTED IN PART AND DENIED IN PART as

    follows:


          A.     Summaryjudgment on Counts III, lY,Y,VI, VII, and X is GRANTED;and

          B.     Summaryjudgment on Coimts I, II, VIII and IX is DENIED.

          DONE AND ORDERED in Chambers at Miami,Florida, this         ^day of March,2019.




                                           K. MICHAEL MOORE
                                           UNITED STATES CHIEF DISTRICT JUDGE


          All counsel of record




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                                                                                 -a
                                                                                 ON
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                                                        UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OF FLORIDA


                In the matter of: Civil Case Transfers to
                District Judge Roy K.Altman
                Federal Trade Commission v. DIuca et al                                                       0:18-cv-6037&-KMM
                                                           (Plaintiff v. Defendant), Case No:
                 Awodlya V. Ross Univ. School of Met).                          „ j     ,                     0:18-cv-60482-KMM
                                                            ^(PlaintifT V. Defendant), Case No:
                  Kalz V. Festival Fun Parks, LLC           ,r,, .         „„       ,   ,„                 nKLrujroaon-ivMM
                                                           _(Plaintiff V. Defendant), Case No:             o.i8-cv-82420-kmm
                  Morgan V.TheGEO Group, Inc.                                           ^                 0;18ov.62774-KMM
                                                           _(Plaintiff V. Defendant), Case No:_
                   Cohan V. First Coast Energy, LLP                                         ^    ,,       0:18-ev-62777-KMM
                                                           (Plaintiff V, Defendant), Case No:_
                 FullerV. Hibiscus Beach Kids, LLC                         r\ e     j   s rt     v,        0:19-ov.60674-KMM
                                                           JPlaintiff V, Defendant), Case No:_
                   Cruz V. Green etal                       /bi •          r, <• j .v            x,           0:18-cv-60995-KMM
                                                            ^(Plamtiif V. Defendant), Case No:
                   Spineiliv, Tower Resorts Realty, Inc.                   n c j                              0:1B-cv-62835-KMM
                                               '           (Plaintiff V. Defendant), CaseNo:_
           Expansion Church Corp. v. Uoyd's London              , „             .                         n-in r^jtiaiA uu>i
                                                            ^(Plaintiff V. Defendant), Case No;           ° i8-"-629^4-kmm
             Raskin V. Southeast Frozen Foods Company                                                    0:18-cV'62990-KMM
                                                           _(Plaintiff v. Defendant), Case No:_
              Pearl Holding Group. Inc. v. Doxo, Inc.                                                     0:19-cv^60442-KMM
                                                           ^(Plaintilf v. Defendant), Case No:
              CO,V. Amedcan Secudty Insurance Co.                        ^ Defendant), Case No: °'^9-cv-60520.KMM
               Griflith V. USAA Casually Insurance Co.          . ,..,3.   r\ r j           r.   *,     0;19^ar-60525-KMM
                                                           _(Plaintiff V. Defendant), Case No:_
                  Corrodus et al v. GeoVera Specialty                                                    0:19-cv.60a20-KMM
                                                           _(Plaintiff v. Defendant), CaseNo:_
            W1 Oplimum Partners, LLC v. White Rock FZE                                                   0'19-cv-60777-KMM
                                                           _(Plaintiff v. Defendant), Case No:
         Chambers v. Lehman Property Management, Inc.                                                    0'19-cv-60844*KMM
                                                           _(PIaintiff v. Defendant), Case No:_
           Dillworth V. Beach Haus Bal Hartjour, LLC                                                   n.10           uiui.
                                                           ^(Plaintiff V. Defendant), Case No: '>-^3-"'-6'^S3-kmm
                         Gottliebv.Berryhlil                                                ^    .„,    0:19-cv.60681-KMM
                                                         _(Plaintiff V. Defendant), CaseNo:_
                 Lemus el ai v. Certified Heallh Care                                                    n.io^j!nanii.ir»«M
                                                           (Plaintiff V, Defendant), Case No:
                Henry V. Commissioner of SociaiSecudly                                                 0;19cv.60349-i<MM
                                                           (Plaintiff V, Defendant), Case No:
                 Rodrlguezv. 111SW2ndAva, LLC                              r> rr j               xr    0;19-cv-60061-KMM
                                                           (Plaintiff V. Defendant), Case No:
                 Kennedyv.KarishmaRiya Inc.                                rx           ^        x,     0:19-cv-60764-KMM
                                                           .(Plaintiff V. Defendant), Case No:
                 Cohan v, Countyiine Auto Center, Inc.               ^                  ^        x,    0:19-cv.60277-KMM
                                                           (Plaintiff V. Defendant), Case No:


                                                            ORDER OF REASSIGNMENT

                         The above-styled cases have been selected by the Clerk of Court utilizing a random
                selection procedure to insure the fair and impartial reassignment of cases from the undersigned
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              District Judge to the newly appointed District Judge Roy K.Altman.

                      Prior to executing this Order, the undersigned has reviewed the files and has ruled upon all

              pending ripe motions that have not been referred to the paired Magistrate Judge, and which are

              fully briefed, in accordance with the policy established by the Judges of the Southern District of

              Florida (See Internal Operating Procedures, Section 2.05.03 -2.05.04). It is hereby

                      ORDERED that the above-styied actions are hereby REASSIGNED to the calendar ofthe

              Honorable Roy K.Altman                                   for all further proceedings. It is further

                      ORDERED that all pleadings hereafter filed shall bear the assigned case number followed

              by the initials RKA in lieu of the present initials.

                      DONE and ORDERED                       . Florida, in chambers this/^ day of                   .
              2019.




                                                                     United States District Judge



              c; All counsel ofrecord/pro se parties
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.18-60482-CIV-ALTMAN/Hunt



   OLUWAMUYIWA AWODIYA,

          Plaintiff,
   V.



   ROSS UNIVERSITY SCHOOL
   OF MEDICINE,


          Defendant.
                                        I

                                                 ORDER


          THIS CAUSE came before the Court upon a sua sponte review of the record. On April

   11, 2019,the Defendant, Ross University School of Medicine ("Defendant" or "RUSM"),filed a

   Motion for Leave to File a Partial Motion for Summary Judgment[ECF No. 175]. On April 17,

   2019, the Plaintiff, Oluwamuyiwa Awodiya, filed a Motion for Reconsideration and Alteration

  [ECF No. 178] of the Court's March 2, 2019 Omnibus Order [ECF No. 154]. The Court has

   carefully reviewed the parties' written submissions,their responses and replies, and the applicable

   law.


           I.      The Defendant's Motion for Leave to File a Partial Motion for Summary
                                                Judgment

          Pursuant to the original Scheduling Order[ECF No.37] in this case,"[a]ny and all pretrial

   motions, including motions for summaryjudgment... must be filed no later than eighty(80)days

   prior to the trial date."Id. Trial in this matter was initially set for March of2019.Id. The Defendant

   filed its Motion for Summary Judgment[ECF No. 120] on January 4, 2019. The Defendant now

   seeks to file what amounts to a second motion for summary judgment long after the deadline
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   imposed in the Court's original Scheduling Order has passed. While Rule 56 ofthe Federal Rules

   of Civil Procedure does not prohibit the filing of multiple motions for summary judgment,' the

   Defendant must show good cause under Rule 16(b)(4) for deviating from the Court's initial

   scheduling deadlines.

           In its Motion for Leave, the Defendant contends that the Americans with Disabilities Act

  ("ADA")and the Rehabilitation Act("RA")do not apply in Dominica,which is where the relevant

   acts in this case occurred. While that may be true, this argument was available to the Defendant

   when it filed its initial Motion for Summary Judgment in January of2019. The record reveals that

   no new discovery has taken place since then, nor has the Defendant introduced any new evidence

   that might warrant construing the Motion for Leave as one for reconsideration. In any event,

   because the Defendant has failed to show good cause, its Motion For Leave [ECF No. 175] is

   DENIED.


          11.     The Plaintiffs Motion for Reconsideration and Alteration^ ofthe Omnibus
                                                         Order


           To succeed on a failure to accommodate claim, including both an ADA and an RA claim,

   a plaintiff must demonstrate that he: 1)has a disability; 2)is an otherwise qualified individual; and

   3)was discriminated against because ofhis disability. See Holly v. Clairson Indus., LLC,492 F.3d

   1247,1256(11th Cir. 2007).

          In his Motion for Reconsideration, the Plaintiff argues that the Court misapplied the

   standard that applies at summary judgment for determining whether he "has a disability." PI. Mot.



  'On the other hand, S. D.Fla. L. R. 7.1(c)(2) prohibits multiple successive motions for partial summary
  judgment absent prior permission ofthe Court.
   ^ The Plaintiff may not proceed via Rule 59(e)ofthe Federal Rules of Civil Procedure, which provides the
   Court with a means to "alter or amend a [prior]judgment" because more than 28 days have elapsed since
   the Court's entiy ofjudgment on March 2, 2019[ECF No. 154]. See FED. R. Crv. P. 59(e). As such, the
   Court will treat the Plaintiff's Motion as one for reconsideration under Rule 60(b).
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   Reconsideration 6. Generally speaking, there are three grounds that justify reconsideration of a

   Court's order on summary judgment: 1) an intervening change in controlling law; 2) the

   availability ofnew evidence or an expanded factual record; and 3)the need to correct a clear error

   or prevent manifest injustice. See Woide v. Fed. Nat'l Mortg. Ass'n, 705 F. App'x 832, 836(11th

   Cir. 2017)(quoting Del. Valley Floral Grp., Inc. v. Shaw Rose Nets, LLC, 597 F.3d 1374, 1383)

  (Fed. Cir. 2010)).

          The Plaintiff contends that his medical diagnoses—attention-deficit/hyperactivity disorder

   and obsessive compulsive disorder—^require a per se finding that the Plaintiff"has a disability"

   for purposes of both the ADA and the RA. While the amendments to the ADA the Plaintiff cites

  (PI. Mot. Reconsideration 8-10) certainly lowered the threshold that plaintiffs must meet in order

   to establish disability, those amendments did not,as the Plaintiffclaims, eliminate the requirement

   that plaintiffs must make an individualized showing that their alleged disability substantially limits

   a major life activity. Solodar v. Old Port Cove Lake Point Tower Condo. Ass'n, Inc., No. 12-

   80040-CIV,2013 WL 3892986,at *9(S.D.Fla. July 26,2013)(noting that the question ofwhether

   the plaintiff is substantially limited, even after the 2008 amendments, created a question of fact

   that could not be resolved at summaryjudgment stage).In other words, medical diagnoses, without

   more, do not satisfy the first prong of a failure to accommodate claim.

          But, even if the Plaintiff could show that his medical diagnoses, standing alone, satisfied

   this first prong, he does not explain how he is entitled to summary judgment on the remaining

   elements ofhis failure to accommodate claims. In its Omnibus Order,for instance,the Court found

   that a disputed issue of material fact exists as to whether the Plaintiff ever made a request for an

   accommodation [ECF No. 154 at 10]. The Plaintiff does not even address this finding in his

   Motion. Accordingly,the Plaintiffs Motion[ECF No. 178] is DENIED.
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                             ni.     Federal Rule of Civil Procedure 56(f)(3)

          Although district courts have discretion under Fed.R.Civ.P. 16(b)(4)to grant parties leave

  to file a second summary judgment motion, the Court finds that the more prudent course in this

  case is to proceed under Fed. R. Civ. P. 56(f)(3), which reads, in relevant part:

          Rule 56. Summary Judgment


          (f) Judgment Independent ofthe Motion. After giving notice and a reasonable time
          to respond, the court may:
                 (1)grant summary judgment for a nonmovant;
                 (2)grant the motion on grounds not raised by a party; or
                 (3)consider summary judgment on its own after identifying for the parties
                  material facts that may not be genuinely in dispute.

          The Court notes that the Defendant has not yet raised the issue of whether the ADA and

  the RA even apply in Dominica—a tiny foreign island in the Caribbean Sea. But the Court finds

  that it does not "further the interests ofjustice,judicial economy, or the Court's interest in the

  soimd adjudication of this case to ignore important issues," such as the extraterritorial

  application—or lack thereof—of the statute on which this case turns, solely because the parties

  have failed to raise the issue. See Lawrence v. Am. Ira, LLC, No. l:12-CV-2209-JSA, 2014 WL

  11833264, at *2 (N.D. Ga. Sept. 3, 2014). The Defendant's omission of this question seems

  particularly surprising in light of the Defendant's previous litigation of a nearly identical issue

  before the Third Circuit Court of Appeals.See Archut v. Ross Univ. Sch. of Veterinary Med.,580

  F. App'x 90(3d Cir. 2014)(finding that the ADA and RA do not apply extraterritorially).

          Federal Rule of Civil Procedure 56(f) equips a federal district court with the authority to

  act on its OAvn initiative in considering whether summaryjudgment is appropriate.^ The parties do


  ^ See Lillo ex rel. Estate of Lillo v. Bruhn, 413 F. App'x. 161 (11th Cir. 2011)(affimiing
  summary judgment after district court sua sponte raised qualified immunity issue at summary
  judgment); Flood v. Young Woman's Christian Ass'n, 398 F.3d 1261, 1267 (11th Cir. 2005)("A district
  court may enter summary judgment sua sponte if all the parties are given adequate notice that they must
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   not dispute that the events in this case took place in Dominica. See generally Pi. Stat. Mat. Facts

  [ECF No. 101]; Def. Stat. Mat. Facts[ECF No. 119]. Moreover,the Court's review ofthe record

   suggests that there may not be a genuine dispute about whether the ADA and the RA apply

   extraterritorially. See Plaintiffs Request for Admission #30 [ECF No. 102 at 52] (asking the

   Defendant to "[a]dmit that it is false that the Americans with Disabilities Act is applicable to

   RUSM in Dominica."). And,ifthe ADA and the RA do not apply extraterritorially, it may well be

   that a plaintiff like Mr. Awodiya may not, in the first \ns\mcQ,justifiably rely on the Defendant's

   representation that RUSM complies with the ADA "as applicable and practical in Dominica." If

   this is so, the Defendant may be entitled to summary judgment, not just on the Plaintiffs ADA

   and RA claims, but on his fi-audulent inducement and negligent misrepresentation claims as well.

            Accordingly,the Court hereby gives NOTICE to both parties ofits intention sua sponte to

   consider the applicability ofthe ADA and the RA in Dominica.

            Furthermore,the Court hereby ORDERS as follows:

       1.      By May 29,2019,the parties shall, in no more than 10 pages, briefthe question ofthe

               extraterritorial application of the ADA and the RA, as well as the impact, if any, that

               the answer to this question might have on the Plaintiffs remaining claims, which

               include: Count I (failure to accommodate under the ADA); Count II (failure to

               accommodate under the RA); Count Vin (fraudulent inducement under Florida law);



   present all of their evidence."); Mossey v. Cong. Life Ins. Co., 116 F.3d 1414, 1417 (11th Cir.
  1997)("District courts unquestionably possess the power to trigger summary judgment on their own
  initiative." (citations omitted); Franks v. Indian Rivers Mental Health Ctr., No.7:08-cv-1035-SLB, 2014
  WL 514130, at *7(N.D. Ala. Feb. 7, 2014)("Pursuant to Rule 56(f), the court may grant a sua sponte
  motion for summary judgment 'after identifying for the parties material facts that may not be genuinely in
  dispute,' and giving the opponent at least ten days notice and time to respond.")(citing Burton v. Cty. of
  Belle Glade, 178 F.3d 1175,1203(11th Cir. 1999)); accord Norse v. City ofSanta Cruz,629 F.3d 966,971
  (9th Cir. 2010)(district courts "unquestionably possess the power"to enter summary judgmentsua sponte,
  even on the eve oftrial and after the dispositive motions deadline has passed).
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                 and CountIX(negligent misrepresentation under Florida law). The parties shall include

                 citations to the existing evidentiary record as needed. The Court will then determine

                 whether summary judgment is appropriate as to the Plaintiffs remaining claims.

         2.      The Defendant's Motion for Leave to File Partial Motion for Summary Judgement

                 [ECF No. 175] is DENIED.

         3.      The Plaintiffs Motion for Reconsideration and Alteration ofOmnibus Order[ECF No.

                 178] is DENIED.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 14th day of May 2019.




                                                            ROY K.ALTMAN
                                                            UNITED STATES DISTRICT JUDGE
   cc:        counsel ofrecord
              Oluwamuyiwa Awodiya,pro se
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO:0:18<CV-60482-KMM


     OLUWAMUYIWA AWODIYA,

                     Plaintiff,

              V.



     ROSS UNIVERSITY SCHOOL OF
     MEDICINE,

                     Defendant.



            RESPONSE TO PLAINTIFF'S FIRST SET OF REOUESTS FOR ADMISSION

              Defendant ROSS UNIVERSITY SCHOOL OF MEDICINE, by and through its attorneys
    Sey^ulh Shaw LLP,hereby submits its Response To Plaintiff's First Set of Requests for
     Admission.

    REOUEST FOR ADMISSION NO.It

           Admit that the formal legal name ofthe organization that operates RUSM is Ross
    University School of Medicine,School of Veterinary Medicine(St. Kitts) Limited.
    RESPONSE TO NO. 1:

              Denied. The entity that operates Ross University School of Medicine(RUSM)is Ross
    University School of Medicine,School of Veterinary Medicine Limited, a Dominican entity
    different from Ross University School of Medicine,School of Veterinary Medicine(St. Kitts)
    Limited, which is a Kittitian entity that operates Ross University School of Veterinary Medicine.
    REOUEST FOR ADMISSION NO.2:

             Admit that RUSM receives United States federal financial assistance through federal
    student aid.




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     RESPONSE TO NO.15!

               Defendant objects to this request because it appears to assume facts not in evidence,
     including that Plaintiff was disabled, required accommodations to his disability(ies) during tests,
     and requested such accommodations fiom RUSM,Subject to and without waiving that objection.
     Defendant notes that it permitted Plaintiffto take the NBME CBSE a fifth time and denies

     Request No. IS.

     REQUEST FOR ADMISSION NO. 16:

               Admit that RUSM did not provide Plaintiff with extended testing time for the NBME
     CBSE.

     RESPONSE TO NO.16!

               Admitted.

     REQUEST FOR ADMISSION NO.17!

           Admit that extended testing time was an available accommodation for the NBME CBSE
     exam.(See attached Exhibit 10 at page 2).

     RESPONSE TO NO.17!

               Defendant admits that extended testing time for the NBME CBSE is an accommodation

     sometimes provided to disabled students taking the exam and that Page 2 of Exhibit 10
     references this possible accommodation. To the extent that Request No. 17 requests an admission
    ofanything else, it is objectionable because it is ambiguous,and Defendant is therefore unable to
    admit or deny the assertion.

    REQUEST FOR ADMISSION NO.18i

              Admit that the decision to provide students with test accommodations for the NBME
    CBSE is made by RUSM.(See attached Exhibit 10 at page 2),
    RESPONSE TO NO. 18;

              Defendant admits that RUSM,not the NBME,is the entity that determines whether its
    students require accommodations to a disability when taking the NBME CBSE and that this is

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     referenced at Page 2 ofExhibit 10. To the extent that Request No. 18 requests an admission of
     anything else, it is objectionable because it is ambiguous,and Defendant is therefore unable to
     admit or deny the assertion.

     REQUEST FOR ADMISSION NO. 19:

              Admit that Plaintiff was dismissed for failing to pass the NBME CBSE.
     RESPONSE TO NO. \9i

              Admitted.

     REQUEST FOR ADMISSION NO.20!

              Admit that 99% of2014-2015 RUSM graduates who passed their USMLE exams on the
     first attempt attained a residency.(See Institutional Outcomes at
     https://medical.rossu.edu/student-consumer-information.html).
     RESPONSE TO NO.20!

              Defendant admits that the referenced website states as follows as ofJune 3,2018:"99%

     of2014-2015 RUSM graduates who passed their USMLE exams on the first attempt attained a
     residency by April 2016." To the extent that Request No.20 requests an admission of anything
     else, it is objectionable because it is ambiguous,and Defendant is therefore unable to admit or

     deny the assertion.

     REQUEST FOR ADMISSION NO.21:

          Admit that the RUSM USMLE Step 1 first-time pass rate in 2016 was 93%.(See General
    FAQ'S at https://medical.rossu.edu/about/fiaq.html).
    RESPONSE TO NO.2l!

             Defendant denies that the referenced website contains the statement in Request No.21,as
    ofJune 3,2018. To the extent that Request No.21 requests an admission of anything else, it i.s
    objectionable because it is ambiguous, and Defendant is therefore unable to admit or deny the
    assertion.




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     REQUEST FOR ADMISSION NO.2S:

            Admit that Ross University School of Medicine and Ross University School of
     Veterinary Medicine are registered as the same corporation.
     RESPONSE TO NO.2S:

              Denied.

     REQUEST FOR ADMISSION NO.26!

              Admit that RUSM asserts that "Title III of the Americans with Disabilities Act of 1990
     ("ADA")does not extend to conduct occurring outside the United States,and it follows that it
     does not extend to the Defendant's activities in Dominica."(See Dkt. No. 30).
     RESPONSE TO NO.26;

              Admitted.

     REQUEST FOR ADMISSION NO.27;

             Admit that Ross University School of Medicine,School of Veterinary Medicine(St.
     Kitts) Limited with Adtaiem Global Health,Inc., asserted that Title HI ofthe ADA is applicable
     only in the United States and its territories.(See Galligan v, Adtaiem Global Education, Inc. ct
     al).(See also Archut v. Ross Univ. Sch. of Veterinary Med.,CIVIL ACTION NO. 10-1681
    (MLC)(D.NJ. Nov. 19,2012)).
     RESPONSE TO NO.27!

              Admitted.

     REQUEST FOR ADMISSION NO.28;

           Admit that RUSM made the following statement on the admission requirements page of
     the RUSM website "It is the policy and practice ofthe University to comply with the Americans
     with Disabilities Act as applicable and practical in Dominica."
     RESPONSE TO NO.28;

             Admitted.

     REQUEST FOR ADMISSION NO.29;

             Admit that it is false that RUSM will comply with the Americans with Disabilities Act in
    Dominica.




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OP FLORIDA
                                  CASE NO:0:18-CV-60482-KMM

      OLUWAMUYIWA AWODIYA,

                   Plaintiff,

              V.



     ROSS UNIVERSITY SCHOOL OF
      MEDICINE,

                   Defendant.


                        DEFENDANT'S RESPONSE TO PLAINTIFFS
                       SECOND SET OF REQUESTS FOR ADMISSION

             Defendant, ROSS UNIVERSITY SCHOOL OF MEDICINE,by and through
     its attorneys, Seyfarth Shaw LLP,and in response to Plaintiffs Second Set of

     Requests for Admission, states as follows:

                                     Preliminaiy Objection
             Defendant objects to Plaintiffs Instructions 1-4,14, and 18 to the extent they
     seek to impose more or different requirements than the apphcable Federal Rule(s)

     of Civil Procedure and Local Rule(s)of the Court. Defendant will answer in

     accordance with those rules and not Plaintiffs Instructions.

             Defendant objects to Plaintiffs Definitions 10 and 15 because they create

     ambiguity and may seek to impose requirements on Defendant that are inconsistent

     with applicable nales. Defendant wiU interpret the terms'^you" and "your'' to refer to
     Defendant and the term "its," when referring to Defendant, as Defendant alone.




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      RESPONSE:


             Admitted.

      REQUEST NO.53:

             Admit that Plaintiff did not have any accommodations for his ADHD on his
      first NBME CBSE attempt.

      RESPONSE;


             Admitted.

      REQUEST NO.54:


             Admit that PIsiintiff did not have any accommodations for his ADHD on his
      second NBME CBSE attempt.

      RESPONSE;


             Admitted.

     REQUEST NO.55;

             Admit that Plaintiff did not have any accommodations for his ADHD on his
      third NBME CBSE attempt.

      RESPONSE:


             Admitted.

     REQUEST NO.56:

           Admit that Plaintiff did not have any accommodations for his ADHD on his
     fourth NBME CBSE attempt.
     RESPONSE:

             Admitted.

     REQUEST NO.57:

            Admit that Plaintiff did not have any accommodations for his ADHD on his
     fifth NBME CBSE attempt.




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      RESPONSE:

             Admitted.

      REQUEST NO.5«:


             Admit that extended testing time for the NBME CBSE is a reasonable
      accommodation for some disabled students that need extended testing time.
      RESPONSE:


             Admitted.

      REQUEST NO.59:

             Admit that RUSM intended for prospective students to rely on the foUowii]^
      statement posted on the Admissions Requirements page ofthe RUSM website:"It is
      the policy and practice ofthe University to comply with the Americans with
      Disabilities Act as applicable and practical in Dominica. No qualified individual
      with a disability will be denied ac(%ss to or participation in services, programs, or
      activities of Ross University School of Medicine."

     RESPONSE:

             Defendant admits that its current website contains this statement, but

     Defendant is without knowledge or information sufELcient to admit or deny that the

      website contained the same statement when Plaintiffapplied to RUSM.

     REQUEST NO.60:


             Admit that in 2015,the first-attempt residenQr attainment rate for RUSM
     students was 88%.(See Institutional Outcomes at
     httP3://medical.ros8u.edu/student-consumer-information.htm1).

     RESPONSE:


             Admitted.

     REQUEST NO.61:


           Admit that 91% ofRUSM 2014*2015 graduates attained residency
     placements by July 1, 2016 after single or multiple USMLE exam attempts or
     residency placement attempts.(See Institutional Outcomes at
     https7/medical.rossu.edu/student-consumer-infnrmation.htm1)f-l


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      RESPONSE:


              Admitted

      REQUEST NO.71:

             Admit that Plaintiffs second, third,foiuth, and fifth NBME attempts were in
      Prometric Test Centers in the Unites States of America.

      RESPONSE:

             Defendant objects to the term "NBME"as ambiguous. To the extent Plaintift

      means the NBME CBSE. Defendant admits that Plaintiffs second through fifth

      attempts occurred at Prometric Test Centers in the United States ofAmerica.

      REQUEST NO.72:


             Admit that RUSM granted Plaintiffs fifth NBME CBSE attempt based on an
      academicjudgment that involved his"academic history."
      RESPONSE;


             Admitted.

     REQUEST NO.73:


            Admit that it is obvious that a student with an "attention problem" could
      have problems paying attention during test examinations.
     RESPONSE:


             Denied.

     REQUEST NO.74:


             Admit that it is obvious that a student with an "inattentive presentation"
     could have problems staying attentive during test examinations.
     RESPONSE:


             Denied.




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                   TS -h                         Administration of NBME Examinations at
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                                                                             Prometric Test Centers


      The comprehensive and clinical science web-based subject examinations and the Emergency
      Medicine Advanced Clinical examination may be ordered for administration at Prometric's
      worldwide network of 350 secure,convenient test centers. Prometric testing may be preferred
      for students serving on clinical rotations in a distributed hospital network or for those located at
      sites without web-based test delivery.

      This document provides basic information on ordering,fees,and related information to request
      administration of an NBME subject examination to your students at Prometric Test Centers. If
      you have any questions, please contact us at subiectexams(i>nbme.org.

      Examinations Available at Prometric Test Centers
                                                                                   You muii place yoL't ardef
                                                       ► Medicine                  no later than 28 day% prtor
          ►   Clinical Neurology
                                                                                    to the 'itart of tna lestnrQ
          ►   Comprehensive Basic Science              ►   Ob/Gyn                            window.

          ►   Comprehensive Clinical Science         ■ ► Pediatrics
                                                                                     But plan ahead—place
          ►   Emergency Medicine Advanced              ►   Psychiatry
                                                                                       your order as far in
              Clinical                                                                  advance of your
                                                                                  anticipated testing window
          ►   Family Medicine Modular                  ►   Surgery
                                                                                           as possible.


      Ordering                                                                    Even at 28 days, there may
                                                                                  be a risk that your students
                                                                                     will not be able to test
      The online ordering system allows you to provide information for
                                                                                   within the winclow due to
      Prometric test administration. Testing at Prometric centers
                                                                                   prometric seat av,allabr|ity.
      requires some more advanced planning to allow students sufficient
      time to schedule testing appointments.
      ► When you order a web-based exam for administration, you will
        select Prometric Test Centers as the testing location.
      ► You will set a testing window of a minlntum of 7 to a maximum of 14 calendar days. This Is
        necessary because your students may have trouble finding a seat on a single test date.
      ► The order will lock 21 days prior to the start of the testing window. You cannot make
         changes to your order after that.

      Populating Your Test Administration Roster

      The NBME roster system, which supports the administration and scoring of its web-based
      exams, has two components: a master roster for maintaining the records of all students and a
      test administration roster specific to the test date or window. If you have not used NBME web-
      based exams before, you must create your master roster first.


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      ► An e-mail address is required for every student. You will have the option to enter the e-mail
        address for each record Individually, or to upload a file with e-maii addresses to the master
          roster.
      ► You must create your test administration roster no later than 21days prior to the start of
          the testing window.


      Scheduling a Testing Appointment

      After you submit the test administration roster, the NBME will generate a scheduling permit for
      each student on the roster in about 2 to 3 business days. There are exceptions if the student
      requires test accommodations (see Arranging for Test Accommodations below).

      Your students:

      ► will receive an e-mail with a link to a web page where they can print/download their
        scheduling permits and view policies and procedures for the testing session.
      ► will schedule their testing appointment online through Prometric's website and receive a
         confirmation notice from Prometrlc.
      ► can reschedule their testing appointments (only within the testing window) or cancel them,
         but if the request is made less than 15 days prior to the scheduled appointment, Prometric
         will charge a fee. Fees for rescheduling/cancellation appear on the confirmation notice.

      Arranging for Test Accommodations

      It Is essential that you follow the specific procedure outlined below in order for the NBME to
      make arrangements for your students to take an examination with test accommodations at a
      Prometric Test Center. Please note that the decision to provide an accommodation is still yours,
      as it is with locally-delivered NBME web-based examinations.

      To notify the NBME about students who need test accommodations, you will:

      ► enter the number of students who need extra testing time
        along with the appropriate pacing (1.25x, l.Sx, or 2x) into              Swdenti vjha ne'cd
         the online order.                                                 occonimodotions wiH not be able

      ► edit the related student records on the test administration            to schedule IheU resting
                                                                             appointments online. Their
         roster by setting the pacing and/or clicking in the "other
                                                                           permits will provide rnstructions
         accommodations" field and selecting a Prometric testing            lo call Prornetrie (based on the
         region (e.g., US, Asia).                                          testing region) to scneduie their
      ► download an Excel file from this roster. It will be pre-                 t es 11ng a p.p 0in tmen t s.
         populated with these records.
      ► send the file to the NBME as instructed.




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      NBME staff will review the file and send the information to Prometric.ScheduHng permitsfor
      these students will not be generated until this process is complete. Depending on the nature of
      the accommodation,this process could take as long as 2 weeks,so please enter your order as
      far in advance of the testing window as possible.

      Please note that Prometric test centers are secure facilities and that students are prohibited
      from bringing personal items into the secure testing room. If an examinee requires use of a
      personal item for medical reasons during the testing session, you will need to approve this as a
      test accommodation and enter specific information about the item you are approving on the
      Excel file that you send to the NBME. Note that Prometric has administrative policies about
      certain types of items that are not permitted for use in the regular testing room,even with your
      authorization, and the student may be required to test in a separate testing room.Items that
      require use of a separate testing room at Prometric generally include food,drink,and
      injectables(glucometer with finger^ick,syringes, etc).

      Exam Fees

      Fees are posted on the NBME website(www.nbme.org)and are subject to change.

      Assigning Different Examination Forms to Enhance Security

      As you know,the NBME has multiple forms of each exam available during an academic year.
      These forms have been scaled and equated so that your students' performance is directly
      comparable across the different forms.

      When you order subject exams for local administration,form assignment is made at the order
      level,so all students take the same form. However,since your students will be taking these
      exams at Prometric test centers during a 7to 14 day window,form assignment will be made at
      the examinee level. This means that your students will see different forms of an exam during
      the window, which minimizes the risk ofsharing test content.

      Viewing Score Reports

      Score reports will be posted to the NBME Services Portal within 2to 3days AFTER the end of
      the testing window.

      If you have any questions, please contact us at subiectexamsg)nbme.org.




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                        CERTIFICATE OF SERVICE


      I do hereby certify that on this 26th day of August,2019,1 have caused a true

and correct copy ofthe foregoing by emailing a copy to the counsel ofrecord.



                                             By: Oluwaimyiwa Awodiya,p/M)se litigant
